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   2020 Credit Reporting
     Resource Guide ®




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 Responsibilities
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  RESPONSIBILITIES       Credit reporting information is sensitive data. The issues of
                         accuracy and completeness of information and fairness to
                         consumers are not just a concern of the consumer reporting
                         agencies; credit grantor participation is also required. Federal
                         and state laws already regulate certain aspects of credit
                         reporting. In order to protect your ability to conduct business
                         without the further intervention of external forces, you must
                         participate in the accuracy process.

                         Both credit grantors and consumers depend on consumer
                         reporting agencies to acquire and maintain accurate credit
                         histories. This can only be accomplished if the provider of
                         consumer data understands the tools that are available and
                         adheres to the standards for credit reporting.

                         The purpose of this guide is to document this very important
                         process and includes:

                         •   Industry Standards
                         •   Metro 2® Format
                         •   Metro 2® Validation/Implementation Checklist
                         •   Automated Universal Data Process
                         •   Automated Consumer Dispute Verification

                         The Metro 2® Format Task Force strongly encourages you to
                         make the fullest use of the tools and procedures outlined in
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               Metro 2® Format Task Force
               Despite the competitive and organizational barriers within the credit
               industry, the consumer reporting agencies continue to work together
               to develop, maintain and enhance an industry-standard reporting
               format. The task force’s mission is to provide a standardized method
               for the reporting of accurate, complete and timely data.

               The Metro 2® Format Task Force is comprised of representatives from
               Equifax, Experian, Innovis and TransUnion and is supported by the
               CDIA.

               For information specific to data reporting, click on the Metro 2® option
               at www.cdiaonline.org.




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 Responsibilities and Roles


                         e-OSCAR® System Support Team
                         This group maintains an industry-wide automated
                         consumer dispute resolution system, which is required by
                         the Fair Credit Reporting Act (FCRA) section 611 (a) (5)
                         (D). This team includes representatives from Equifax,
                         Experian, Innovis and TransUnion.

                         For information specific to consumer disputes, click on the
                         e-OSCAR® option at www.cdiaonline.org.

                         Data Furnisher
                         Company who provides consumer credit accounts
                         receivables to one or more consumer reporting agency.

                         Duties of furnishers are described in FCRA (section 623).
                         See https://www.ftc.gov/tips-advice/business-center/
                         privacy-and-security/credit-reporting for additional
                         information.

                         Consumer Financial Protection Bureau (CFPB) Among
                         its responsibilities, the CFPB writes rules under and
                         enforces the FCRA, and takes consumer complaints
                         related to the FCRA. More information can be found on the
                         internet at https://www.consumerfinance.gov/policy-
                         compliance/guidance/other-applicable-requirements/fair-
                         credit-reporting-act/.

                         Federal Trade Commission (FTC)
                         Under the FCRA (section 621), the FTC is charged with
                         enforcing and interpreting the Fair Credit Reporting Act. As
                         such, they issue staff opinion letters, press releases and
                         consumer educational materials. More information can be
                         found on the Internet at https://www.ftc.gov/tips-advice/
                         business-center/privacy-and-security/credit-reporting.




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 Automated Data
 Reporting
  FEATURES OF THE         •   Accepted by all consumer reporting agencies, the
                              Metro 2® Format enables the reporting of accurate,
  METRO 2® FORMAT             complete and timely credit information.

                          •   Meets all requirements of the Fair Credit Billing Act
                              (FCBA), the Fair Credit Reporting Act (FCRA), the
                              Equal Credit Opportunity Act (ECOA) and all
                              applicable state laws.

                          •   Allows credit information to be added and mapped
                              to the consumer’s file with greater consistency.

                          •   Allows complete identification information to be
                              reported for each consumer (including co-debtor,
                              co-signer, etc.) each month which improves the
                              ability of the consumer reporting systems to match
                              to the correct consumer.

                          •   Accommodates cycle reporting of data, which allows
                              more timely updating of the credit file.

                          •   The Payment History Profile (up to 24 months)
                              makes it possible for the credit grantor to supply
                              automated updates/corrections for the file rather
                              than costly manual updates/corrections, and
                              reduces consumer disputes.

                          •   Flexibility of the format provides for future
                              enhancements.

                          Reporting in the Metro 2® Format greatly benefits the
                          credit grantor, the consumer reporting agencies and
                          your customer, the consumer.




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 Automated Data Reporting

  INDUSTRY               An industry standard for reporting consumer accounts will
                         ensure the integrity and consistency of the credit
  REPORTING              information being reported.
  STANDARDS
                         •     All accounts must be reported a minimum of once per
                               month.

                         •     A final Account Status Code must be reported when the
                               accounts are ultimately paid or closed with a zero
                               balance.

                         •     If reporting by cycles, all accounts must be reported at
                               the close of each cycle.

                         •     When reporting delinquent accounts, the “Industry
                               Standard for Reporting Account Delinquency” must be
                               followed.

  INDUSTRY               The “clock” for a 30-day delinquency starts 30 days after
                         the due date, as opposed to the billing date.
  STANDARD FOR
  REPORTING              The following example tracks an account history for four
  ACCOUNT                months, specifying the Metro 2® Account Status Code that
  DELINQUENCY            should be reported. The Due Date for this example is the
                         15th of each month.

                             Date of Acct. Info.    Jan 1    Feb 1   Mar 1    Apr 1
                             Bills Received           1        2       3        4
                             Payments Past Due        0        1       2        3
                             # Days Past Due Date     0        17     45       76
                             Metro 2 Status Code      11       11     71       78

                             Definitions:
                             Metro 2® Status Code 11         0-29 days past due date
                             Metro 2® Status Code 71         30-59 days past due date
                             Metro 2® Status Code 78         60-89 days past due date




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 Automated Data Reporting

  ACCURACY AND               The 2010 FACT Act Data Furnisher rules define the term
                             “Accuracy” to mean that information that a furnisher
  INTEGRITY                  provides to a consumer reporting agency about an
  DEFINITIONS                account or other relationship with the consumer
                             correctly:

                             •   Reflects the terms of and liability for the account or
                                 other relationship;
                             •   Reflects the consumer’s performance and other
                                 conduct with respect to the account or other
                                 relationship; and
                             •   Identifies the appropriate consumer.

                             The term “Integrity” means that information that a
                             furnisher provides to a consumer reporting agency
                             about an account or other relationship with the
                             consumer:

                             •   Is substantiated by the furnisher’s records at the
                                 time it is furnished;
                             •   Is furnished in a form and manner that is
                                 designed to minimize the likelihood that the
                                 information may be incorrectly reflected in a
                                 consumer report; and
                             •   Includes the credit limit, if applicable and in the
                                 furnisher’s possession.

  MAINTAINING                Once information is reported accurately, it is important
                             that data furnishers not ask for a subsequent change in
  ACCURACY,                  the history payment record unless the payment history
  INTEGRITY AND              is inaccurate.
  CONSISTENCY OF
                             •   Consumer credit history information will be reported
  CREDIT                         in a factual, precise and objective manner.
  INFORMATION
                             •   Only inaccurately reported accounts should be
                                 deleted. Paid derogatory accounts, such as
                                 collections or charge offs, should be reported as
                                 paid; they should not be deleted.

                             •   Requests by consumers for re-verification of
                                 challenged information must be processed promptly.

                             •   Unless an error is discovered, the consumer will be
                                 advised that the factual credit history will continue
                                 to be reported.

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Quick Reference Guides to Industry Standards


Banking / Savings & Loan / Credit Union – Installment Loan & Line of Credit
While all applicable fields with the Metro 2® Format should be reported, these guidelines provide specific values that apply to
Installment Loans and Lines of Credit.

Important Note: Refer to Credit Cards (non-Retail), Student Loans and Mortgages for guidelines specific to reporting those types of
accounts.

                           Segment/
 Field
                           Field #
 Portfolio Type            Base/8        I (Installment)                                C (Line of Credit)
 Account Type              Base/9        00 – 05, 10, 11, 13, 17, 20, 90, 91, 95, 0A,   15, 43, 47, 7A, 9B
                                         3A, 6A, 9A, 7B, 0F
 Credit Limit              Base/11       Zero fill                                      Assigned credit limit
 Highest Credit/Original   Base/12       Original amount of the loan, excluding         Highest amount of credit utilized by the
 Loan Amount                             interest payments                              consumer
 Terms Duration            Base/13       Number of months of the loan                   Constant of ‘LOC’
 Scheduled Monthly         Base/15       Regular monthly payment                        Minimum amount due based on the balance,
 Payment Amount                                                                         not including any amounts past due
 Account Status            Base/17A      11, 13, 61 – 64, 71, 78, 80, 82 – 84, 93, 95   11, 13, 62, 64, 71, 78, 80, 82 – 84, 93, 97,
                                         – 97, DA, DF                                   DA, DF
 Special Comment           Base/19       Closed accounts = I                            Closed accounts = M, AP, CI, CJ, CL
                                         Leasing = BB – BK, BS (Require Account         Legal Action = AM
                                         Type Code 13 or 3A)                            Refinanced = AS
                                         Legal Action = AM                              Special Payment Arrangements = B, C, AB,
                                         Refinanced = AS                                AC, AI, AU, AX, BP, BT, CP
                                         Special Payment Arrangements = B, C, AB,       Transferred = O, AH, AN, AT, BA
                                         AC, AI, AO, AU, AX, BN, BP, BT, CP             Other = S, V, AV, AW, CH, CK, CM, CN, CO
                                         Transferred = H, O, AH, AN, AT, BA             Removal of comment = blank
                                         Other = S, V, AV, AW, AZ, CH, CM, CN, CO
                                         Removal of comment = blank
 Compliance Condition      Base/20       XB, XC, XF, XG, XH, XR                         XA – XJ, XR
 Code
 ECOA Code                 Base/37       ECOA Code 3 (Authorized User) is not           1 – 3, 5, 7, T, X, W, Z
                           J1 & J2/10    applicable.

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Child Support Agencies
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to Child
Support Agencies’ accounts.

                           Segment/
 Field
                           Field #
 Portfolio Type            Base/8        O (Open)
 Account Type              Base/9        50, 93
 Date Opened               Base/10       Date the case was initiated with the state agency
 Highest Credit/Original   Base/12       Zero fill
 Loan Amount
 Terms Duration            Base/13       Constant of 001
 Current Balance           Base/21       Total amount due from outstanding support payments. This amount must equal, at a
                                         minimum, one scheduled monthly payment amount.
 Scheduled Monthly         Base/15       The monthly debt obligation
 Payment Amount
 Account Status            Base/17A      Able to Age Account History: 11, 13, 62, 71, 78, 80, 82 – 84, 93, DA
                                         Unable to Age Account History: 11, 13, 62, 93, DA
 FCRA Compliance / Date    Base/25       Activity Date – because each month begins a new obligation. Note: This date must freeze
 of First Delinquency                    when the child or youngest child, in the case of multiple children, reaches the age of
                                         majority or emancipation, or the statute of limitations in that state has been reached.
 Special Comment           Base/19       Code ‘CS’ is used to overlay the Date of First Delinquency each month when reporting
                                         delinquent and collection account statuses because each month begins a new obligation.
                                         Other applicable comments are:
                                         Legal Action = AM
                                         Special Payment Arrangements = B, AC, AI
                                         Transferred = O
                                         Other = S, V, AW
                                         Removal of comment = blank
 Compliance Condition      Base/20       XB, XC, XH, XR
 Code
 ECOA Code                 Base/37       1 (Individual)
                           J1 & J2/10
 Consumer Information      Base/38       T and U only (Note: Bankruptcy, Personal Receivership and Reaffirmation of Debt codes
 Indicator                 J1 & J2/11    are not applicable.)



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Credit Cards (non-Retail Cards)
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to Credit
Cards.

                           Segment/
 Field
                           Field #
 Portfolio Type            Base/8        R (Revolving)                                   O (Open)
 Account Type              Base/9        18, 37, 2A, 8A, 0G                              18, 37, 2A, 8A
 Credit Limit              Base/11       Assigned credit limit                           Assigned credit limit, if applicable.
                                                                                         Otherwise, zero fill.
 Highest Credit/Original   Base/12       Highest amount of credit utilized by the        Highest amount of credit utilized by the
 Loan Amount                             consumer                                        consumer
 Terms Duration            Base/13       ‘REV’ (for revolving payments)                  ‘001’ (for one payment due as scheduled)
 Scheduled Monthly         Base/15       Minimum amount due based on the balance,        Zero fill
 Payment Amount                          not including any amounts past due
 Account Status            Base/17A      11, 13, 62, 64, 71, 78, 80, 82-84, 93, 97,      11, 13, 62, 64, 71, 78, 80, 82-84, 93, 97,
                                         DA, DF                                          DA, DF
 Special Comment           Base/19       Closed accounts = M, AP, BL, CI                 Closed accounts = M, AP, BL, CI
                                         Legal Action = AM                               Legal Action = AM
                                         Special Payment Arrangements = B, C, AB,        Special Payment Arrangements = B, C, AB,
                                         AC, AI, AU, AX, BP, BT, CP                      AC, AI, AU, BP, CP
                                         Transferred = O, AH, AN, AT, BA                 Transferred = AT, O, AH, AN, BA
                                         Other = S, V, AV, AW, CH, CN, CO                Other = S, V, AV, AW, CH, CN, CO
                                         Removal of comment = blank                      Removal of comment = blank




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Debt Buyers / Collection Agencies
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to Debt
Buyer and Collection Agency accounts.

                           Segment/
 Field                                   Debt Buyer/Collection Agency                    Returned Checks
                           Field #
 Portfolio Type            Base/8        O (Open)                                        O (Open)
 Account Type              Base/9        48, 0C                                          77
 Date Opened               Base/10       Date the account was purchased by the           Date of the check
                                         debt buyer or placed/assigned to the third
                                         party collection agency
 Highest Credit/Original   Base/12       Original assigned amount as of the date         Original amount of the check, excluding fees
 Loan Amount                             purchased, placed or assigned                   and interest
 Terms Frequency           Base/14       Blank fill                                      Blank fill
 Account Status            Base/17A      62, 93, DA, DF                                  62, 93, DA, DF
                                         (Note: Paid in full collection accounts must    (Note: Paid in full collection accounts must
                                         not be deleted.)                                not be deleted.)
 FCRA Compliance / Date    Base/25       Date of the first delinquency with the          Date the check was returned for non-
 of First Delinquency                    original creditor that led to the account       sufficient funds. If not available, the date of
                                         being sold or placed for collection             the check is acceptable.
 Special Comment           Base/19       Legal Action = AM                               Legal Action = AM
                                         Special Payment Arrangements = B, C, AB,        Special Payment Arrangements = B, C, AB,
                                         AC, AI, AU, BP                                  AC, AI, AU, BP
                                         Other = S, V, AW                                Other = S, V, AW
                                         Removal of comment = blank                      Removal of comment = blank
 Compliance Condition      Base/20       XB, XC, XF, XG, XH, XR                          XB, XC, XF, XG, XH, XR
 Code
 ECOA Code                 Base/37       ECOA Codes 3 and X are not applicable.          ECOA Codes 3, 5, 7 and X are not
                           J1 & J2/10                                                    applicable.
 K1 Segment                K1/2          Original credit grantor’s name                  Original Creditor = Name of the payee

                           K1/3          Creditor Classification = 01–15 are             Creditor Classification = 01–15 are
                                         required. Note: 02 (Medical/Health Care) is     required. Note: 02 (Medical/Health Care) is
                                         used to identify an account as a medical        used to identify an account as a medical
                                         collection debt in accordance with FCRA         collection debt in accordance with FCRA
                                         section 623.                                    section 623.


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Loan Finance Companies
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to Loan
Finance companies’ accounts.

Important Note: Refer to Credit Cards (non-Retail) and Student Loan Reporters for guidelines specific to reporting those types of
accounts.

                           Segment/
 Field
                           Field #
 Portfolio Type            Base/8       I (Installment)                                 C (Line of Credit)
 Account Type              Base/9       00 – 05, 10, 11, 13, 17, 20, 90, 91, 95, 0A,    15, 43, 47, 7A, 9B
                                        3A, 6A, 9A, 7B, 0F
 Credit Limit              Base/11      Zero fill                                       Assigned credit limit
 Highest Credit/Original   Base/12      Original amount of the loan, excluding          Highest amount of credit utilized by the
 Loan Amount                            interest payments                               consumer
 Terms Duration            Base/13      Number of months of the loan                    Constant of ‘LOC’
 Scheduled Monthly         Base/15      Regular monthly payment                         Minimum amount due based on the balance,
 Payment Amount                                                                         not including any amounts past due
 Account Status            Base/17A     11, 13, 61 – 64, 71, 78, 80, 82 – 84, 93, 95    11, 13, 62, 64, 71, 78, 80, 82 – 84, 93, 97,
                                        – 97, DA, DF                                    DA, DF
 Special Comment           Base/19      Closed accounts = I                             Closed accounts = M, AP, CI, CJ, CL
                                        Leasing = BB – BK, BS (Require Account          Legal Action = AM
                                        Type Code 13 or 3A)                             Refinanced = AS
                                        Legal Action = AM                               Special Payment Arrangements = B, C, AB,
                                        Refinanced = AS                                 AC, AI, AU, AX, BP, BT, CP
                                        Special Payment Arrangements = B, C, AB,        Transferred = O, AH, AN, AT, BA
                                        AC, AI, AO, AU, AX, BN, BP, BT, CP              Other = S, V, AV, AW, CH, CK, CM, CN, CO
                                        Transferred = H, O, AH, AN, AT, BA              Removal of comment = blank
                                        Other = S, V, AV, AW, AZ, CH, CM, CN, CO
                                        Removal of comment = blank
 Compliance Condition      Base/20      XB, XC, XF, XG, XH, XR                          XA – XJ, XR
 Code
 ECOA Code                 Base/37      ECOA Code 3 (Authorized User) is not            1 – 3, 5, 7, T, X, W, Z
                           J1 & J2/10   applicable.




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Mortgage Lending
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to
Mortgage lending.

 Field                 #
 Portfolio Type        8    M (Mortgage)                            I (Installment)                        C (Line of Credit)
 Account Type          9    19, 25, 26, 5A, 5B, 6B, 2C, 08          04, 05, 17, 0A, 9A, 6D, 0F             89
 Credit Limit          11   Zero fill                               Zero fill                              Assigned credit limit
 Highest Credit or     12   Original amount of the loan,            Original amount of the loan,           Highest amount of credit utilized by
 Original Loan              excluding interest payments             excluding interest payments            the consumer
 Amt.
 Terms Duration        13   Number of years of the loan             Number of months of the loan           Constant of ‘LOC’
 Scheduled             15   Regular monthly payment, including      Regular monthly payment                Minimum amount due based on the
 Monthly Payment            principal, interest & escrow                                                   balance, not including any amounts
 Amount                                                                                                    past due
 Account Status       17A   11, 13, 65, 71, 78, 80, 82-84, 89,      11, 13, 61-64, 71, 78, 80, 82-84,      11, 13, 62, 64, 65, 71, 78, 80, 82-
                            94, DA, DF                              93, 95-97, DA, DF                      84, 89, 93, 94, 97, DA, DF
                            • 88 (for HUD FHA Title 1 loans)
                            • 97 (Only report when the account      89 and 94 (only for Type 6D Home
                              does not go through the               Equity loans that go through the
                              foreclosure process; but the          deed in lieu or foreclosure process)
                              remaining balance is charged off.
                              If the remaining charged off
                              balance is paid, report Account
                              Status 64.)
                              Note: 97 should not be reported
                              when deficiency balance is charged
                              off. If the lien has been released,
                              report the mortgage as paid.


Mortgage Lending (continued on next page)




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Mortgage Lending
Continued from previous page
Field               #
Portfolio Type      8      M (Mortgage)                        I (Installment)                        C (Line of Credit)
Special Comment     19     Legal Action = AM                   Legal Action = AM                      Closed = M, AP, CJ, CL
                           Refinanced = AS                     Refinanced = AS                        Legal Action = AM
                           Special Payment Arrangements = B,   Special Payment Arrangements =         Refinanced = AS
                           C, AB, AC, AI, AU, BP, BT, CP       B, C, AB, AC, AI, AU, AX, BN, BP,      Special Payment Arrangements =
                           Transfer = AT, H, O, AH, AN, BA     BT, CP                                 B, C, AB, AC, AI, AU, BP, BT, CP
                           Other = S, V, AV, AW, BO, CH, CM,   Transfer = AT, H, O, AH, AN, BA        Transfer = AT, O, AH, AN, BA
                           CN, CO                              Other = S, V, AV, AW, CH, CM, CN,      Other = S, V, AV, AW, BO, CH, CK,
                           Removal of comment = blank          CO                                     CM, CN, CO
                                                               Removal of comment = blank             Removal of comment = blank
Compliance          20     XB, XC, XF, XG, XH, XR              XB, XC, XF, XG, XH, XR                 XA – XJ, XR
Condition Code
Interest Type       28     F (Fixed) or                        If applicable, F (Fixed) or            If applicable, F (Fixed) or
Indicator                  V (Variable/Adjustable)             V (Variable/Adjustable)                V (Variable/Adjustable)
ECOA Code            37    ECOA Code 3 (Authorized User) is    ECOA Code 3 (Authorized User) is       ECOA Code 3 (Authorized User) is
                   J1/J2   not applicable.                     not applicable.                        not applicable.
                    -10
K3 Segment           2     Agency Identifier = 01 (Fannie      Segment not applicable                 Segment not applicable
Mortgage                   Mae) & 02 (Freddie Mac)
Information         3      Secondary Agency Account No.
                    4      Mortgage Identification Number
K4 Segment          2      Specialized Payment Indicator =     Specialized Payment Indicator =        Specialized Payment Indicator =
(when loan has a           01                                  01                                     01
balloon             4      Balloon Payment Due Date            Balloon Payment Due Date               Balloon Payment Due Date
payment)            5      Balloon Payment Amount              Balloon Payment Amount                 Balloon Payment Amount
K4 Segment          2      Specialized Payment Indicator =     Specialized Payment Indicator =        Specialized Payment Indicator =
(when loan is in           02                                  02                                     02
deferment)          3      Deferred Payment Start Date         Deferred Payment Start Date            Deferred Payment Start Date




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Retail Accounts (store exclusive)
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to Retail
accounts.

                            Segment/
 Field
                            Field #
 Portfolio Type             Base/8        R (Revolving)                                  I (Installment)
 Account Type               Base/9        07                                             06
 Credit Limit               Base/11       Assigned credit limit                          Zero fill
 Highest Credit/Original    Base/12       Highest amount of credit utilized by the       Original amount of the loan, excluding
 Loan Amount                              consumer                                       interest payments
 Terms Duration             Base/13       Constant of ‘REV’                              Number of months of the loan
 Scheduled Monthly          Base/15       Minimum amount due based on the balance,       Regular monthly payment
 Payment Amount                           not including any amounts past due
 Account Status             Base/17A      11, 13, 62, 64, 71, 78, 80, 82-84, 93, 97,     11, 13, 61 - 64, 71, 78, 80, 82-84, 93, 95 -
                                          DA, DF                                         97, DA, DF
 Special Comment            Base/19       Closed accounts = M, AP, BL, CI                Closed accounts = I
                                          Legal Action = AM                              Legal Action = AM
                                          Special Payment Arrangements = B, C, AB,       Refinanced = AS
                                          AC, AI, AO, AU, AX, BP, BT, CP                 Special Payment Arrangements = B, C, AB,
                                          Transferred = O, AH, AN, AT, BA                AC, AI, AO, AU, AX, BP, BT, CP
                                          Other = S, V, AV, AW, AZ, CH                   Transferred = O, AH, AT, BA
                                          Removal of comment = blank                     Other = S, V, AV, AW, AZ, CH
                                                                                         Removal of comment = blank
 Compliance Condition       Base/20       XA – XJ, XR                                    XB, XC, XF, XG, XH, XR
 Code
 ECOA Code                  Base/37       ECOA Codes 5 and 7 are not applicable.         ECOA Code 3 is not applicable.
                            J1 & J2/10




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Sales Finance Companies
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to
Sales Finance companies’ accounts.

                            Segment/
 Field
                            Field #
 Portfolio Type             Base/8       I (Installment Loan)                            R (Revolving)
 Account Type               Base/9       00 – 03, 06, 11, 13, 17, 3A, 7B                 07
 Credit Limit               Base/11      Zero fill                                       Assigned Credit Limit
 Highest Credit/Original    Base/12      Original amount of the loan, excluding          Highest amount of credit utilized by the
 Loan Amount                             interest payments                               consumer
 Terms Duration             Base/13      Number of months of the loan                    ‘REV’ (for revolving payments)
 Scheduled Monthly          Base/15      Regular monthly payment                         Minimum amount due based on the balance,
 Payment Amount                                                                          not including any amounts past due
 Account Status             Base/17A     11, 13, 61 – 64, 71, 78, 80, 82 – 84, 93, 95    11, 13, 62, 64, 71, 78, 80, 82-84, 93, 97,
                                         – 97, DA, DF                                    DA, DF
 Special Comment            Base/19      Closed accounts = I                             Closed accounts = M, AP, BL, CI
                                         Leasing = BB – BK, BS (Require Account          Legal Action = AM
                                         Type Code 13 or 3A)                             Special Payment Arrangements = B, C, AB,
                                         Legal Action = AM                               AC, AI, AO, AU, AX, BP, BT, CP
                                         Refinanced = AS                                 Transferred = O, AH, AT, BA
                                         Special Payment Arrangements = B, C, AB,        Other = S, V, AV, AW, AZ, CH, CN, CO
                                         AC, AI, AO, AU, AX, BN, BP, BT, CP              Removal of comment = blank
                                         Transferred = O, AH, AT, BA
                                         Other = S, V, AV, AW, AZ, CH, CN, CO
                                         Removal of comment = blank
 Compliance Condition       Base/20      XB, XC, XF, XG, XH, XR                          XA – XJ, XR
 Code
 ECOA Code                  Base/37      ECOA Code 3 is not applicable.                  ECOA Codes 5 and 7 are not applicable.
                            J1 & J2/10




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Student Loan Reporters – Federal Loans
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to Federal Student
Loans. Refer to the Federal Loans section of the Student Loan Reporting module for additional details.

                    Segment/
 Field              Field #
                                Lender/Servicer/Secondary Market                                           Post-Default Loans
 Portfolio Type     Base/8      I (Installment Loan)                                                       O (Open)
 Account Type       Base/9      12 (Education)                                                             12 (Education)
 Date Opened        Base/10     Date the account was originally opened                                     Date the defaulted claim was paid
                                                                                                           to the lender
 Highest Credit /   Base/12     Original amount of the loan, excluding interest payments                   Claim amount that was paid to
 Orig. Loan Amt.                                                                                           the lender
 Terms              Base/13     • Maximum number of months allowed for repayment of the loan               ‘001’ (for one payment due as
 Duration                       • When payments are not required (initial in-school, grace, deferment,     scheduled)
                                  forbearance), report Blank.
                                • When loans no longer guaranteed and in collections, report ‘001’.
 Terms Freq.        Base/14     M (monthly) or D (deferred), as applicable                                 Blank fill
 Scheduled          Base/15     • Monthly payment amount for repayment plan in which borrower is           Zero fill
 Monthly                          enrolled during current reporting period
 Payment Amt.                   • For loans in IDR plan, amount the consumer is required to pay for each
                                  month in the IDR plan, which can be as low as $0
 Account            Base/17A    • 11, 13, 78, 80, 82 – 84, DA, DF                                          62, 93, DA, DF
 Status                         • For loans no longer guaranteed: 62, 64, 93, 97
 Special            Base/19     Special Payment Arrangements = AU                                          Legal Action = AM
 Comment                        Transferred = O, AH, AT                                                    Special Payment Arrangements =
                                Other = AW                                                                 B, C, AC, AI, AU
                                Removal of comment = blank                                                 Other = S, V, AW
                                                                                                           Removal of comment = blank
 Compliance         Base/20     XB, XC, XH, XR                                                             XB, XC, XH, XR
 Cond. Code
 ECOA Code           Base/37    ECOA Code 3 is not applicable.                                             ECOA Code 3 is not applicable.
                     J1/J2/10
 K1 Segment           K1/2      Segment not applicable                                                     Complete name of the lender to
                      K1/3                                                                                 whom the claim was paid &
                                                                                                           Creditor Classification = 07
 K4 Segment           K4/2      Specialized Payment Indicator = 02                                         Segment not applicable
 (deferment or        K4/3      Deferred Payment Start Date = date the first payment is due. If not
 forbearance)                   available, date on which the deferred/forbearance period will end.



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Student Loan Reporters – Private Loans
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to Private
Student Loans.

                    Segment/
 Field              Field #
                                Installment                                           Line of Credit
 Portfolio Type     Base/8      I (Installment Loan)                                  C (Line of Credit)
 Account Type       Base/9      12 (Education)                                        15 (Line of Credit)
 Credit Limit       Base/11     Zero fill                                             Assigned credit limit
 Highest Credit /   Base/12     Original amount of the loan, excluding interest       Highest amount of credit utilized by the consumer
 Orig. Loan Amt.                payments
 Terms              Base/13     Number of months of the loan                          Constant of ‘LOC’
 Duration
 Terms Freq.        Base/14     M (monthly) or D (deferred)                           M (monthly) or D (deferred)
 Scheduled          Base/15     Regular monthly payment                               Minimum amount due based on the balance, not
 Monthly                                                                              including any amounts past due
 Payment Amt.
 Account            Base/17A    11, 13, 62, 64, 71, 78, 80, 82 – 84, 93, 97, DA, DF   11, 13, 62, 64, 71, 78, 80, 82 – 84, 93, 97, DA, DF
 Status
 Special            Base/19     Legal Action = AM; Refinanced = AS                    Closed = M, AP, CJ; Legal Action = AM
 Comment                        Special Payment Arrangements = AC, AU, BT             Special Payment Arrangements = AC, AU, BT
                                Transferred = O, AH, AT                               Transferred = O, AH, AT
                                Other = AW, CH, CO                                    Other = AW, CH, CO
                                Removal of comment = blank                            Removal of comment = blank
 Compliance         Base/20     XB, XC, XH, XR                                        XA – XE, XH, XR
 Cond. Code
 ECOA Code           Base/37    ECOA Code 3 is not applicable.                        ECOA Code 3 is not applicable.
                     J1/J2/10
 K4 Segment           K4/2      Specialized Payment Indicator = 02                    Specialized Payment Indicator = 02
 (deferment or        K4/3      Deferred Payment Start Date = date the first          Deferred Payment Start Date = date the first payment
 forbearance)                   payment is due. If not available, date on which the   is due. If not available, date on which the
                                deferred/forbearance period will end.                 deferred/forbearance period will end.




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Utility Companies
While all applicable fields within the Metro 2® Format should be reported, these guidelines provide specific values that apply to Utility
Companies’ accounts.

                            Segment/
 Field
                            Field #
 Portfolio Type             Base/8        I (Installment)                                 O (Open)
 Account Type               Base/9        06                                              92, 4D
 Highest Credit/Original    Base/12       Original amount of the loan, excluding          Highest amount of credit utilized by the
 Loan Amount                              interest payments                               consumer
 Terms Duration             Base/13       Number of months of the loan                    ‘001’ (for one payment due as scheduled)
 Scheduled Monthly          Base/15       Regular monthly payment                         Zero fill
 Payment Amount
 Account Status             Base/17A      11, 13, 61 – 64, 71, 78, 80, 82 – 84, 93, 95    11, 13, 62, 64, 71, 78, 80, 82 – 84, 93, 97,
                                          – 97, DA, DF                                    DA, DF
 Special Comment            Base/19       Legal Action = AM                               Closed = M
                                          Refinanced = AS                                 Legal Action = AM
                                          Special Payment Arrangements = B, C, AB,        Special Payment Arrangements = B, C, AB,
                                          AC, AI, AO, AU, AX, BN, BP, BT, CP              AC, AI, AU, BP, CP
                                          Transferred = O, AH, AT, BA                     Transferred = O, AH, AT, BA
                                          Other = S, V, AV, AW, AZ, CH                    Other = S, V, AV, AW, CH
                                          Removal of comment = blank                      Removal of comment = blank
 Compliance Condition       Base/20       XB, XC, XF, XG, XH, XR                          XA – XJ, XR
 Code
 ECOA Code                  Base/37       ECOA Code 3 is not applicable.                  ECOA Code 3 is not applicable.
                            J1 & J2/10




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 Business Requirements

  METRO 2®        The Metro 2® Format was developed as a standard for the credit
                  reporting industry and accomplishes the following:
  FORMAT
                  •   Provides one standard computer layout to be used for reporting
                      accurate, complete and timely consumer credit information.

                  •   Meets all requirements of the Fair Credit Reporting Act (FCRA),
                      the Fair Credit Billing Act (FCBA), the Equal Credit Opportunity
                      Act (ECOA) and all applicable state laws.

                  •   Allows for reporting information at both the account and
                      consumer levels.

                  •   Allows for reporting the full four-digit year.

                  The Metro 2® Format was designed to allow reporting of the most
                  accurate and complete information on consumers' credit history.
                  It is imperative that all accounts are reported a minimum of once
                  per month and that they are reported with a final Account Status
                  Code when they are ultimately paid or closed.

                  For data furnishers or processors who report data by cycles, all
                  accounts should be reported at the close of each cycle.

                  The FCRA places significant responsibility on both the data
                  furnishers and Consumer Reporting Agencies. For more details,
                  refer to the FCRA (sections 621 and 623), which can be found at
                  www.cdiaonline.org.

                  The following fields within the Metro 2® Format will assist you in
                  complying with federal and state legislation:

                  •   Compliance Condition Code
                  •   Date of First Delinquency
                  •   Account Type
                  •   Consumer Information Indicator
                  •   ECOA Code
                  •   Associated borrower information (J1/J2 Segments)
                  •   Original Creditor Name and Creditor Classification (K1
                      Segment)

                  Work closely with your compliance officers and programmers to
                  ensure that these and all fields are reported accurately and are
                  logical in relationship to each other.




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 Business Requirements

  RETURN ON       The correct use of the Metro 2® Format helps to ensure:
  INVESTMENT      •   Better credit granting decisions
                  •   Reduced manual corrections
                  •   Compliance with legislative requirements
                  •   Reduced need for new legislation
                  •   Reduced legal expenses
                  •   Reduced consumer inquiries
                  •   Reduced consumer disputes

  METRO 2®        Training on the Metro 2® Format is available through the CDIA in
                  three convenient formats: in-person workshops, a self-directed e-
  TRAINING        Learning course, and topic-based webinars. The CDIA’s Metro 2®
                  training programs are the only training options developed by the
                  Metro 2® Format Task Force, comprised of members from Equifax,
                  Experian, Innovis, and TransUnion. Registration for any of these
                  training programs is available through the CDIA’s website at
                  www.cdiaonline.org.

                  •   Metro 2® Workshops: These two-day workshops provide in-
                      depth training on the standard reporting of consumer credit
                      information to the consumer reporting agencies and focus on
                      the regular automated reporting of new accounts and updates
                      to previously-reported accounts in Metro 2®.

                  •   Metro 2® e-Learning Course: This comprehensive e-Learning
                      resource offers detailed guidance on the use of Metro 2® for
                      both veterans and those new to the format. Access is available
                      for a full year and includes interactive guidance on reporting as
                      well as examples of real-world reporting scenarios. Flexible
                      pricing options are available to allow data furnishers to provide
                      training for individuals or large groups of employees.

                  •   Metro 2® Webinars: These webinars are conducted by the
                      Metro 2® Format Task Force to provide guidance on specific
                      topics and are available for download after the event date. The
                      webinars are updated periodically and as such may not be
                      available at all times.

                  For additional information, please contact CDIA Education Services
                  at (202) 408-7408 or by email at cdia_training@cdiaonline.org.




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 Programming Standards

  CHARACTER VS.       The Consumer Data Record consists of the Base Segment and
                      additional segments that may be appended, as appropriate.
  PACKED FORMAT       The Header Record, Base Segment and Trailer Record are
                      available in both unpacked and packed formats. All
                      appendages are unpacked.

                      Each submission of data should contain only one occurrence
                      of each account number.

                      Two formats are available: character and packed. The only
                      differences between these two formats are some of the field
                      positions, caused by differences in recording techniques.


                      Character Format (preferred)
                      Record Size                  426 alphanumeric characters (or
                                                   bytes)
                      Format                       Fixed or variable blocked

                      Packed Format
                      Record Size                  366 bytes, packed and unpacked
                                                   data
                      Format                       Variable blocked

                      Record Layout
                      426 or 366 Base Segment followed by Appendages in
                      alphabetic sequence. For example:
                      Base + J1 + J2 + L1

                      Electronic Transmission
                      File Name                    No spaces or special characters
                                                   can be included in the File Name.

                      Notes:
                      The Character Format is preferred for data that is submitted
                      through electronic transmission.

                       Refer to Exhibit 16 for Examples of Record Layouts –
                       Hexadecimal Representation.




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 Programming Standards
                       Reporting Standards
                       • Every alphanumeric field is left-justified and blank filled.
                       • Every alpha field should be upper case letters.
                       • Every numeric field is right-justified and zero filled.
                       • If a descriptive field is not available, it should be blank
                         filled.
                       • If a numeric field is not available, it should be zero filled.
                       • Monetary fields are reported in whole dollars only. Cents
                         should be truncated.
                       • If a monetary field is not applicable, it should be zero
                         filled. Do not 9-fill these fields. A monetary field should
                         be 9-filled when the amount is in excess of $1 billion.
                       • If fixed-length records are being reported and a record
                         does not require the information for the appendage
                         segment, the Segment Identifier (e.g., J1) must be
                         reported and the remainder of the segment must be
                         blank filled.



                           Any deviation from these standards
                           jeopardizes the integrity of the data.



                       Note: Contact each consumer reporting agency prior to
                             reporting for information on:

                              •   electronic transmission (preferred)
                              •   acceptable media
                              •   data encryption
                              •   account number scrambling
                              •   pre-production testing




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 Production Tips

                       The following tips will ensure accurate processing of your
                       data with the consumer reporting agencies' systems:

                       •     Use the assigned Program Identifiers in the Header
                             Record to ensure your information is identified correctly
                             by the consumer reporting agencies.

                       •     Always retain a back-up copy of the data you provide.
                             This copy could be used to replace a transmission that
                             was unreadable.

                       •     Use address/zip code/social security number editing
                             logic in your New Accounts and Customer Service
                             systems to detect keying errors. The accuracy of
                             consumer identification information is critical.

                       •     Do not report derogatory accounts beyond the
                             allowable retention periods specified by federal and
                             state laws.

                       •     Report data at the close of the cycles if you bill by
                             cycles.

                       •     Do not report business accounts when companies are
                             solely responsible for payments. Business accounts
                             should be reported only when there are also consumers
                             who are personally liable for payments.

                       Contact your consumer reporting agencies’ representatives
                       prior to:

                       •     changing formats
                       •     changing transmission method
                       •     implementing internal system changes that may affect
                             the reporting of the data
                       •     reporting account or portfolio acquisitions
                       •     reporting account number changes
                       •     changing data processing centers
                       •     changing the frequency of reporting (i.e., accounts
                             reported more than once per month)

                       Refer to Exhibit 15 – Data Conversion Checklist for a
                       useful guide to use in the conversion process.




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 Record Layouts
  Record/Segment              Description

  Header Record               Identifies the reporter and reporting period.

  Base Segment                Contains account information, which applies to all
                              consumers associated to the account. Also contains
                              information specific to the primary consumer. For joint
                              accounts where two or more consumers are contractually
                              responsible, the consumer reported in the Base Segment
                              will be considered primary for reporting purposes.

  J1 Segment                  Contains information specific to an associated consumer who
  Associated Consumer –       lives at the same address as the consumer reported in the
  Same Address                Base Segment. All account information reported in the Base
                              Segment will be applied to this consumer.

  J2 Segment                  Contains information specific to an associated consumer who
  Associated Consumer –       lives at a different address than the consumer reported in
  Different Address           the Base Segment. All account information reported in the
                              Base Segment will be applied to this consumer.

  K1 Segment                  Contains the name of the original credit grantor, including
  Original Creditor Name      any partnering affinity name, and the creditor’s
                              classification. Reported by collection agencies, debt buyers,
                              check guarantee companies, student loan guaranty
                              agencies, the U.S. Department of Education and the U.S.
                              Treasury.

  K2 Segment                  Contains the name of the company from which an account
  Purchased From/Sold To      was purchased or the name of the company to which an
                              account was sold.

  K3 Segment                  Contains the Fannie Mae or Freddie Mac loan number
  Mortgage Information        associated to a mortgage account and/or the Mortgage
                              Identification Number assigned by MERS.

  K4 Segment                  Contains additional account information on deferred
  Specialized Payment         payments or balloon payments.
  Information

  L1 Segment                  Used to report a new Account Number and/or new
  Account Number /            Identification Number.
  Identification Number
  Change

  N1 Segment                  Contains employment information for the primary consumer
  Employment                  reported in the Base Segment.

  Trailer Record              Contains various totals of information reported on the file.

 Note: Refer to Field Definitions for detailed reporting guidelines.

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 Record Layouts
 Header Record — Character Format

                                                                                                DESCRIPTION
                                                                               RECORDING           PAGE
     FIELD   FIELD NAME                 REQUIRED 1     LENGTH     POSITION     TECHNIQUE 2        NUMBER 3
             Block Descriptor Word
      0                                      A            4          1-4             N               4-1
             (BDW)
             Record Descriptor
      1                                      Y            4          1-4             N               4-1
             Word (RDW)
      2      Record Identifier               Y            6         5-10            AN               4-1
      3      Cycle Identifier                A            2         11-12           AN               4-2
             Innovis Program
      4                                      A           10         13-22           AN               4-2
             Identifier
             Equifax Program
      5                                      A           10         23-32           AN               4-2
             Identifier
             Experian Program
      6                                      A            5         33-37           AN               4-2
             Identifier
             TransUnion Program
      7                                      A           10         38-47           AN               4-2
             Identifier
      8      Activity Date                   Y            8         48-55            N               4-2
      9      Date Created                    Y            8         56-63            N               4-2
      10     Program Date                                 8         64-71            N               4-2
      11     Program Revision Date                        8         72-79            N               4-3
      12     Reporter Name                   Y           40        80-119           AN               4-3
      13     Reporter Address                Y           96       120-215           AN               4-3
             Reporter Telephone
      14                                                 10       216-225            N               4-3
             Number
      15     Software Vendor Name            A           40       226-265           AN               4-3
             Software Version
      16                                     A            5       266-270           AN               4-3
             Number
             MicroBilt/PRBC
      17                                     A           10       271-280           AN               4-3
             Program Identifier
      18     Reserved                                   146       281-426           AN               4-3

                                                        Total
                                                         426




 1 Required Fields: Y = Yes, Field is always required; A = Field is required when applicable to the file
   being reported.
 2 Recording Technique: AN = Alphanumeric; N = Numeric
 3 Refer to definitions for field descriptions.



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 Record Layouts
 426 Base Segment — Character Format
                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD   FIELD NAME                  REQUIRED1      LENGTH     POSITION     TECHNIQUE2       NUMBER3
             Block Descriptor
       0                                     A             4          1-4             N               4-4
             Word (BDW)
             Record Descriptor
       1                                     Y             4          1-4             N               4-4
             Word (RDW)
       2     Processing Indicator                          1           5              N               4-4
       3     Time Stamp                                   14          6-19            N               4-5
       4     Reserved                                      1           20             N               4-5
       5     Identification Number           Y            20         21-40           AN               4-5
       6     Cycle Identifier                A             2         41-42           AN               4-5
             Consumer Account
       7                                     Y            30         43-72           AN               4-5
             Number
       8     Portfolio Type                  Y             1           73            AN               4-6
       9     Account Type                    Y             2         74-75           AN               4-6
       10    Date Opened                     Y             8         76-83            N               4-6
       11    Credit Limit                    A             9         84-92            N               4-7
             Highest Credit or
       12                                    Y             9        93-101            N               4-7
             Original Loan Amount
       13    Terms Duration                  Y             3        102-104          AN               4-8
       14    Terms Frequency                 A             1          105            AN               4-8
             Scheduled Monthly
       15                                    A             9        106-114           N               4-9
             Payment Amount
             Actual Payment
       16                                    A             9        115-123           N               4-9
             Amount
       17A   Account Status                  Y             2        124-125          AN               4-10
       17B   Payment Rating                  A             1          126            AN               4-10
             Payment History
       18                                    Y            24        127-150          AN               4-11
             Profile
       19    Special Comment                 A             2        151-152          AN               4-12
             Compliance Condition
       20                                    A             2        153-154          AN               4-13
             Code
       21    Current Balance                 Y             9        155-163           N               4-14
       22    Amount Past Due                 A             9        164-172           N               4-14
             Original Charge-off
       23                                    A             9        173-181           N               4-14
             Amount




 ____________
 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the
   account being reported.
 2 Recording Technique: AN = Alphanumeric; N = Numeric
 3 Refer to definitions for field descriptions.



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 Record Layouts
 426 Base Segment — Character Format
                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD   FIELD NAME                 REQUIRED1       LENGTH     POSITION     TECHNIQUE2       NUMBER3
             Date of Account
      24                                     Y             8        182-189           N               4-15
             Information
             FCRA Compliance/
      25     Date of First                   A             8        190-197           N               4-16
             Delinquency
      26     Date Closed                     A             8        198-205           N               4-17
      27     Date of Last Payment            A             8        206-213           N               4-17
             Interest Type
      28                                                   1          214            AN               4-17
             Indicator
      29     Reserved                                     17        215-231          AN               4-17
      30     Surname                         Y            25        232-256          AN               4-18
      31     First Name                      Y            20        257-276          AN               4-18
      32     Middle Name                     A            20        277-296          AN               4-19
      33     Generation Code                 A             1          297            AN               4-19
             Social Security
      34                                     Y             9        298-306           N               4-19
             Number
      35     Date of Birth                   Y             8        307-314           N               4-20
      36     Telephone Number                             10        315-324           N               4-20
      37     ECOA Code                       Y             1          325            AN               4-20
             Consumer
      38                                     A             2        326-327          AN               4-21
             Information Indicator
      39     Country Code                                  2        328-329          AN               4-21
      40     First Line of Address           Y            32        330-361          AN               4-22
             Second Line of
      41                                     A            32        362-393          AN               4-22
             Address
      42     City                            Y            20        394-413          AN               4-22
      43     State                           Y             2        414-415          AN               4-23
      44     Postal/Zip Code                 Y             9        416-424          AN               4-23
      45     Address Indicator                             1          425            AN               4-23
      46     Residence Code                                1          426            AN               4-23

                                                         Total
                                                          426




 _____________
 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the
   account being reported.
 2 Recording Technique: AN = Alphanumeric; N = Numeric
 3 Refer to definitions for field descriptions.


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 Record Layouts
 J1 Segment
 Associated Consumer — Same Address

                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD   FIELD NAME                 REQUIRED 1      LENGTH     POSITION     TECHNIQUE 2      NUMBER 3
        1    Segment Identifier              Y             2          1-2            AN               4-24
        2    Reserved                                      1            3            AN               4-24
        3    Surname                         Y            25          4-28           AN               4-24
        4    First Name                      Y            20         29-48           AN               4-25
        5    Middle Name                     A            20         49-68           AN               4-25
        6    Generation Code                 A             1           69            AN               4-25
             Social Security
        7                                    Y             9         70-78            N               4-26
             Number
        8    Date of Birth                   Y             8         79-86            N               4-26
        9    Telephone Number                             10         87-96            N               4-27
      10     ECOA Code                       Y             1           97            AN               4-27
             Consumer
      11                                     A             2         98-99           AN               4-28
             Information Indicator
      12     Reserved                                      1          100            AN               4-28

                                                         Total
                                                         100




 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the
   account being reported.
 2 Recording Technique: AN = Alphanumeric; N = Numeric
 3 Refer to definitions for field descriptions.



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 Record Layouts
 J2 Segment
 Associated Consumer — Different Address
                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD   FIELD NAME                 REQUIRED 1      LENGTH     POSITION     TECHNIQUE 2      NUMBER 3
      1      Segment Identifier              Y             2          1-2            AN               4-29
      2      Reserved                                      1            3            AN               4-29
      3      Surname                         Y            25          4-28           AN               4-29
      4      First Name                      Y            20         29-48           AN               4-30
      5      Middle Name                     A            20         49-68           AN               4-30
      6      Generation Code                 A             1           69            AN               4-30
             Social Security
      7                                      Y             9         70-78            N               4-31
             Number
      8      Date of Birth                   Y             8         79-86            N               4-32
      9      Telephone Number                             10         87-96            N               4-33
      10     ECOA Code                       Y             1           97            AN               4-33
             Consumer
      11                                     A             2         98-99           AN               4-34
             Information Indicator
      12     Country Code                                  2        100-101          AN               4-34
      13     First Line of Address           Y            32        102-133          AN               4-35
             Second Line of
      14                                     A            32        134-165          AN               4-35
             Address
      15     City                            Y            20        166-185          AN               4-35
      16     State                           Y             2        186-187          AN               4-36
      17     Postal/Zip Code                 Y             9        188-196          AN               4-36
      18     Address Indicator                             1          197            AN               4-36
      19     Residence Code                                1          198            AN               4-36
      20     Reserved                                      2        199-200          AN               4-36

                                                         Total
                                                         200




 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the
   account being reported.
 2 Recording Technique: AN = Alphanumeric; N = Numeric
 3 Refer to definitions for field descriptions.



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 Record Layouts
 K1 Segment
 Original Creditor Name
                                                                                          DESCRIPTION
                                                                            RECORDING        PAGE
      FIELD    FIELD NAME                REQUIRED 1   LENGTH    POSITION    TECHNIQUE 2     NUMBER 3
        1      Segment Identifier            Y          2           1-2         AN           4-37
               Original Creditor
        2                                    Y          30         3-32         AN           4-38
               Name
        3      Creditor Classification       Y          2          33-34         N           4-39

                                                       Total
                                                        34




 K2 Segment
 Purchased From/Sold To
                                                                                          DESCRIPTION
                                                                            RECORDING        PAGE
      FIELD    FIELD NAME                REQUIRED1    LENGTH    POSITION    TECHNIQUE2      NUMBER3
        1      Segment Identifier            Y          2           1-2         AN           4-40
               Purchased From/Sold
        2                                    Y          1           3            N           4-40
               To Indicator
               Purchased From or
        3                                    Y          30         4-33         AN           4-40
               Sold To Name
        4      Reserved                                 1           34          AN           4-40

                                                       Total
                                                        34




 1   Required fields: Y = Yes, Field is always required.
 2   Recording Technique: AN = Alphanumeric; N = Numeric
 3   Refer to definitions for field descriptions.

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 Record Layouts
 K3 Segment
 Mortgage Information

                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD   FIELD NAME                 REQUIRED 1      LENGTH     POSITION     TECHNIQUE 2      NUMBER 3
      1      Segment Identifier              Y             2          1-2            AN               4-41
      2      Agency Identifier               A             2          3-4             N               4-41
      3      Account Number                  A            18          5-22           AN               4-41
             Mortgage
      4                                                   18         23-40           AN               4-41
             Identification Number

                                                       Total 40




 K4 Segment
 Specialized Payment Information
                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD   FIELD NAME                 REQUIRED1       LENGTH     POSITION     TECHNIQUE2       NUMBER3
      1      Segment Identifier              Y             2          1-2            AN               4-42
             Specialized Payment
      2                                      Y             2          3-4             N               4-42
             Indicator
             Deferred Payment
      3                                      A             8          5-12            N               4-42
             Start Date
             Balloon Payment
      4                                      A             8         13-20            N               4-42
             Due Date
             Balloon Payment
      5                                      A             9         21-29            N               4-42
             Amount
      6      Reserved                                      1           30            AN               4-42

                                                       Total 30




 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the
   account being reported.
 2 Recording Technique: AN = Alphanumeric; N = Numeric
 3 Refer to definitions for field descriptions.



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 Record Layouts
 L1 Segment
 Account Number/Identification Number Change
                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD    FIELD NAME                REQUIRED 1     LENGTH     POSITION      TECHNIQUE 2      NUMBER 3
        1     Segment Identifier             Y            2          1-2            AN                4-43
        2     Change Indicator               Y            1           3              N                4-43
              New Consumer
        3                                    A            30         4-33           AN                4-43
              Account Number
              New Identification
        4                                    A            20        34-53           AN                4-44
              Number
        5     Reserved                                    1           54            AN                4-44

                                                         Total
                                                          54


 N1 Segment
 Employment
                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD   FIELD NAME                 REQUIRED1      LENGTH     POSITION      TECHNIQUE2       NUMBER3
        1    Segment Identifier              Y            2          1-2            AN                4-45
        2    Employer Name                   Y            30         3-32           AN                4-45
             First Line of Employer
        3                                                 32        33-64           AN                4-45
             Address
             Second Line of
        4                                                 32        65-96           AN                4-45
             Employer Address
        5    Employer City                                20       97-116           AN                4-45
        6    Employer State                               2        117-118          AN                4-45
             Employer Postal/Zip
        7                                                 9        119-127          AN                4-45
             Code
        8    Occupation                      A            18       128-145          AN                4-46
        9    Reserved                                     1          146            AN                4-46

                                                         Total
                                                         146




 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the
   account being reported.
 2 Recording Technique: AN = Alphanumeric; N = Numeric
 3 Refer to definitions for field descriptions.



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 Record Layouts
 Trailer Record — Character Format
                                                                                                 DESCRIPTION
                                                                                 RECORDING          PAGE
     FIELD   FIELD NAME                   REQUIRED 1     LENGTH     POSITION     TECHNIQUE 2       NUMBER 3
             Record Descriptor Word
      1                                        Y            4          1-4             N             4-47
             (RDW)
      2      Record Identifier                 Y            7          5-11           AN             4-47
      3      Total Base Records                Y            9         12-20            N             4-47
      4      Reserved                                       9         21-29           AN             4-47
      5      Total of Status Code DF                        9         30-38            N             4-47
             Total Associated
      6                                        A            9         39-47            N             4-47
             Consumer Segments (J1)
             Total Associated
      7                                        A            9         48-56            N             4-47
             Consumer Segments (J2)
      8      Block Count                       Y            9         57-65            N             4-47
      9      Total of Status Code DA                        9         66-74            N             4-47
      10     Total of Status Code 05                        9         75-83            N             4-47
      11     Total of Status Code 11                        9         84-92            N             4-47
      12     Total of Status Code 13                        9        93-101            N             4-48
      13     Total of Status Code 61                        9        102-110           N             4-48
      14     Total of Status Code 62                        9        111-119           N             4-48
      15     Total of Status Code 63                        9        120-128           N             4-48
      16     Total of Status Code 64                        9        129-137           N             4-48
      17     Total of Status Code 65                        9        138-146           N             4-48
      18     Total of Status Code 71                        9        147-155           N             4-48
      19     Total of Status Code 78                        9        156-164           N             4-48
      20     Total of Status Code 80                        9        165-173           N             4-48
      21     Total of Status Code 82                        9        174-182           N             4-48
      22     Total of Status Code 83                        9        183-191           N             4-48
      23     Total of Status Code 84                        9        192-200           N             4-48
      24     Total of Status Code 88                        9        201-209           N             4-48
      25     Total of Status Code 89                        9        210-218           N             4-49
      26     Total of Status Code 93                        9        219-227           N             4-49
      27     Total of Status Code 94                        9        228-236           N             4-49
      28     Total of Status Code 95                        9        237-245           N             4-49




 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the file
   being reported.
 2 Recording Technique: AN = Alphanumeric; N = Numeric
 3 Refer to definitions for field descriptions.



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 Record Layouts
 Trailer Record — Character Format
                                                                                                 DESCRIPTION
                                                                                 RECORDING          PAGE
     FIELD   FIELD NAME                   REQUIRED 1     LENGTH     POSITION     TECHNIQUE 2       NUMBER 3
      29     Total of Status Code 96                        9        246-254           N             4-49
      30     Total of Status Code 97                        9        255-263           N             4-49
             Total of ECOA Code Z
      31                                                    9        264-272           N             4-49
             (All Segments)
             Total Employment
      32                                                    9        273-281           N             4-49
             Segments
             Total Original Creditor
      33                                                    9        282-290           N             4-49
             Segments
             Total Purchased
      34                                                    9        291-299           N             4-49
             From/Sold To Segments
             Total Mortgage
      35                                                    9        300-308           N             4-49
             Information Segments
             Total Specialized
      36     Payment Information                            9        309-317           N             4-49
             Segments
      37     Total Change Segments                          9        318-326           N             4-49
             Total Social Security
      38                                                    9        327-335           N             4-50
             Numbers (All Segments)
             Total Social Security
      39     Numbers (Base                                  9        336-344           N             4-50
             Segments)
             Total Social Security
      40                                                    9        345-353           N             4-50
             Numbers (J1 Segments)
             Total Social Security
      41                                                    9        354-362           N             4-50
             Numbers (J2 Segments)
             Total Dates of Birth
      42                                                    9        363-371           N             4-50
             (All Segments)
             Total Dates of Birth
      43                                                    9        372-380           N             4-50
             (Base Segments)
             Total Dates of Birth
      44                                                    9        381-389           N             4-50
             (J1 Segments)
             Total Dates of Birth
      45                                                    9        390-398           N             4-50
             (J2 Segments)
             Total Telephone Numbers
      46                                                    9        399-407           N             4-50
             (All Segments)
      47     Reserved                                      19        408-426          AN             4-50

                                                          Total
                                                           426




 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the file
   being reported.
 2 Recording Technique: AN = Alphanumeric; N = Numeric
 3 Refer to definitions for field descriptions.



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 Record Layouts
 Header Record — Packed Format

                                                                                                DESCRIPTION
                                                                                 RECORDING         PAGE
     FIELD    FIELD NAME                  REQUIRED 1    LENGTH      POSITION     TECHNIQUE 2      NUMBER 3
              Block Descriptor Word
      0                                       Y            4           1-4            B              4-1
              (BDW)
              Record Descriptor
      1                                       Y            4           1-4            B              4-1
              Word (RDW)
      2       Record Identifier               Y            6          5-10            AN             4-1
      3       Cycle Identifier                A            2          11-12           AN             4-2
              Innovis Program
      4                                       A            10         13-22           AN             4-2
              Identifier
              Equifax Program
      5                                       A            10         23-32           AN             4-2
              Identifier
              Experian Program
      6                                       A            5          33-37           AN             4-2
              Identifier
              TransUnion Program
      7                                       A            10         38-47           AN             4-2
              Identifier
      8       Activity Date                   Y            8          48-55           N              4-2
      9       Date Created                    Y            8          56-63           N              4-2
      10      Program Date                                 8          64-71           N              4-2
      11      Program Revision Date                        8          72-79           N              4-3
      12      Reporter Name                   Y            40        80-119           AN             4-3
      13      Reporter Address                Y            96       120-215           AN             4-3
              Reporter Telephone
      14                                                   10       216-225           N              4-3
              Number
      15      Software Vendor Name            A            40       226-265           AN             4-3
              Software Version
      16                                      A            5        266-270           AN             4-3
              Number
              MicroBilt/PRBC
      17                                      A            10       271-280           AN             4-3
              Program Identifier
      18      Reserved                                     86       281-366           AN             4-3

                                                          Total
                                                          366




 1 Required Fields: Y = Yes, Field is always required; A = Field is required when applicable to the file
   being reported.
 2 Recording Technique: AN = Alphanumeric; B = Binary; N = Numeric
 3 Refer to definitions for field descriptions.



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 Record Layouts
 366 Base Segment — Packed Format
                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD   FIELD NAME                  REQUIRED1      LENGTH     POSITION     TECHNIQUE2       NUMBER3
             Block Descriptor
        0                                    Y             4          1-4            B                4-4
             Word (BDW)
             Record Descriptor
        1                                    Y             4          1-4            B                4-4
             Word (RDW)
        2    Processing Indicator                          1           5             N                4-4
        3    Time Stamp                                    8         6-13            P                4-5
        4    Reserved                                      1           14            N                4-5
        5    Identification Number           Y            20         15-34           AN               4-5
        6    Cycle Identifier                A             2         35-36           AN               4-5
             Consumer Account
        7                                    Y            30         37-66           AN               4-5
             Number
        8    Portfolio Type                  Y             1           67            AN               4-6
        9    Account Type                    Y             2         68-69           AN               4-6
      10     Date Opened                     Y             5         70-74           P                4-6
      11     Credit Limit                    A             5         75-79           P                4-7
             Highest Credit or
      12                                     Y             5         80-84           P                4-7
             Original Loan Amount
      13     Terms Duration                  Y             3         85-87           AN               4-8
      14     Terms Frequency                 A             1           88            AN               4-8
             Scheduled Monthly
      15                                     A             5         89-93           P                4-9
             Payment Amount
             Actual Payment
      16                                     A             5         94-98           P                4-9
             Amount
     17A     Account Status                  Y             2        99-100           AN               4-10
     17B     Payment Rating                  A             1          101            AN               4-10
             Payment History
      18                                     Y            24       102-125           AN               4-11
             Profile
      19     Special Comment                 A             2       126-127           AN               4-12
             Compliance Condition
      20                                     A             2       128-129           AN               4-13
             Code
      21     Current Balance                 Y             5       130-134           P                4-14
      22     Amount Past Due                 A             5       135-139           P                4-14




 ___________________
 1 Required Fields: Y = Yes, Field is always required; A = Field is required when applicable to the
   account being reported.
 2 Recording Technique: AN = Alphanumeric; B = Binary; N = Numeric; P = Packed
 3 Refer to definitions for field descriptions.



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 Record Layouts
 366 Base Segment — Packed Format
                                                                                               DESCRIPTION
                                                                                RECORDING         PAGE
     FIELD   FIELD NAME                 REQUIRED1       LENGTH     POSITION     TECHNIQUE2       NUMBER3
             Original Charge-off
      23                                     A             5       140-144           P                4-14
             Amount
             Date of Account
      24                                     Y             5       145-149           P                4-15
             Information
             FCRA
      25     Compliance/Date of              A             5       150-154           P                4-16
             First Delinquency
      26     Date Closed                     A             5       155-159           P                4-17
      27     Date of Last Payment            A             5       160-164           P                4-17
             Interest Type
      28                                                   1          165            AN               4-17
             Indicator
      29     Reserved                                     17       166-182           AN               4-17
      30     Surname                         Y            25       183-207           AN               4-18
      31     First Name                      Y            20       208-227           AN               4-18
      32     Middle Name                     A            20       228-247           AN               4-19
      33     Generation Code                 A             1          248            AN               4-19
             Social Security
      34                                     Y             5       249-253           P                4-19
             Number
      35     Date of Birth                   Y             5       254-258           P                4-20
      36     Telephone Number                              6       259-264           P                4-20
      37     ECOA Code                       Y             1          265            AN               4-20
             Consumer
      38                                     A             2       266-267           AN               4-21
             Information Indicator
      39     Country Code                                  2       268-269           AN               4-21
      40     First Line of Address           Y            32       270-301           AN               4-22
             Second Line of
      41                                     A            32       302-333           AN               4-22
             Address
      42     City                            Y            20       334-353           AN               4-22
      43     State                           Y             2       354-355           AN               4-23
      44     Postal/Zip Code                 Y             9       356-364           AN               4-23
      45     Address Indicator                             1          365            AN               4-23
      46     Residence Code                                1          366            AN               4-23

                                                         Total
                                                         366


 __________________________
 1 Required Fields: Y = Yes, Field is always required; A = Field is required when applicable to the
   account being reported.
 2 Recording Technique: AN = Alphanumeric; P = Packed
 3 Refer to definitions for field descriptions.



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 Record Layouts
 Trailer Record — Packed Format
                                                                                                 DESCRIPTION
                                                                                 RECORDING          PAGE
     FIELD    FIELD NAME                  REQUIRED 1     LENGTH     POSITION     TECHNIQUE 2       NUMBER 3
              Record Descriptor Word
        1                                      Y            4          1-4             B             4-47
              (RDW)
        2     Record Identifier                Y            7          5-11           AN             4-47
        3     Total Base Records               Y            5         12-16            P             4-47
        4     Reserved                                      5         17-21           AN             4-47
        5     Total of Status Code DF                       5         22-26            P             4-47
              Total Associated
        6     Consumer Segments                A            5         27-31            P             4-47
              (J1)
              Total Associated
        7     Consumer Segments                A            5         32-36            P             4-47
              (J2)
        8     Block Count                      Y            5         37-41            P             4-47
        9     Total of Status Code DA                       5         42-46            P             4-47
        10    Total of Status Code 05                       5         47-51            P             4-47
        11    Total of Status Code 11                       5         52-56            P             4-47
        12    Total of Status Code 13                       5         57-61            P             4-48
        13    Total of Status Code 61                       5         62-66            P             4-48
        14    Total of Status Code 62                       5         67-71            P             4-48
        15    Total of Status Code 63                       5         72-76            P             4-48
        16    Total of Status Code 64                       5         77-81            P             4-48
        17    Total of Status Code 65                       5         82-86            P             4-48
        18    Total of Status Code 71                       5         87-91            P             4-48
        19    Total of Status Code 78                       5         92-96            P             4-48
        20    Total of Status Code 80                       5        97-101            P             4-48
        21    Total of Status Code 82                       5        102-106           P             4-48
        22    Total of Status Code 83                       5        107-111           P             4-48
        23    Total of Status Code 84                       5        112-116           P             4-48
        24    Total of Status Code 88                       5        117-121           P             4-48
        25    Total of Status Code 89                       5        122-126           P             4-49
        26    Total of Status Code 93                       5        127-131           P             4-49
        27    Total of Status Code 94                       5        132-136           P             4-49



 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the file
   being reported.
 2 Recording Technique: AN = Alphanumeric; B = Binary; P = Packed
 3 Refer to definitions for field descriptions.



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 Record Layouts
 Trailer Record — Packed Format
                                                                                                 DESCRIPTION
                                                                                 RECORDING          PAGE
     FIELD   FIELD NAME                   REQUIRED 1     LENGTH     POSITION     TECHNIQUE 2       NUMBER 3
      28     Total of Status Code 95                        5        137-141           P             4-49
      29     Total of Status Code 96                        5        142-146           P             4-49
      30     Total of Status Code 97                        5        147-151           P             4-49
             Total of ECOA Code Z
      31                                                    5        152-156           P             4-49
             (All Segments)
             Total Employment
      32                                                    5        157-161           P             4-49
             Segments
             Total Original Creditor
      33                                                    5        162-166           P             4-49
             Segments
             Total Purchased
      34                                                    5        167-171           P             4-49
             From/Sold To Segments
             Total Mortgage
      35                                                    5        172-176           P             4-49
             Information Segments
             Total Specialized
      36     Payment Information                            5        177-181           P             4-49
             Segments
      37     Total Change Segments                          5        182-186           P             4-49
             Total Social Security
      38                                                    5        187-191           P             4-50
             Numbers (All Segments)
             Total Social Security
      39     Numbers (Base                                  5        192-196           P             4-50
             Segments)
             Total Social Security
      40                                                    5        197-201           P             4-50
             Numbers (J1 Segments)
             Total Social Security
      41                                                    5        202-206           P             4-50
             Numbers (J2 Segments)
             Total Dates of Birth
      42                                                    5        207-211           P             4-50
             (All Segments)
             Total Dates of Birth
      43                                                    5        212-216           P             4-50
             (Base Segments)
             Total Dates of Birth
      44                                                    5        217-221           P             4-50
             (J1 Segments)
             Total Dates of Birth
      45                                                    5        222-226           P             4-50
             (J2 Segments)
             Total Telephone Numbers
      46                                                    5        227-231           P             4-50
             (All Segments)
      47     Reserved                                      135       232-366          AN             4-50

                                                          Total
                                                           366




 1 Required fields: Y = Yes, Field is always required; A = Field is required when applicable to the file
   being reported.
 2 Recording Technique: AN = Alphanumeric; P = Packed
 3 Refer to definitions for field descriptions.



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 Field Definitions

 Header Record

 The Header Record must be the first record provided and includes information
 necessary to identify the reporter.

                                                                                     426 Character
     FIELD   FIELD NAME & DESCRIPTION                                                  Format 1
                                                                                                   Recording
                                                                               Length   Position   Technique

       0     Block Descriptor Word (BDW)                                         4       1-4 of       N
                                                                                          each
             Contains a value equal to the length of the block of data and              block of
                                                                                         data*
             must be reported when using the packed format or when
             reporting variable length records. This value includes the four
             bytes reserved for this field. Report the standard IBM variable
             record length conventions.

             *This field is not required when reporting fixed length, fixed
              block records.
       1     Record Descriptor Word (RDW)                                        4       1-4 of       N
                                                                                          each
             Contains a value equal to the length of the physical record.               physical
                                                                                         record
             This value includes the four bytes reserved for this field.

             The recording technique is Numeric for the 426 format and
             Binary for the 366 format.

             •   Numeric: The entire four bytes are used. Example:
                 F0F4F2F6.
             •   Binary: The hexadecimal value should be in the first two
                 bytes of the field and the last two bytes should contain
                 binary zeros. Example: 016E0000.

             If fixed-length records are being reported, the Header Record
             should be the same length as all the data records. The Header
             Record should be padded with blanks to fill the needed number
             of positions.
       2     Record Identifier                                                   6       5-10        AN

             Contains a constant of HEADER, which is used to identify this
             record.




 1
     For 366 Packed Format specifications, refer to the Record Layouts section of the Metro 2®
     Format module.
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 Field Definitions

 Header Record
                                                                                  426 Character
  FIELD    FIELD NAME & DESCRIPTION                                                  Format
                                                                                                 Recording
                                                                             Length   Position   Technique

       3   Cycle Identifier                                                       2   11-12        AN

           Contains the cycle identifier for the information being
           reported, if reporting by cycles. If data contains more than
           one cycle, report the first cycle identifier found on the data.
       4   Innovis Program Identifier                                         10      13-22        AN

           Contains a unique identification number assigned by this
           consumer reporting agency.
       5   Equifax Program Identifier                                         10      23-32        AN

           Contains a unique identification number assigned by this
           consumer reporting agency.
       6   Experian Program Identifier                                            5   33-37        AN

           Contains a unique identification number assigned by this
           consumer reporting agency.
       7   TransUnion Program Identifier                                      10      38-47        AN

           Contains a unique identification number assigned by this
           consumer reporting agency.
       8   Activity Date                                                          8   48-55         N

           Signifies date of most recent update to accounts. If accounts
           are updated on different dates, use most recent. A future
           date should not be reported. Format is MMDDYYYY.
       9   Date Created                                                           8   56-63         N

           Contains the date the media was generated. A future date
           should not be reported. Format is MMDDYYYY.
    10     Program Date                                                           8   64-71         N

           Contains the date your reporting format was developed.
           Format is MMDDYYYY. If the day is not available, use 01.




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 Field Definitions

 Header Record

                                                                               426 Character
  FIELD   FIELD NAME & DESCRIPTION                                                Format
                                                                                              Recording
                                                                         Length   Position    Technique

    11    Program Revision Date                                            8       72-79           N

          Contains the last date your reporting format was revised.
          Format is MMDDYYYY. If the day is not available, use 01.
    12    Reporter Name                                                    40     80-119           AN

          Contains the name of the processing company sending the
          data; i.e., data furnisher or processor.

          If multiple Header Records are provided, the Reporter Name
          on the second and subsequent Headers may be repeated or
          blank filled.
    13    Reporter Address                                                 96     120-215          AN

          Contains the complete mailing address of the processing
          company; i.e., street address, city, state and zip code.
    14    Reporter Telephone Number                                        10     216-225          N

          Contains the telephone number (Area Code + number) of the
          company sending the data; i.e., data furnisher or processor.
    15    Software Vendor Name                                             40     226-265          AN

          Contains the name of the software vendor that provided the
          Metro 2® Format software.
    16    Software Version Number                                          5      266-270          AN

          Contains the version number of the Metro 2® Format
          software.
    17    MicroBilt/PRBC Program Identifier                                10     271-280          AN

          Contains a unique identification number assigned by this
          consumer reporting agency.
    18    Reserved                                                        146     281-426          AN

          Blank fill.




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 Field Definitions

 Base Segment
 This section describes each data element in the Base Segment, which is used to report
 the primary consumer’s identification information and the account transactional
 information.

                                                                                   426 Character
     FIELD FIELD NAME & DESCRIPTION                                                  Format1
                                                                                                 Recording
                                                                             Length   Position   Technique

       0   Block Descriptor Word (BDW)                                         4       1-4 of       N
                                                                                        each
           Contains a value equal to the length of the block of data and              block of
                                                                                       data*
           must be reported when using the packed format or when
           reporting variable length records. This value includes the four
           bytes reserved for this field. Report the standard IBM variable
           record length conventions.

           *This field is not required when reporting fixed length, fixed
            block records.
       1   Record Descriptor Word (RDW)                                        4       1-4 of       N
                                                                                        each
           Contains a value equal to the length of the physical record.               physical
           This value includes the four bytes reserved for this field. The             record
           length of each segment should be included in the RDW.

           For example:
           Base Segment= 426
           J2 Segment = 200
           K1 Segment =     34
           RDW          = 0660

           For fixed block, the RDW will remain the same for each record.

           For variable block, the RDW will change depending on the size
           of each record.
       2   Processing Indicator                                                1         5          N

           Report a constant of 1.




 ____________________
 1
     For 366 Packed Format specifications, refer to the Record Layouts section of the Metro 2®
     Format module.

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 Field Definitions

 Base Segment

                                                                                426 Character
  FIELD FIELD NAME & DESCRIPTION                                                   Format
                                                                                                  Recording
                                                                             Length   Position    Technique

    3   Time Stamp                                                            14       6-19            N

        Contains date and time of actual account information update.

        Format for packed date is 0MMDDYYYYHHMMSSs — where s is
        the sign. Format is MMDDYYYYHHMMSS for character date.
    4   Reserved                                                               1        20             N
        Zero fill.

        Field formerly used for Correction Indicator.
    5   Identification Number                                                 20      21-40            AN
        Used to uniquely identify a data furnisher. Report your internal
        code to identify each branch, office, and/or credit central where
        information is verified. For accounts reported by servicers, the
        Identification Number should refer to the current holder of the
        note.

        This number must be unique, at least 5 digits long, and should
        not include embedded blanks or special characters. Entire field
        should never be zero, blank or 9 filled.

        This field must be consistent on a month-to-month basis to
        avoid duplication of information. Notify consumer reporting
        agencies before adding, deleting, or changing the
        identifiers in this field.
    6   Cycle Identifier                                                       2      41-42            AN

        Report the internal cycle code for this account. Field is required
        if reporting by cycles; otherwise blank fill.
    7   Consumer Account Number                                               30      43-72            AN

        Report the individual's complete and unique account number as
        extracted from your file. Do not include embedded blanks or
        special characters.

        Do not report the Social Security Number, in whole or in
        part, within the Consumer Account Number.

        Account number scrambling and encryption methods for
        security purposes are permitted. Contact the consumer
        reporting agencies for information regarding the Metro 2®
        scrambling techniques.




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 Field Definitions

 Base Segment
                                                                                    426 Character
  FIELD FIELD NAME & DESCRIPTION                                                       Format
                                                                                                  Recording
                                                                              Length   Position   Technique

       8   Portfolio Type                                                       1        73         AN

           Contains the one-character abbreviation for type of portfolio.
           Values available:

            C   =   Line of Credit
            I   =   Installment
            M   =   Mortgage
            O   =   Open
            R   =   Revolving

           Refer to the Glossary of Terms for definitions of each Portfolio
           Type.
       9   Account Type                                                         2      74-75        AN

           Report the specific code that identifies the account
           classification.

           Exhibit 1 provides a numeric listing of type codes that specify
           industry usage, and Exhibit 2 provides an alphabetic listing of
           type codes within their corresponding Portfolio Types.
    10     Date Opened                                                          8      76-83         N

           Report the date the account was originally opened. Retain the
           original Date Opened regardless of future activity, such as
           transfer, refinance, lost or stolen card, etc.

           Valid Dates Opened must be reported – field cannot be zero or
           blank filled, nor contain a date in the future.

           For companies who report returned checks, such as collection
           agencies, report the date of the check.

           Format for character date is MMDDYYYY. Format for packed
           date is 0MMDDYYYYs — where s is the sign. If the day is not
           available, use 01.




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 Field Definitions

 Base Segment

                                                                              426 Character
  FIELD FIELD NAME & DESCRIPTION                                                 Format
                                                                                                Recording
                                                                           Length   Position    Technique

    11   Credit Limit                                                        9      84-92            N

         Report the following values in whole dollars only:

          Line of Credit   = Assigned credit limit*
          Installment      = Zero fill
          Mortgage         = Zero fill
          Open             = Assigned credit limit*, if applicable;
                             otherwise, zero fill
          Revolving        = Assigned credit limit*

         * For closed accounts, continue to report the last assigned
          credit limit.
    12   Highest Credit or Original Loan Amount                              9      93-101           N

         Report the following values in whole dollars only:

          Line of Credit   = Highest amount of credit utilized by the
                             consumer
          Installment      = Original amount of the loan excluding
                             interest payments
          Mortgage         = Original amount of the loan excluding
                             interest payments
          Open             = Highest amount of credit utilized by the
                             consumer, if applicable
          Revolving        = Highest amount of credit utilized by the
                             consumer

         For companies who report returned checks, such as collection
         agencies, report the original amount of the check, excluding
         fees and interest.




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 Field Definitions

 Base Segment
                                                                                  426 Character
  FIELD FIELD NAME & DESCRIPTION                                                     Format
                                                                                                Recording
                                                                            Length   Position   Technique

    13   Terms Duration                                                       3       102-        AN
                                                                                      104
         Contains the duration of credit extended.

          Line of Credit   = Constant of LOC
          Installment      = Number of months
          Mortgage         = Number of years
          Open             = Constant of 001
                             One payment as scheduled
          Revolving        = Constant of REV

         Exhibit 3 provides the calculations necessary to convert Terms
         Duration to monthly.
    14   Terms Frequency                                                      1       105         AN
         Report the frequency for payments due. Values available:

         D    =   Deferred (Refer to Note)
         P    =   Single Payment Loan
         W    =   Weekly
         B    =   Biweekly
         E    =   Semimonthly
         M    =   Monthly
         L    =   Bimonthly
         Q    =   Quarterly
         T    =   Tri-annually
         S    =   Semiannually
         Y    =   Annually

         Exhibit 3 provides definitions of the Terms Frequency Codes.

         Note: When reporting Deferred loans, report the Deferred
               Payment Start Date in the K4 Segment.




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 Field Definitions

 Base Segment

                                                                                 426 Character
  FIELD FIELD NAME & DESCRIPTION                                                    Format
                                                                                                Recording
                                                                           Length   Position    Technique

    15   Scheduled Monthly Payment Amount                                    9       106-            N
                                                                                     114
         Report the dollar amount of the scheduled monthly payment
         due for this reporting period, whether principal, interest only
         or a combination of the two. When a balloon payment is also
         due during the reporting period, the balloon payment amount
         should be included to represent the entire monthly payment
         amount due.

         Report in whole dollars only. When the account is paid in full,
         the Scheduled Monthly Payment Amount should be zero filled.

          Line of Credit   = Minimum amount due based on balance,
                             not including any amounts past due
          Installment      = Regular monthly payment
          Mortgage         = Regular monthly payment, including the
                             principal, interest, and escrow due this
                             month
          Open             = Zero fill
          Revolving        = Minimum amount due based on balance,
                             not including any amounts past due

         Exhibit 3 provides the calculations necessary to convert
         payment amounts to monthly.
    16   Actual Payment Amount                                               9       115-            N
                                                                                     123
         Report the dollar amount of the monthly payment actually
         received for this reporting period in whole dollars only.

         If multiple payments are made during the reporting period, the
         total amount should be reported.




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 Field Definitions

 Base Segment
                                                                                    426 Character
  FIELD FIELD NAME & DESCRIPTION                                                       Format
                                                                                                  Recording
                                                                              Length   Position   Technique

   17A   Account Status                                                         2       124-        AN
                                                                                        125
         Contains the status code that properly identifies the current
         condition of the account as of the Date of Account Information
         (Field 24).

         Exhibit 4 provides a description of these codes.

         The Payment Rating (Field 17B) must also be reported when
         the Account Status Code is 05, 13, 65, 88, 89, 94, or 95.

         Special Comments (Field 19) may be used in conjunction with
         the Account Status to further define the account.

         For examples of how Account Statuses, Payment Ratings and
         Special Comments interact, refer to Frequently Asked Question
         12.
   17B   Payment Rating                                                         1       126         AN

         When the Account Status (Field 17A) contains 05, 13, 65, 88,
         89, 94 or 95, this field must also be reported. The Payment
         Rating must be blank filled for all other Account Status Codes.

         The Payment Rating contains a code that properly identifies
         whether the account was current, past due, in collections or
         charged off prior to the status and within the current
         month’s reporting period.

         Values available:

         0   =   Current account (0–29 days past the due date)
         1   =   30-59 days past the due date
         2   =   60-89 days past the due date
         3   =   90-119 days past the due date
         4   =   120-149 days past the due date
         5   =   150-179 days past the due date
         6   =   180 or more days past the due date
         G   =   Collection
         L   =   Charge-off

         For example, if the account was paid on March 22, 2020, but
         the consumer was 30 days past the due date on March 10,
         2020 prior to paying the account, report Account Status Code
         = 13 and Payment Rating = 1.




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 Field Definitions

 Base Segment

                                                                                  426 Character
  FIELD FIELD NAME & DESCRIPTION                                                     Format
                                                                                                   Recording
                                                                               Length   Position   Technique

    18   Payment History Profile                                                24       127-        AN
                                                                                         150
         Contains up to 24 months of consecutive payment activity for the
         previous 24 reporting periods prior to the Date of Account
         Information (Field 24) being reported. Report one month’s
         payment history in each byte from the left to right in most recent
         to least recent order. The first byte should represent the Account
         Status Code reported in the previous reporting period. Refer to
         Exhibit 5 for examples of reporting payment history, which
         includes examples for month-end reporters, as well as examples
         for reporters who submit data on other days of the month (e.g.,
         1st, 15th, etc.). Values available:

         0   =    0 payments past due (current account)
         1   =    30 - 59 days past due date
         2   =    60 - 89 days past due date
         3   =    90 - 119 days past due date
         4   =    120 - 149 days past due date
         5   =    150 - 179 days past due date
         6   =    180 or more days past due date
         B   =    No payment history available prior to this time – either
                  because the account was not open or because the
                  payment history cannot be furnished. A “B” may not be
                  embedded within other values.
         D   =    No payment history reported/available this month. “D”
                  may be embedded in the payment history profile.
         E   =    Zero balance and current account
                 (Applies to Credit Cards and Lines of Credit)
         G   =    Collection
         H   =    Foreclosure Completed
         J   =    Voluntary Surrender
         K   =    Repossession
         L   =    Charge-off

         No other values are acceptable in this field.

         If a full 24 months of history are not available for reporting, the
         ending positions of this field should be B-filled.

         The Payment History Profile is intended to be used to report
         monthly history, regardless of the Terms Frequency.

         Reporting of the Payment History Profile provides a method for
         automated correction of erroneously reported history.

         For important information:
         •   Paid accounts - refer to Frequently Asked Question 41.
         •   First-time reporters - refer to Frequently Asked Question 22.


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 Field Definitions

 Base Segment
                                                                                426 Character
  FIELD FIELD NAME & DESCRIPTION                                                   Format
                                                                                               Recording
                                                                           Length   Position   Technique

    19   Special Comment                                                        2    151-        AN
                                                                                     152
         Used in conjunction with Account Status (Field 17A) and
         Payment Rating (Field 17B) to further define the account (e.g.,
         closed accounts or adjustments pending). The Special
         Comment Code must be reported each month as long as the
         condition applies.

         If more than one Special Comment applies to an account, it is
         the data furnisher’s decision to report the comment that is
         deemed most important from a business perspective for the
         current reporting period.

         If no Special Comment is applicable, blank fill.

         Exhibit 6 provides a list of available comments by category
         within Portfolio Type and Exhibit 7 provides a list of codes in
         alphabetical sequence. Both exhibits include definitions and
         usage guidelines.

         For examples of how Account Statuses, Payment Ratings and
         Special Comments interact, refer to Frequently Asked Question
         12.




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 Field Definitions

 Base Segment

                                                                              426 Character
  FIELD FIELD NAME & DESCRIPTION                                                 Format
                                                                                               Recording
                                                                           Length   Position   Technique

    20   Compliance Condition Code                                           2       153-        AN
                                                                                     154
         Allows the reporting of a condition that is required for legal
         compliance.

         This condition may refer to accounts closed at consumer’s
         request, accounts in dispute under the Fair Credit Reporting
         Act (FCRA), the Fair Debt Collection Practices Act (FDCPA) or
         the Fair Credit Billing Act (FCBA).

         The code should be reported each month as long as the
         condition applies. As an option, the code may be reported one
         time and will remain on file until another Compliance Condition
         Code or the XR (Removal code) is reported. Regardless of
         the method of reporting, the code will be deleted only
         when another Compliance Condition Code or the XR
         (Removal code) is reported.

         Exhibit 8 provides a list of Compliance Condition Codes and
         examples that demonstrate how to report these codes.

         For questions about the use of Compliance Condition Codes or
         how long to report them, data furnishers should refer to their
         internal policies and procedures.




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 Field Definitions

 Base Segment
                                                                                426 Character
  FIELD FIELD NAME & DESCRIPTION                                                   Format
                                                                                               Recording
                                                                           Length   Position   Technique

    21   Current Balance                                                        9    155-         N
                                                                                     163
         Report the outstanding current balance on the account as of
         the Date of Account Information.

         The Current Balance should contain the principal balance
         including Balloon Payment Amounts (when applicable), as well
         as applicable interest, late charges, fees, insurance payments
         and escrow that are due during the current reporting period.
         The Current Balance may exceed the Highest Credit, Original
         Loan Amount or Credit Limit.

         The Current Balance should not include future interest,
         escrow, fees or insurance payments.

         This amount, which should be reported in whole dollars only,
         may increase or decline from month to month. Credit balances
         (negative balances) should be reported as zero.
    22   Amount Past Due                                                        9    164-         N
                                                                                     172
         Report the total amount of payments that are 30 days or more
         past due in whole dollars only. This field should include late
         charges and fees, if applicable. Do not include current
         amount due in this field.

         Note: If the Account Status is current (Status Code 11),
               this field should be zero.
    23   Original Charge-off Amount                                             9    173-         N
                                                                                     181
         For Status Codes 64 and 97 (all portfolio types), report the
         original amount charged to loss, regardless of the declining
         balance. Report whole dollars only.

         If payments are received from the consumer, report the
         outstanding balance in the Current Balance and Amount Past
         Due fields.




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 Field Definitions

 Base Segment

                                                                             426 Character
  FIELD FIELD NAME & DESCRIPTION                                                Format
                                                                                              Recording
                                                                          Length   Position   Technique

    24   Date of Account Information                                        8       182-         N
                                                                                    189
         All account information in the Base Segment, such as Account
         Status and Current Balance, must be reported as of the date
         in this field.

         For Account Status Codes 11, 71, 78, 80, 82-84, 88, 89, 93-
         97, DA and DF, report a date within the current month’s
         reporting period, as noted below:

         •   Cycle Reporters – Report the date of the current month’s
             billing cycle. This method is preferred to facilitate
             accurate and timely reporting of account information.

         •   Monthly Reporters – Report the date within the current
             month’s reporting period that represents the most recent
             update to the account, such as mid-month (03/15/2020) or
             end of month (03/31/2020). The Date of Account
             Information may represent the consumer’s billing date as
             long as the date is within the current month’s reporting
             period. A historic or future date should not be reported.

         For Account Status Codes 13 and 61–65, report the date paid,
         unless the account was closed due to inactivity; then report
         the date within the current reporting period when the account
         was closed to further charges.

         For accounts reported with bankruptcy Consumer Information
         Indicators, refer to Frequently Asked Questions 27 and 28 for
         guidelines on reporting the Date of Account Information.

         Format for character date is MMDDYYYY. Format for packed
         date is 0MMDDYYYYs – where s is the sign.

         Notes: This date must not reflect a future date.

                 For guidelines on reporting paid, closed or inactive
                 accounts, refer to FAQs 39, 40 and 41.

                 For guidelines on reporting transferred or sold
                 accounts, refer to FAQs 46 and 47.




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 Field Definitions

 Base Segment
                                                                                 426 Character
  FIELD FIELD NAME & DESCRIPTION                                                    Format
                                                                                               Recording
                                                                           Length   Position   Technique

    25   FCRA Compliance/Date of First Delinquency                           8      190-197       N


         This date is used to ensure compliance with the Fair Credit Reporting Act.

         The date in the Date of First Delinquency field must be determined each reporting
         period based on the following hierarchy:

         1. For Account Status Codes 61-65, 71, 78, 80, 82-84, 88-89 and 93-97, report the
             date of the first 30-day delinquency that led to the status being reported. This
             date should be 30 days after the Due Date. If a delinquent account becomes
             current, the Date of First Delinquency should be zero filled. Then if the account
             goes delinquent again, the Date of First Delinquency starts over with the new
             first delinquency date.
         2. For Account Status Codes 05 and 13, if the Payment Rating is 1, 2, 3, 4, 5, 6, G
             or L, report the date of the first 30-day delinquency that led to the Payment
             Rating being reported. This date should be 30 days after the Due Date.
         3. For Consumer Information Indicators A-H and Z (Bankruptcies), 1A (Personal
             Receivership) and V-Y (Reaffirmation of Debt Rescinded with Bankruptcy
             Chapters), if the account is current (Account Status Code 11 or Account Status
             Code 05 or 13 with Payment Rating 0), report the date of the
             bankruptcy/personal receivership petition or notification. Even though the
             account is not delinquent, this date is required for purging purposes.

             Note: Consumer Information Indicators W, X & Y are obsolete as of
                   September 2010 and may no longer be reported.

         If none of the conditions listed in the above hierarchy apply, the Date of First
         Delinquency should be zero filled.

         The Date of First Delinquency is used by the consumer reporting agencies for
         purging purposes. Format for character date is MMDDYYYY. Format for packed date
         is 0MMDDYYYYs — where s is the sign.

         Notes:
         •   Refer to Exhibit 9 for detailed reporting instructions, examples and
             excerpts from the Fair Credit Reporting Act.
         •   First-time reporters should refer to Frequently Asked Question 22 for
             important information.




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 Field Definitions

 Base Segment

                                                                                      426 Character
  FIELD FIELD NAME & DESCRIPTION                                                         Format
                                                                                                    Recording
                                                                                Length   Position   Technique

    26   Date Closed                                                              8       198-         N
                                                                                          205
         For all portfolio types, contains the date the account was closed to
         further purchases, paid in full, transferred or sold. For Line of
         Credit, Open or Revolving accounts, there may be a balance due.

         Format for character date is MMDDYYYY. Format for packed date
         is 0MMDDYYYYs — where s is the sign. If not applicable, zero fill.
    27   Date of Last Payment                                                     8       206-         N
                                                                                          213
         Report the date the most recent payment was received, whether
         full or partial payment is made.

         Format for character date is MMDDYYYY. Format for packed date
         is 0MMDDYYYYs — where s is the sign. If the day is not available,
         use 01.
    28   Interest Type Indicator                                                  1       214          AN
         Contains one of the following values that designates the interest
         type:

         F = Fixed
         V = Variable/Adjustable

         If indicator not available or unknown, blank fill.

         Note: Report indicator ‘V’ for loans where the interest rate
               will be variable at some point, even if the interest rate
               starts as fixed.
    29   Reserved                                                                17       215-         AN
                                                                                          231
         Blank fill.

         Last position of field formerly used for Consumer Transaction
         Type.




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 Field Definitions

 Base Segment
 Note: Fields 30 through 46 contain identification information for the primary
       consumer. For joint accounts where two or more consumers are contractually
       responsible, the consumer reported in this Base Segment will be considered
       primary for reporting purposes.

                                                                                426 Character
  FIELD FIELD NAME & DESCRIPTION                                                   Format
                                                                                               Recording
                                                                           Length   Position   Technique

    30   Surname                                                            25       232-        AN
                                                                                     256
         Report the last name of the primary consumer. Titles and
         prefixes should not be reported.

         If the surname contains multiple names, such as Paternal
         Name-Maternal Name, hyphenate the surnames. For example,
         “SMITH-JONES” or “MARTINEZ-REYES” requires the hyphen.

         If the surname contains separate words, the hyphen is not
         required. For example, report “VAN DYKE” or “DE LA CRUZ”
         with a space between each word.

         Other than the hyphen, do not report special characters in any
         of the Consumer Name fields.

         The Generation Code should be reported in Field 33.

         Notes: Do not report minors. The name fields should
                not contain messages, such as “Parent of”,
                “Baby”, “Daughter”, “Child”, etc.

                Do not report trustee or estate accounts. In cases
                where the debt is included in a revocable trust and
                the consumer retains contractual responsibility,
                report the consumer’s Full Name, Address, Social
                Security Number, and Date of Birth within the Base
                Segment fields. Do not report the name of the
                trust.
    31   First Name                                                         20       257-        AN
                                                                                     276
         Report the full first name of the primary consumer. Names
         should not be abbreviated. Examples: Report first name
         “JUNIOR” (not “JR”); report “ROBERT” (not “ROBT”).

         If reporting multiple first names, hyphenate the first names.

         Note: If a consumer uses only initials for first and
               middle names (e.g., A.J.), the first name initial
               should be reported in the First Name field (e.g., A)
               and the middle initial should be reported in the
               Middle Name field (e.g., J).



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 Field Definitions

 Base Segment

                                                                                   426 Character
  FIELD FIELD NAME & DESCRIPTION                                                      Format
                                                                                                    Recording
                                                                                Length   Position   Technique

    32   Middle Name                                                             20       277-         AN
                                                                                          296
         Report the middle name or middle initial of the primary
         consumer, if available.

         If reporting multiple middle names, hyphenate the middle
         names.
    33   Generation Code                                                          1       297          AN

         Used to distinguish Jr., Sr., II, III, etc. If not applicable, blank
         fill. Values available:

         J = Junior    3 = III    6 = VI     9 = IX
         S = Senior    4 = IV     7 = VII
         2 = II        5=V        8 = VIII
    34   Social Security Number                                                   9       298-         N
                                                                                          306
         Report the Social Security Number (SSN) of the primary
         consumer. Report only valid U.S.-issued SSNs.

         Reporting of this information is required as the Social Security
         Number greatly enhances accuracy in matching to the correct
         consumer.

         If the consumer does not have a SSN or one is not available
         for reporting, zero- or 9-fill all positions.

         Notes:

         If the Social Security Number is not reported, the Date
         of Birth is required to be reported.

         Do not report Individual Tax Identification Numbers
         (ITINs) in this field. ITINs do not prove identity outside
         the tax system and should not be offered or accepted as
         identification for non-tax purposes, per the Social Security
         Administration.

         Do not report Credit Profile Numbers (CPNs) in this field.
         The CPN should not be used for credit reporting purposes
         and does not replace the Social Security Number.




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 Field Definitions

 Base Segment
                                                                                426 Character
  FIELD FIELD NAME & DESCRIPTION                                                   Format
                                                                                                 Recording
                                                                             Length   Position   Technique

    35   Date of Birth                                                          8      307-         N
                                                                                       314
         Report the full Date of Birth of the primary consumer,
         including the month, day and year.

         Reporting of this information is required as the Date of Birth
         greatly enhances accuracy in matching to the correct
         consumer.

         Format for character date is MMDDYYYY. Format for packed
         date is 0MMDDYYYYs — where s is the sign.

         Notes: If the Date of Birth is not reported, the Social
                Security Number is required to be reported.

                When reporting Authorized Users (ECOA Code 3),
                the full Date of Birth (MMDDYYYY) must be reported
                for all newly-added Authorized Users on all pre-
                existing and newly-opened accounts, even if the
                Social Security Number is reported.

                Do not report accounts of consumers who are too
                young to enter into a binding contract.
    36   Telephone Number                                                     10       315-         N
                                                                                       324
         Contains the telephone number of the primary consumer (Area
         Code + 7 digits).
    37   ECOA Code                                                              1      325         AN

         Defines the relationship of the primary consumer to the
         account and designates the account as joint, individual, etc., in
         compliance with the Equal Credit Opportunity Act.

         Exhibit 10 provides a list of ECOA Codes, their definitions and
         usage.

         For important information:
         • Guidelines on reporting consumers who are personally
             liable for business accounts – refer to Frequently Asked
             Question 20.

         •   Usage guidelines on ECOA Codes T (Terminated) and Z
             (Delete Consumer) – refer to Frequently Asked Question
             14(b).

         Note: Codes 0 (Undesignated), 4 (Joint) and 6 (On-
               Behalf-Of) are obsolete as of September 2003 and
               may no longer be reported.


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 Field Definitions

 Base Segment

                                                                               426 Character
  FIELD   FIELD NAME & DESCRIPTION                                                Format
                                                                                                Recording
                                                                            Length   Position   Technique

    38    Consumer Information Indicator                                      2       326-        AN
                                                                                      327
          Contains a value that indicates a special condition of the
          account that applies to the primary consumer.

          This special condition may be that a bankruptcy was filed,
          discharged, dismissed or withdrawn; a debt was reaffirmed; or
          the consumer cannot be located or is now located.

          The indicator should be reported each month as long as the
          condition applies. As an option, the indicator may be reported
          one time and will remain on file until another Consumer
          Information Indicator or a Removal value is reported.

          Regardless of the method of reporting, the indicator will be
          deleted only when another Consumer Information
          Indicator or a Removal value (Q, S, U) is reported.

          Exhibit 11 provides a list of Consumer Information Indicators
          and examples that demonstrate how to report these codes.

          For reporting guidelines, refer to Frequently Asked Questions
          23 through 32 (bankruptcy) and 61 (personal receivership).
    39    Country Code                                                        2       328-        AN
                                                                                      329
          Contains the standard two-character country abbreviation.

          Exhibit 12 provides a list of the Country Codes.




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 Field Definitions

 Base Segment
                                                                                 426 Character
  FIELD   FIELD NAME & DESCRIPTION                                                  Format
                                                                                                  Recording
                                                                              Length   Position   Technique

    40    First Line of Address                                                32       330-        AN
                                                                                        361
          Contains billing/mailing address for the primary consumer. If
          the consumer has a U.S. address and a foreign address, report
          the U.S. address. If the consumer has never used the U.S.
          address as a billing/mailing address (e.g., a property
          address), report the foreign address.

          If the billing/mailing address does not belong specifically to
          the consumer, such as a financial counseling site or bill paying
          service, report the consumer’s home address.

          The First Line of Address usually includes street number,
          direction, street name, and type of thoroughfare.

          If the billing/mailing address is a PO Box or Rural Route,
          include Box or Route followed by the number (e.g., PO Box
          100). Do not report both a street address and a PO Box.

          If the billing/mailing address is a private mailbox (PMB), the
          street address should be reported in the First Line of Address
          (e.g., 5678 Main Street). The PMB number should be reported
          in the Second Line of Address (e.g., PMB 1234). As an
          alternative, the entire address can be reported in the First Line
          of Address; for example, 5678 Main Street PMB 1234.

          Eliminate internal messages such as: “Do not mail”,
          “Attorney”, “Charge-off”, “Chapter 13”, “Fraud”, “Trustee”,
          “Estate of”, “Care of”, “M/R” (Mail Returned), etc.

          Exhibit 13 provides general rules for address reporting. Do
          not enter data furnisher's address in this field.
    41    Second Line of Address                                               32       362-        AN
                                                                                        393
          Contains second line of address, if needed, such as apartment
          or unit number, or private mailbox number (PMB).

          Eliminate internal messages such as: “Do not mail”,
          “Attorney”, “Charge-off”, “Chapter 13”, “Fraud”, “Trustee”, or
          “Estate of”, “Care of”, “M/R” (Mail Returned), etc.
    42    City                                                                 20       394-        AN
                                                                                        413
          Contains city name for address of primary consumer.
          Truncate rightmost positions if city name is greater than 20
          characters or use standard 13-character U.S. Postal Service
          city abbreviations.




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 Field Definitions

 Base Segment

                                                                                426 Character
  FIELD   FIELD NAME & DESCRIPTION                                                 Format
                                                                                                 Recording
                                                                             Length   Position   Technique

    43    State                                                                2       414-         AN
                                                                                       415
          Contains the standard U.S. Postal Service state abbreviation
          for the address of the primary consumer.

          Exhibit 14 provides a list of State Codes.
    44    Postal/Zip Code                                                      9       416-         AN
                                                                                       424
          Report the Zip Code of the primary consumer’s address. Use
          entire field if reporting 9-digit zip codes. Otherwise, left-
          justify and blank fill.
    45    Address Indicator                                                    1       425          AN

          Contains one of the following values for the address reported
          in fields 40-44:

          C = Confirmed/Verified address
              Note: Value ‘C’ enables reporting a confirmed or
              verified address after receiving an address
              discrepancy notification from a consumer reporting
              agency. Report ‘C’ one time after the address is
              confirmed.
          Y = Known to be address of primary consumer
          N = Not confirmed address
          M = Military address
          S = Secondary Address
          B = Business address — not consumer's residence
          U = Non-deliverable address/Returned mail
          D = Data reporter’s default address
          P = Bill Payer Service — not consumer’s residence

          If indicator not available or unknown, blank fill.
    46    Residence Code                                                       1       426          AN

          Contains the one-character residence code of the address
          reported in fields 40-44.

          Values available:
          O = Owns
          R = Rents

          If not available or unknown, blank fill.




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 Field Definitions

 J1 Segment
 Associated Consumer—Same Address
 The J1 Segment is designed to accommodate the requirements of ECOA and applies when the
 associated consumer resides at the same address as the individual reported in the Base Segment.
 This segment must be present each time the account is reported.

 Multiple occurrences of the J1 Segment can be appended to the Base Segment.

                                                                                 426 and 366
   FIELD    FIELD NAME & DESCRIPTION                                              FORMATS
                                                                                               Recording
                                                                           Length   Position
                                                                                               Technique


        1   Segment Identifier                                               2       1-2         AN
            Contains a constant of J1.

        2   Reserved                                                         1         3         AN
            Blank fill.

            Field formerly used for Consumer Transaction Type.
        3   Surname                                                         25      4-28         AN
            Report the last name of the associated consumer. Titles
            and prefixes should not be reported.

            If the surname contains multiple names, such as Paternal
            Name-Maternal Name, hyphenate the surnames. For
            example, “SMITH-JONES” or “MARTINEZ-REYES” requires
            the hyphen.

            If the surname contains separate words, the hyphen is not
            required. For example, report “VAN DYKE” or “DE LA
            CRUZ” with a space between each word.

            Other than the hyphen, do not report special characters in
            any of the Consumer Name fields.

            The Generation Code should be reported in Field 6.

            Notes: Do not report minors. The name fields should
                   not contain messages, such as “Parent of”,
                   “Baby”, “Daughter”, “Child”, etc.

                    Do not report trustee or estate accounts. In
                    cases where the debt is included in a revocable
                    trust and the consumer retains contractual
                    responsibility, report the consumer’s Full Name,
                    Address, Social Security Number, and Date of
                    Birth within the J1 Segment fields. Do not
                    report the name of the trust.




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 Field Definitions

 J1 Segment
 Associated Consumer—Same Address

                                                                                  426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                                FORMATS
                                                                                               Recording
                                                                           Length   Position
                                                                                               Technique


     4     First Name                                                       20      29-48         AN
           Report the full first name of the associated consumer.
           Names should not be abbreviated. Examples: Report first
           name “JUNIOR” (not “JR”); report “ROBERT” (not “ROBT”).

           If reporting multiple first names, hyphenate the first
           names.

           Note: If a consumer uses only initials for first and
                 middle names (e.g., A.J.), the first name initial
                 should be reported in the First Name field
                 (e.g., A) and the middle initial should be reported
                 in the Middle Name field (e.g., J).

     5     Middle Name                                                      20      49-68         AN
           Report the middle name or middle initial of the associated
           consumer, if available.

           If reporting multiple middle names, hyphenate the middle
           names.

     6     Generation Code                                                   1        69          AN
           Used to distinguish Junior, Senior, II, III, IV, etc. If not
           applicable, blank fill. Values available:

           J = Junior     3 = III    6 = VI      9 = IX
           S = Senior     4 = IV     7 = VII
           2 = II         5=V        8 = VIII




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 Field Definitions

 J1 Segment
 Associated Consumer—Same Address
                                                                                     426 and 366
   FIELD    FIELD NAME & DESCRIPTION                                                  FORMATS
                                                                                                  Recording
                                                                             Length    Position
                                                                                                  Technique


        7   Social Security Number                                               9     70-78         N
            Report the Social Security Number (SSN) of the associated
            consumer. Report only valid U.S.-issued SSNs.

            Reporting of this information is required as the Social
            Security Number greatly enhances accuracy in matching to
            the correct consumer.

            If the consumer does not have a SSN or one is not available
            for reporting, zero- or 9-fill all positions.

            Notes:
            If the Social Security Number is not reported, the Date of
            Birth is required to be reported.

            Do not report Individual Tax Identification Numbers
            (ITINs) in this field. ITINs do not prove identity outside
            the tax system and should not be offered or accepted as
            identification for non-tax purposes, per the Social Security
            Administration.

            Do not report Credit Profile Numbers (CPNs) in this field.
            The CPN should not be used for credit reporting purposes
            and does not replace the Social Security Number.

        8   Date of Birth                                                        8     79-86         N
            Report the full Date of Birth of the associated consumer,
            including the month, day and year.

            Reporting of this information is required as the Date of Birth
            greatly enhances accuracy in matching to the correct
            consumer.

            Format is MMDDYYYY.

            Notes:
            If the Date of Birth is not reported, the Social Security
            Number is required to be reported.

            When reporting Authorized Users (ECOA Code 3), the full
            Date of Birth (MMDDYYYY) must be reported for all newly-
            added Authorized Users on all pre-existing and newly-
            opened accounts, even if the Social Security Number is
            reported.

            Do not report accounts of consumers who are too young to
            enter into a binding contract.

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 Field Definitions

 J1 Segment
 Associated Consumer—Same Address

                                                                                 426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                               FORMATS
                                                                                              Recording
                                                                          Length   Position
                                                                                              Technique


     9     Telephone Number                                                10      87-96         N
           Contains the telephone number of the associated consumer
           (Area Code + 7 digits).

     10    ECOA Code                                                        1        97          AN
           Defines the relationship of the associated consumer to the
           account and designates the account as joint, individual,
           etc., in compliance with the Equal Credit Opportunity Act.

           Exhibit 10 provides a list of ECOA Codes, their definitions
           and usage.

           For important information:

           •   Guidelines on reporting consumers who are personally
               liable for business accounts – refer to Frequently Asked
               Question 20.

           •   Usage guidelines on ECOA Codes T (Terminated) and Z
               (Delete Consumer) – refer to Frequently Asked
               Question 14(b).

           Note: Codes 0 (Undesignated), 4 (Joint) and 6 (On-
                 Behalf-Of) are obsolete as of September 2003
                 and may no longer be reported.




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 Field Definitions

 J1 Segment
 Associated Consumer—Same Address
                                                                                   426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                                 FORMATS
                                                                                                Recording
                                                                           Length    Position
                                                                                                Technique


     11    Consumer Information Indicator                                      2     98-99        AN
           Contains a value that indicates a special condition of the
           account that applies to the associated consumer.

           This special condition may be that a bankruptcy was filed,
           discharged, dismissed or withdrawn; a debt was reaffirmed;
           or the consumer cannot be located or is now located.

           The indicator should be reported each month as long as the
           condition applies. As an option, the indicator may be
           reported one time and will remain on file until another
           Consumer Information Indicator or a Removal value is
           reported.

           Regardless of the method of reporting, the indicator will
           be deleted only when another Consumer Information
           Indicator or a Removal value (Q, S, U) is reported.

           Exhibit 11 provides a list of Consumer Information
           Indicators and examples that demonstrate how to report
           these codes.

           For reporting guidelines, refer to Frequently Asked
           Questions 23 through 32 (bankruptcy) and 61 (personal
           receivership).
     12    Reserved                                                            1      100         AN
           Blank fill.



 Note: For additional reporting guidelines specific to the J1 Segment, refer to
       Frequently Asked Questions 6, 7 and 17 through 19.




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 Field Definitions

 J2 Segment
 Associated Consumer—Different Address

 The J2 Segment is designed to accommodate the requirements of ECOA and applies when the
 associated consumer resides at a different address than the individual reported in the Base
 Segment. The J2 Segment must always contain an address, even if the address is the same as the
 one reported in the Base Segment. This segment must be present each time the account is
 reported.

 Multiple occurrences of the J2 Segment can be appended to the Base Segment.

                                                                                    426 and 366
   FIELD    FIELD NAME & DESCRIPTION                                                 FORMATS
                                                                                                 Recording
                                                                            Length    Position
                                                                                                 Technique


      1     Segment Identifier                                                 2          1-2        AN
            Contains a constant of J2.

      2     Reserved                                                           1          3          AN
            Blank fill.

            Field formerly used for Consumer Transaction Type.
      3     Surname                                                            25      4-28          AN
            Report the last name of the associated consumer. Titles
            and prefixes should not be reported.

            If the surname contains multiple names, such as Paternal-
            Name-Maternal Name, hyphenate the surnames. For
            example, “SMITH-JONES” or “MARTINEZ-REYES” requires
            the hyphen.

            If the surname contains separate words, the hyphen is not
            required. For example, report “VAN DYKE” or “DE LA CRUZ”
            with a space between each word.

            Other than the hyphen, do not report special characters in
            any of the Consumer Name fields.

            The Generation Code should be reported in Field 6.

            Notes: Do not report minors. The name fields should
                   not contain messages, such as “Parent of”,
                   “Baby”, “Daughter”, “Child”, etc.

                    Do not report trustee or estate accounts. In
                    cases where the debt is included in a revocable
                    trust and the consumer retains contractual
                    responsibility, report the consumer’s Full Name,
                    Address, Social Security Number, and Date of
                    Birth within the J2 Segment fields. Do not
                    report the name of the trust.



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 Field Definitions

 J2 Segment
 Associated Consumer—Different Address
                                                                                      426 and 366
   FIELD    FIELD NAME & DESCRIPTION                                                   FORMATS
                                                                                                   Recording
                                                                             Length     Position
                                                                                                   Technique


        4   First Name                                                           20     29-48        AN
            Report the full first name of the associated consumer.
            Names should not be abbreviated. Examples: Report first
            name “JUNIOR” (not “JR”); report “ROBERT” (not “ROBT”).

            If reporting multiple first names, hyphenate the first names.

            Note: If a consumer uses only initials for first and
                  middle names (e.g., A.J.), the first name initial
                  should be reported in the First Name field
                  (e.g., A) and the middle initial should be
                  reported in the Middle Name field (e.g., J).
        5   Middle Name                                                          20     49-68        AN
            Report the middle name or middle initial of the associated
            consumer, if available.

            If reporting multiple middle names, hyphenate the middle
            names.

        6   Generation Code                                                      1        69         AN
            Used to distinguish Junior, Senior, II, III, IV, etc. If not
            applicable, blank fill. Values available:

            J = Junior     3 = III    6 = VI      9 = IX
            S = Senior     4 = IV     7 = VII
            2 = II         5=V        8 = VIII




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 Field Definitions

 J2 Segment
 Associated Consumer—Different Address

                                                                                  426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                                FORMATS
                                                                                                Recording
                                                                            Length   Position
                                                                                                Technique


     7     Social Security Number                                             9      70-78         N
           Report the Social Security Number (SSN) of the associated
           consumer. Report only valid U.S.-issued SSNs.

           Reporting of this information is required as the Social
           Security Number greatly enhances the accuracy in matching
           to the correct consumer.

           If the consumer does not have a SSN or if one is not
           available for reporting, zero- or 9-fill all positions.

           Notes: If the Social Security Number is not reported, the
                  Date of Birth is required to be reported.

                   Do not report Individual Tax Identification
                   Numbers (ITINs) in this field. ITINs do not prove
                   identity outside the tax system and should not be
                   offered or accepted as identification for non-tax
                   purposes, per the Social Security Administration.

                   Do not report Credit Profile Numbers (CPNs) in
                   this field. The CPN should not be used for credit
                   reporting purposes and does not replace the
                   Social Security Number.




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 Field Definitions

 J2 Segment
 Associated Consumer—Different Address
                                                                                     426 and 366
   FIELD    FIELD NAME & DESCRIPTION                                                  FORMATS
                                                                                                  Recording
                                                                             Length    Position
                                                                                                  Technique


        8   Date of Birth                                                        8     79-86         N
            Report the Date of Birth of the associated consumer,
            including the month, day and year.

            Reporting of this information is required as the Date of Birth
            greatly enhances accuracy in matching to the correct
            consumer.

            Format is MMDDYYYY.

            Notes: If the Date of Birth is not reported, the Social
                   Security Number is required to be reported.

                   When reporting Authorized Users (ECOA Code 3),
                   the full Date of Birth (MMDDYYYY) must be
                   reported for all newly-added Authorized Users on
                   all pre-existing and newly-opened accounts, even
                   if the Social Security Number is reported.

                   Do not report accounts of consumers who are too
                   young to enter into a binding contract.




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 Field Definitions

 J2 Segment
 Associated Consumer—Different Address

                                                                                 426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                               FORMATS
                                                                                               Recording
                                                                           Length   Position
                                                                                               Technique


     9     Telephone Number                                                 10      87-96         N
           Contains the telephone number of the associated consumer
           (Area Code + 7 digits).

     10    ECOA Code                                                         1          97       AN
           Defines the relationship of the associated consumer to the
           account and designates the account as joint, individual,
           etc., in compliance with the Equal Credit Opportunity Act.

           Exhibit 10 provides a list of ECOA Codes, their definitions
           and usage.

           For important information:
           • Guidelines on reporting consumers who are personally
               liable for business accounts – refer to Frequently Asked
               Question 20.

           •   Usage guidelines on ECOA Codes T (Terminated) and Z
               (Delete Consumer) – refer to Frequently Asked Question
               14(b).

           Note: Codes 0 (Undesignated), 4 (Joint) and 6 (On-
                 Behalf-Of) are obsolete as of September 2003 and
                 may no longer be reported.




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 Field Definitions

 J2 Segment
 Associated Consumer—Different Address
                                                                                   426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                                 FORMATS
                                                                                                Recording
                                                                           Length    Position
                                                                                                Technique


     11    Consumer Information Indicator                                      2     98-99        AN
           Contains a value that indicates a special condition of the
           account that applies to the associated consumer.

           This special condition may be that a bankruptcy was filed,
           discharged, dismissed or withdrawn; a debt was reaffirmed;
           or the consumer cannot be located or is now located.

           The indicator should be reported each month as long as the
           condition applies. As an option, the indicator may be
           reported one time and will remain on file until another
           Consumer Information Indicator or a Removal value is
           reported.

           Regardless of the method of reporting, the indicator will
           be deleted only when another Consumer Information
           Indicator or a Removal value (Q, S, U) is reported.

           Exhibit 11 provides a list of Consumer Information
           Indicators and examples that demonstrate how to report
           these codes.

           For reporting guidelines, refer to Frequently Asked
           questions 23 through 32 (bankruptcy) and 61 (personal
           receivership).
     12    Country Code                                                        2      100-        AN
                                                                                      101
           Contains the standard two-character country abbreviation.

           Exhibit 12 provides a list of the Country Codes.




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 Field Definitions

 J2 Segment
 Associated Consumer—Different Address

                                                                                      426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                                    FORMATS
                                                                                                    Recording
                                                                                Length   Position
                                                                                                    Technique


     13    First Line of Address                                                 32      102-         AN
           Contains billing/mailing address for the associated consumer.                 133
           If the consumer has a U.S. address and a foreign address,
           report the U.S. address. If the consumer has never used the
           U.S. address as a billing/mailing address (e.g., a property
           address), report the foreign address.

           If the billing/mailing address does not belong specifically to the
           consumer, such as a financial counseling site or bill paying
           service, report the consumer’s home address.

           The First Line of Address usually includes street number,
           direction, street name, and type of thoroughfare.

           If the billing/mailing address is a PO Box or Rural Route,
           include Box or Route followed by the number (e.g., PO Box
           100). Do not report both a street address and a PO Box.

           If the billing/mailing address is a private mailbox (PMB), the
           street address should be reported in the First Line of Address
           (e.g., 5678 Main Street). The PMB number should be reported
           in the Second Line of Address (e.g., PMB 1234). As an
           alternative, the entire address can be reported in the First Line
           of Address; for example, 5678 Main Street PMB 1234.

           Eliminate internal messages such as: “Do not mail”, “Attorney”,
           “Charge-off”, “Chapter 13”, “Fraud”, “Trustee”, “Estate of”,
           “Care of”, “M/R” (Mail Returned), etc.

           Exhibit 13 provides general rules for address reporting.

           Do not enter data furnisher's address in this field.

     14    Second Line of Address                                                32      134-         AN
           Contains second line of address, if needed, such as apartment                 165
           or unit number, or private mailbox number (PMB).

           Eliminate internal messages such as: “Do not mail”, “Attorney”,
           “Charge-off”, “Chapter 13”, “Fraud”, “Trustee”, “Estate of”,
           “Care of”, “M/R” (Mail Returned), etc.

     15    City                                                                  20      166-         AN
           Contains city name for address of associated consumer.                        185
           Truncate rightmost positions if city name is greater than 20
           characters or use standard 13-character U.S. Postal Service
           city abbreviations.


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 Field Definitions

 J2 Segment
 Associated Consumer—Different Address
                                                                                    426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                                  FORMATS
                                                                                                 Recording
                                                                            Length    Position
                                                                                                 Technique


     16    State                                                                2      186-        AN
                                                                                       187
           Contains the standard U.S. Postal Service state abbreviation
           for the address of the associated consumer.
           Exhibit 14 provides a list of State Codes.

     17    Postal/Zip Code                                                      9      188-        AN
                                                                                       196
           Report the Zip Code of the associated consumer’s address.
           Use entire field if reporting 9-digit zip codes. Otherwise,
           left-justify and blank fill.

     18    Address Indicator                                                    1      197         AN
           Contains one of the following values for the address
           reported in fields 13-17:

           C = Confirmed/Verified address
               Note: Value ‘C’ enables reporting a confirmed or
               verified address after receiving an address discrepancy
               notification from a consumer reporting agency. Report
               ‘C’ one time after the address is confirmed.
           Y = Known to be address of associated consumer
           N = Not confirmed address
           M = Military address
           S = Secondary address
           B = Business address — not consumer's residence
           U = Non-deliverable address/Returned mail
           D = Data reporter’s default address
           P = Bill Payer Service — not consumer’s residence

           If indicator not available or unknown, blank fill.

     19    Residence Code                                                       1      198         AN
           Contains the one-character residence code of the address
           reported in fields 13-17. Values available:

           O = Owns
           R = Rents

           If not available or unknown, blank fill.

     20    Reserved                                                             2      199-        AN
                                                                                       200
           Blank fill.

 Note: For additional reporting guidelines specific to the J2 Segment, refer to
       Frequently Asked Questions 6, 7 and 17 through 20.


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 Field Definitions

 K1 Segment
 Original Creditor Name

 The K1 Segment must be present each time the account is reported. The segment is
 required for collection agencies, debt buyers and check guarantee companies. This segment
 may also be reported by student loan guaranty agencies, the U.S. Department of Education,
 and the U.S. Treasury.

 The purpose of reporting the original creditor name is to help consumers identify
 the source of accounts when they appear on credit reports. Without the original
 creditor names, consumers may not know what the accounts represent.

 Some state laws and CDIA policy stipulate that the original client/creditor must be
 identified. Federal law stipulates that the name of the payee must be identified when
 reporting returned checks.

 Only one occurrence of the K1 Segment can be appended to the Base Segment. If not
 applicable, do not report the K1 Segment.

                                                                                  426 and 366
   FIELD    FIELD NAME & DESCRIPTION                                               FORMATS
                                                                                               Recording
                                                                          Length    Position   Technique


      1     Segment Identifier                                              2        1-2         AN
            Contains a constant of K1.

 (continued)




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 Field Definitions

 K1 Segment
 Original Creditor Name
                                                                                      426 and 366
      FIELD    FIELD NAME & DESCRIPTION                                                FORMATS
                                                                                                    Recording
                                                                                Length   Position
                                                                                                    Technique


        2      Original Creditor Name                                            30      3-32         AN

               This field is required and the content is dependent on the type of reporter.

               Collection Agencies: Report the name of the company/creditor, including any
               partnering affinity name1, that originally opened the account for the consumer,
               even if the account had been turned over to multiple collection agencies.

               Debt Buyers: Report the name of the company/creditor, including any partnering
               affinity name 1, that originally opened the account for the consumer, even if the
               account had been sold multiple times to different debt buyers. Refer to the K2
               Segment for “purchased from” information.

               Companies Reporting Returned Checks: Report the name of the payee; i.e., name
               of company to which the check was written. Refer to Frequently Asked Question
               15 for additional guidelines on reporting returned checks.

               Student Loan Guarantors/U.S. Department of Education: Report the name of the
               original student loan lender.

               U.S. Treasury: Report the name of the government agency that is the original
               creditor.

               One of the following three options should be used when reporting a creditor’s
               name that would reveal sensitive information about the consumer.

               1.   Report the name of the institution, but do not include reference to the type of
                    service. For example, use the hospital name without identifying that it was
                    the psychiatric unit that provided care. If a hospital’s name reveals sensitive
                    information, abbreviate the name.

               2.   Use the corporate name if it is different from the commercial name of a mental
                    institution or drug rehabilitation center.

               3.   Do not report the account if either of the above two options would not
                    sufficiently protect the consumer’s privacy.

               Note: Encoded information is not acceptable in this field.

 (continued)




 1   The Affinity Name further identifies or provides linkage detail for the relationship of the
     original creditor to any connecting or supporting entities (e.g., ABC BANK THE HOME
     STORE).

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 Field Definitions

 K1 Segment
 Original Creditor Name

                                                                                  426 and 366
                                                                                   FORMATS
   FIELD   FIELD NAME & DESCRIPTION
                                                                                                Recording
                                                                            Length   Position
                                                                                                Technique


     3     Creditor Classification                                            2      33-34         N
           Contains a code which must be reported to indicate the
           general type of business for the Original Creditor Name.

           Values available:

            01   = Retail
            02   = Medical/Health Care
                   Required when reporting medical debts and returned
                   checks from providers of medical services, products or
                   devices
            03   = Oil Company
            04   = Government
            05   = Personal Services
            06   = Insurance
            07   = Educational
            08   = Banking
            09   = Rental/Leasing
            10   = Utilities
            11   = Cable/Cellular
            12   = Financial
                   (other non-banking financial institutions)
            13   = Credit Union
            14   = Automotive
            15   = Check Guarantee


 Note: To assist with compliance of the Fair Credit Reporting Act, companies who
       report medical debts or returned checks for medical purposes must report
       Creditor Classification ‘02’ to indicate ‘Medical/Health Care’. The actual
       name of the original creditor should continue to be reported in the Original
       Creditor Name (Field 2).




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 Field Definitions

 K2 Segment
 Purchased From/Sold To
 The K2 Segment may be used to report the name of the company from which the account
 was purchased or the name of the company to which the account was sold. The K2 Segment
 should be reported only one time per record to affect the change.
 Only one occurrence of the K2 Segment can be appended to the Base Segment. If not
 applicable, do not report the K2 Segment.

                                                                                         426 and 366
   FIELD      FIELD NAME & DESCRIPTION                                                    FORMATS
                                                                                                      Recording
                                                                                Length     Position
                                                                                                      Technique


        1     Segment Identifier                                                    2       1-2         AN
              Contains a constant of K2.

        2     Purchased From/Sold To Indicator                                      1         3          N
              Contains a code representing the type of information being
              reported. Values available:

              1 = Purchased From Name
              2 = Sold To Name
              9 = Remove Previously Reported K2 Segment Information

        3     Purchased From or Sold To Name                                        30      4-33        AN
              Contains the name of the company from which the account
              was purchased or to which the account was sold.

              If field 2 = 9, this field should be blank filled.

        4     Reserved                                                              1        34         AN
              Blank fill.

 Notes: For reporting guidelines for accounts sold to another company or accounts
        purchased from another company, refer to Frequently Asked Questions 47 & 48.

            The K2 segment should not be reported by collection agencies, check guarantee
            companies, student loan guaranty agencies and the U.S. Department of
            Education.

            The K2 Segment may be reported by debt buyers when the name of the
            company from which the account was purchased is different from the
            original creditor’s name, which is reported in the K1 Segment. If the
            original creditor and the company from which the account was purchased
            are the same, the K2 Segment should not be reported.




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 Field Definitions

 K3 Segment
 Mortgage Information

 The K3 Segment is used for two purposes:

 1. To indicate a secondary marketing agency’s interest in a loan by providing the applicable
    account number as assigned by the secondary marketing agency.

 2. To report the Mortgage Identification Number (MIN), when available.

 This segment must be present each time the account is reported. Only one occurrence of
 the K3 Segment can be appended to the Base Segment. If not applicable, do not report the
 K3 Segment.

                                                                                   426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                                 FORMATS
                                                                                                 Recording
                                                                             Length   Position
                                                                                                 Technique


     1     Segment Identifier                                                  2          1-2      AN
           Contains a constant of K3.

     2     Agency Identifier                                                   2          3-4       N
           Contains a code indicating which secondary marketing
           agency has interest in this loan. Values available:

           00 = Agency Identifier not applicable
                (Used when reporting MIN only)
           01 = Fannie Mae
           02 = Freddie Mac

     3     Account Number                                                     18      5-22         AN
           Contains the account number as assigned by the secondary
           marketing agency. Do not include embedded blanks or
           special characters.

           If field 2 = 00, this field should be blank filled.

     4     Mortgage Identification Number (MIN)                               18      23-40        AN
           Contains the Mortgage Identification Number assigned to a
           mortgage loan. Do not include embedded blanks or
           special characters.

           The MIN indicates that the loan is registered with the
           Mortgage Electronic Registration Systems, Inc. (MERS), the
           electronic registry for tracking the ownership of mortgage
           rights. For more information, see http://www.mersinc.org.




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 Field Definitions

 K4 Segment
 Specialized Payment Information
 The K4 Segment should be used to report information on specialized payment schedules for
 any type of loan for either deferred payments or balloon payments, which may include
 principal forbearance. This segment must be present each time the account is reported if a
 deferred or balloon payment applies to the account.
 If an account has both deferred and balloon payments, report the Deferred Payment Start
 Date as long as payments are deferred. When the account is in repayment, report the
 Balloon Payment Due Date and Amount.
 If an account has multiple balloon payments, only one can be reported at a time. When one
 balloon payment has been paid, the next one due can be reported.
 Only one occurrence of the K4 Segment can be appended to the Base Segment. If not
 applicable, or the deferred payment start date or the balloon payment due date is not
 known, do not report the K4 Segment.

                                                                                  426 and 366
   FIELD    FIELD NAME & DESCRIPTION                                               FORMATS
                                                                                                Recording
                                                                            Length   Position
                                                                                                Technique


        1   Segment Identifier                                                2       1-2         AN
            Contains a constant of K4.

        2   Specialized Payment Indicator                                     2       3-4          N
            Contains a code describing the specialized payment
            arrangements. Values available:

            01 = Balloon Payment
            02 = Deferred Payment

        3   Deferred Payment Start Date                                       8      5-12          N
            Report the date the first payment is due for deferred loans.
            Format is MMDDYYYY. If the day is not available, use 01.

            This date should be reported when the Terms Frequency
            (Base Segment, Field 14) indicates Deferred.

            Refer to Frequently Asked Question 44 for guidelines on
            reporting deferred loans.
        4   Balloon Payment Due Date                                          8      13-20         N
            Report the date the balloon payment is due, if applicable.
            Format is MMDDYYYY. If the day is not available, use 01.

        5   Balloon Payment Amount                                            9      21-29         N
            Report the amount of the balloon payment in whole dollars
            only.

        6   Reserved                                                          1        30         AN
            Blank fill.

 Note: All other account information should be reported in the Base Segment.
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 Field Definitions

 L1 Segment
 Account Number/Identification Number Change

 The L1 Segment provides an automated method for changing the Consumer Account Number
 and/or Identification Number and should be reported only one time per record to affect the
 change.

 The L1 Segment contains the new Consumer Account Number and/or the new Identification
 Number and the Base Segment contains the old Consumer Account Number (Field 7) and/or
 old Identification Number (field 5) exactly as reported previously. In any subsequent reporting
 period, the Base Segment should contain the new Consumer Account Number and/or new
 Identification Number, and the L1 Segment should not be reported.

 If the L1 Segment is being reported for the first time, or if L1 Segments are to be used for
 portfolio acquisition or a mass Consumer Account Number and/or Identification Number
 change, contact your consumer reporting agencies.

 Only one occurrence of the L1 Segment can be appended to the Base Segment.

                                                                                       426 and 366
    FIELD   FIELD NAME & DESCRIPTION                                                    FORMATS
                                                                                                   Recording
                                                                              Length    Position
                                                                                                    Technique


      1     Segment Identifier                                                  2            1-2        AN
            Contains a constant of L1.

      2     Change Indicator                                                    1            3          N
            Contains a code representing the change being reported.
            Values available:

            1 = Consumer Account Number Change ONLY
            2 = Identification Number Change ONLY
            3 = Consumer Account Number AND Identification
                Number Change

      3     New Consumer Account Number                                         30       4-33           AN
            Contains the new Account Number assigned to this account.
            Do not include embedded blanks or special characters.

            If field 2 = 2, this field should be blank filled.

 (continued)




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 Field Definitions

 L1 Segment
 Account Number/Identification Number Change
                                                                                        426 and 366
   FIELD     FIELD NAME & DESCRIPTION                                                    FORMATS
                                                                                                     Recording
                                                                               Length     Position
                                                                                                     Technique

             New Identification Number                                             20     34-53        AN
        4
             Contains the new Identification Number assigned to this
             account. Do not include embedded blanks or special
             characters.

             If field 2 = 1, this field should be blank filled.
        5    Reserved                                                              1        54         AN
             Blank fill.



 Notes:     For additional reporting guidelines specific to the L1 Segment, refer to
            Frequently Asked Question and Answer 5.

            If fixed-length records are being reported and a record does not require a
            Consumer Account Number or Identification Number change, the Segment
            Identifier of L1 must be reported and the remainder of the segment must be
            blank filled.




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 Field Definitions

 N1 Segment
 Employment

 The N1 Segment may be used to report employment information for the consumer reported
 in the Base Segment.

 Only one occurrence of the N1 Segment can be appended to the Base Segment. If
 employment is not available, do not report the N1 Segment.

                                                                                 426 and 366
   FIELD   FIELD NAME & DESCRIPTION                                               FORMATS
                                                                                               Recording
                                                                           Length   Position
                                                                                               Technique


     1     Segment Identifier                                                2          1-2      AN
           Contains a constant of N1.

     2     Employer Name                                                    30      3-32         AN
           Report the name of the employer for the consumer reported
           in the Base Segment.

     3     First Line of Employer Address                                   32      33-64        AN
           Contains the mailing address for the employer in Field 2 and
           usually includes street number, direction, street name and
           type of thoroughfare.

     4     Second Line of Employer Address                                  32      65-96        AN
           Contains second line of employer’s address, if needed.

     5     Employer City                                                    20       97-         AN
                                                                                     116
           Contains city name for employer’s address. Truncate
           rightmost positions if city name is greater than 20
           characters or use standard 13-character U.S. Postal Service
           city abbreviations.

     6     Employer State                                                    2      117-         AN
                                                                                    118
           Contains the standard U.S. Postal Service state abbreviation
           for the address of the employer.

           Exhibit 14 provides a list of State Codes.

     7     Employer Postal/Zip Code                                          9      119-         AN
                                                                                    127
           Report the zip code of the employer’s address. Use entire
           field if reporting 9-digit zip codes. Otherwise, left-justify
           and blank fill.

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  Field Definitions

  N1 Segment
  Employment
                                                                                      426 and 366
    FIELD    FIELD NAME & DESCRIPTION                                                  FORMATS
                                                                                                   Recording
                                                                             Length     Position
                                                                                                   Technique


         8   Occupation                                                          18      128-        AN
                                                                                         145
             Report title or position for consumer reported in the Base
             Segment (the employee).

         9   Reserved                                                            1       146         AN
             Blank fill.




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  Field Definitions

  Trailer Record

  The Trailer Record must be the last record provided on the file. It includes cumulative
  totals that are used to verify that all records received have been processed.

                                                                                         426 Character
      FIELD   FIELD NAME & DESCRIPTION                                                     Format1
                                                                                                          Recording
                                                                                      Length   Position   Technique


         1    Record Descriptor Word (RDW)                                              4          1-4       N
              Contains a value equal to the length of the physical record. This
              value includes the four bytes reserved for this field.
              If fixed-length records are being reported, the Trailer Record should
              be the same length as all the data records. The Trailer Record should
              be padded with blanks to fill the needed number of positions.

         2    Record Identifier                                                         7       5-11        AN
              Contains a constant of TRAILER which is used to identify this
              record.

         3    Total Base Records                                                        9      12-20         N
              Contains the total number of Base Segments being reported.

         4    Reserved                                                                  9      21-29        AN
              Blank fill.

         5    Total of Status Code DF
              Contains the total number of Base Segments with Status Code DF in         9      30-38         N
              Field 17A.

         6    Total Associated Consumer Segments (J1)                                   9      39-47         N
              Contains the total number of J1 Segments being reported. Do not
              count blank- or 9-filled segments.

         7    Total Associated Consumer Segments (J2)                                   9      48-56         N
              Contains the total number of J2 Segments being reported. Do not
              count blank- or 9-filled segments.

         8    Block Count                                                               9      57-65         N
              Contains the number of blocks on the file, if applicable.

         9    Total of Status Code DA                                                   9      66-74         N
              Contains the total number of Base Segments with Status Code DA in
              Field 17A.

        10    Total of Status Code 05                                                   9      75-83         N
              Contains the total number of Base Segments with Status Code 05 in
              Field 17A.

        11    Total of Status Code 11                                                   9      84-92         N
              Contains the total number of Base Segments with Status Code 11 in
              Field 17A.



  ______________________
  1
      For 366 Packed Format specifications, refer to the Record Layouts section of the Metro 2®
      Format module.

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  Field Definitions

  Trailer Record
                                                                                           426 Character
   FIELD   FIELD NAME & DESCRIPTION                                                           Format
                                                                                                         Recording
                                                                                     Length   Position
                                                                                                         Technique


     12    Total of Status Code 13                                                     9      93-101        N
           Contains the total number of Base Segments with Status Code 13 in
           Field 17A.

     13    Total of Status Code 61                                                     9       102-         N
           Contains the total number of Base Segments with Status Code 61 in                   110
           Field 17A.

     14    Total of Status Code 62                                                     9       111-         N
           Contains the total number of Base Segments with Status Code 62 in                   119
           Field 17A.

     15    Total of Status Code 63                                                     9       120-         N
           Contains the total number of Base Segments with Status Code 63 in                   128
           Field 17A.

     16    Total of Status Code 64                                                     9       129-         N
           Contains the total number of Base Segments with Status Code 64 in                   137
           Field 17A.

     17    Total of Status Code 65                                                     9       138-         N
           Contains the total number of Base Segments with Status Code 65 in                   146
           Field 17A.

     18    Total of Status Code 71                                                     9       147-         N
           Contains the total number of Base Segments with Status Code 71 in                   155
           Field 17A.

     19    Total of Status Code 78                                                     9       156-         N
           Contains the total number of Base Segments with Status Code 78 in Field             164
           17A.

     20    Total of Status Code 80                                                     9       165-         N
           Contains the total number of Base Segments with Status Code 80 in                   173
           Field 17A.

     21    Total of Status Code 82                                                     9       174-         N
           Contains the total number of Base Segments with Status Code 82 in                   182
           Field 17A.

     22    Total of Status Code 83                                                     9       183-         N
           Contains the total number of Base Segments with Status Code 83 in                   191
           Field 17A.

     23    Total of Status Code 84                                                     9       192-         N
           Contains the total number of Base Segments with Status Code 84 in                   200
           Field 17A.

     24    Total of Status Code 88                                                     9       201-         N
           Contains the total number of Base Segments with Status Code 88 in                   209
           Field 17A.




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  Field Definitions

  Trailer Record

                                                                                      426 Character
   FIELD   FIELD NAME & DESCRIPTION                                                      Format
                                                                                                       Recording
                                                                                   Length   Position
                                                                                                       Technique


     25    Total of Status Code 89                                                   9      210-          N
           Contains the total number of Base Segments with Status Code 89 in                218
           Field 17A.

     26    Total of Status Code 93                                                   9      219-          N
           Contains the total number of Base Segments with Status Code 93 in                227
           Field 17A.

     27    Total of Status Code 94                                                   9      228-          N
           Contains the total number of Base Segments with Status Code 94 in                236
           Field 17A.

     28    Total of Status Code 95                                                   9      237-          N
           Contains the total number of Base Segments with Status Code 95 in                245
           Field 17A.

     29    Total of Status Code 96                                                   9      246-          N
           Contains the total number of Base Segments with Status Code 96 in                254
           Field 17A.

     30    Total of Status Code 97                                                   9      255-          N
           Contains the total number of Base Segments with Status Code 97 in                263
           Field 17A.

     31    Total of ECOA Code Z (All Segments)                                       9      264-          N
           Contains the total number of records with ECOA Code Z being                      272
           reported in the Base Segment (Field 37), in the J1 Segment (Field 10)
           and in the J2 Segment (Field 10).

     32    Total Employment Segments                                                 9      273-          N
           Contains the total number of records with employment being reported              281
           in the N1 Segment.

     33    Total Original Creditor Segments                                          9      282-          N
           Contains the total number of records with Original Creditors being               290
           reported in the K1 Segment.

     34    Total Purchased From/Sold To Segments                                     9      291-          N
           Contains the total number of records with Purchased From/Sold To                 299
           being reported in the K2 Segment.

     35    Total Mortgage Information Segments                                       9      300-          N
           Contains the total number of records with Mortgage Information being             308
           reported in the K3 Segment.

     36    Total Specialized Payment Information Segments                            9      309-          N
           Contains the total number of records with Specialized Payment                    317
           Information being reported in the K4 Segment.

     37    Total Change Segments                                                     9      318-          N
           Contains the total number of Consumer Account Number and/or                      326
           Identification Number changes being reported in the L1 Segment.



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  Field Definitions

  Trailer Record
                                                                                          426 Character
   FIELD   FIELD NAME & DESCRIPTION                                                          Format
                                                                                                        Recording
                                                                                    Length   Position
                                                                                                        Technique


     38    Total Social Security Numbers                                              9      327-          N
           (All Segments)                                                                    335
           Contains the total number of valid Social Security Numbers reported
           in the Base Segment (Field 34), in the J1 Segment (Field 7) and in
           the J2 Segment (Field 7). Do not count zero- or 9-filled SSNs.

     39    Total Social Security Numbers                                              9      336-          N
           (Base Segments)                                                                   344
           Contains the total number of valid Social Security Numbers reported
           in the Base Segment (Field 34). Do not count zero- or 9-filled SSNs.

     40    Total Social Security Numbers                                              9      345-          N
           (J1 Segments)                                                                     353
           Contains the total number of valid Social Security Numbers reported
           in the J1 Segment (Field 7). Do not count zero- or 9-filled SSNs.

     41    Total Social Security Numbers                                              9      354-          N
           (J2 Segments)                                                                     362
           Contains the total number of valid Social Security Numbers reported
           in the J2 Segment (Field 7). Do not count zero- or 9-filled SSNs.

     42    Total Dates of Birth (All Segments)                                        9      363-          N
           Contains the total number of valid Dates of Birth reported in the Base            371
           Segment (Field 35), in the J1 Segment (Field 8) and in the J2
           Segment (Field 8). Do not count zero-filled Dates of Birth.

     43    Total Dates of Birth (Base Segments)                                       9      372-          N
           Contains the total number of valid Dates of Birth reported in the Base            380
           Segment (Field 35). Do not count zero-filled Dates of Birth.

     44    Total Dates of Birth (J1 Segments)                                         9      381-          N
           Contains the total number of valid Dates of Birth reported in the J1              389
           Segment (Field 8). Do not count zero-filled Dates of Birth.

     45    Total Dates of Birth (J2 Segments)                                         9      390-          N
           Contains the total number of valid Dates of Birth reported in the J2              398
           Segment (Field 8). Do not count zero-filled Dates of Birth.

     46    Total Telephone Numbers                                                    9      399-          N
           (All Segments)                                                                    407
           Contains the total number of valid Telephone Numbers reported in the
           Base Segment (Field 36), in the J1 Segment (Field 9) and in the J2
           Segment (Field 9). Do not count zero-filled Telephone Numbers.

     47    Reserved                                                                  19      408-         AN
           Blank fill.                                                                       426




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Exhibit 1

Account Type Codes by Industry
The following table describes the account type codes that are reported in Field 9.
                                                                                  Debt
                                            Bank/     Child    Credit                                                                    Student
                                                                        Credit   Buyer/    Govt.    Loan      Mtg.    Retail    Sales
Code Description                            Svgs &   Support    Card                                                                      Loan     Utility
                                                                        Union     Coll.   Agency   Finance   Lender   Store    Finance
                                             Loan    Agency    Issuer                                                                    Lender
                                                                                 Agency

    00   Auto                                 X                           X                          X                           X

    01   Unsecured                            X                           X                          X                           X

    02   Secured 1                            X                           X                          X                           X

    03   Partially Secured                    X                           X                          X                           X

    04   Home Improvement                     X                           X                          X         X

    05   FHA Home Improvement                 X                           X                          X         X

    06   Installment Sales Contract1                                                                                    X        X                   X

    07   Charge Account1                                                                                                X        X

         Real estate, specific type
         unknown (Terms Duration in
         years)
    08                                        X                           X                                    X
         Report specific real estate type
         codes, when known. Refer to
         codes 19, 25, 26, 6B, 2C.

    10   Business Loan                        X                           X                          X

    11   Recreational Merchandise             X                           X                          X                           X


(continued)



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Exhibit 1

Account Type Codes by Industry
                                                                                Debt
                                          Bank/     Child    Credit                                                                    Student
                                                                      Credit   Buyer/    Govt.    Loan      Mtg.    Retail    Sales
Code Description                          Svgs &   Support    Card                                                                      Loan     Utility
                                                                      Union     Coll.   Agency   Finance   Lender   Store    Finance
                                           Loan    Agency    Issuer                                                                    Lender
                                                                               Agency

    12   Education                          X                           X                 X        X                                     X

    13   Lease 1                            X                           X                          X                           X

    15   Line of Credit1                    X                           X                          X                                     X

    17   Manufactured Housing               X                           X                          X         X                 X

    18   Credit Card                        X                  X        X                          X

         FHA Real Estate Mortgage           X                           X                                    X
    19
         (Terms Duration in years)

    20   Note Loan                          X                           X                          X

         VA Real Estate Mortgage            X                           X                                    X
    25
         (Terms Duration in years)

         Conventional Real Estate
         Mortgage — including Purchase                                  X                                    X
    26                                      X
         Money First1
         (Terms Duration in years)

         Rental Agreement
    29
         Note: Used by rental companies

    37   Combined Credit Plan1              X                  X        X


(continued)



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Exhibit 1

Account Type Codes by Industry
                                                                              Debt
                                         Bank/    Child    Credit                                                                    Student
                                                                    Credit   Buyer/    Govt.    Loan      Mtg.    Retail    Sales
Code Description                        Svgs &   Support    Card                                                                      Loan     Utility
                                                                    Union     Coll.   Agency   Finance   Lender   Store    Finance
                                         Loan    Agency    Issuer                                                                    Lender
                                                                             Agency

    43   Debit Card 1                     X                           X                          X

    47   Credit Line Secured              X                           X                          X

    48   Collection Agency/Attorney                                            X

    50   Family Support                            X

         Government Unsecured                                                           X
    65
         Guaranteed Loan

         Government Secured                                                             X
    66
         Guaranteed Loan

         Government Unsecured Direct                                                    X
    67
         Loan

         Government Secured Direct                                                      X
    68
         Loan

    69   Government Grant                                                               X

    70   Government Overpayment                                                         X

    71   Government Fine                                                                X

    72   Government Fee for Services                                                    X


(continued)




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Exhibit 1

Account Type Codes by Industry
                                                                                 Debt
                                           Bank/     Child    Credit                                                                    Student
                                                                       Credit   Buyer/    Govt.    Loan      Mtg.    Retail    Sales
Code Description                           Svgs &   Support    Card                                                                      Loan     Utility
                                                                       Union     Coll.   Agency   Finance   Lender   Store    Finance
                                            Loan    Agency    Issuer                                                                    Lender
                                                                                Agency

    73   Government Employee Advance                                                       X

    74   Government Misc. Debt                                                             X

    75   Government Benefit                                                                X

    77   Returned Check 1                                                         X

    89   Home Equity Line of Credit          X                           X                                    X

    90   Medical Debt                        X                           X                          X

    91   Debt Consolidation1                 X                           X                          X

    92   Utility Company                                                                                                                            X

    93   Child Support                                X

    95   Attorney Fees1                      X                           X

    0A   Time Share Loan1                    X                           X                          X         X

    2A   Secured Credit Card1                X                  X        X

    3A   Auto Lease1                         X                           X                          X                           X


(continued)




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Exhibit 1

Account Type Codes by Industry
                                                                                Debt
                                           Bank/    Child    Credit                                                                    Student
                                                                      Credit   Buyer/    Govt.    Loan      Mtg.    Retail    Sales
Code Description                          Svgs &   Support    Card                                                                      Loan     Utility
                                                                      Union     Coll.   Agency   Finance   Lender   Store    Finance
                                           Loan    Agency    Issuer                                                                    Lender
                                                                               Agency

         Real Estate — Junior Liens and
    5A   Non-Purchase Money First1          X                           X                                    X
         (Terms Duration in years)

    6A   Commercial Installment Loan 1      X                           X                          X

    7A   Commercial Line of Credit1         X                           X                          X

    8A   Business Credit Card1              X                  X        X

    9A   Secured Home Improvement           X                           X                          X         X

         Second Mortgage                    X                           X                                    X
    5B
         (Terms Duration in years)

         Commercial Mortgage Loan1          X                           X                                    X
    6B
         (Terms Duration in years)

    7B   Agricultural                       X                           X                          X                           X

         Deposit Account with Overdraft     X                           X
    8B
         Protection1

         Business Line Personally           X                           X                          X
    9B
         Guaranteed

    0C   Debt Buyer                                                              X


(continued)



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Exhibit 1

Account Type Codes by Industry
                                                                                Debt
                                          Bank/     Child    Credit                                                                    Student
                                                                      Credit   Buyer/    Govt.    Loan      Mtg.    Retail    Sales
Code Description                          Svgs &   Support    Card                                                                      Loan     Utility
                                                                      Union     Coll.   Agency   Finance   Lender   Store    Finance
                                           Loan    Agency    Issuer                                                                    Lender
                                                                               Agency

         U.S. Department of Agriculture
         (USDA) Real Estate Mortgage        X                           X                                    X
    2C
         Loan
         (Terms Duration in years)

    4D   Telecommunications/Cellular                                                                                                               X

    6D   Home Equity 1                      X                           X                                    X

    0F   Construction Loan                  X                           X                          X         X

    0G   Flexible Spending Credit Card1     X                  X        X




Note: Account Type Codes 22 (Secured by Household Goods), 23 (Secured by Household Goods & Other
      Collateral) and 1C (Household Goods) are obsolete as of September 2011 and may no longer be
      reported.




1
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Exhibit 2

Account Type Codes within Portfolio Type
The following table contains an alphabetic listing of the Account Type Codes and their corresponding Portfolio Types.

                                                                             Line
 Code    Description                                                          of     Installment   Mortgage   Open   Revolving
                                                                            Credit
  7B     Agricultural                                                                    X
         Attorney Fees
  95     To be used to report an unsecured loan for the purpose of                       X
         paying attorney fees.
  00     Auto                                                                            X
         Auto Lease
  3A     Refer to Frequently Asked Question 36 for guidelines
                                                                                         X
         specific to terminated leases and Frequently Asked
         Question 37 for guidelines specific to prepaid auto leases.
         Business Credit Card
  8A                                                                                                           X        X
         Individual is personally liable.
  9B     Business Line Personally Guaranteed                                     X
  10     Business Loan                                                                   X
         Charge Account
  07                                                                                                                    X
         Used by the Retail Store industry.
  93     Child Support                                                                                         X
  48     Collection Agency/Attorney                                                                            X
         Combined Credit Plan
  37     Represents two credit plans being reported as one account.                                            X        X
         Example: Visa and MasterCard on one bill.

(continued)


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Exhibit 2

Account Type Codes within Portfolio Type
                                                                           Line
 Code    Description                                                        of     Installment   Mortgage   Open   Revolving
                                                                          Credit
         Commercial Installment Loan
  6A                                                                                   X
         Individual is personally liable; company is guarantor.
         Commercial Line of Credit
  7A                                                                          X
         Individual is personally liable; company is guarantor.
         Commercial Mortgage Loan
  6B     Terms Duration in years. Individual is personally liable;                                  X
         company is guarantor.
  0F     Construction Loan                                                             X
         Conventional Real Estate Mortgage - including Purchase
         Money First
  26     Terms Duration in years. Purchase Money First means that
                                                                                                    X
         the proceeds of the loan are used to buy the property. This
         is a mortgage account that is not guaranteed by a
         government agency.
  18     Credit Card                                                                                         X        X
  47     Credit Line Secured                                                  X
         Debit Card
  43     To be used when debit card is backed by a line of credit or
                                                                              X                              X        X
         overdraft protection. Refer to Frequently Asked Question
         33 for guidelines specific to debit cards.
  0C     Debt Buyer                                                                                          X

(continued)


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Exhibit 2

Account Type Codes within Portfolio Type
                                                                            Line
 Code    Description                                                         of     Installment   Mortgage   Open   Revolving
                                                                           Credit
         Debt Consolidation
  91     Represents multiple loans which have been consolidated                         X
         into one loan.
         Deposit Account with Overdraft Protection
  8B     Overdrawn account. Refer to Frequently Asked Question 59                                             X
         for reporting guidelines.
  12     Education                                                                      X                     X
  50     Family Support                                                                                       X
         Federal Housing Administration (FHA) Home Improvement
  05                                                                                    X
         Loan
         Federal Housing Administration (FHA) Real Estate Mortgage
  19     Loan                                                                                        X
         Terms Duration in years.
         Flexible Spending Credit Card
         Credit card with no preset spending limit. The credit card
  0G     has a Credit Limit, but the terms of the card allow the                                                       X
         consumer to exceed that amount. Refer to Frequently
         Asked Question 51 for reporting guidelines.
  75     Government Benefit                                                             X                     X
  73     Government Employee Advance                                                    X                     X
  72     Government Fee for Services                                                    X                     X
  71     Government Fine                                                                X                     X

(continued)

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Exhibit 2

Account Type Codes within Portfolio Type
                                                                           Line
 Code    Description                                                        of     Installment   Mortgage   Open   Revolving
                                                                          Credit
  69     Government Grant                                                              X                     X
  74     Government Miscellaneous Debt                                                 X                     X
  70     Government Overpayment                                                        X                     X
  68     Government Secured Direct Loan                                                X                     X
  66     Government Secured Guaranteed Loan                                            X                     X
  67     Government Unsecured Direct Loan                                              X                     X
  65     Government Unsecured Guaranteed Loan                                          X                     X
         Home Equity
  6D                                                                                   X
         Installment payments.
  89     Home Equity Line of Credit                                           X
  04     Home Improvement                                                              X
         Installment Sales Contract
  06                                                                                   X
         Used by the Retail Industry.
         Lease
  13                                                                                   X
         Non-auto.
         Line of Credit
  15     Personal line of credit – not secured by collateral. Includes        X
         Check Credit.
  17     Manufactured Housing                                                          X

(continued)



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Exhibit 2

Account Type Codes within Portfolio Type
                                                                          Line
Code    Description                                                        of     Installment   Mortgage   Open   Revolving
                                                                         Credit
 90     Medical Debt                                                                  X                     X
 20     Note Loan                                                                     X
 03     Partially Secured                                                             X
        Real Estate - Junior Liens and Non-Purchase Money First
        Terms Duration in years. Junior Liens means that a person
        has a mortgage on property already and needs more
 5A     money without paying off existing loan; second mortgage,                                   X
        third or more. Non-Purchase Money First means that the
        proceeds of the loan are not used directly for the property.
        This is a real estate account type.
        Real estate, specific type unknown
 08     Terms Duration in years. Report specific real estate type                                  X
        codes, when known. Refer to codes 19, 25, 26, 6B, 2C.
 11     Recreational Merchandise                                                      X
 29     Rental Agreement                                                              X
        Returned Check
        Reported by Collection Agencies, Debt Buyers and Check
 77     Guarantee companies when a check was returned to the
                                                                                                            X
        payee for non-payment usually due to insufficient funds.
        Refer to Frequently Asked Question 15 for reporting
        requirements.
        Second Mortgage
 5B                                                                                                X
        Terms Duration in years.

(continued)

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Exhibit 2

Account Type Codes within Portfolio Type
                                                                         Line
Code   Description                                                        of     Installment   Mortgage   Open   Revolving
                                                                        Credit
       Secured
  02                                                                                 X
       Used for Installment Contracts.
       Secured Credit Card
  2A                                                                                                       X        X
       Deposited funds are available in the event of default.
  9A   Secured Home Improvement                                                      X
  4D   Telecommunications/Cellular                                                                         X
       Time Share Loan
  0A   A purchased time share. Refer to Frequently Asked                             X
       Question 66 for reporting guidelines.
  01   Unsecured                                                                     X
       U.S. Department of Agriculture (USDA) Real Estate
  2C   Mortgage Loan                                                                              X
       Terms Duration in years.
  92   Utility Company                                                                                     X
       Veteran’s Administration (VA) Real Estate Mortgage Loan
  25                                                                                              X
       Terms Duration in years.



Note: Account Type Codes 22 (Secured by Household Goods), 23 (Secured by Household Goods & Other
      Collateral) and 1C (Household Goods) are obsolete as of September 2011 and may no longer be
      reported.




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  Exhibit 3

  Terms/Payment Amount Conversion to
  Monthly
  The following table contains the calculations to be used to convert the Terms
  Duration (number of payment intervals) and Scheduled Monthly Payment Amount
  to monthly values.


    Terms Frequency                   Terms Duration           Scheduled Monthly Payment
    Field 14                          Field 13                 Amount
                                                               Field 15

    D   = Deferred                    Blank fill               Zero fill

    P   =   Single Payment Loan       001                      Zero fill

    W =     Weekly                    Divide by 4.33           Multiply by 4.33
            (Due every week)

    B   =   Biweekly                  Divide by 2.16           Multiply by 2.16
            (Due every 2 weeks)

    E   =   Semimonthly               Divide by 2              Multiply by 2
            (Due twice a month)

    M =     Monthly                   As given                 As given
            (Due every month)

    L   =   Bimonthly                 Multiply by 2            Divide by 2
            (Due every 2 months)

    Q =     Quarterly                 Multiply by 3            Divide by 3
            (Due every 3 months)

    T   =   Triannually               Multiply by 4            Divide by 4
            (Due every 4 months)

    S   =   Semiannually              Multiply by 6            Divide by 6
            (Due twice a year)

    Y   =   Annually                  Multiply by 12           Divide by 12
            (Due every year)



  Note: Report whole dollars only in the Scheduled Monthly Payment Amount
        field.




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  Exhibit 4

  Account Status Codes
  Enter the Account Status Code (Field 17A) that properly identifies the current condition of
  the account as of the Date of Account Information (Field 24).
      Code       Description
                 Account transferred
                 Requires Current Balance and Amount Past Due = zero.
                 IMPORTANT NOTE: Account Status 05 will become obsolete for reporting
                 in April 2022.
      05 1   &
                 Refer to the Transferred category within Exhibit 6 for a list of Special Comment
         2
                 Codes that should be used instead of Account Status 05. Refer to Frequently
                 Asked Question & Answer 46 for guidance on reporting transferred accounts, and
                 to Frequently Asked Question & Answer 47 for guidance on reporting sold
                 accounts.
                 Current account (0-29 days past the due date)
                 For Installment and Mortgage loans, the account should be current and have a
                 non-zero Balance Amount. For Credit Line, Open and Revolving portfolio types,
        11
                 the account should be current and available for use. If the account is closed, but
                 there is a balance due, Special Comment Code M or Compliance Condition Code XA
                 should also be reported to indicate the account is no longer available for use.
                 Paid or closed account/zero balance
                 For Installment and Mortgage loans, the account should be paid with a zero
                 Balance Amount. For Credit Line, Open and Revolving portfolio types, the account
      131 & 2
                 should no longer be available for use, and the Balance Amount should be zero. A
                 Special Comment Code M or Compliance Condition Code XA may also be reported
                 to indicate the account is closed.
                 Account paid in full, was a voluntary surrender
       612       Requires Current Balance and Amount Past Due = zero.
                 Refer to Frequently Asked Question & Answer 63 for reporting guidelines.
                 Account paid in full, was a collection account
       622
                 Requires Current Balance and Amount Past Due = zero.
                 Account paid in full, was a repossession
       632       Requires Current Balance and Amount Past Due = zero.
                 Refer to Frequently Asked Question & Answer 62 for reporting guidelines.
                 Account paid in full, was a charge-off
       642       Requires Current Balance and Amount Past Due = zero.
                 Refer to Frequently Asked Question & Answer 34(b) for reporting guidelines.
                 Account paid in full. A foreclosure was started.
      651 & 2    Requires Current Balance and Amount Past Due = zero.
                 Refer to Frequently Asked Question & Answer 52 for reporting guidelines.
  (continued)


  1
      Field 17B (Payment Rating) is also required when reporting this Account Status Code.
  2
      This Account Status Code is considered to be a final status, which does not require further
       updating.
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  Exhibit 4

  Account Status Codes
   Code       Description
     71   1   Account 30-59 days past the due date
     781      Account 60-89 days past the due date
     801      Account 90-119 days past the due date
     821      Account 120-149 days past the due date
     831      Account 150-179 days past the due date
     841      Account 180 days or more past the due date
     882      Claim filed with government for insured portion of balance on a defaulted loan
              Deed received in lieu of foreclosure on a defaulted mortgage; there may be a
              balance due
     892      Refer to Frequently Asked Question & Answer 53 for reporting guidelines.
              Note: For credit reporting purposes, do not report Account Status Code 97
              (Charge-off) after Account Status 89 has been reported.
     93       Account assigned to internal or external collections
              Foreclosure completed; there may be a balance due
              Refer to Frequently Asked Question & Answer 52 for reporting guidelines.
     942
              Note: For credit reporting purposes, do not report Account Status Code 97
              (Charge-off) after Account Status 94 has been reported.
              Voluntary surrender; there may be a balance due
              Refer to Frequently Asked Question & Answer 63 for reporting guidelines.
     952
              Note: Do not report Status Code 95 for early termination of leases. Refer to the
              Leasing category within Exhibit 6 for applicable Special Comments.
              Merchandise was repossessed; there may be a balance due
     96
              Refer to Frequently Asked Question & Answer 62 for reporting guidelines.
              Unpaid balance reported as a loss (charge-off)
     97       Refer to Frequently Asked Questions & Answers 34(a) & (c) for reporting
              guidelines.
              Delete entire account (for reasons other than fraud)
              Note: In order to maintain the integrity of credit information, it is
              important that data furnishers not ask for a subsequent deletion of
     DA
              account history unless an actual error was reported. Paid derogatory
              accounts, such as collections, should be reported as paid; they should not
              be deleted.
     DF       Delete entire account due to confirmed fraud (fraud investigation completed)


  ______________________
  1
    For Credit Line, Open and Revolving portfolio types, if the account is closed, Special Comment
    M or Compliance Condition Code XA should also be reported to indicate the account is no longer
    available for use.
  2
    Field 17B (Payment Rating) is also required when reporting this Account Status Code.


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  Exhibit 5

  Examples of Reporting Payment History Profile
  (Field 18)

  The Account Status, which is reported in field 17A of the Base Segment, contains the
  status of the account as of the Date of Account Information. Field 18 contains up to 24
  months of consecutive payment activity prior to the current reporting period.

  Examples of Account Status and Payment History Profile (PHP):

  A. Data furnisher who reports data on the last day of each month:

     Account Status Code = 11; Date of Account Information = 01/31/2020 (represents
     the reporting period of 01/01/2020 through 01/31/2020)
     PHP Field 18 = 000011000000EEEE0000BBBB

     In the above example, field 18 data represents, from left to right, 12/31/2019 back
     through 01/31/2018. The E’s indicate that the account was current with a zero
     balance in 12/2018, 11/2018, 10/2018 and 09/2018. The B’s indicate that no
     payment history was available prior to 05/2018, which was most likely the date
     account was opened.


  B. Data furnisher who reports data on the 15th of each month:

     Account Status Code = 80; Date of Account Information = 01/15/2020 (represents
     the reporting period of 12/16/2019 through 01/15/2020); Date of First Delinquency
     = 08/11/2019; PHP Field 18 = 2211100000DD000101000000

     In the above example, field 18 data represents, from left to right, data that was
     reported in the mid-month reporting periods of 12/15/2019 back through
     01/15/2018. For example, the first position, which is 2 (60-89 days past the due
     date) represents that the account was 60 days delinquent in the 11/16/2019
     through 12/15/2019 reporting period.

     The D’s indicate that no payment history was available for 02/2019 or 01/2019.

     Note: The Date of First Delinquency (08/11/2019) represents the date of the first
           30-day delinquency that led to the status being reported.

  (continued)




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  Exhibit 5

  Examples of Reporting Payment History Profile
  (Field 18)

  C. Data furnisher who reports data on the 1st of each month:

     Account Status Code = 11; Date of Account Information = 01/01/2020 (represents
     the reporting period of 12/02/2019 through 01/01/2020)
     PHP Field 18 = 0EEEEEEEE000EEEE0000EE00

     In the above example, field 18 data represents, from left to right, 12/01/2019 back
     through 01/01/2018. For example, the first position, which is 0 (0-29 days past the
     due date), represents that the account was current in the 11/2/2019 through
     12/01/2019 reporting period.

     The E’s indicate that the account was current with a zero balance from 11/01/2019
     back through 04/01/2019, from 12/01/2018 back through 09/01/2018, and from
     04/01/2018 back through 03/01/2018. The account was current (and active) during
     the other months.


  D. Account Status Code = 97; Date of Account Information = 01/31/2020 (represents
     the reporting period of 01/01/2020 through 01/31/2020); Date of First Delinquency
     = 06/30/2018; PHP Field 18 = LLGGGGGGGG66654332100010

     In the above example, field 18 data represents, from left to right, 12/31/2019 back
     through 01/31/2018. The L’s indicate that the account was a charge-off from
     12/2019 and 11/2019, and the G’s indicate that the account was a collection from
     10/2019 back through 03/2019.

     Note: The Date of First Delinquency (06/30/2018) represents the date of the 30-
           day delinquency that led to the charge off being reported.




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Exhibit 6

Special Comment Codes – By Category within Portfolio
The Special Comment Code (Field 19) must be reported each month as long as the condition applies. If more than one Special
Comment applies to an account, it is the data furnisher’s decision to report the comment that is deemed most important from a
business perspective for the current reporting period.


Category         Description                                                                 Line of   Install-
                                                                                                                  Mortgage   Open   Revolving
                                                                                             Credit     ment

Closed           Election of Remedy
(Permanently or Definition: A car or other item is repossessed, but the value is less than     -          I          -        -         I
Temporarily)    the balance due. The credit grantor must consider the account paid and
                cannot collect the difference in amounts.

                 Account Closed at Credit Grantor’s Request
                 (Requires Date Closed to identify the date the account was closed to          M          -          -        M        M
                 further purchases/use.)

                 Credit Line Suspended
                 (Continue to report the last assigned Credit Limit. Account Status Code
                 should not be 13 or 61-65. Does not require Date Closed to be reported        AP         -          -       AP        AP
                 since credit line is temporarily suspended.)
                 Definition: The credit line is temporarily unavailable for use.

                 Account Closed Due to Refinance
                                                                                              AS         AS         AS        -         -
                 (Refer to Frequently Asked Question 42 for reporting guidelines.)

                 Account Closed Due to Transfer
                 (Refer to Frequently Asked Question 46 for reporting guidelines.)             AT        AT         AT       AT        AT
                 Note: Used for internal transfers.

                 Credit Card Lost or Stolen
                                                                                               -          -          -       BL        BL
                 (Refer to Frequently Asked Question 43 for reporting guidelines.)


(continued)


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Exhibit 6

Special Comment Codes - By Category within Portfolio

                                                                                            Line of   Install-
Category         Description                                                                Credit     ment
                                                                                                                 Mortgage   Open   Revolving

Closed           Account Closed Due to Inactivity
(Permanently or (Requires Date Closed to identify the date the account was closed to          CI         -          -        CI       CI
Temporarily)    further purchases/use.)
(continued)
                 Credit Line No Longer Available – In Repayment Phase
                 (Continue to report the last assigned Credit Limit. Account Status Code
                 should not be 13 or 61-65 and Current Balance should not be zero.
                 Requires Date Closed to identify the date the account was closed to
                 further purchases/use.)                                                      CJ         -          -        -         -
                 Definition: To be used for line of credit accounts that have two phases:
                 the borrowing phase and the repayment phase. The repayment phase is
                 a natural progression for the account when the consumer is responsible
                 for payment of the outstanding balance and the credit line is no longer
                 available for use.

                 Credit Line Suspended due to Collateral Depreciation
                 (Continue to report last assigned Credit Limit. Account Status Code
                 should not be 13 or 61-65. Does not require Date Closed to be
                                                                                              CL         -          -        -         -
                 reported since credit line is temporarily suspended.)
                 Definition: To be used for Home Equity and other secured line of credit
                 accounts when the credit line is temporarily unavailable for use.


(continued)




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Exhibit 6

Special Comment Codes – By Category within Portfolio
Category       Description                                                           Line of   Install-
                                                                                                        Mortgage   Open   Revolving
                                                                                     Credit     ment
Leasing
               Full Termination/Status Pending
                                                                                       -        BB         -        -        -
               (Requires Account Type 3A or 13)

               Full Termination/Obligation Satisfied
               (Requires Account Type 3A or 13, Account Status Code 13 and Current     -        BC         -        -        -
               Balance = 0)

               Full Termination/Balance Owing
               (Requires Account Type 3A or 13.                                        -        BD         -        -        -
               Refer to Frequently Asked Question 36 for reporting guidelines.)

               Early Termination/Status Pending
                                                                                       -         BE        -        -        -
               (Requires Account Type 3A or 13)

               Early Termination/Obligation Satisfied
               (Requires Account Type 3A or 13, Account Status Code 13 and Current     -         BF        -        -        -
               Balance = 0)

               Early Termination/Balance Owing
                                                                                       -        BG         -        -        -
               (Requires Account Type 3A or 13)

               Early Termination/Insurance Loss
                                                                                       -        BH         -        -        -
               (Requires Account Type 3A or 13)


(continued)




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Exhibit 6

Special Comment Codes - By Category within Portfolio

Category         Description                                                          Line of   Install-
                                                                                                         Mortgage   Open   Revolving
                                                                                      Credit     ment
Leasing
                 Involuntary Repossession
(continued)
                 (Requires Account Type 3A or 13)
                 Note: Accounts with non-lease type codes should be reported with       -         BI        -        -        -
                 Account Status 63 (Paid, was a repossession) or 96 (Repossession),
                 as applicable.

                 Involuntary Repossession/Obligation Satisfied
                 (Requires Account Type 3A or 13)
                                                                                        -         BJ        -        -        -
                 Note: Accounts with non-lease type codes should be reported with
                 Account Status 63 (Paid, was a repossession).

                 Involuntary Repossession/Balance Owing
                 (Requires Account Type 3A or 13)
                                                                                        -        BK         -        -        -
                 Note: Accounts with non-lease type codes should be reported with
                 Account Status 96 (Repossession).

                 Prepaid Lease
                 (Requires Account Type 3A or 13.
                 Refer to Frequently Asked Question 37 for reporting guidelines.)       -        BS         -        -        -
                 Definition: Consumer paid lease in advance. No monthly payments
                 are due.

Legal Action     Account Payments Assured by Wage Garnishment                          AM        AM        AM       AM       AM

(continued)




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Exhibit 6

Special Comment Codes – By Category within Portfolio
                                                                                         Line of   Install-
Category        Description                                                                                 Mortgage   Open   Revolving
                                                                                         Credit     ment
Other
                Special Handling - Contact Credit Grantor for Additional
                                                                                           S         S        S         S        S
                Information

                Adjustment Pending
                Definition: Account adjustment, such as returned merchandise and           V         V        V         V        V
                refund due.

                First Payment Never Received
                                                                                          AV        AV        AV       AV        AV
                Note: May indicate fraudulent activity

                Affected by Natural or Declared Disaster
                                                                                          AW        AW       AW        AW       AW
                (Refer to Frequently Asked Question 58 for reporting guidelines.)

                Redeemed or Reinstated Repossession                                        -        AZ         -        -        AZ

                Foreclosure Proceedings Started                                           BO         -        BO        -         -
                (Refer to Frequently Asked Question 52 for reporting guidelines.)

                Guaranteed/Insured                                                        CH        CH        CH       CH        CH

                Credit Line Reduced due to Collateral Depreciation
                Definition: To be used for Home Equity or other secured line of credit
                                                                                          CK         -         -        -         -
                accounts.


(continued)




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Exhibit 6

Special Comment Codes - By Category within Portfolio

Category        Description                                                            Line of   Install-
                                                                                                          Mortgage   Open    Revolving
                                                                                       Credit     ment
Other
(continued)
                Collateral Released by Creditor / Balance Owing
                (Account Status Code should not be 13 or 61-65 and Current Balance
                should not be zero.)                                                    CM        CM        CM         -       CM
                Definition: To be used for Mortgages, Home Equity or other secured
                accounts when the collateral is released, but the consumer still has
                an outstanding balance to repay.

                Loan Modified under a Federal Government Plan                           CN        CN        CN        CN        CN

                Loan Modified
                Definition: To be used when reporting loans that are modified, but      CO        CO        CO        CO       CO
                not under a Federal Government Plan.

                Used by Child Support Agencies only when reporting
                                                                                         -         -         -        CS         -
                delinquent or collection accounts (No actual comment displays)

                Debt Extinguished Under State Law
                (Account Status Code should not be 13 or 61-65 and Current Balance
                and Amount Due = 0.                                                     DE        DE        DE        DE        DE
                Refer to Frequently Asked Question 69 for reporting guidelines.)
                Definition: To be used when debts are extinguished under state law.

Refinanced      Account Closed Due to Refinance
                                                                                        AS        AS        AS         -         -
                (Refer to Frequently Asked Question 42 for reporting guidelines.)

Removal of      Removes Any Previously Reported Special Comment Code, or
                                                                                       BLANK BLANK        BLANK      BLANK    BLANK
Comment         no Special Comment applies for this reporting period

(continued)



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Exhibit 6

Special Comment Codes – By Category within Portfolio
Category         Description                                                              Line of   Install-
                                                                                                             Mortgage   Open   Revolving
                                                                                          Credit     ment
Special
                 Account Payments Managed by Financial Counseling Program
Payment                                                                                     B         B        B         B        B
Arrangements     Note: Used for external financial counseling programs

                 Paid by Co-Maker or Guarantor
                                                                                            C         C        C         C        C
                 (Requires Account Status Code 13 or 61-65 and Current Balance = 0)

                 Debt Being Paid Through Insurance
                                                                                           AB        AB        AB       AB        AB
                 (Account Status Code should not be 13 or 61-65)

                 Paying Under a Partial Payment Agreement
                 (Account Status Code should not be 13 or 61-65)
                                                                                           AC        AC        AC       AC        AC
                 Definition: An agreed-upon repayment plan with account payments
                 that are less than the original contract’s account payments.

                 Recalled to Active Military Duty
                 Definition: To be used for reservists; not to be used to identify full
                                                                                            AI        AI       AI        AI       AI
                 time military personnel.
                 Note: A code is not available to report full time military personnel.

                 Voluntarily Surrendered, then Redeemed or Reinstated                       -        AO         -        -       AO

(continued)




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Exhibit 6

Special Comment Codes - By Category within Portfolio

Category         Description                                                             Line of   Install-
                                                                                                            Mortgage   Open   Revolving
                                                                                         Credit     ment
Special
                 Account Paid in Full for Less than the Full Balance
Payment
Arrangements     (Requires Account Status Code 13 or 61-65 and Current Balance = 0.
(continued)      Refer to Frequently Asked Questions 38 and 53 for reporting              AU        AU        AU       AU        AU
                 guidelines.)
                 Definition: To be used when the furnisher accepts payment in full for
                 less than the full balance. Includes short sales.

                 Account Paid from Collateral
                                                                                          AX        AX         -        -        AX
                 (Requires Account Status Code 13 or 61-65 and Current Balance = 0)

                 Paid by Company which Originally Sold the Merchandise
                                                                                           -        BN         -        -         -
                 (Requires Account Status Code 13 or 61-65 and Current Balance = 0)

                 Paid through Insurance
                                                                                           BP        BP       BP       BP        BP
                 (Requires Account Status Code 13 or 61-65 and Current Balance = 0)

                 Principal Deferred/Interest Payment Only                                  BT        BT       BT        -        BT

                 Account in Forbearance
                 (Account Status Code should not be 13 or 61-65 and Current Balance        CP        CP       CP       CP        CP
                 should not be zero.)

(continued)




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Exhibit 6

Special Comment Codes – By Category within Portfolio
Category        Description                                                         Line of   Install- Mortgage   Open   Revolving
                                                                                    Credit     ment

Transferred     Account Closed Due to Transfer
                (Refer to Frequently Asked Question 46 for reporting guidelines.)     AT        AT       AT       AT        AT
                Note: Used for internal transfers

                Loan Assumed by Another Party
                (Requires ECOA Code T — Terminated.                                   -         H        H         -         -
                Refer to Frequently Asked Question 55 for reporting guidelines.)

                Account Transferred to Another Company/Servicer
                                                                                      O         O        O         O        O
                (Refer to Frequently Asked Question 46 for reporting guidelines.)

                Purchased by Another Company
                                                                                     AH        AH        AH       AH        AH
                (Refer to Frequently Asked Question 47 for reporting guidelines.)

                Account Acquired by FDIC/NCUA
                Definition: Federal Deposit Insurance Corp./National Credit Union    AN        AN        AN       AN        AN
                Administration

                Transferred to Recovery
                (Requires Account Status Code 71-97)                                 BA        BA        BA       BA        BA
                Note: Used for internal transfers


Note: Special Comment Codes AG (Simple Interest Loan) and AJ (Payroll Deduction) became obsolete for
      reporting as of September 2011. Special Comment Code AL (Student Loan Assigned to Government)
      became obsolete for reporting as of April 2020.




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  Exhibit 7

  Special Comment Codes
  The Special Comment Code (Field 19) must be reported each month as long as the
  condition applies.

  If more than one Special Comment applies to an account, it is the data furnisher’s
  decision to report the comment that is deemed most important from a business
  perspective for the current reporting period.

     Code       Description
                Removes any previously reported Special Comment Code, or no Special
     Blank
                Comment applies for this reporting period.
                Account payments managed by financial counseling program.
       B
                Note: Used for external financial counseling programs.
                Paid by Co-maker or Guarantor.
       C
                Requires Account Status Code 13 or 61-65 and Current Balance = 0.
                Loan assumed by another party.
       H        Requires ECOA Code T (Terminated).
                Refer to Frequently Asked Question 55 for reporting guidelines.
                Election of remedy.
       I        Definition: A car or other item is repossessed, but the value is less than
                the balance due. The credit grantor must consider the account paid and
                cannot collect the difference in the amounts.
                Account closed at credit grantor's request.
       M        Requires Date Closed to identify the date the account was closed to
                further purchases/use.
                Account transferred to another company/servicer.
       O
                Refer to Frequently Asked Question 46 for reporting guidelines.
       S        Special handling. Contact credit grantor for additional information.
                Adjustment pending.
       V        Definition: Account adjustment, such as returned merchandise and refund
                due.
                Debt being paid through insurance.
      AB
                Account Status Code should not be 13 or 61-65.
                Paying under a partial payment agreement.
                Account Status Code should not be 13 or 61-65.
      AC
                Definition: An agreed-upon repayment plan with account payments that
                are less than the original contract’s account payments.
                Purchased by another company.
      AH
                Refer to Frequently Asked Question 47 for reporting guidelines.

  (continued)
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  Exhibit 7

  Special Comment Codes
     Code       Description
                Recalled to active military duty.
                Definition: To be used for reservists; not to be used to identify full time
         AI     military personnel.
                Note: A code is not available to report full time military personnel.
         AM     Account payments assured by wage garnishment.
                Account acquired by FDIC/NCUA.
         AN     Definition: Federal Deposit Insurance Corp./National Credit Union
                Administration.
         AO     Voluntarily surrendered - then redeemed or reinstated.
                Credit Line suspended.
                Continue to report the last assigned Credit Limit. Account Status Code
         AP     should not be 13 or 61-65. Does not require Date Closed to be reported
                since credit line is temporarily suspended.
                Definition: The credit line is temporarily unavailable for use.
                Account closed due to refinance.
         AS
                Refer to Frequently Asked Question 42 for reporting guidelines.
                Account closed due to transfer.
         AT     Note: Used for internal transfers.
                Refer to Frequently Asked Question 46 for reporting guidelines.
                Account paid in full for less than the full balance.
                Requires Account Status Code 13 or 61-65 and Current Balance = 0.
         AU     Refer to Frequently Asked Questions 38 and 53 for reporting guidelines.
                Definition: To be used when the furnisher accepts payment in full for less
                than the full balance. Includes short sales.
                First payment never received.
         AV
                Comment: May indicate fraudulent activity.

         AW     Affected by natural or declared disaster.
                Refer to Frequently Asked Question 58 for reporting guidelines.
                Account paid from collateral.
         AX
                Requires Account Status Code 13 or 61-65 and Current Balance = 0.
         AZ     Redeemed or reinstated repossession.
                Transferred to Recovery.
         BA     Requires Account Status Code 71 - 97.
                Note: Used for internal transfers

  (continued)




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  Exhibit 7

  Special Comment Codes
     Code       Description
                Full termination/status pending.
      BB
                Requires Account Type 3A (Auto Lease) or 13 (Lease).
                Full termination/obligation satisfied.
      BC        Requires Account Type 3A (Auto Lease) or 13 (Lease), Account Status
                Code 13 and Current Balance = 0.
                Full termination/balance owing.
      BD
                Requires Account Type 3A (Auto Lease) or 13 (Lease).
                Early termination/status pending.
      BE
                Requires Account Type 3A (Auto Lease) or 13 (Lease).
                Early termination/obligation satisfied.
      BF        Requires Account Type 3A (Auto Lease) or 13 (Lease), Account Status
                Code 13 and Current Balance = 0.
                Early termination/balance owing.
      BG
                Requires Account Type 3A (Auto Lease) or 13 (Lease).
                Early termination/insurance loss.
      BH
                Requires Account Type 3A (Auto Lease) or 13 (Lease).
                Involuntary repossession.
                Requires Account Type 3A (Auto Lease) or 13 (Lease).
       BI       Note: Accounts with non-lease type codes should be reported with
                Account Status 63 (Paid, was a repossession) or 96 (Repossession), as
                applicable.
                Involuntary repossession/obligation satisfied.
                Requires Account Type 3A (Auto Lease) or 13 (Lease).
       BJ
                Note: Accounts with non-lease type codes should be reported with
                Account Status 63 (Paid, was a repossession).
                Involuntary repossession/balance owing.
                Requires Account Type 3A (Auto Lease) or 13 (Lease).
      BK
                Note: Accounts with non-lease type codes should be reported with
                Account Status 96 (Repossession).
                Credit card lost or stolen.
      BL
                Refer to Frequently Asked Question 43 for reporting guidelines.
                Paid by company which originally sold the merchandise.
      BN
                Requires Account Status Code 13 or 61-65 and Current Balance = 0.

  (continued)



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  Exhibit 7

  Special Comment Codes
     Code       Description
                Foreclosure proceedings started.
         BO
                Refer to Frequently Asked Question 52 for reporting guidelines.
                Paid through insurance.
         BP
                Requires Account Status Code 13 or 61-65 and Current Balance = 0.
                Prepaid lease.
                Requires Account Type 3A (Auto Lease) or 13 (Lease).
         BS     Definition: Consumer paid lease in advance. No monthly payments are
                due.
                Refer to Frequently Asked Question 37 for reporting guidelines.
         BT     Principal deferred/Interest payment only.
         CH     Guaranteed/Insured.
                Account closed due to inactivity.
         CI     Requires Date Closed to identify the date the account was closed to
                further purchases/use.
                Credit line no longer available – in repayment phase.
                Continue to report the last assigned Credit Limit. Account Status Code
                should not be 13 or 61-65 and the Current Balance should not be zero.
                Requires Date Closed to identify the date the account was closed to
                further purchases/use.
         CJ
                Definition: To be used for line of credit accounts that have two phases:
                the borrowing phase and the repayment phase. The repayment phase is
                a natural progression for the account when the consumer is responsible
                for payment of the outstanding balance and the credit line is no longer
                available for use.
                Credit line reduced due to collateral depreciation.
         CK     Definition: To be used for Home Equity or other secured line of credit
                accounts.
                Credit line suspended due to collateral depreciation.
                Continue to report last assigned Credit Limit. Account Status Code should
                not be 13 or 61-65. Does not require Date Closed to be reported since
         CL
                credit line is temporarily suspended.
                Definition: To be used for Home Equity or other secured line of credit
                accounts when the credit line is temporarily unavailable for use.
                Collateral released by creditor / Balance owing.
                Account Status Code should not be 13 or 61-65 and the Current Balance
         CM     should not be zero.
                Definition: To be used for Mortgages, Home Equity or other secured
                accounts when the collateral is released, but the consumer still has an
                outstanding balance to repay.

  (continued)


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  Exhibit 7

  Special Comment Codes
     Code      Description
      CN       Loan modified under a federal government plan.
               Loan modified.
      CO       Definition: To be used when reporting loans that are modified, but not
               under a federal government plan.
               Account in forbearance.
      CP       Account Status should not be 13 or 61-65 and the Current Balance should
               not be zero.
               Used by Child Support Agencies only when reporting delinquent or
      CS
               collection accounts. (No actual comment displays.)
               Debt extinguished under state law.
               Account Status should not be 13 or 61-65 and the Current Balance and
      DE       Amount Past Due = 0.
               Refer to Frequently Asked Question 69 for reporting guidelines.
               Definition: To be used when debts are extinguished under state law.


  Notes: For comments specific to disputes and accounts closed at
         consumer’s request, refer to the Compliance Condition Code (Field
         20 and Exhibit 8).

           Special Comment Codes AG (Simple Interest Loan) and AJ (Payroll
           Deduction) became obsolete for reporting as of September 2011.
           Special Comment Code AL (Student Loan Assigned to Government)
           became obsolete for reporting as of April 2020.




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   Exhibit 8

  Compliance Condition Codes
  The Compliance Condition Code (CCC), which is reported in Field 20 of the Base Segment,
  allows the reporting of a condition that is required for legal compliance.

  Compliance Condition Codes are used to reflect accounts closed at consumer’s request, and
  consumer disputes under the Fair Credit Billing Act (FCBA), the Fair Debt Collection
  Practices Act (FDCPA), or the direct dispute provisions of the Fair Credit Reporting Act
  (FCRA) and its implementing rules.

  The Compliance Condition Codes should not be reported in response to a consumer dispute
  investigation request from the consumer reporting agencies, except where a data furnisher
  uses a Compliance Condition Code to satisfy its FDCPA obligation to communicate that a
  debt is disputed.

  Report the following codes:

   Code     Description
    Blank   Retains previously reported code, or no new Compliance Condition Code applies
            for this reporting period
            Account closed at consumer’s request

     XA     Definition: Reported when a consumer requested an account be closed.

            Important Note: Report the Date Closed as the date the account was
            closed to further purchases.
            Account information has been disputed by the consumer directly to the data
            furnisher under the Fair Credit Reporting Act (FCRA); the data furnisher is
            conducting its investigation.

            Definition: Reported when the completeness or accuracy of the account
            information is disputed directly to the data furnisher by the consumer under the
     XB     FCRA and investigation of the dispute is in progress by the data furnisher.

            Code XB should be reported for FDCPA disputes.

            Important Note: Code XB should no longer be reported after the
            investigation is completed; the XB should be removed by reporting the
            removal code or changed to another code.
            FCRA direct dispute investigation completed — consumer disagrees with the
            results of the data furnisher’s investigation.

     XC     Definition: Reported when the investigation of an FCRA dispute made by the
            consumer directly to the data furnisher has been completed by the data
            furnisher; however, the consumer disagrees with the outcome of the
            investigation.

  (continued)

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  Exhibit 8

  Compliance Condition Codes
   Code     Description
            Account closed at consumer’s request; and account information disputed by the
            consumer directly to the data furnisher under the FCRA; the data furnisher is
            conducting its investigation.

            Definition: Combination code reported when two conditions (XA and XB) apply to
            the account. A consumer requested an account be closed and the completeness
            or accuracy of the account information is disputed directly to the data furnisher
     XD     by the consumer under the FCRA and investigation of the dispute is in progress
            by the data furnisher.

            Important Notes: Report the Date Closed as the date the account was
            closed to further purchases.

            Code XD should no longer be reported after the investigation is
            completed; the XD should be changed to another code, such as XA or XE,
            if applicable.
            Account closed at consumer’s request; and data furnisher has completed its
            investigation; consumer disagrees with the results of the investigation. (To be
            used for direct disputes under the FCRA or FCBA disputes)

            Definition: Combination code reported when two conditions (XA and XC or XG)
     XE     apply to the account. A consumer requested an account be closed and the
            investigation of the dispute has been completed by the data furnisher; however,
            the consumer disagrees with the outcome of the investigation.

            Important Note: Report the Date Closed as the date the account was
            closed to further purchases.
            Account in dispute under Fair Credit Billing Act (FCBA); the data furnisher is
            conducting its investigation.

            Definition: Reported when information is disputed by the consumer under the
     XF     FCBA and investigation of the dispute is in progress by the data furnisher.

            Important Note: Code XF should no longer be reported after the
            investigation is completed; the XF should be removed by reporting the
            removal code or changed to another code.
            FCBA dispute investigation completed — consumer disagrees with the results of
            the data furnisher’s investigation.
     XG
            Definition: Reported when the investigation of an FCBA dispute has been
            completed by the data furnisher; however, the consumer disagrees with the
            outcome of the investigation.

  (continued)


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   Exhibit 8

  Compliance Condition Codes
   Code     Description
            Account previously in dispute; the data furnisher has completed its investigation.
            (To be used for direct disputes under the FCRA, FDCPA disputes or FCBA
     XH     disputes)

            Definition: Reported when the investigation of a dispute by the data furnisher
            was completed.
            Account closed at consumer’s request; and account information disputed by the
            consumer under FCBA; the data furnisher is conducting its investigation.

            Definition: Combination code reported when two conditions (XA and XF) apply to
            the account. A consumer requested an account be closed and information is
            disputed by the consumer under the FCBA and investigation of the dispute is in
     XJ     progress by the data furnisher.

            Important Notes: Report the Date Closed as the date the account was
            closed to further purchases.

            Code XJ should no longer be reported after the investigation is
            completed; the XJ should be changed to another code, such as XA or XE,
            if applicable.
            Removes the most recently reported Compliance Condition Code

     XR     Important Note: Do not use XR as a default code. If no Compliance
            Condition Code applies in the current reporting period, blank fill this
            field.



  Important Note:

  When a dispute investigation is completed, it is important to delete the previously-
  reported Compliance Condition Code or to update the Compliance Condition Code
  to show that the investigation has been completed. Your internal policies and
  procedures should indicate which option your company prefers to use; and if you
  choose to report a code indicating that the investigation has been completed, how
  long to retain the code on the consumer’s file.

  (continued)




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  Exhibit 8

  Compliance Condition Codes
  The code should be reported each month as long as the condition applies.

      Date of Account Information           CCC         Action
                09/15/2019                  XA          XA is added to file.
                10/15/2019                  XA          XA is retained.
                11/15/2019                  XA          XA is retained.
                12/15/2019                  Blank       XA is retained.
                01/15/2020                  XD          XA is replaced with XD.
                02/15/2020                  XD          XD is retained.
                03/15/2020                  XA          XD is replaced with XA.


  As an option, the code should be reported one time and will be deleted only when another
  Compliance Condition Code or the XR (Removal code) is reported. Example:


      Date of Account Information           CCC         Action
                09/15/2019                  XA          XA is added to file.
                10/15/2019                  Blank       XA is retained.
                11/15/2019                  Blank       XA is retained.
                12/15/2019                  Blank       XA is retained.
                01/15/2020                  XD          XA is replaced with XD.
                02/15/2020                  Blank       XD is retained.
                03/15/2020                  XA          XD is replaced with XA.



  Note: Regardless of the method of reporting, the code will be deleted only when
        another Compliance Condition Code or the XR (Removal code) is reported.




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  Exhibit 9

  Explanation and Examples of FCRA Compliance/
  Date of First Delinquency

  PURPOSE: This date will be used by the consumer reporting agencies to determine
  when delinquent data is to be deleted, pursuant to the Fair Credit Reporting Act
  (FCRA).

  HOW TO REPORT: The date in the Date of First Delinquency field must be
  determined each reporting period based on the following hierarchy:

  1. For Account Status Codes 61-65, 71, 78, 80, 82-84, 88-89 and 93-97, report
     the date of the first 30-day delinquency that led to the status being reported.
     This date should be 30 days after the due date. If a delinquent account
     becomes current, the Date of First Delinquency should be zero filled. Then if the
     account goes delinquent again, the Date of First Delinquency starts over with
     the new first delinquency date.

  2. For Account Status Codes 05 and 13, if the Payment Rating is 1-6, G or L, report
     the date of the first 30-day delinquency that led to the Payment Rating being
     reported. This date should be 30 days after the due date.

  3. For Consumer Information Indicators A-H and Z (Bankruptcies), 1A (Personal
     Receivership) and V-Y (Reaffirmation of Debt Rescinded with Bankruptcy
     Chapters), if the account is current (Account Status Code 11 or Account Status
     Code 05 or 13 with Payment Rating 0), report the date of the
     bankruptcy/personal receivership petition or notification. Even though the
     account is not delinquent, this date is required for purging purposes.

     Note: Consumer Information Indicators W, X and Y are obsolete as of
           September 2010 and may no longer be reported.

  If none of the conditions listed in the above hierarchy apply, the Date of First
  Delinquency should be zero filled.

  The following pages contain a flowchart view of the Date of First Delinquency
  hierarchy, plus several step-by-step examples demonstrating how to report the
  FCRA Compliance/Date of First Delinquency.




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Exhibit 9

Explanation and Examples of FCRA Compliance/
Date of First Delinquency (Field 25)
           START




                                                                                          Is Account Status = 11
  Is Account Status = 61-65,                           Is Account Status =             or Account Status 05, 13 with
                                                                                                                            Done! No DOFD
   71, 78, 80, 82-84, 88-89,      No             05 or 13 and Payment Rating =   No      Payment Rating = 0 and        No
                                                                                                                               required.
           or 93-97?                                       1-6, G or L?               Consumer Information Indicator
                                                                                                   = A-H,
                                                                                               Z, 1A or V-Y?



             Yes                                             Yes                                   Yes




       Date of first 30-                               Date of first 30-                     Date of the BK
       day delinquency                                 day delinquency                        or Personal
        that led to the                                  that led to the                     Receivership
         status being                                   payment rating                         petition or
           reported                                     being reported                        notification




            STOP                                             STOP                                 STOP

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Exhibit 9

Explanation and Examples of FCRA Compliance/
Date of First Delinquency (Field 25)
Example 1: Displays an account that goes delinquent to current and then goes delinquent again.

  Date of Account                                Number of Days                                                   Date of
                          Due Date                                          Account Status & Definition
   Information                                    Past Due Date                                             First Delinquency
                        (Not reported)                                             (Field 17A)
    (Field 24)                                    (Not reported)                                                (Field 25)
                                                                                          11
       03/12/2020        03/20/2020                       0                        Current Account               Zero fill
                                                                             0–29 days past the due date
                                                                                          11
       04/12/2020        03/20/2020                      23                        Current Account               Zero fill
                                                                             0–29 days past the due date
                                                                                          71                    04/19/2020
       05/12/2020        03/20/2020                      53
                                                                            30–59 days past the due date    (First Delinquency)
                                                                                          78
       06/12/2020        03/20/2020                      84                                                    04/19/2020
                                                                             60-89 days past the due date
                                                                                          11
       07/12/2020        06/20/2020                      22                        Current Account               Zero fill
                                                                             0-29 days past the due date
                                                                                          71                    07/20/2020
       08/12/2020        06/20/2020                      53
                                                                             30-59 days past the due date   (First Delinquency)
                                                                                          78
       09/12/2020        06/20/2020                      84                                                    07/20/2020
                                                                             60-89 days past the due date
                                                                                          80
       10/12/2020        06/20/2020                      114                                                   07/20/2020
                                                                            90-119 days past the due date
                                                                                          93
       11/12/2020        06/20/2020                      145                                                   07/20/2020
                                                                                     (Collection)

Note: The Date of First Delinquency is used by the consumer reporting agencies for purging purposes.

(continued)


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Exhibit 9

Explanation and Examples of FCRA Compliance/
Date of First Delinquency (Field 25)
Example 2: Displays an account that goes delinquent and never returns to a current status.

  Date of Account                                Number of Days                                                      Date of
                          Due Date                                            Account Status & Definition
   Information                                    Past Due Date                                                First Delinquency
                        (Not reported)                                               (Field 17A)
    (Field 24)                                     (Not reported)                                                  (Field 25)
                                                                                            11
     02/29/2020          03/01/2020                       0                           Current Account               Zero fill
                                                                                0-29 days past the due date
                                                                                            71                     03/31/2020
     03/31/2020          03/01/2020                      30
                                                                               30–59 days past the due date    (First Delinquency)
                                                                                            78
     04/30/2020          03/01/2020                      60                                                       03/31/2020
                                                                               60–89 days past the due date
                                                                                            80
     05/31/2020          03/01/2020                      91                                                       03/31/2020
                                                                               90-119 days past the due date
                                                                                            82
     06/30/2020          03/01/2020                      121                                                      03/31/2020
                                                                              120–149 days past the due date
                                                                                            83
     07/31/2020          03/01/2020                      152                                                      03/31/2020
                                                                              150-179 days past the due date
                                                                                            97
     08/31/2020          03/01/2020                      183                                                      03/31/2020
                                                                                        Charge-off
                                                                                            64
     09/30/2020       All payments made                  N/A                                                      03/31/2020
                                                                                      Paid Charge-off

Note: The Date of First Delinquency is used by the consumer reporting agencies for purging purposes.

(continued)




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Exhibit 9

Explanation and Examples of FCRA Compliance/
Date of First Delinquency (Field 25)
Example 3: Displays an account that has rolling delinquencies.

  Date of Account                                Number of Days                                                   Date of
                          Due Date                                          Account Status & Definition
   Information                                    Past Due Date                                             First Delinquency
                        (Not reported)                                             (Field 17A)
    (Field 24)                                    (Not reported)                                                (Field 25)
                                                                                         11
       04/12/2020        03/20/2020                      23                        Current Account               Zero fill
                                                                             0-29 days past the due date
                                                                                         71                     04/19/2020
       05/12/2020        03/20/2020                      53
                                                                             30-59 days past the due date   (First delinquency)
                                                                                         71
       06/12/2020        04/20/2020                      53                                                    04/19/2020
                                                                            30–59 days past the due date
                                                                                         78
       07/12/2020        04/20/2020                      83                                                    04/19/2020
                                                                            60–89 days past the due date
                                                                                         80
       08/12/2020        04/20/2020                      114                                                   04/19/2020
                                                                            90-119 days past the due date
                                                                                         71
       09/12/2020        07/20/2020                      54                                                    04/19/2020
                                                                             30-59 days past the due date
                                                                                         71
       10/12/2020        08/20/2020                      53                                                    04/19/2020
                                                                             30-59 days past the due date
                                                                                         78
       11/12/2020        08/20/2020                      84                                                    04/19/2020
                                                                             60-89 days past the due date

Note: The Date of First Delinquency is used by the consumer reporting agencies for purging purposes.

(continued)




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Exhibit 9

Explanation and Examples of FCRA Compliance/
Date of First Delinquency (Field 25)
Example 4: Displays an account that has been paid; the Payment Rating is delinquent.

  Date of Account                                Number of Days                                                      Date of
                          Due Date                                            Account Status & Definition
   Information                                    Past Due Date                                                First Delinquency
                        (Not reported)                                               (Field 17A)
    (Field 24)                                     (Not reported)                                                  (Field 25)
                                                                                            11
     03/18/2020          03/15/2020                       3                           Current Account               Zero fill
                                                                                0-29 days past the due date
                                                                                            11
     04/18/2020          04/15/2020                       3                           Current Account               Zero fill
                                                                                0-29 days past the due date
                                                                                            71                     05/15/2020
     05/18/2020          04/15/2020                      33
                                                                               30–59 days past the due date    (First Delinquency)
                                                                                            78
     06/18/2020          04/15/2020                      64                                                       05/15/2020
                                                                               60–89 days past the due date
                                                                                            78
     07/18/2020          05/15/2020                      64                                                       05/15/2020
                                                                               60-89 days past the due date
                                                                                            80
     08/18/2020          05/15/2020                      95                                                       05/15/2020
                                                                              90-119 days past the due date
                                                                                            82
     09/18/2020          05/15/2020                      126                                                      05/15/2020
                                                                              120-149 days past the due date
                                                                                            13
                         05/15/2020                      153
                                                                                       Paid Account
     10/15/2020         Paid in full on             prior to being                                                05/15/2020
                                                                                    Payment Rating = 5
                         10/15/2020                  paid in full
                                                                              150-179 days past the due date

Note: The Date of First Delinquency is used by the consumer reporting agencies for purging purposes.

(continued)



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Exhibit 9

Explanation and Examples of FCRA Compliance/
Date of First Delinquency (Field 25)
Example 5: Displays an account that was current when included in a Chapter 7 Bankruptcy. Data furnisher only reports
Consumer Information Indicator one time to take effect.

  Date of Account                           Number of Days                                                         Date of
                        Due Date                                            Account Status & Definitions
   Information                               Past Due Date                                                   First Delinquency
                      (Not reported)                                                (Field 17A)
    (Field 24)                               (Not reported)                                                      (Field 25)
                                                                                       11
       03/18/2020      03/15/2020                   3                                                              Zero fill
                                                                                     Current
                                                                                       11
       04/18/2020      04/15/2020                   3                                                              Zero fill
                                                                                     Current
                                                                                       11
                                                                                                                 05/07/2020
                                                                                     Current
       05/18/2020      05/15/2020                   3                                                        (Bankruptcy Petition
                                                                      Consumer Information Indicator = A
                                                                                                                    Date)
                                                                       Petition for Chapter 7 Bankruptcy
                                                                                       11
       06/18/2020      06/15/2020                   3                                Current                       Zero fill
                                                                    Consumer Information Indicator = Blank

Note: The Date of First Delinquency is used by the consumer reporting agencies for purging purposes.

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Exhibit 9

Explanation and Examples of FCRA Compliance/
Date of First Delinquency (Field 25)
Example 6: Displays an account that was current when included in a Chapter 7 Bankruptcy. Data furnisher reports Consumer
Information Indicator every month as long as it applies.

 Date of Account                           Number of Days                                                     Date of First
                       Due Date                                         Account Status & Definitions
  Information                               Past Due Date                                                     Delinquency
                     (Not reported)                                             (Field 17A)
   (Field 24)                                (Not reported)                                                    (Field 25)
                                                                                       11
    03/18/2020         03/15/2020                   3                                                            Zero fill
                                                                                     Current
                                                                                       11
    04/18/2020         04/15/2020                   3                                                            Zero fill
                                                                                     Current
                                                                                       11
                                                                                                               05/07/2020
                                                                                     Current
    05/18/2020         05/15/2020                   3                                                      (Bankruptcy Petition
                                                                      Consumer Information Indicator = A
                                                                                                                  Date)
                                                                       Petition for Chapter 7 Bankruptcy
                                                                                       11
                                                                                                               05/07/2020
                                                                                     Current
    06/18/2020         06/15/2020                   3                                                      (Bankruptcy Petition
                                                                      Consumer Information Indicator = A
                                                                                                                  Date)
                                                                       Petition for Chapter 7 Bankruptcy

Note: The Date of First Delinquency is used by the consumer reporting agencies for purging purposes.

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Exhibit 9

Explanation and Examples of FCRA Compliance/
Date of First Delinquency (Field 25)
Example 7: Displays an account that was delinquent before it was included in a Chapter 7 Bankruptcy.

 Date of Account                            Number of Days                                                       Date of
                        Due Date                                            Account Status & Definition
  Information                                Past Due Date                                                 First Delinquency
                      (Not reported)                                               (Field 17A)
   (Field 24)                                (Not reported)                                                    (Field 25)
                                                                                       11
       03/18/2020      03/15/2020                   3                                Current                    Zero fill
                                                                          0-29 days past the due date
                                                                                       11
       04/18/2020      04/15/2020                   3                                Current                    Zero fill
                                                                          0-29 days past the due date
                                                                                       71                      05/15/2020
       05/18/2020      04/15/2020                   33
                                                                         30–59 days past the due date      (First Delinquency)
                                                                                       78
       06/18/2020      04/15/2020                   64                                                        05/15/2020
                                                                         60–89 days past the due date
                                                                                       78
       07/18/2020      05/15/2020                   64                                                        05/15/2020
                                                                         60-89 days past the due date
                                                                                       80
                                                                        90-119 days past the due date
       08/18/2020      05/15/2020                   95                                                        05/15/2020
                                                                      Consumer Information Indicator = A
                                                                       Petition for Chapter 7 Bankruptcy

Note: The Date of First Delinquency is used by the consumer reporting agencies for purging purposes.

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Exhibit 9

Explanation and Examples of FCRA Compliance/
Date of First Delinquency (Field 25)
Example 8: Displays an account in a Chapter 7 Bankruptcy that is current at the time of filing and the non-filer becomes
delinquent after the petition is reported. Data furnisher reports Consumer Information Indicator every month as long as it
applies.

 Date of Account                       Number of Days                                                                      Date of
                     Due Date                                           Account Status & Definition
  Information                           Past Due Date                                                                First Delinquency
                   (Not reported)                                              (Field 17A)
   (Field 24)                          (Not reported)                                                                    (Field 25)
                                                                                     11
    03/18/2020       03/15/2020                3                                   Current                                 Zero fill
                                                                        0-29 days past the due date
                                                                                     11
                                                                                                                         04/10/2020
                                                                                   Current
                                                                                                                   (Bankruptcy Notification
    04/18/2020       04/15/2020                3                 Consumer Information Indicator = A (Filer)
                                                                                                                   Date – for the Filer only)
                                                                     Petition for Chapter 7 Bankruptcy
                                                                                                                      Hierarchy Rule #3
                                                              Consumer Information Indicator = Blank (Non-filer)
                                                                                     11
                                                                                                                         04/10/2020
                                                                                   Current
                                                                                                                   (Bankruptcy Notification
    05/18/2020       05/15/2020                3                 Consumer Information Indicator = A (Filer)
                                                                                                                   Date – for the Filer only)
                                                                     Petition for Chapter 7 Bankruptcy
                                                                                                                      Hierarchy Rule #3
                                                              Consumer Information Indicator = Blank (Non-filer)
                                                                                     71
                                                                       30–59 days past the due date                      06/14/2020
    06/18/2020       05/15/2020               34                 Consumer Information Indicator = A (Filer)        (For the Non-filer only)
                                                                     Petition for Chapter 7 Bankruptcy               Hierarchy Rule #1
                                                              Consumer Information Indicator = Blank (Non-filer)
                                                                                     78
                                                                       60-89 days past the due date                      06/14/2020
    07/18/2020       05/15/2020               64                 Consumer Information Indicator = A (Filer)        (For the Non-filer only)
                                                                     Petition for Chapter 7 Bankruptcy               Hierarchy Rule #1
                                                              Consumer Information Indicator = Blank (Non-filer)

Note: The Date of First Delinquency is used by the consumer reporting agencies for purging purposes.

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  Exhibit 9

  Explanation and Examples of FCRA Compliance/
  Date of First Delinquency (Field 25)
  Fair Credit Reporting Act Excerpts

  FCRA Section 605(c) [15 U.S.C. § 1681c(c)], Running of Reporting Period:

         (1) In general: The 7-year period referred to in paragraphs (4) and (6) of
         subsection (a) shall begin, with respect to any delinquent account that is
         placed for collection (internally or by referral to a third party, whichever is
         earlier), charged to profit and loss, or subjected to any similar action, upon
         the expiration of the 180-day period beginning on the date of the
         commencement of the delinquency which immediately preceded the
         collection activity, charge to profit and loss, or similar action.

  FCRA Section 605(a) [15 U.S.C. § 1681c(a)], Information Excluded From
  Consumer Reports:

         (4) Accounts placed for collection or charged to profit and loss which
         antedate the report by more than seven years.

         (5) Any other adverse item of information, other than records of convictions
         or crimes which antedates the report by more than seven years.

  (continued)




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  Exhibit 9

  Explanation and Examples of FCRA Compliance/
  Date of First Delinquency (Field 25)
  Fair Credit Reporting Act Excerpts

  FCRA Section 623 [15 U.S.C. § 1681s-2], Responsibilities of Furnishers of
  Information to Consumer Reporting Agencies:

  (5) Duty to provide notice of delinquency of accounts.

        (A) In general. - A person who furnishes information to a consumer reporting
        agency regarding a delinquent account being placed for collection, charged to
        profit or loss, or subjected to any similar action, shall, not later than 90 days
        after furnishing the information, notify the agency of the date of delinquency
        on the account, which shall be the month and year of the commencement of
        the delinquency on the account that immediately preceded the action.

        (B) Rule of construction.-For purposes of this paragraph only, and provided
        that the consumer does not dispute the information, a person that furnishes
        information on a delinquent account that is placed for collection, charged for
        profit or loss, or subjected to any similar action, complies with this
        paragraph, if-

              (i) the person reports the same date of delinquency as that provided
              by the creditor to which the account was owed at the time at which the
              commencement of the delinquency occurred, if the creditor previously
              reported that date of delinquency to a consumer reporting agency;

              (ii) the creditor did not previously report the date of delinquency to a
              consumer reporting agency, and the person establishes and follows
              reasonable procedures to obtain the date of delinquency from the
              creditor or another reliable source and reports that date to a consumer
              reporting agency as the date of delinquency; or

              (iii) the creditor did not previously report the date of delinquency to a
              consumer reporting agency and the date of delinquency cannot be
              reasonably obtained as provided in clause (ii), the person establishes
              and follows reasonable procedures to ensure the date reported as the
              date of delinquency precedes the date on which the account is placed
              for collection, charged to profit or loss, or subjected to any similar
              action, and reports such date to the credit reporting agency.




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Exhibit 10

ECOA Codes
The ECOA Code defines the relationship of the consumer to the account in compliance with the Equal Credit Opportunity
Act. This code is reported in Field 37 of the Base Segment and Field 10 of the J1 and J2 Segments. Values available:

 Code    Description         Definition                                                     Logical Usage
                                                                                            • Most commonly reported in
                                                                                              Base Segment
                             This consumer has contractual responsibility for this          • May be reported in J1 or J2
   1     Individual
                             account and is primarily responsible for its payment.            Segment when Base Segment
                                                                                              consumer is reported with T, X
                                                                                              or Z

         Joint Contractual   This consumer has contractual responsibility for this joint
   2                                                                                        •   Base, J1 or J2 Segment
         Liability           account.


                             This consumer is an authorized user of this account;
                             another consumer has contractual responsibility.
   3     Authorized User                                                                    •   J1 or J2 Segment
                             Note: The full Date of Birth (MMDDYYYY) must be
                             reported for all newly-added authorized users on all
                             pre-existing and newly-opened accounts.
                                                                                            •   J1 or J2 Segment
         Co-maker or         This consumer is the co-maker or guarantor for this            •   May be reported in Base
   5
         Guarantor           account, who becomes liable if the maker defaults.                 Segment when business is
                                                                                                reported in J2 Segment
                                                                                            •   Most commonly reported in
                                                                                                Base Segment
                             This consumer is the maker who is liable for the account,
   7     Maker                                                                              •   May be reported in J1 or J2
                             but a co-maker or guarantor is liable if the maker defaults.
                                                                                                Segment if more than one
                                                                                                maker on account

(continued)
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Exhibit 10

ECOA Codes
Code    Description   Definition                                                                  Logical Usage

                      The association with the account has been terminated by this consumer.
                                                                                                  •   Base, J1 or
   T    Terminated
                      Note: Refer to Frequently Asked Question 14(b) for usage guidelines on
                                                                                                      J2 Segment
                      ECOA Code T.

                      This consumer is deceased.
                                                                                                  •   Base, J1 or
   X    Deceased      Note: Do not report ECOA Code X until you have received a legally-
                      sufficient death notice; e.g., death certificate. Data furnishers should
                                                                                                      J2 Segment
                      consult with internal Legal counsel or Compliance area regarding what
                      constitutes a legally-sufficient death notice.

                      This code is used to identify that the company reported in the Name field
        Business/     is contractually liable for this account.
  W                                                                                               •   J2 Segment
        Commercial
                      Note: Refer to Frequently Asked Question 20 for guidelines on reporting
                      consumers who are personally liable for business accounts.

                      This code is used to delete this consumer from the account.

                      Notes: Refer to Frequently Asked Question 14(b) for usage guidelines on
        Delete        ECOA Code Z.                                                                •   Base, J1 or
   Z
        Consumer                                                                                      J2 Segment
                      Only inaccurately reported consumers should be deleted. Additionally, as
                      per Frequently Asked Questions & Answers 27 and 28, authorized users
                      should be deleted from accounts included in bankruptcy since authorized
                      users are not contractually responsible for payments.

Note: ECOA Codes 0 (Undesignated), 4 (Joint) and 6 (On-Behalf-Of) are obsolete as of September 2003 and may
      no longer be reported.


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  Exhibit 11

  Consumer Information Indicators
  The Consumer Information Indicator (CII), which is reported in Field 38 of the Base
  Segment, Field 11 of the J1 Segment, and Field 11 of the J2 Segment, contains a value that
  indicates a special condition that applies to the specific consumer. The Consumer
  Information Indicator must be reported only on the consumer to whom the information
  applies. Report the following values:

      Code     Description
               Retains previously reported value, or no new Consumer Information Indicator applies for
      BLANK
               this reporting period


        A      Petition for Chapter 7 Bankruptcy
        B      Petition for Chapter 11 Bankruptcy
        C      Petition for Chapter 12 Bankruptcy
       D       Petition for Chapter 13 Bankruptcy


        E      Discharged through Bankruptcy Chapter 7
        F      Discharged through Bankruptcy Chapter 11
       G       Discharged through Bankruptcy Chapter 12
       H       Discharged/Completed through Bankruptcy Chapter 13


       I1      Chapter 7 Bankruptcy Dismissed
       J   1   Chapter 11 Bankruptcy Dismissed
       K   1   Chapter 12 Bankruptcy Dismissed
       L   1   Chapter 13 Bankruptcy Dismissed


       M1      Chapter 7 Bankruptcy Withdrawn
       N1      Chapter 11 Bankruptcy Withdrawn
       O1      Chapter 12 Bankruptcy Withdrawn
       P   1   Chapter 13 Bankruptcy Withdrawn


               Bankruptcy – Undesignated Chapter
       Z1
               Note: Report indicators with specific bankruptcy chapters, when known.
       1A      Personal Receivership
               Removes previously reported Bankruptcy Indicator (A through P and Z) or Personal
               Receivership Indicator (1A). Also used to report Bankruptcies that have been closed or
       Q       terminated without being discharged or dismissed.
               Note: Do not report Q as a default value. If no new CII applies in the current
                     reporting period, blank fill this field.


  (continued)



  1
   Code will become obsolete for reporting as of April 2021.
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  Exhibit 11

  Consumer Information Indicators

    Code    Description

      R     Chapter 7 Reaffirmation of Debt
      V     Chapter 7 Reaffirmation of Debt Rescinded
     2A     Lease Assumption
            Removes previously reported Reaffirmation of Debt, Reaffirmation of Debt Rescinded and
            Lease Assumption Indicators (R, V, 2A, and Obsolete values W, X, Y)
      S
            Note: Do not report S as a default value. If no new CII applies in the current
                  reporting period, blank fill this field.


      T     Credit Grantor Cannot Locate Consumer
            Consumer Now Located (Removes previously reported T Indicator)
      U     Note: Do not report U as a default value. If no new CII applies in the current
                  reporting period, blank fill this field.



  Note:    Codes W (Chapter 11 Reaffirmation of Debt Rescinded), X (Chapter 12
           Reaffirmation of Debt Rescinded) and Y (Chapter 13 Reaffirmation of
           Debt Rescinded) are obsolete as of September 2010 and may no
           longer be reported.

           Codes I – P (Bankruptcy Dismissed and Withdrawn for Chapters 7, 11, 12
           and 13) and Z (Bankruptcy - Undesignated Chapter) will become
           obsolete for reporting as of April 2021.




  (continued)




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  Exhibit 11

  Consumer Information Indicators
  Examples of reporting Consumer Information Indicators:

  The Consumer Information Indicator should be reported each month as long as the
  condition applies.

   Date of Account Information       CII              Action
            11/15/2019               A                A is added to file.
            12/15/2019               A                A is retained.
            01/15/2020               A                A is retained.
            02/15/2020               E                A is replaced by E.
            03/15/2020               E                E is retained.
            04/15/2020               Blank            E is retained.

  As an option, the indicator should be reported one time and will be deleted only
  when another Consumer Information Indicator or a Removal value is reported.

   Date of Account Information       CII              Action
            11/15/2019               A                A is added to file.
            12/15/2019               Blank            A is retained.
            01/15/2020               Blank            A is retained.
            02/15/2020               E                A is replaced by E.
            03/15/2020               Blank            E is retained.

  Regardless of the method of reporting (each month or one time), the
  Consumer Information Indicator will be deleted only when another
  Consumer Information Indicator or a Removal value is reported.

   Date of Account Information       CII              Action
            11/15/2019               D                D is added to file.
            12/15/2019               D                D is retained.
            01/15/2020               D                D is retained.
            02/15/2020               D                D is retained.
            03/15/2020               Q                D is removed.

   Note: The removal value Q is used to remove the D, which in this example, was reported
         in error.




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  Exhibit 12

  Country Codes
  These Country Codes, which are unique to Metro 2®, are used for credit reporting
  purposes and may differ from codes used by other industries.

  COUNTRY         CODE          COUNTRY           CODE             COUNTRY         CODE

  Afghanistan         AF         Cayman Islands     CI             Gibraltar         GI
  Albania             AN         Central African                   Grenada           GD
  Algeria             DZ              Republic       CF            Greece            GR
  Andorra             AD         Chad               CD             Greenland         GE
  Angola              AO         Chile              CL             Guadeloupe        GP
  Anguilla            Al         China (Peking)     CP             Guatemala         GT
  Antigua & Barbuda   AG         Colombia           CB             Guernsey          GG
  Argentina           AT         Comoros            CJ             Guinea            GN
  Armenia             RM         Congo              CG             Guinea-Bissau     GW
  Aruba               AW         Corsica            CC             Guyana            GY
  Ascension           AS         Costa Rica         CR             Haiti             HA
  Australia           AU         Croatia            HX             Honduras          HN
  Austria             DF         Cuba               HR             Hungary           HU
  Azerbaijan          AJ         Cyprus             CY             Iceland           IS
  Azores              AX         Czech Republic      CZ            India             IB
  Bahamas             BS         Democratic Republic               Indonesia         IF
  Bahrain             BH           of Congo          ZR            Iran              IR
  Bangladesh          BD         Denmark             DK            Iraq              IQ
  Barbados            BB         Djibouti            DJ            Ireland           IE
  Belarus             BL         Dominica           DM             Israel            IG
  Belgium             BE         Dominican                         Italy             IT
  Belize              BZ              Republic      DO             Ivory Coast       IC
  Benin               BJ         East Timor         EM             Jamaica           JM
  Bermuda             BU         Ecuador             EC            Japan             JP
  Bhutan              BM         Egypt               EG            Jersey            JE
  Bolivia             BO         El Salvador         SV            Jordan            JO
  Bosnia &                       Equatorial Guinea GQ              Kazakhstan        KZ
        Herzegovina   BX         Eritrea               ER          Kenya             KE
  Botswana            BW         Estonia               SU          Kiribati          KI
  Brazil              BR         Ethiopia              ET          Korea (North)     KX
  British Virgin                 Falkland Islands      FA          Korea (South)     KR
        Islands       VG         Faroe Islands         FE          Kuwait            KW
  Brunei              BN         Fiji                  FJ          Kyrgyzstan        KG
  Bulgaria            BG         Finland               FI          Laos              LO
  Burkina Faso        BF         France                FR          Latvia            LX
  Burundi             BI         French Guiana         GF          Lebanon           LB
  Cambodia            KA         French Polynesia      FP
  Cameroon            CM         Gabon                 GB          (continued)
  Canada              CN         Gambia                GM
  Cape Verde          CV         Germany               DW
  Carriacou           CU         Ghana                 GH

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  Exhibit 12

  Country Codes
  COUNTRY           CODE          COUNTRY           CODE            COUNTRY         CODE

  Leeward Islands     LE          Paraguay              PY          Taiwan               TW
  Lesotho             LS          Peru                  PU          Tanzania             TZ
  Liberia             LR          Philippines           PH          Thailand             TH
  Libya               LV          Pitcairn Islands      PS          Togo                 TG
  Liechtenstein       CH          Poland                PL          Tonga                TA
  Lithuania           LT          Portugal              PT          Trinidad & Tobago    TT
  Luxembourg          LU          Qatar                 QA          Tristan da Cunha     TD
  Macao               MJ          Republic of                       Tunisia              TU
  Macedonia           MH                Georgia         GX          Turkey               TR
  Madagascar          MG          Reunion Island        RE          Turkmenistan         TM
  Madeira             MB          Romania               RO          Turks & Caicos
  Malawi              MW          Russia                RU                Islands        TC
  Malaysia            MY          Rwanda                RW          Tuvalu               TV
  Maldives            MV          Saint Helena          SH          Uganda               UG
  Mali                ML          Saint Kitts & Nevis   KN          Ukraine              UA
  Malta               MF          Saint Lucia           LC          Union of Myanmar
  Martinique          MQ          Saint Pierre &                         (Burma)         BK
  Mauritania          MR                Miquelon        SP          United Arab
  Mauritius           MU          Saint Vincent & the                    Emirates        UM
  Mexico              MX                Grenadines      SF          United Kingdom       UK
  Moldova             LD          San Marino            SM          United States        US
  Monaco              AC          Santa Cruz Islands    ST          Uruguay              UY
  Mongolia            MC          Sao Tome &                        Uzbekistan           UZ
  Montenegro          MM                Principe        MP          Vanuatu              VU
  Montserrat          MK          Saudi Arabia          SA          Vatican City State   VC
  Morocco             RC          Senegal               SN          Venezuela            VE
  Mozambique          MZ          Serbia                SX          Vietnam              VN
  Namibia             NB          Seychelles            YC          Wallis/Futuna
  Nauru               NA          Sierra Leone          SL               Island          WT
  Nepal               NP          Singapore             SG          Western Samoa        WS
  Netherlands                     Slovakia              VK          Yemen                YE
       Antilles       NN          Slovenia              XN          Zambia               ZM
  Netherlands         NL          Solomon Islands       SI          Zimbabwe             ZW
  New Caledonia       NW          Somalia               SO
  New Zealand         NZ          South Africa          ZA
  Nicaragua           NI          Spain                 ES
  Niger               NR          Sri Lanka             LK
  Nigeria             NG          Sudan                 SB
  Norway              NO          Suriname              SR
  Oman                OM          Swaziland             SZ
  Pakistan            PK          Sweden                SE
  Panama              PM          Switzerland           SW
  Papua New                       Syria                 SY
       Guinea         PG          Tajikistan            TK
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  Exhibit 13

  General Rules for Addresses
  Most addresses consist of a street address, containing a street number, street name,
  street type, city name (spelled out), state code and postal/zip code. Include the
  complete address on all records; the absence of an address may cause a record to be
  bypassed.

  Do not report non-address information in the Address fields.

  Examples:     Do not report a spouse name in the Address field.
                Do not report account description terminology, such as Fraud, Bankrupt,
                Charge-off, etc. in the Address field.

  Slashes, dashes and periods are acceptable in the First Line of Address, Second Line of
  Address and City fields.

  Use the standard postal abbreviations for state names, such as MS for Mississippi.
  Refer to Exhibit 14 for a complete list of State Codes.

  Notes:   If the consumer has a U.S. address and a foreign address, report the U.S.
           address. If the consumer has never used the U.S. address as a billing/mailing
           address (e.g., a property address), report the foreign address.

           The Address Indicator (Field 45 in the Base Segment and Field 18 in the J2
           Segment) should be used to designate what address is being reported.




  Military Addresses

  The standard format for Military Addresses (APO/FPO Addresses) is:

  PSC (CMR or UNIT) NNNNN
  BOX NNNN or SHIP’S NAME
  CITY (APO/FPO), STATE (AE, AP OR AA), ZIP CODE

  Currently, the largest unit number is 5 digits long.

  The U.S. Postal Service designates the state code for military addresses as follows:

  •   AE – Armed Forces in Europe, Africa, Middle East and Canada
  •   AA – Armed Forces in the Americas, excluding Canada
  •   AP – Armed Forces in the Pacific

  All domestic military mail must have the conventional street style addresses.




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  Exhibit 14

  State Codes
   STATE                     CODE             STATE                             CODE

   Alabama                     AL             New Jersey                        NJ
   Alaska                      AK             New Mexico                        NM
   American Samoa              AS             New York                          NY
   Arizona                     AZ             North Carolina                    NC
   Arkansas                    AR             North Dakota                      ND
   California                  CA             Northern Mariana Islands          MP
   Colorado                    CO             Ohio                              OH
   Connecticut                 CT             Oklahoma                          OK
   Delaware                    DE             Oregon                            OR
   District of Columbia        DC             Palau                             PW
   Federated States of         FM             Pennsylvania                      PA
       Micronesia                             Puerto Rico                       PR
   Florida                    FL              Rhode Island                      RI
   Georgia                    GA              South Carolina                    SC
   Guam                       GU              South Dakota                      SD
   Hawaii                     HI              Tennessee                         TN
   Idaho                      ID              Texas                             TX
   Illinois                   IL              Utah                              UT
   Indiana                    IN              Vermont                           VT
   Iowa                       IA              Virginia                          VA
   Kansas                     KS              Virgin Islands                    VI
   Kentucky                   KY              Washington                        WA
   Louisiana                  LA              West Virginia                     WV
   Maine                      ME              Wisconsin                         WI
   Marshall Islands           MH              Wyoming                           WY
   Maryland                   MD
   Massachusetts              MA
   Michigan                   MI              Military in the Americas           AA
   Minnesota                  MN              other than Canada
   Mississippi                MS
   Missouri                   MO              Military in Europe, Middle         AE
   Montana                    MT              East, Africa, Canada
   Nebraska                   NE
   Nevada                     NV              Military in the Pacific            AP
   New Hampshire              NH              Theater




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  Exhibit 15

  Data Conversion Checklist
  The purpose of the Data Conversion Checklist is to guide data furnishers through one of the
  following processes by focusing on the critical steps and questions that must be answered.

  •    Change to a new data processor
  •    Core system change or conversion (internal in-house system)
  •    Mergers & Acquisitions
  •    Coordination of reporting between seller & purchaser of accounts

  If your conversion involves another data furnisher, consult with the other furnisher
  throughout the project regarding information reported in their Metro 2® program.

  Data furnishers should contact your data representatives at the consumer reporting
  agencies early in the process to facilitate a smooth conversion.

  Note:
  •  External Data Furnisher = Data reported by 3rd Party Data Processor
  •  Internal Data Furnisher = Data reported directly by in-house system


                                               CRRG®
      STEP   TASK DESCRIPTION                                       ANSWERS/COMMENTS
                                               REFERENCE
       1     Conversion Questions

             Identify external or internal
             data furnisher involved.
             Will new external or internal
             data furnisher send the data
             file to same CRAs to which
             my current processor sends
             data?
             Will all portfolios be
             transferring? If answer is
             no, which ones will be
             transferring?
             Will all accounts be
             transferring; specifically will
             paid, transferred and
             derogatory accounts be
             transferring?
             What is the expected date of
             conversion?
             What is the approximate
             number of accounts that are
             transferring?

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  Exhibit 15

  Data Conversion Checklist
                                          CRRG®
   STEP   TASK DESCRIPTION                                       ANSWERS/COMMENTS
                                          REFERENCE

          What Identification Number
                                          Page 4-5
          is currently reported?

          What is the Identification
          Number used by new
                                          Page 4-5
          external or internal data
          furnisher?
          Will format of the account
          numbers change? If so,
          provide specifics (e.g.;
                                          Page 4-5
          append or prepend any
          digits/characters to the
          Account Number).
          If Identification Number or
                                          Pages 4-43 &
          Account Number is
                                          4-44;
          changing, will the L1 Change
                                          See FAQ 5
          Segment be reported?

          Will the Portfolio Types        Page 4-6
          remain the same?


                                          Page 4-6;
          Will the Account Types
                                          See Exhibits 1
          remain the same?
                                          &2


          Will the Dates Opened
                                          Page 4-6
          remain the same?


          Will the Credit Limits remain
                                          Page 4-7
          the same?


          Will the Highest Credit or
          Original Loan Amounts           Page 4-7
          remain the same?


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  Exhibit 15

  Data Conversion Checklist
                                          CRRG®
   STEP   TASK DESCRIPTION                                      ANSWERS/COMMENTS
                                          REFERENCE
          Will new external or internal
                                          Page 4-11;
          data furnisher report the
                                          See FAQ 22
          Payment History Profile (up
                                          and Exhibit 5
          to 24 months)?
          Will previously-reported
          history be included with the    Page 4-11;
          first submission or will        See FAQ 22
          payment history only be         and Exhibit 5
          reported going forward?
          Ensure that the FCRA
          Compliance/Date of First
                                          See FAQ 22
          Delinquency is accurate &
                                          and Exhibit 9
          consistent with prior
          reporting.


          Contact your data rep at each CRA in
     2    advance to notify them about the
          conversion.
          Provide to the CRAs the technical contact’s
          email address & phone number for new
          external or internal data furnisher.

          Provide this checklist with answers to your
          data representative at each CRA.




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 Exhibit 16

Examples of Record Layouts —
Hexadecimal Representation
The following examples represent Hexadecimal output of the Metro 2® Format 366 and 426 records. They are included here to
illustrate how each field should be programmed according to the format specifications.

For each format, there is an example of the Header Record, the Data Record (Base Segment and J1 through N1 Segments) and
the Trailer Record. The 366 packed format is shown as variable-length. The 426 unpacked format is shown as fixed-length.

366 FORMAT - HEADER RECORD (VARIABLE BLOCKED)
                                                                                                             Note: The Block Descriptor Word shifts the
                                                                                                             first record of each block over 4
                                                                                                             positions.

CHAR          HEADER01IN HDR ID EQ HDR ID X HDRTU HDR ID MMDDYYYYMMDDYYYYMMDDYYYYMMDDYYYYREPORTER NAME       POS.     1- 4    =   Block Descriptor Word
ZONE  07000600CCCCCDFFCD4CCD4CC4CD4CCD4CC4E4CCDEE4CCD4CC4DDCCEEEEDDCCEEEEDDCCEEEEDDCCEEEEDCDDDECD4DCDC4444   POS.     5- 8    =   Record Descriptor Word
NUMR  12001E0085145901950849094058084909407084934084909404444888844448888444488884444888895769359051450000   POS.     9- 14   =   Record Identifier
     01...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.    15- 16   =   Cycle Identifier
CHAR                         REPORTER ADDRESS                                                                POS.    17- 26   =   Innovis Program ID
ZONE 44444444444444444444444DCDDDECD4CCCDCEE4444444444444444444444444444444444444444444444444444444444444    POS.    27- 36   =   Equifax Program ID
NUMR 0000000000000000000000095769359014495220000000000000000000000000000000000000000000000000000000000000    POS.    37- 41   =   Experian Program ID
    101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.    42- 51   =   TransUnion Program ID
CHAR                     9995551234SOFTWARE VENDOR NAME                    VERNO                             POS.    52- 59   =   Activity Date
ZONE 4444444444444444444FFFFFFFFFFEDCEECDC4ECDCDD4DCDC44444444444444444444ECDDD44444444444444444444444444    POS.    60- 67   =   Date Created
NUMR 0000000000000000000999555123426636195055546905145000000000000000000005595600000000000000000000000000    POS.    68- 75   =   Program Date
    201...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.    76- 83   =   Program Revision Date
CHAR                                                                                                         POS.    84-123   =   Reporter Name
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444                                  POS.   124-219   =   Reporter Address
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000                                  POS.   220-229   =   Reporter Phone #
    301...5...10...15...20...25...30...35...40...45...50...55...60...65...70                                 POS.   230-269   =   Software Vendor Name
                                                                                                             POS.   270-274   =   Software Version #
                                                                                                             POS.   275-284   =   MicroBilt/PRBC Program ID
                                                                                                             POS.   285-370   =   Reserved

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366 FORMAT - DATA RECORD (VARIABLE BLOCKED)                                                                     Note: The Block Descriptor Word shifts the
                                                                                                                first record of each block over 4 positions.
CHAR             -     * ID NUMBER           01ACCOUNT NUMBER                 R18              REV
ZONE   0B000B00F062994754CC4DEDCCD44444444444FFCCCDEDE4DEDCCD4444444444444444DFF054980000000070DCE400000000     POS.     1-  4   =   Block Descriptor Word
NUMR   4800440000019100C094054425900000000000011336453054425900000000000000009180019C0010C0005C95500005C000     POS.     5-  8   =   Record Descriptor Word
      01...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.         9   =   Processing Indicator
CHAR     1102200000BBBBBBBBBBBBBBBBB                                                         SURNAME            POS.    10- 17   =   Time Stamp
ZONE 10FFFFFFFFFFCCCCCCCCCCCCCCCCC444400020000000000001199000000000001199444444444444444444EEDDCDC4444444       POS.        18   =   Reserved
NUMR 0C11022000002222222222222222200000000C0000C0000C0019C0000C0000C0019C00000000000000000024951450000000       POS.    19- 38   =   Identification Number
     101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.    39- 40   =   Cycle Identifier
CHAR              1ST NAME            MIDDLE NAME          2               <2 US1ST LINE OF ADDRESS             POS.    41- 70   =   Account Number
ZONE 44444444444FEE4DCDC444444444444DCCCDC4DCDC444444444F1357901199095524F44EEFEE4DCDC4DC4CCCDCEE44444444       POS.        71   =   Portfolio Type
NUMR 00000000000123051450000000000004944350514500000000022468C0014C99513C20042123039550660144952200000000       POS.    72- 73   =   Account Type
     201...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.    74- 78   =   Date Opened
CHAR        2ND LINE OF ADDRESS             CITY                 ST123451234Y J1 SURNAME                 1S     POS.    79- 83   =   Credit Limit
ZONE 44444FDC4DCDC4DC4CCCDCEE4444444444444CCEE4444444444444444EEFFFFFFFFFE4DF4EEDDCDC444444444444444444FE       POS.    84- 88   =   Highest Credit
NUMR 0000025403955066014495220000000000000393800000000000000002312345123480110249514500000000000000000012       POS.    89- 91   =   Terms Duration
     301...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.        92   =   Terms Frequency
CHAR T NAME              MIDDLE NAME           123456789MMDDYYYY99955512342   J2 SURNAME                 1S     POS.    93- 97   =   Scheduled Monthly Payment
ZONE E4DCDC444444444444DCCCDC4DCDC4444444444FFFFFFFFFDDCCEEEEFFFFFFFFFFF444DF4EEDDCDC444444444444444444FE       POS.    98-102   =   Actual Payment Amount
NUMR 3051450000000000004944350514500000000001234567894444888899955512342000120249514500000000000000000012       POS.   103-104   =   Account Status
     401...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.       105   =   Payment Rating
CHAR T NAME              MIDDLE NAME           123456789MMDDYYYY99955512342 US1ST LINE OF ADDRESS               POS.   106-129   =   Payment History Profile
ZONE E4DCDC444444444444DCCCDC4DCDC4444444444FFFFFFFFFDDCCEEEEFFFFFFFFFFF44EEFEE4DCDC4DC4CCCDCEE4444444444       POS.   130-131   =   Special Comment
NUMR 3051450000000000004944350514500000000001234567894444888899955512342004212303955066014495220000000000       POS.   132-133   =   Compliance Condition Code
     501...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.   134-138   =   Current Balance
CHAR      2ND LINE OF ADDRESS             CITY                 ST123451234    J2 SURNAME                 1S     POS.   139-143   =   Amount Past Due
ZONE 444FDC4DCDC4DC4CCCDCEE4444444444444CCEE4444444444444444EEFFFFFFFFF4444DF4EEDDCDC444444444444444444FE       POS.   144-148   =   Original Charge-Off Amount
NUMR 0002540395506601449522000000000000039380000000000000000231234512340000120249514500000000000000000012       POS.   149-153   =   Date of Account Information
     601...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.   154-158   =   Date Of 1st Delinquency
CHAR T NAME              MIDDLE NAME           123456789MMDDYYYY99955512342 US1ST LINE OF ADDRESS               POS.   159-163   =   Date Closed
ZONE E4DCDC444444444444DCCCDC4DCDC4444444444FFFFFFFFFDDCCEEEEFFFFFFFFFFF44EEFEE4DCDC4DC4CCCDCEE4444444444       POS.   164-168   =   Date Of Last Payment
                                                                                                                POS.   169       =   Interest Type Indicator
NUMR   3051450000000000004944350514500000000001234567894444888899955512342004212303955066014495220000000000     POS.   170-186   =   Reserved
     701...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.   187-211   =   Surname
CHAR      LINE OF ADDRESS 2                CITY                ST123451234    K1ORIGINAL CREDITOR NAME          POS.   212-231   =   First Name
ZONE 444DCDC4DC4CCCDCEE4F444444444444444CCEE4444444444444444EEFFFFFFFFF4444DFDDCCCDCD4CDCCCEDD4DCDC444444       POS.   232-251   =   Middle Name
NUMR 0003955066014495220200000000000000039380000000000000000231234512340000216997951303954936905145000000       POS.       252   =   Generation Code
     801...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.   253-257   =   SSN
CHAR     00K20PURCHASED PORFOLIO/SOLD NAME    K300ACCOUNT NUMBER    MORT ID NUMBER    K400MMDDYYYYMMDDYYYY00    POS.   258-262   =   Date of Birth
ZONE 44FFDFFDEDCCCECC4DDDCDDCD6EDDC4DCDC444DFFFCCCDEDE4DEDCCD4444DDDE4CC4DEDCCD4444DFFFDDCCEEEEDDCCEEEEFF       POS.   263-268   =   Telephone Number
NUMR 0000220749381254076966396126340514500023001336453054425900004693094054425900002400444488884444888800       POS.       269   =   ECOA Code
     901...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.   270-271   =   Consumer Info Indicator
CHAR 0000000 L13NEW ACCOUNT NUMBER               NEW ID NUMBER        N1EMPLOYER NAME                  1ST LI   POS.   272-273   =   Country Code
ZONE FFFFFFF4DFFDCE4CCCDEDE4DEDCCD444444444444DCE4CC4DEDCCD44444444DFCDDDDECD4DCDC44444444444444444FEE4DC       POS.   274-305   =   Address – Line 1
NUMR 0000000031355601336453054425900000000000055609405442590000000051547368590514500000000000000000123039       POS.   306-337   =   Address – Line 2
   1001...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....      POS.   338-357   =   City
CHAR NE OF EMPLOYER ADDRESS      2ND LINE OF EMPLOYER ADDRESS     EMPLOYER CITY       ST123451234OCCUPATION     POS.   358-359   =   State
ZONE DC4DC4CDDDDECD4CCCDCEE4444FDC4DCDC4DC4CDDDDECD4CCCDCEE4444CDDDDECD4CCEE4444444EEFFFFFFFFFDCCEDCECDD4       POS.   360-368   =   Postal/Zip Code
NUMR 5506605473685901449522000025403955066054736859014495220000547368590393800000002312345123463347139650       POS.       369   =   Address Indicator
   1101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....      POS.       370   =   Residence Code
CHAR
ZONE 44444444
NUMR 00000000
   1201...5...

 (continued)
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366 FORMAT - TRAILER RECORD (VARIABLE BLOCKED)
                                                                                                               Note: The Block Descriptor Word shifts
                                                                                                               the first record of each block over 4
                                                                                                               positions.
CHAR           <TRAILER
ZONE    07000600EDCCDCD0000100001000000000100002000030000000000000000000000000000000000000000000000000000000   POS.     1- 4    =   Block Descriptor Word
NUMR    12001E0039193590000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C   POS.     5- 8    =   Record Descriptor Word
       01...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.     9- 15   =   Record Identifier
CHAR                                                                                                           POS.    16- 20   =   Total Base Records
ZONE 0000000000000000000000000000000000000000000000000000000000000000100001000010000100001000010000400001      POS.    21- 25   =   Reserved
NUMR 0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C0000C      POS.    26- 30   =   Total Status DF
    101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.    31- 35   =   Total J1 Segments
CHAR                                                                                                           POS.    36- 40   =   Total J2 Segments
ZONE 0000100002000000000000000000000000044444444444444444444444444444444444444444444444444444444444444444      POS.    41- 45   =   Block Count
NUMR 0000C0000C0000C0000C0000C0000C0000C00000000000000000000000000000000000000000000000000000000000000000      POS.    46- 50   =   Total Status DA
    201...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....     POS.    51- 55   =   Total Status 05
CHAR                                                                                                           POS.    56- 60   =   Total Status 11
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444                                    POS.    61- 65   =   Total Status 13
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000                                    POS.    66- 70   =   Total Status 61
    301...5...10...15...20...25...30...35...40...45...50...55...60...65...70                                   POS.    71- 75   =   Total Status 62
                                                                                                               POS.    76- 80   =   Total Status 63
                                                                                                               POS.    81- 85   =   Total Status 64
                                                                                                               POS.    86- 90   =   Total Status 65
                                                                                                               POS.    91- 95   =   Total Status 71
                                                                                                               POS.    96-100   =   Total Status 78
                                                                                                               POS.   101-105   =   Total Status 80
                                                                                                               POS.   106-110   =   Total Status 82
                                                                                                               POS.   111-115   =   Total Status 83
                                                                                                               POS.   116-120   =   Total Status 84
                                                                                                               POS.   121-125   =   Total Status 88
                                                                                                               POS.   126-130   =   Total Status 89
                                                                                                               POS.   131-135   =   Total Status 93
                                                                                                               POS.   136-140   =   Total Status 94
                                                                                                               POS.   141-145   =   Total Status 95
                                                                                                               POS.   146-150   =   Total Status 96
                                                                                                               POS.   151-155   =   Total Status 97
                                                                                                               POS.   156-160   =   Total ECOA Z
                                                                                                               POS.   161-165   =   Total Employment Segments
                                                                                                               POS.   166-170   =   Total Orig Creditor Segs
                                                                                                               POS.   171-175   =   Total Purch/Sold Segments
                                                                                                               POS.   176-180   =   Total Mort Info Segments
                                                                                                               POS.   181-185   =   Total Special Payment Segs
                                                                                                               POS.   186-190   =   Total Change Segments
                                                                                                               POS.   191-195   =   Total SSN All
                                                                                                               POS.   196-200   =   Total SSN Base
                                                                                                               POS.   201-205   =   Total SSN J1
                                                                                                               POS.   206-210   =   Total SSN J2
                                                                                                               POS.   211-215   =   Total Dates of Birth All
                                                                                                               POS.   216-220   =   Total Dates of Birth Base
                                                                                                               POS.   221-225   =   Total Dates of Birth J1
                                                                                                               POS.   226-230   =   Total Dates of Birth J2
                                                                                                               POS.   231-235   =   Total Phone # All
                                                                                                               POS.   236-370   =   Reserved


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426 FORMAT - HEADER RECORD (FIXED LENGTH)
CHAR  1364HEADER IN HDR     EQ HDR ID X HDRTU HDR ID MMDDYYYYMMDDYYYYMMDDYYYYMMDDYYYYREPORTER NAME           POS.   1- 4    =   Record Descriptor Word
ZONE  FFFFCCCCCD44CD4CCD4444CD4CCD4CC4E4CCDEE4CCD4CC4DDCCEEEEDDCCEEEEDDCCEEEEDDCCEEEEDCDDDECD4DCDC44444444   POS.   5- 10   =   Record Identifier
NUMR  1364851459009508490000580849094070849340849094044448888444488884444888844448888957693590514500000000   POS. 11- 12    =   Cycle Identifier
     01...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS. 13- 22    =   Innovis Program ID
CHAR                     REPORTER ADDRESS                                                                    POS. 23- 32    =   Equifax Program ID
ZONE 4444444444444444444DCDDDECD4CCCDCEE44444444444444444444444444444444444444444444444444444444444444444    POS. 33- 37    =   Experian Program ID
NUMR 0000000000000000000957693590144952200000000000000000000000000000000000000000000000000000000000000000    POS. 38- 47    =   TransUnion Program ID
    101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS. 48- 55    =   Activity Date
CHAR                 9995551234SOFTWARE VENDOR NAME                    VERNO                                 POS. 56- 63    =   Date Created
ZONE 444444444444444FFFFFFFFFFEDCEECDC4ECDCDD4DCDC44444444444444444444ECDDD444444444444444444444444444444    POS. 64- 71    =   Program Date
NUMR 0000000000000009995551234266361950555469051450000000000000000000055956000000000000000000000000000000    POS. 72- 79    =   Program Revision Date
    201...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS. 80-119    =   Reporter Name
CHAR                                                                                                         POS. 120-215   =   Reporter Address
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444    POS. 216-225   =   Reporter Phone #
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000    POS. 226-265   =   Software Vendor Name
    301...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS. 266-270   =   Software Version #
CHAR                                                                                                         POS. 271-280   =   MicroBilt/PRBC Prog. ID
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444    POS. 281-426   =   Reserved
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000    POS.427-1364   =   Blank Fill
    401...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....

...continue to blank-fill out to 1364 characters...
CHAR
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000
   1101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....
CHAR
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000
   1201...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....
CHAR
ZONE 4444444444444444444444444444444444444444444444444444444444444444
NUMR 0000000000000000000000000000000000000000000000000000000000000000
   1301...5...10...15...20...25...30...35...40...45...50...55...60...6

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426 FORMAT - DATA RECORD (FIXED LENGTH)
CHAR  13641MMDDYYYYHHMMSS ID NUMBER             ACCOUNT NUMBER                R18MMDDYYYY00000500000000200   POS.     1-  4   =   Record Descriptor Word
ZONE  FFFFFDDCCEEEECCDDEE4CC4DEDCCD4444444444444CCCDEDE4DEDCCD4444444444444444DFFDDCCEEEEFFFFFFFFFFFFFFFFF   POS.         5   =   Processing Indicator
NUMR  1364144448888884422094054425900000000000001336453054425900000000000000009184444888800000500000000200   POS.     6- 19   =   Time Stamp
     01...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.        20   =   Reserved
CHAR 0REV 000000020000000000110211000BBBBBBBBBBBBBBBBBB     000000000000000000000000000MMDDYYYYMMDDYYYYMMD   POS.    21- 40   =   Identification #
ZONE FDCE4FFFFFFFFFFFFFFFFFFFFFFFFFFFCCCCCCCCCCCCCCCCCC4444FFFFFFFFFFFFFFFFFFFFFFFFFFFDDCCEEEEDDCCEEEEDDC    POS.    41- 42   =   Cycle Identifier
NUMR 0955000000002000000000011021100022222222222222222200000000000000000000000000000004444888844448888444    POS.    43- 72   =   Account Number
    101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.        73   =   Portfolio Type
CHAR DYYYYMMDDYYYY                  1SURNAME                  FIRST NAME          MIDDLE NAME         2123   POS.    74- 75   =   Account Type
ZONE CEEEEDDCCEEEE44444444444444444FEEDDCDC444444444444444444CCDEE4DCDC4444444444DCCCDC4DCDC444444444FFFF    POS.    76- 83   =   Date Opened
NUMR 4888844448888000000000000000001249514500000000000000000069923051450000000000494435051450000000002123    POS.    84- 92   =   Credit Limit
    201...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.    93-101   =   Highest Credit
CHAR 456789MMDDYYYY99955512341 US1ST LINE OF ADDRESS               2ND LINE OF ADDRESS             CITY      POS.   102-104   =   Terms Duration
ZONE FFFFFFDDCCEEEEFFFFFFFFFFF44EEFEE4DCDC4DC4CCCDCEE4444444444444FDC4DCDC4DC4CCCDCEE4444444444444CCEE444    POS.       105   =   Terms Frequency
NUMR 4567894444888899955512341004212303955066014495220000000000000254039550660144952200000000000003938000    POS.   106-114   =   Sched Monthly Payment
    301...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.   115-123   =   Actual Payment Amount
CHAR               ST123451234 J1 SURNAME                   1ST NAME            MIDDLE NAME          12345   POS.   124-125   =   Account Status
ZONE 4444444444444EEFFFFFFFFF44DF4EEDDCDC444444444444444444FEE4DCDC444444444444DCCCDC4DCDC4444444444FFFFF    POS.       126   =   Payment Rating
NUMR 0000000000000231234512340011024951450000000000000000001230514500000000000049443505145000000000012345    POS.   127-150   =   Payment History Profile
    401...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.   151-152   =   Special Comment
CHAR 6789MMDDYYYY99955512342    J1                                                                           POS.   153-154   =   Compliance Cond Code
ZONE FFFFDDCCEEEEFFFFFFFFFFF444DF444444444444444444444444444444444444444444444444444444444444444444444444    POS.   155-163   =   Current Balance
NUMR 6789444488889995551234200011000000000000000000000000000000000000000000000000000000000000000000000000    POS.   164-172   =   Amount Past Due
    501...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.   173-181   =   Orig. Charge-Off Amt.
CHAR                            J2 SURNAME                  1ST NAME            MIDDLE NAME         112345   POS.   182-189   =   Date of Account Info.
ZONE 44444444444444444444444444DF4EEDDCDC444444444444444444FEE4DCDC444444444444DCCCDC4DCDC444444444FFFFFF    POS.   190-197   =   Date Of 1st Delinquency
NUMR 0000000000000000000000000012024951450000000000000000001230514500000000000049443505145000000000112345    POS.   198-205   =   Date Closed
    601...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.   206-213   =   Date of Last Payment
                                                                                                             POS.   214       =   Interest Type Indicator
CHAR 6789MMDDYYYY99955512342 US1ST LINE OF ADDRESS               2ND LINE OF ADDRESS             CITY        POS.   215-231   =   Reserved
ZONE FFFFDDCCEEEEFFFFFFFFFFF44EEFEE4DCDC4DC4CCCDCEE4444444444444FDC4DCDC4DC4CCCDCEE4444444444444CCEE44444    POS.   232-256   =   Surname
NUMR 6789444488889995551234200421230395506601449522000000000000025403955066014495220000000000000393800000    POS.   257-276   =   First Name
    701...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.   277-296   =   Middle Name
CHAR             ST123451234    J2                                                                           POS.       297   =   Generation Code
ZONE 44444444444EEFFFFFFFFF4444DF444444444444444444444444444444444444444444444444444444444444444444444444    POS.   298-306   =   SSN
NUMR 0000000000023123451234000012000000000000000000000000000000000000000000000000000000000000000000000000    POS.   307-314   =   Date of Birth
    801...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.   315-324   =   Telephone Number
CHAR                                                                                                         POS.       325   =   ECOA Code
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444    POS.   326-327   =   Consumer Info Ind.
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000    POS.   328-329   =   Country Code
    901...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.   330-361   =   Address – Line 1
CHAR                            K1ORIGINAL CREDITOR NAME        00K20PURCHASED PORFOLIO/SOLD NAME   K300AC   POS.   362-393   =   Address – Line 2
ZONE 44444444444444444444444444DFDDCCCDCD4CDCCCEDD4DCDC44444444FFDFFDEDCCCECC4DDDCDDCD6EDDC4DCDC444DFFFCC    POS.   394-413   =   City
NUMR 0000000000000000000000000021699795130395493690514500000000002207493812540769663961263405145000230013    POS.   414-415   =   State
   1001...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS.   416-424   =   Postal/Zip Code
CHAR COUNT NUMBER     MORT ID NUMBER    K400MMDDYYYYMMDDYYYY000000000 L13NEW ACCOUNT NUMBER            NEW   POS.       425   =   Address Indicator
ZONE CDEDE4DEDCCD4444DDDE4CC4DEDCCD4444DFFFDDCCEEEEDDCCEEEEFFFFFFFFF4DFFDCE4CCCDEDE4DEDCCD444444444444DCE    POS.       426   =   Residence Code
NUMR 3645305442590000469309405442590000240044448888444488880000000000313556013364530544259000000000000556
   1101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....

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426 FORMAT - DATA RECORD (FIXED LENGTH) CONTINUED

CHAR   ID NUMBER        N1EMPLOYER NAME                 1ST LINE OF EMPLOYER ADDRESS    2ND LINE OF EMPLOY   See Attachment for Segment
ZONE 4CC4DEDCCD44444444DFCDDDDECD4DCDC44444444444444444FEE4DCDC4DC4CDDDDECD4CCCDCEE4444FDC4DCDC4DC4CDDDDE    definitions.
NUMR 0940544259000000005154736859051450000000000000000012303955066054736859014495220000254039550660547368
   1201...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....
CHAR ER ADDRESS     EMPLOYER CITY       ST123451234OCCUPATION
ZONE CD4CCCDCEE4444CDDDDECD4CCEE4444444EEFFFFFFFFFDCCEDCECDD444444444
NUMR 5901449522000054736859039380000000231234512346334713965000000000
   1301...5...10...15...20...25...30...35...40...45...50...55...60...6

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426 FORMAT - TRAILER RECORD (FIXED LENGTH)
CHAR   1364TRAILER00000000100000000100000000000000000000000000000000000000000000000000000000000000000000000   POS.   1- 4    =   Record Descriptor Word
ZONE   FFFFEDCCDCDFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFF   POS.   5- 11   =   Record Identifier
NUMR   1364391935900000000100000000100000000000000000000000000000000000000000000000000000000000000000000000   POS. 12- 20    =   Total Base Records
      01...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS. 21- 29    =   Reserved
CHAR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 30- 38    =   Total Status DF
ZONE FFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFF     POS. 39- 47    =   Total J1 Segments
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 48- 56    =   Total J2 Segments
    101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....    POS. 57- 65    =   Block Count
CHAR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 66- 74    =   Total Status DA
ZONE FFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFF     POS. 75- 83    =   Total Status 05
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 84- 92    =   Total Status 11
    201...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....    POS. 93-101    =   Total Status 13
CHAR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 102-110   =   Total Status 61
ZONE FFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFFF     POS. 111-119   =   Total Status 62
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 120-128   =   Total Status 63
    301...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....    POS. 129-137   =   Total Status 64
CHAR 0000000                                                                                                  POS. 138-146   =   Total Status 65
ZONE FFFFFFF444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444     POS. 147-155   =   Total Status 71
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 156-164   =   Total Status 78
     401...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS. 165-173   =   Total Status 80
CHAR                                                                                                          POS. 174-182   =   Total Status 82
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444     POS. 183-191   =   Total Status 83
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 192-200   =   Total Status 84
     501...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS. 201-209   =   Total Status 88
CHAR                                                                                                          POS. 210-218   =   Total Status 89
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444     POS. 219-227   =   Total Status 93
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 228-236   =   Total Status 94
     601...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS. 237-245   =   Total Status 95
CHAR                                                                                                          POS. 246-254   =   Total Status 96
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444     POS. 255-263   =   Total Status 97
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 264-272   =   Total ECOA Z
     701...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....   POS. 273-281   =   Total Employment Segments
                                                                                                              POS. 282-290   =   Total Original Creditor Segments
...continue to blank-fill out to 1364 characters...                                                           POS. 291-299   =   Total Purchased/Sold Segments
                                                                                                              POS. 300-308   =   Total Mortgage Info Segments
                                                                                                              POS. 309-317   =   Total Special Payment Segments
CHAR                                                                                                          POS. 318-326   =   Total Change Segments
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444     POS. 327-335   =   Total SSN All
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 336-344   =   Total SSN Base
   1001...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....    POS. 345-353   =   Total SSN J1
CHAR                                                                                                          POS. 354-362   =   Total SSN J2
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444     POS. 363-371   =   Total Dates of Birth All
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 372-380   =   Total Dates of Birth Base
   1101...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....    POS. 381-389   =   Total Dates of Birth J1
CHAR                                                                                                          POS. 390-398   =   Total Dates of Birth J2
ZONE 4444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444     POS. 399-407   =   Total Telephone #s All
NUMR 0000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000000     POS. 408-426   =   Reserved
   1201...5...10...15...20...25...30...35...40...45...50...55...60...65...70...75...80...85...90...95.....    POS.427-1364   =   Blank Fill
CHAR
ZONE 4444444444444444444444444444444444444444444444444444444444444444
NUMR 0000000000000000000000000000000000000000000000000000000000000000
   1301...5...10...15...20...25...30...35...40...45...50...55...60...6

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ATTACHMENT - SEGMENT DEFINITIONS
 J1 Segment                                                       K3 Segment
         Pos.    1-   2   =   Segment Identifier                          Pos.    1- 2   =   Segment Identifier
         Pos.         3   =   Reserved                                    Pos.    3- 4   =   Agency Identifier
         Pos.     4- 28   =   Surname                                     Pos.    5-22   =   Account Number
         Pos.    29- 48   =   First Name                                  Pos.   23-40   =   Mortgage Identification Number
         Pos.    49- 68   =   Middle Name
         Pos.        69   =   Generation Code
         Pos.    70- 78   =   Social Security Number
         Pos.    79- 86   =   Date of Birth
         Pos.    87- 96   =   Telephone Number                    K4 Segment
         Pos.        97   =   ECOA Code                                   Pos.    1- 2   =   Segment Identifier
         Pos.    98- 99   =   Consumer Information Indicator              Pos.    3- 4   =   Specialized Payment Indicator
         Pos.       100   =   Reserved                                    Pos.    5-12   =   Deferred Payment Start Date
                                                                          Pos.   13-20   =   Balloon Payment Due Date
                                                                          Pos.   21-29   =   Balloon Payment Amount
                                                                          Pos.      30   =   Reserved
 J2 Segment
         Pos.     1-  2   =   Segment Identifier
         Pos.         3   =   Reserved
         Pos.     4- 28   =   Surname
         Pos.    29- 48   =   First Name                          L1 Segment
         Pos.    49- 68   =   Middle Name                                 Pos.    1- 2   =   Segment Identifier
         Pos.        69   =   Generation Code                             Pos.       3   =   Change Indicator
         Pos.    70- 78   =   Social Security Number                      Pos.    4-33   =   New Account Number
         Pos.    79- 86   =   Date of Birth                               Pos.   34-53   =   New Identification Number
         Pos.    87- 96   =   Telephone Number                            Pos.      54   =   Reserved
         Pos.        97   =   ECOA Code
         Pos.    98- 99   =   Consumer Information Indicator
         Pos.   100-101   =   Country Code
         Pos.   102-133   =   First Line of Address
         Pos.   134-165   =   Second Line of Address
        Pos.    166-185   =   City                                N1 Segment
        Pos.    186-187   =   State                                       Pos.   1- 2 = Segment Identifier
        Pos.    188-196   =   Postal/Zip Code                             Pos.   3- 32 = Employer Name
        Pos.        197   =   Address Indicator                           Pos. 33- 64 = First Line of Employer Address
        Pos.        198   =   Residence Code                              Pos. 65- 96 = Second Line of Employer Address
        Pos.    199-200   =   Reserved                                    Pos. 97-116 = Employer City
                                                                          Pos. 117-118 = Employer State
                                                                          Pos. 119-127 = Employer Postal/Zip Code
                                                                          Pos. 128-145 = Occupation
 K1 Segment                                                               Pos.     146 = Reserved
         Pos.      1- 2 = Segment Identifier
         Pos.      3-32 = Original Creditor Name
         Pos.     33-34 = Creditor Classification


 K2 Segment
         Pos.      1- 2   =   Segment Identifier
         Pos.         3   =   Purchased From/Sold To Indicator
         Pos.      4-33   =   Purchased From or Sold To Name
         Pos.        34   =   Reserved


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  Frequently Asked Questions and Answers
  Please note that within these reporting guidelines, certain fields are mentioned that
  provide specific guidance for the situations described. For all other Metro 2® fields,
  the standard guidelines described within the Field Definitions module should be
  followed.


  Segments and Appendages (6-6)

  1. How is the Base Segment used?
  2. What if we don’t currently capture data for a specific field in our system?
  3. How are the J1 and J2 Segments used?
  4. When reporting fixed-length records, can the J2 segment be reported for all
     consumers, whether they live at the same or different address as the primary
     borrower? If the address is the same, can the address fields be blank?
  5. How is the L1 Segment used?
  6. How are fixed-length records reported if no appendage (e.g., J1, J2)
     information is available?
  7. How are variable-length records reported if no appendage (e.g., J1, J2)
     information is available?

  BDW / RDW (6-8)

  8.   What is the BDW and how is it used?
  9.   What is the RDW and how is it used?

  Delinquency Reporting (6-8)
  10. How are delinquencies calculated?

  Cycle Reporting (6-8)
  11. When is cycle reporting appropriate, versus month-end reporting?

  Account Status, Payment Rating, Special Comment (6-9)

  12. How do Account Statuses, Payment Ratings and Special Comments interact?

  ECOA Requirements (6-10)

  13. How do I comply with ECOA?
  14. ECOA Codes:
      (a) How is an ECOA change reported?
      (b) What is the difference between ECOA Codes T (Association with Account
      Terminated) and Z (Delete Consumer)?

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  Frequently Asked Questions and Answers
  FCRA Requirements (6-11)
  15. The Fair Credit Reporting Act requires certain information to be reported with
      regard to returned checks. What are those requirements?

  Deleting Accounts/Borrowers (6-12)
  16. How should an account, or a specific borrower, be deleted from the
      consumer reporting agencies’ files?

  Consumer Information (6-12)
  17.   How should a new borrower be added to an existing account?
  18.   How should a consumer’s association with an existing account be terminated?
  19.   How should deceased borrowers be reported?
  20.   How should a business account be reported when a consumer is
        personally liable?

  Duplicate Tradelines (6-14)
  21. What causes duplicate tradelines?

  First Time Reporters (6-15)
  22. Are there any special reporting requirements for a first time reporter
      when sending data to the consumer reporting agencies?

  Accounts Included in Bankruptcy (6-16)
  23. How should an account be reported when the consumer files bankruptcy, but
      the account is not included in the bankruptcy?
  24. How should an account included in bankruptcy be reported if a “Relief from
      Stay” is granted to the creditor?
  25. How should an account that has been included in Bankruptcy be reported when
      a consumer is making payments or has paid the account in full, even though
      the account has not been reaffirmed?
  26. Is there a preferred method of reporting when accounts are completely or
      partially reaffirmed in bankruptcy?

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  Frequently Asked Questions and Answers
  Accounts Included in Bankruptcy (6-18)
  27. Accounts included in Bankruptcy Chapter 7 or 11:
      Original reporting guidance:
      (a) How should an account be reported when all borrowers associated to the
      account filed Bankruptcy Chapter 7 or 11?
      (b) How should an account be reported when one borrower filed Bankruptcy
      Chapter 7 or 11 and the other borrower did not?
      Alternate simplified reporting guidance:
      (c) How should an account be reported when all borrowers associated to the
      account filed Bankruptcy Chapter 7 or 11?
      (d) How should an account be reported when one borrower filed Bankruptcy
      Chapter 7 or 11 and the other borrower did not?
  28. Accounts included in Bankruptcy Chapter 12 or 13:
      Original reporting guidance:
      (a) How should an account be reported when all borrowers associated to the
      account filed Bankruptcy Chapter 12 or 13?
      (b) How should an account be reported when one borrower filed Bankruptcy
      Chapter 12 or 13 and the other borrower did not?
      Alternate simplified reporting guidance:
      (c) How should an account be reported when all borrowers associated to the
      account filed Bankruptcy Chapter 12 or 13?
      (d) How should an account be reported when one borrower filed Bankruptcy
      Chapter 12 or 13 and the other borrower did not?
  29. How should a secured debt (e.g., mortgage account) be reported when a
      consumer completes the required payments through a Bankruptcy Chapter 12
      or 13 plan, but the account is still open and the consumer is continuing to make
      payments?
  30. How should multiple bankruptcies (i.e., the same or different chapters) be
      reported for the different associated borrowers on an account?
  31. How should bankruptcies be reported when the consumer voluntarily surrenders
      the merchandise or redeems the merchandise?
  32. How should an account be reported when a Bankruptcy case has been closed or
      terminated without being discharged or dismissed?

  Reporting Scenarios (6-49)
  33. When and how should Debit Cards be reported?
  34. Charge-offs:
      (a) How should charged off accounts be reported?
      (b) How should paid charge-off accounts be reported?
  35. If a credit card or account is in dispute or temporarily unavailable for use
      because the credit grantor is conducting an investigation (due to a request from
      the consumer, such as potential identity theft or other reason), how should the
      account be reported?

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  Frequently Asked Questions and Answers
  Reporting Scenarios (6-51)
  36. How should an account be reported when an auto lease is paid in full, yet there
      are over mileage charges, excess wear and tear charges, or other outstanding
      charges on the account?
  37. How should an account be reported when an auto lease is prepaid – where
      entire lease payment is paid at the time of opening?
  38. How should accounts that are paid in full for less than the full balance (i.e.,
      settled) be reported?
  39. How should a paid in full, closed account be reported?
  40. How should a closed account be reported that has an outstanding
      balance?
  41. How long should paid accounts (Account Status Code 13, 61-65)
      continue to be reported?
  42. How should a renegotiated/refinanced loan be reported?
  43. How should lost or stolen credit cards be reported?
  44. How should deferred loans be reported?
  45. How should accounts in forbearance be reported?
  46. How should accounts that have been transferred be reported?
  47. How should accounts that have been sold to another company be reported?
  48. How should accounts that have been purchased from another company be
      reported?
  49. How are “payment reversal” transactions handled when reporting Date
      of Last Payment, Date of First Delinquency, Payment History Profile and
      Actual Payment Amount?
  50. Consumer loans may have multiple payment schedules, which may each
      have different payment frequencies (e.g., principal amount due annually
      and interest amount due monthly). How should these loans be reported?
  51. How should credit cards with no preset spending limits be reported that have
      terms allowing consumers to exceed the credit limits (i.e., Flexible Spending
      Credit Cards)?
  52. How should the different stages of foreclosure be reported?
  53. How should alternatives to foreclosure (i.e., Deed in Lieu and Short Sale) be
      reported?
  54. How should a secured account (i.e., mortgage, home equity or other secured
      account) be reported when the collateral is released but there is an outstanding
      balance due?
  55. How should full loan assumptions be reported?
  56. How should simple loan assumptions be reported?
  57. How should reverse mortgages be reported?
  58. What are the available options for reporting an account affected by a natural or
      declared disaster?

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  Frequently Asked Questions and Answers
  Reporting Scenarios (6-74)
  59. How should deposit accounts, with overdraft protection, be reported that have
      been overdrawn?
  60. How should prepaid credit cards/gift cards be reported?
  61. How should an account be reported when it is included in a Personal
      Receivership plan (Wisconsin Chapter 128)?
  62. How should an account be reported when merchandise has been repossessed?
  63. How should an account be reported when the consumer has voluntarily
      surrendered the merchandise?
  64. How should a replacement credit card be reported (i.e., credit card replaced
      with a new account number)?
  65. How should an account be reported when the creditor files an IRS Form
      1099-C?
  66. How should timeshare mortgages and timeshare loans be reported?
  67. How should a modified loan be reported?
  68. How should an account be reported when it is updated more than one time
      during a given monthly reporting period; e.g., an account that is moved to
      recovery?
  69. How should a debt extinguished under state law be reported?




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  Frequently Asked Questions and Answers
  Please note that within these reporting guidelines, certain fields are mentioned that
  provide specific guidance for the situations described. For all other Metro 2® fields,
  the standard guidelines described within the Field Definitions module should be
  followed.


  SEGMENTS AND APPENDAGES
  1.    Question: How is the Base Segment used?

        Answer: The Base Segment of the Metro 2® Format is used to report the
        identification information for the primary borrower, as well as all of the
        pertinent account information, such as Date Opened, High Credit, Current
        Balance and Account Status.

  2.    Question: What if we don’t currently capture data for a specific field
        in our system?

        Answer: Refer to Record Layouts within the Metro 2® Format section for
        designated Required Fields.

        If you have a question about a specific field that is not on your system,
        contact all the consumer reporting agencies to determine if that field is
        required. Some fields must be reported to comply with legislative
        requirements, while others are used to make the reported data complete and
        accurate.

  3.    Question: How are the J1 and J2 Segments used?

        Answer: In general, appendages in the Metro 2® Format are designed to allow
        the data furnisher to report additional information about the account by
        adding the appropriate appendages to the end of the Base Segment. Two
        segments: J1 and J2 are used in reporting the names and addresses (if
        different from the primary borrower) of individuals who are associated with
        the account.

        •   The J1 Segment is used to report a consumer who is associated with the
            account who lives at the same address as the individual reported in the
            Base Segment.

        •   The J2 Segment is used to report a consumer who is associated with the
            account and who lives at the same or different address from the individual
            reported in the Base Segment.




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  Frequently Asked Questions and Answers
  4.   Question: When reporting fixed-length records, can the J2 Segment
       be reported for all consumers, whether they live at the same or
       different address as the primary borrower? If the address is the
       same, can the address fields be blank?

       Answer: If you are reporting fixed-length records, you may choose to report
       only J2 Segments for all associated consumers. In that case, the J2
       Segments must always contain addresses, even if the addresses are the same
       as those reported in the Base Segments.

  5.   Question: How is the L1 Segment used?

       Answer: The L1 Segment is used to report a new Account Number or a new
       Identification Number in situations when one or both of these numbers has
       changed since the last reporting period. The Change Indicator field in the L1
       Segment specifies whether the change is to the Account Number, the
       Identification Number or both.

       The old Account Number is reported in the Consumer Account Number field of
       the Base Segment and the new Account Number is reported in the New
       Consumer Account Number field of the L1 Segment. The old Identification
       Number is reported in the Identification Number field of the Base Segment
       and the new Identification Number is reported in the New Identification
       Number field of the L1 Segment.

       The L1 Segment should be reported at the time of the Account
       Number/Identification Number change and should be reported only once. The
       following month, the new numbers should appear in the Base Segment.

  6.   Question: How are fixed-length records reported if no appendage
       (e.g., J1, J2) information is available?

       Answer: If no information is available for the appendages, provide the
       Segment Identifier (e.g., J1, J2) and blank fill the remainder of the segment.

  7.   Question: How are variable-length records reported if no appendage
       (e.g., J1, J2) information is available?

       Answer: Do not report the appendage.




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  Frequently Asked Questions and Answers
  BDW / RDW
  8.    Question: What is the BDW and how is it used?

        Answer: For variable-length blocks, the Block Descriptor Word (BDW) is
        typically systems-generated and contains a value equal to the length of each
        block of data. The BDW must be reported when using the packed format or
        when reporting variable length records. The BDW is used internally by each
        consumer reporting agency’s system to determine the number of bytes in
        each block.

  9.    Question: What is the RDW and how is it used?

        Answer: The Record Descriptor Word (RDW) contains a value equal to the
        number of bytes in each record. A data record includes the Base Segment
        and any appendages (e.g., J1, K1, N1).

        The RDW is a required field and may be systems-generated by the data
        furnisher’s system. If not, it must be hard-coded in the program.

        The RDW is used internally by each consumer reporting agency’s system to
        determine the number of bytes in each data record.


  DELINQUENCY REPORTING
  10. Question: How are delinquencies calculated?

        Answer: Delinquencies should be calculated from the due date. For consumer
        reporting purposes, an account is not deemed to be delinquent until it is at
        least 30 days (Account Status Code 71) past the due date.


  CYCLE REPORTING
  11. Question: When is cycle reporting appropriate, versus month-end
      reporting?

        Answer: Cycle reporting is generally appropriate when the data furnisher has
        multiple billing cycles. Reporting would take place at the end of each billing
        cycle, resulting in more accurate and current reporting of account statuses.




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  Frequently Asked Questions and Answers
  ACCOUNT STATUS, PAYMENT RATING, SPECIAL COMMENT
  12. Question: How do Account Statuses, Payment Ratings and Special
      Comments interact?

       Answer: The Account Status (Field 17A) is used to report the current
       condition of the accounts, such as current or 30 days past the due date. The
       Payment Rating (Field 17B), which is required for certain Account Statuses, is
       used to report whether the account is current, past due, in collections or
       charged off within the current month’s reporting period. The Special
       Comment (Field 19) is used to provide additional information about the
       account. These codes are used together to provide a complete picture of the
       account.

       Examples:

       •   An account is reported with Account Status Code 80 (90 days past the due
           date) and Special Comment M (Account closed at credit grantor’s request).
           Since both codes are reported, credit grantors know the current condition
           of the account, and that the account is closed to further charges, at the
           credit grantor’s request.

       •   An account is reported with Account Status Code 13 (Paid), Payment
           Rating 3 (90 days past the due date) and Special Comment AU (Account
           paid in full for less than the full balance). This combination of codes
           provides complete information for credit grantors: the account is paid, the
           consumer was 90 days past the due date during the final month and the
           account was settled for less than the full balance.




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  Frequently Asked Questions and Answers
  ECOA REQUIREMENTS
  13. Question: How do I comply with ECOA?

         Answer: While ECOA requires only the reporting of spouse information,
         industry practices encourage the reporting of all consumers associated with
         an account. The correct ECOA Code should be reported in the Base, J1 and
         J2 Segments.

  14. Questions: ECOA Codes:
      (a) How is an ECOA Code change reported?

         Answer: Change the ECOA Code to the new value in the segment that has
         changed. Refer to field descriptions for each segment (Base, J1 and J2) for
         lists of applicable ECOA codes.

         (b) What is the difference between ECOA Codes T (Association with
         Account Terminated) and Z (Delete Consumer)?

         Answer: ECOA Code ‘T’ should be reported when a consumer is no longer
         associated with an account. In subsequent reporting periods, this consumer
         should not be reported. The account, including payment history reported
         prior to the termination will be retained, but future updates will not be applied
         to the account for this consumer.

         ECOA Code ‘Z’ should be reported when a consumer was reported in error
         and the account, including payment history, should be deleted from this
         consumer’s file. It is imperative that ECOA Code ‘Z’ is reported only on the
         consumer who was inaccurately reported. In subsequent reporting periods,
         this consumer should not be reported.

         Notes: Only inaccurately reported consumers should be deleted.
         Additionally, as per Frequently Asked Questions & Answers 27 and
         28, authorized users should be deleted from accounts included in
         bankruptcy since authorized users are not contractually responsible
         for payments.

         In cases where the only remaining individual associated to the
         account is an authorized user, the authorized user should be reported
         with ECOA Code Z to delete the account from the authorized user’s
         credit file.




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  Frequently Asked Questions and Answers
  FCRA REQUIREMENTS
  15. Question: The Fair Credit Reporting Act requires certain information
      to be reported with regard to returned checks. What are those
      requirements?

       Answer: For companies who report returned checks, such as collection
       agencies, debt buyers or check guarantee companies, there are four reporting
       guidelines:

       • The Date Opened (Base Segment Field 10) should contain the date of the
         check.
       • The Highest Credit or Original Loan Amount (Base Segment Field 12)
         should contain the original amount of the check, excluding fees and
         interest.
       • The Original Creditor Name (K1 Segment Field 2) should contain the name
         of the payee; i.e., the name of the company to which the check was
         written. Report the Creditor Classification (K1 Segment Field 3) to identify
         the original creditor’s type of business. Note that code 02 (Medical/Health
         Care) is used to identify an account as a medical collection debt in
         accordance with FCRA section 623.
       • The FCRA Compliance/Date of First Delinquency (Base Segment Field 25)
         should contain the date the check was returned for nonsufficient funds. If
         not available, report the date of the check.




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  Frequently Asked Questions and Answers
  DELETING ACCOUNTS/BORROWERS
  16. Question: How should an account, or a specific borrower, be deleted
      from the consumer reporting agencies’ files?

         Answer: It is imperative that only inaccurate accounts be deleted from the
         consumer reporting agencies’ files. In order to maintain the accuracy and
         integrity of consumer files, historical consumer credit information must be
         reported in a factual and objective manner. Paid derogatory accounts, such
         as collections, should be reported as paid; they should not be deleted.

         To delete an entire account, for reasons other than fraud, report Account
         Status Code DA (Field 17A). All borrowers will be deleted along with the
         account history.

         To delete an entire account, due to confirmed fraud, report Account Status
         Code DF (Field 17A). All borrowers will be deleted along with the account
         history.

         To delete a specific borrower, report Z in the ECOA Code field of the segment
         containing the consumer to be deleted.



  CONSUMER INFORMATION
  17. Question: How should a new borrower be added to an existing
      account?

         Answer: Append a J1 or J2 Segment for the new borrower to the Base
         Segment.

         • A J1 Segment should be used to add a new borrower living at the same
           address as the consumer reported in the Base Segment.
         • A J2 segment should be used to add a new borrower living at a different
           address from the consumer reported in the Base Segment.

  18. Question: How should a consumer’s association with an existing
      account be terminated?

         Answer: Report T in the ECOA Code field (Base Segment Field 37, J1/J2
         Segment Field 10) in the segment containing the consumer for whom the
         association is to be terminated. All payment history for this account will be
         retained. Do not report this consumer in subsequent reporting periods.




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  Frequently Asked Questions and Answers
  19. Question: How should deceased borrowers be reported?

       Answer: Deceased borrowers should be reported through use of ECOA Code X
       in the appropriate Base Segment Field 37 or J1/J2 Segment Field 10. An
       ECOA Code X should be reported only for the deceased consumer; not all
       consumers associated with the account.

       If only one borrower is associated with the account and the borrower is
       reported as deceased, discontinue reporting the entire account after the
       ECOA Code X is reported. Do not report the account with a trustee or estate
       name.

       If there are multiple associated borrowers and one borrower is reported as
       deceased, continue reporting the account, but discontinue reporting the
       deceased borrower after the ECOA Code X is reported. If the deceased
       borrower had been reported in the Base Segment, another borrower must be
       moved into the Base Segment for subsequent reporting.

       In cases where the only remaining individual associated to the
       account is an authorized user, the authorized user should be reported
       with ECOA Code Z to delete the account from the authorized user’s
       credit file.

       Important: Do not report ECOA Code X until you have received a legally-
       sufficient death notice; e.g., death certificate. Data furnishers should consult
       with internal Legal counsel or Compliance area regarding what constitutes a
       legally-sufficient death notice.

       Reporting a consumer as deceased provides valuable information on the
       credit report. If another consumer tries to use the identity of a deceased
       consumer, the “deceased” information will appear on the credit report,
       helping to deter the fraudulent activity.

       Note: Debt Buyers and Third Party Collection Agencies should refer to the
       Debt Buyer/Collection Agency Reporting module for guidance on reporting
       deceased borrowers.




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  Frequently Asked Questions and Answers
  20. Question: How should a business account be reported when a
      consumer is personally liable?

         Answer:
         • Report the consumer’s information in the Base Segment with ECOA Code 2
           (Joint/Contractual Liability) or 5 (Co-maker or Guarantor) in Field 37, as
           applicable.
         • Report the business name in the J2 Segment starting in the Surname field
           (Field 3). The business name may continue into the First and Middle Name
           fields if needed.
         • Report ECOA Code W (Business/Commercial) in Field 10 of the J2
           Segment.

           Note: The business name will not be added to the consumer credit
           databases.



  DUPLICATE TRADELINES
  21. Question: What causes duplicate tradelines?

         Answer: Any change in Account Number, Identification Number, Portfolio
         Type and/or Date Opened may cause duplication if the consumer reporting
         agencies are not notified prior to the change.




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  Frequently Asked Questions and Answers
  FIRST TIME REPORTERS
  22. Question: Are there any special reporting requirements for a first
      time reporter when sending data to the consumer reporting
      agencies?

       Answer: It is very important to ensure that the FCRA Compliance/Date of
       First Delinquency is reported accurately.

       When historical credit information is reported in the Payment History Profile
       (Field 18), the Date of First Delinquency must reflect the date of the first
       delinquency that led to the earliest delinquency reported in the Payment
       History Profile. In this situation, the Date of First Delinquency must be
       reported, regardless of the Account Status Code being reported.

       Examples:

       Account Status = 93 (Collection)
       Payment History Profile = GGGGGGGGGGGG666654321100
       Date of Account Information = 03/30/2020
       Date of First Delinquency = 05/24/2018

       In the above example, 05/24/2018 represents the date of the earliest 30-day
       delinquency represented in the Payment History Profile that led to the
       Collection (Code G) being reported.

       Account Status = 11 (Current)
       Payment History Profile = 000000GGGGGGGGGGGGGGGGGG
       Date of Account Information = 03/30/2020
       Date of First Delinquency = 08/12/2017

       In the above example, 08/12/2017 represents the date of the earliest 30-day
       delinquency that led to the Collection (Code G) reported in the Payment
       History Profile. In this scenario, the 30-day delinquency was outside the time
       period represented in the Payment History Profile.




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  Frequently Asked Questions and Answers
  ACCOUNTS INCLUDED IN BANKRUPTCY
  Please note that within these reporting guidelines, certain fields are mentioned that
  provide specific guidance for the situations described. For all other Metro 2® fields,
  the standard guidelines described within the Field Definitions module should be
  followed.

  23. Question: How should an account be reported when the consumer
      files bankruptcy, but the account is not included in the bankruptcy?

         Answer: For accounts that are not discharged in the bankruptcy, follow these
         guidelines:

         •   When notified of the petition, report the applicable Consumer Information
             Indicator.
             Note: The consumer may be protected by the automatic stay until the
             bankruptcy is discharged or, for Chapter 12 or 13, the repayment plan is
             completed.
         •   Follow the guidance in FAQ 27 or 28, as applicable, for the months
             between petition and final resolution.
         •   For Chapter 7 or 11, when the bankruptcy is discharged, report Consumer
             Information Indicator Q to remove the petition indicator and continue
             reporting the account normally going forward.
         •   For Chapter 12 or 13, when the repayment plan is completed, report
             Consumer Information Indicator Q to remove the petition indicator and
             continue reporting the account normally going forward. If an associated
             borrower who was not included in the bankruptcy filing had been
             terminated from the account, re-report this borrower with the applicable
             ECOA Code (not T).

  24. Question: How should an account included in bankruptcy be reported
      if a “Relief from Stay” is granted to the creditor?

         Answer: Report the appropriate Consumer Information Indicator for the
         borrower who included the account in bankruptcy (filer).

         Note: Even though the creditor can pursue collection of collateral, the
         account is still included in bankruptcy. The reporting of the Consumer
         Information Indicator has no impact on the creditor's ability to collect.




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  Frequently Asked Questions and Answers
  25. Question: How should an account that has been included in
      Bankruptcy be reported when a consumer is making payments or has
      paid the account in full, even though the account has not been
      reaffirmed?

       Answer: Unless the account has been reaffirmed through the Bankruptcy
       Court, the account is included in Bankruptcy. For credit reporting purposes,
       the appropriate Bankruptcy Consumer Information Indicator must be
       reported.

       Refer to Frequently Asked Questions & Answers 27 and 28 for detailed
       reporting guidelines.

  26. Question: Is there a preferred method of reporting when accounts are
      completely or partially reaffirmed in bankruptcy?

       Answer: For accounts that are completely reaffirmed in bankruptcy, report
       the appropriate Account Status (Field 17A) and Consumer Information
       Indicator R, which states “Chapter 7 Reaffirmation of Debt”. The Consumer
       Information Indicator (Base Segment Field 38 and J1/J2 Segment Field 11)
       should be reported for each consumer who reaffirmed the debt.

       Note: Do not report the discharged indicator (CII E) if the reaffirmation
       remains in effect. If the reaffirmation of debt is rescinded, report CII V
       (Chapter 7 Reaffirmation of Debt Rescinded).

       For accounts that are partially reaffirmed in bankruptcy, report a separate
       tradeline with a new Account Number for the portion of the account that is in
       repayment. For this new tradeline, report Consumer Information Indicator R
       for each affected consumer, which states “Chapter 7 Reaffirmation of Debt”,
       plus the appropriate Account Status. For that portion of the original tradeline
       which is still included in bankruptcy, report the appropriate Account Status
       (Field 17A), the appropriate Consumer Information Indicator (Base Segment
       Field 38 and J1/J2 Segment Field 11), and adjust the Current Balance (Field
       21) accordingly.

       If the partial reaffirmation of debt is subsequently rescinded, report the new
       account with Account Status Code DA to delete the account. The original
       account, which was reported with the appropriate bankruptcy Consumer
       Information Indicator, will reflect that the account is included in bankruptcy.




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  Frequently Asked Questions and Answers
  27. Questions: Accounts included in Bankruptcy Chapter 7 or 11:

         Note: Letters (a) and (b) contain the original reporting guidance for
         accounts included in Bankruptcy Chapters 7 and 11, which will
         eventually be retired. Letters (c) and (d) offer alternate simplified
         bankruptcy guidance, which will eventually replace the original
         reporting guidance.

         (a) How should an account be reported when all borrowers associated
         to the account filed Bankruptcy Chapter 7 or 11?

         Answer: Report the account according to the following guidelines:

                                  All Borrowers Filed Bankruptcy Chapter 7 or 11
          Month BK Filed          •    CII = A or B (Petition for Chapter 7 or 11 Bankruptcy)
                                  •    Account Status = status at time of petition
                                  •    Payment History = first character based on previous
                                       month’s status plus prior history
                                  •    Current Balance = outstanding balance amount
                                  •    Scheduled Monthly Payment Amount = amount of the
                                       scheduled monthly payment due
                                  •    Amount Past Due = amount past due at the time of
                                       petition
                                  •    Date of Account Information = current month’s date

                                  Note: Authorized Users (ECOA Code 3) on accounts included
                                  in a bankruptcy petition should be deleted (ECOA Code Z)
                                  from the account because they are not contractually liable for
                                  payments.
          Months Between          •    CII = Blank (previous petition value reported is retained)
          Petition Filed & BK          or CII = A or B
          Resolution              •    Account Status = status at time of petition
                                  •    Payment History = increment first position with value ‘D’
                                       (plus history reported prior to bankruptcy filing)
                                  •    Current Balance = outstanding balance amount
                                  •    Scheduled Monthly Payment Amount = amount of the
                                       scheduled monthly payment due
                                  •    Amount Past Due = amount past due at the time of
                                       petition
                                  •    Date of Account Information = current month’s date
          Reaffirmation of        •    CII = R (Chapter 7 Reaffirmation of Debt) or 2A (Lease
          Debt or Lease                Assumption)
          Assumption              •    All other Metro 2® account level information should be
                                       reported as of the Date of Account Information

          FAQ 27(a) continued on next page




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  Frequently Asked Questions and Answers
  FAQ 27(a) (continued)

                              All Borrowers Filed Bankruptcy Chapter 7 or 11
        BK Discharged         •   CII = E or F (Discharged through BK Chapter 7 or 11)
                              •   Account Status = status at time of petition
                              •   Payment History = increment first position with value ‘D’
                                  (plus prior months’ history)
                              •   Current Balance = outstanding balance amount
                              •   Scheduled Monthly Payment Amount = amount of the
                                  scheduled monthly payment due
                              •   Amount Past Due = amount past due at the time of
                                  petition
                              •   Date of Account Information = current month’s date

                              Note: After reporting the discharge CII E or F for all Filers,
                              discontinue reporting the account.
        Reaffirmation of      •   CII = V (Chapter 7 Reaffirmation of Debt Rescinded)
        Debt Rescinded        •   Account Status = status at time of petition
                              •   Payment History = increment first position based on
                                  previous month’s Account Status, plus prior history
                              •   Current Balance = outstanding balance amount
                              •   Scheduled Monthly Payment Amount = amount of the
                                  scheduled monthly payment due
                              •   Amount Past Due = amount past due at the time of
                                  petition
                              •   Date of Account Information = current month’s date

                              Notes:
                              After reporting CII ‘V’ for all Filers, in the following monthly
                              reporting period:
                              • If the bankruptcy has been discharged, report the
                                  applicable discharge CII (CII = E or F), then discontinue
                                  reporting the account going forward.
                              • If the bankruptcy has not yet been discharged, continue
                                  reporting the account and Filers with the applicable CIIs
                                  (CII = A or B).

                              If the bankruptcy is discharged in the same monthly
                              reporting period that the Reaffirmation of Debt is rescinded,
                              report the applicable discharge CII (CII = E or F). Do not
                              report CII ‘V’.

        FAQ 27(a) continued on next page




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  Frequently Asked Questions and Answers
  FAQ 27(a) (continued)

                             All Borrowers Filed Bankruptcy Chapter 7 or 11
         BK Dismissed        •   CII = Q (Removal value)
                             •   All other Metro 2® account level field information should
                                 be reported as of the Date of Account Information

                             Note: The “D’s” reported in the Payment History Profile from
                             the time the petition was filed until the dismissal should not
                             be removed, as the consumer was protected by a stay
                             during those months.
         BK Withdrawn        •   CII = Q (Removal value)
                             •   All other Metro 2® account level field information should
                                 be reported as of the Date of Account Information

                             Note: The “D’s” reported in the Payment History Profile from
                             the time the petition was filed until the petition was
                             withdrawn should not be removed, as the consumer was
                             protected by a stay during those months.




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  Frequently Asked Questions and Answers
  27(b) How should an account be reported when one borrower filed
  Bankruptcy Chapter 7 or 11 and the other borrower did not?

  Answer: Report the account according to the following guidelines:

                                 Filer(s) and Non-Filer(s)
        Month BK Filed           • CII for Non-Filer(s) = Blank
                                 • CII for Filer(s) = A or B (Petition for BK Chapter 7 or 11)
                                 • Account Status = applicable status for consumer(s) who
                                   did not file Bankruptcy
                                 • Payment History = first character based on previous
                                   month’s status plus prior history
                                 • Current Balance = outstanding balance amount
                                 • Scheduled Monthly Payment Amount = amount of the
                                   scheduled monthly payment due
                                 • Amount Past Due = total amount that is 30 days or more
                                   past the due date

                                 Note: Authorized Users (ECOA Code 3) on accounts included
                                 in a bankruptcy petition should be deleted (ECOA Code Z)
                                 from the account because they are not contractually liable
                                 for payments.
        Months Between           • CII for Non-Filer(s) = Blank
        Petition Filed & BK      • CII for Filer(s) = Blank (previous petition value reported
        Resolution                 is retained) or CII = A or B
                                 • Account Status = applicable status for consumer(s) who
                                   did not file Bankruptcy
                                 • All other Metro 2® account level field information should
                                   be reported as of the Date of Account Information for the
                                   Non-Filer(s)
        Reaffirmation of         • CII for Non-Filer(s) = Blank
        Debt or Lease            • CII for Filer(s) = R (Chapter 7 Reaffirmation of Debt) or
        Assumption                  2A (Lease Assumption)
                                 • All other Metro 2® account level field information should
                                    be reported as of the Date of Account Information
        BK Discharged            • CII for Non-Filer(s) = Blank
                                 • CII for Filer(s) = E or F (Discharged through BK Chapter 7
                                   or 11)
                                 • All other Metro 2® account level field information should
                                   be reported as of the Date of Account Information for the
                                   Non-Filer(s)

                                 Note: After reporting the discharge CII for the Filer(s),
                                 discontinue reporting the Filer(s).

        FAQ 27(b) continued on next page




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  Frequently Asked Questions and Answers
  FAQ 27(b) (continued)

                                Filer(s) and Non-Filer(s)
          Reaffirmation of      • CII for Non-Filer(s) = Blank
          Debt Rescinded        • CII for Filer(s) = V (Chapter 7 Reaffirmation of Debt
                                   Rescinded)
                                • All other Metro 2® account level field information should be
                                   reported as of the Date of Account Information for the
                                   Non-Filer(s)

                                Notes:
                                After reporting CII ‘V’ for the Filer(s), in the following
                                monthly reporting period:
                                • If the bankruptcy has been discharged, report the
                                    applicable discharge CII (CII = E or F). In subsequent
                                    reporting periods, discontinue reporting the Filer(s)
                                    associated to the account.
                                • If the bankruptcy has not yet been discharged, continue
                                    reporting the account and Filer(s) with the applicable CIIs
                                    (CII = A or B).

                                If the bankruptcy is discharged in the same monthly reporting
                                period that the Reaffirmation of Debt is rescinded, report the
                                applicable discharge CII (CII = E or F) for the Filer(s). Do not
                                report CII ‘V’.
          BK Dismissed          • CII for Non-Filer(s) = Blank
                                • CII for Filer(s) = Q (Removal value)
                                • All other Metro 2® account level field information should be
                                  reported as of the Date of Account Information
          BK Withdrawn          • CII for Non-Filer(s) = Blank
                                • CII for Filer(s) = Q (Removal value)
                                • All other Metro 2® account level field information should be
                                  reported as of the Date of Account Information

         Note: The Consumer Information Indicator is required for reporting
               when applicable for the filing consumer(s).




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  Frequently Asked Questions and Answers
  27(c) How should an account be reported when all associated borrowers
  filed Bankruptcy Chapter 7 or 11?

  Answer: Report the account according to the following guidelines:

                                 All Borrowers Filed Bankruptcy Chapter 7 or 11
        Month BK Filed           •   CII = A or B (Petition for Chapter 7 or 11 Bankruptcy)
                                 •   Account Status = status as of the Date of Account
                                     Information
                                 •   Payment History = first character based on previous
                                     month’s status plus prior history
                                 •   Current Balance = balance as of the Date of Account
                                     Information
                                 •   Scheduled Monthly Payment Amount = amount of the
                                     scheduled monthly payment due
                                 •   Amount Past Due = amount as of the Date of Account
                                     Information
                                 •   Date of Account Information = current month’s date

                                 Note: Authorized Users (ECOA Code 3) on accounts included
                                 in a bankruptcy petition should be deleted (ECOA Code Z)
                                 from the account because they are not contractually liable
                                 for payments.
        Months Between           •   CII = A or B or Blank (previous petition value reported is
        Petition Filed & BK          retained)
        Resolution               •   Account Status = status as of the Date of Account
                                     Information
                                 •   Payment History = first character based on previous
                                     month’s status plus prior history
                                 •   Current Balance = balance as of the Date of Account
                                     Information
                                 •   Scheduled Monthly Payment Amount = amount of the
                                     scheduled monthly payment due
                                 •   Amount Past Due = amount as of the Date of Account
                                     Information
                                 •   Date of Account Information = current month’s date
        Reaffirmation of         •   CII = R (Chapter 7 Reaffirmation of Debt) or 2A (Lease
        Debt or Lease                Assumption)
        Assumption               •   All other Metro 2® account level field information should
                                     be reported as of the Date of Account Information


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  Frequently Asked Questions and Answers
  FAQ 27(c) (continued)

                               All Borrowers Filed Bankruptcy Chapter 7 or 11
         BK Discharged         •   CII = E or F (Discharged through BK Chapter 7 or 11)
                               •   Account Status = status as of the Date of Account
                                   Information
                               •   Payment History = first character based on previous
                                   month’s status plus prior history
                               •   Current Balance = balance as of the Date of Account
                                   Information
                               •   Scheduled Monthly Payment Amount = amount of the
                                   scheduled monthly payment due
                               •   Amount Past Due = amount as of the Date of Account
                                   Information
                               •   Date of Account Information = current month’s date

                               Note: After reporting the discharge CII E or F for all Filers,
                               discontinue reporting the account.
         Reaffirmation of      •   CII = V (Chapter 7 Reaffirmation of Debt Rescinded)
         Debt Rescinded        •   Account Status = status as of the Date of Account
                                   Information
                               •   Payment History = first character based on previous
                                   month’s status plus prior history
                               •   Current Balance = balance as of the Date of Account
                                   Information
                               •   Scheduled Monthly Payment Amount = amount of the
                                   scheduled monthly payment due
                               •   Amount Past Due = amount as of the Date of Account
                                   Information
                               •   Date of Account Information = current month’s date

                               Notes:
                               After reporting CII ‘V’ for all Filers, in the following monthly
                               reporting period:
                               • If the bankruptcy has been discharged, report the
                                   applicable discharge CII (CII = E or F), then discontinue
                                   reporting the account going forward.
                               • If the bankruptcy has not yet been discharged, continue
                                   reporting the account and Filers with the applicable CIIs
                                   (CII = A or B).

                               If the bankruptcy is discharged in the same monthly
                               reporting period that the Reaffirmation of Debt is rescinded,
                               report the applicable discharge CII (CII = E or F). Do not
                               report CII ‘V’.
         BK Dismissed          •   CII = Q (Removal value)
                               •   All other Metro 2® account level field information should
                                   be reported as of the Date of Account Information
         BK Withdrawn          •   CII = Q (Removal value)
                               •   All other Metro 2® account level field information should
                                   be reported as of the Date of Account Information


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  Frequently Asked Questions and Answers
  27(d) How should an account be reported when one borrower filed
  Bankruptcy Chapter 7 or 11 and the other borrower did not?

  Answer: Report the account according to the following guidelines:

                                 Filer(s) and Non-Filer(s)
        Month BK Filed           • CII for Non-Filer(s) = Blank
                                 • CII for Filer(s) = A or B (Petition for BK Chapter 7 or 11)
                                 • Account Status = status as of the Date of Account
                                   Information
                                 • Payment History = first character based on previous
                                   month’s status plus prior history
                                 • Current Balance = outstanding balance amount
                                 • Scheduled Monthly Payment Amount = amount of the
                                   scheduled monthly payment due
                                 • Amount Past Due = total amount that is 30 days or more
                                   past the due date

                                 Note: Authorized Users (ECOA Code 3) on accounts
                                 included in a bankruptcy petition should be deleted (ECOA
                                 Code Z) from the account because they are not
                                 contractually liable for payments.
        Months Between           • CII for Non-Filer(s) = Blank
        Petition Filed & BK      • CII for Filer(s) = A or B or Blank (previous petition value
        Resolution                 reported is retained)
                                 • Account Status = status as of the Date of Account
                                   Information
                                 • All other Metro 2® account level field information should
                                   be reported as of the Date of Account Information
        Reaffirmation of         • CII for Non-Filer(s) = Blank
        Debt or Lease            • CII for Filer(s) = R (Chapter 7 Reaffirmation of Debt) or
        Assumption                  2A (Lease Assumption)
                                 • All other Metro 2® account level field information should
                                    be reported as of the Date of Account Information
        BK Discharged            • CII for Non-Filer(s) = Blank
                                 • CII for Filer(s) = E or F (Discharged through BK Chapter
                                   7 or 11)
                                 • All other Metro 2® account level field information should
                                   be reported as of the Date of Account Information

                                 Note: After reporting the discharge CII E or F, discontinue
                                 reporting the Filer(s) associated to the account.

       FAQ 27(d) continued on next page




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  Frequently Asked Questions and Answers
  FAQ 27(d) (continued)

                                Filer(s) and Non-Filer(s)
          Reaffirmation of      • CII for Non-Filer(s) = Blank
          Debt Rescinded        • CII for Filer(s) = V (Chapter 7 Reaffirmation of Debt
                                  Rescinded)
                                • All other Metro 2® account level field information should be
                                  reported as of the Date of Account Information

                                Notes:
                                After reporting CII ‘V’ for the Filer(s), in the following
                                monthly reporting period:
                                •   If the bankruptcy has been discharged, report the
                                    applicable discharge CII (CII = E or F). In subsequent
                                    reporting periods, discontinue reporting the Filer(s)
                                    associated to the account.
                                •   If the bankruptcy has not yet been discharged, continue
                                    reporting the account and Filer(s) with the applicable CIIs
                                    (CII = A or B).

                                If the bankruptcy is discharged in the same monthly reporting
                                period that the Reaffirmation of Debt is rescinded, report the
                                applicable discharge CII (CII = E or F) for the Filer(s). Do not
                                report CII ‘V’.
          BK Dismissed          • CII for Non-Filer(s) = Blank
                                • CII for Filer(s) = Q (removal value)
                                • All other Metro 2® account level field information should be
                                  reported as of the Date of Account Information
          BK Withdrawn          • CII for Non-Filer(s) = Blank
                                • CII for Filer(s) = Q (removal value)
                                • All other Metro 2® account level field information should be
                                  reported as of the Date of Account Information

         Note: The Consumer Information Indicator is required for reporting
               when applicable for the filing consumer(s).




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  Frequently Asked Questions and Answers
  28. Questions: Accounts included in Bankruptcy Chapter 12 or 13:

       Note: Letters (a) and (b) contain the original reporting guidance for
       accounts included in Bankruptcy Chapters 12 and 13, which will
       eventually be retired. Letters (c) and (d) offer alternate simplified
       bankruptcy guidance, which will eventually replace the original
       reporting guidance.

      (a) How should an account be reported when all borrowers associated
      to the account filed Bankruptcy Chapter 12 or 13?

      Answer: Report the account according to the following guidelines:

                                 All Borrowers Filed Bankruptcy Chapter 12 or 13
        Month BK Filed           •   CII = C or D (Petition for Chapter 12 or 13 Bankruptcy)
                                 •   Account Status = status at time of petition
                                 •   Payment History = first character based on previous
                                     month’s Account Status, plus prior history
                                 •   Current Balance = outstanding balance amount
                                 •   Scheduled Monthly Payment Amount = amount of the
                                     scheduled monthly payment due
                                 •   Amount Past Due = amount past due at the time of
                                     petition
                                 •   Date of Account Information = current month’s date

                                 Note: Authorized Users (ECOA Code 3) on accounts included
                                 in a bankruptcy petition should be deleted (ECOA Code Z)
                                 from the account because they are not contractually liable
                                 for payments.
        Months Between           •   CII = Blank (previous value reported is retained) or
        Petition Filed & BK          CII = C or D
        Resolution               •   Account Status = status at time of petition
                                 •   Payment History = increment first position with value ‘D’
                                     (plus history reported prior to BK filing)
                                 •   Current Balance = outstanding balance amount
                                 •   Scheduled Monthly Payment Amount = amount of the
                                     scheduled monthly payment due
                                 •   Amount Past Due = amount past due at the time of
                                     petition
                                 •   Date of Account Information = current month’s date

        FAQ 28(a) continued on next page




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  Frequently Asked Questions and Answers
  FAQ 28(a) (continued)

                                    All Borrowers Filed Bankruptcy Chapter 12 or 13
            BK Chapter 12 or 13     •   CII = A (Petition for Chapter 7 Bankruptcy) or E
            Converted to BK             (Discharged through Bankruptcy Chapter 7), as applicable
            Chapter 7               •   Date of First Delinquency = If the Account Status is 11,
                                        continue reporting the original Chapter 12 or 13
                                        bankruptcy petition or notification date.

                                    Notes:
                                    The “D’s” reported in the Payment History Profile from the
                                    time the petition was filed until the bankruptcy converted to
                                    Chapter 7 should not be removed, as the consumer was
                                    protected by a stay during those months.

                                    With the reporting of the BK Chapter 7 indicator, continue
                                    updating the account by following FAQ 27(a).
            Plan Confirmed          •   CII = Blank (previous value reported is retained) or
                                        CII = C or D
                                    •   Account Status = status at time of petition
                                    •   Payment History = increment with value ‘D’ (plus prior
                                        months’ history)
                                    •   Current Balance = Chapter 12 or 13 plan balance 1, which
                                        should decline as payments are made
                                    •   Amount Past Due = Zero
                                    •   Terms Duration & Terms Frequency = report changed
                                        values, if applicable
                                    •   Scheduled Monthly Payment Amount = Chapter 12 or 13
                                        plan payment amount
                                    •   Date of Account Information = current month’s date
            Plan Completed – All    •   CII = G or H (Discharged/completed through BK Chapter
            payments made               12 or 13)
            according to plan –     •   Account Status = status at time of petition
            no further obligation   •   Payment History = increment first position with value ‘D’
                                        (plus prior months’ history)
                                    •   Current Balance = Zero
                                    •   Scheduled Monthly Payment Amount = Zero
                                    •   Amount Past Due = Zero
                                    •   Date of Account Information = current month’s date

                                    Note: After reporting CII ‘G’ or ‘H’ for all Filers, discontinue
                                    reporting the account.

           FAQ 28(a) continued on next page




  1   If the Chapter 12 or 13 plan balance amount is not clearly communicated to the lender,
      the lender should consult with internal Legal to determine what amount to report in the
      Current Balance field. If the lender (e.g., unsecured creditor) does not receive a
      confirmed amount from the Bankruptcy court, report the outstanding balance.

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  Frequently Asked Questions and Answers
  FAQ 28(a) (continued)

                               All Borrowers Filed Bankruptcy Chapter 12 or 13
        Plan Completed – All   •   CII = Q (Removal value)
        payments made          •   Account Status = status as of the Date of Account
        according to plan –        Information
        consumer continues     •   Payment History = first month, increment first position
        to make payments           with value ‘D’; in subsequent months, increment based
        (example: mortgage         on prior month’s status
        account)               •   Date of Account Information = current month’s date
                               •   All other Metro 2® account level field information should
                                   be reported as of the Date of Account Information
        BK Dismissed or        •   CII = Q (Removal value)
        Withdrawn              •   All other Metro 2® account level field information should
                                   be reported as of the Date of Account Information

                               Note: The “D’s” reported in the Payment History Profile from
                               the time the petition was filed until the dismissal (or petition
                               withdrawn) should not be removed, as the consumer was
                               protected by a stay during those months.




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  Frequently Asked Questions and Answers
  28(b) How should an account be reported when one borrower filed
  Bankruptcy Chapter 12 or 13 and the other borrower did not?

  Answer: When a Bankruptcy Chapter 12 or 13 is filed by one borrower and there is
  also a Non-Filer associated to the account, both may be protected by an automatic
  stay. The Non-Filer may be protected through the completion of the plan. Therefore,
  the Non-Filer should be terminated from the account until the plan is completed.

                                                                      Non-Filer(s) –
                                                                      Protected by Stay
                      Filer(s)                                        through plan
                                                                      completion
         Month BK     • CII = C or D (Petition for Chapter 12 or 13   • CII = Blank
         Filed          Bankruptcy)                                   • ECOA Code = T
                      • Account Status = status at time of petition     (Terminated)
                      • Payment History = first character based
                        on previous month’s status, plus prior        Note: Authorized
                        history                                       Users (ECOA Code 3)
                      • Current Balance = outstanding balance         on accounts included
                                                                      in a bankruptcy
                        amount
                                                                      petition should be
                      • Scheduled Monthly Payment Amount =
                                                                      deleted (ECOA Code
                        amount of the scheduled monthly               Z) from the account
                        payment due                                   because they are not
                      • Amount Past Due = amount past due at          contractually liable
                        the time of petition                          for payments.
                      • Date of Account Information = current
                        month’s date
         Months       • CII = Blank (previous petition value          Do not report Non-
         Between        reported is retained) or CII = C or D         Filer(s).
         Petition     • Account Status = status at time of petition
         Filed & BK   • Payment History = increment first position
         Resolution     with value ‘D’ (plus history reported prior
                        to BK filing)
                      • Current Balance = outstanding balance
                        amount
                      • Scheduled Monthly Payment Amount =
                        amount of the scheduled monthly
                        payment due
                      • Amount Past Due = amount past due at
                        the time of petition
                      • Date of Account Information = current
                        month’s date


         FAQ 28(b) continued on next page




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  Frequently Asked Questions and Answers
  FAQ 28(b) (continued)

                                                                          Non-Filer(s) –
                                                                          Protected by Stay
                          Filer(s)                                        through plan
                                                                          completion
            BK Chapter    •   CII = A (Petition for Chapter 7             • ECOA = original
            12 or 13          Bankruptcy) or E (Discharged through          value that
            Converted         Bankruptcy Chapter 7), as applicable          defines the
            to BK         •   Date of First Delinquency = If the            consumer’s
            Chapter 7         Account Status is 11, continue reporting      relationship to
                              the original Chapter 12 or 13 bankruptcy      the account (not
                              petition or notification date.                T)
                                                                          • CII = Blank
                          Notes:
                          The “D’s reported in the Payment History        Note: At this point,
                          Profile from the time the petition was filed    continue updating
                          until the bankruptcy converted to Chapter 7     the account by
                          should not be removed, as the consumer was      following FAQ
                          protected by a stay during those months.        27(b).

                          With the reporting of the BK Chapter 7
                          indicator, continue updating the account by
                          following FAQ 27(b).
            Plan          • CII = Blank (previous petition value          Do not report Non-
            Confirmed       reported is retained) or CII = C or D         Filer(s).
                          • Account Status = status at time of petition
                          • Payment History = increment with value
                            ‘D’ (plus prior months’ history)
                          • Current Balance = Chapter 12 or 13 plan
                            balance 1, which should decline as
                            payments are made
                          • Amount Past Due = Zero
                          • Terms Duration & Terms Frequency =
                            report changed values, if applicable
                          • Scheduled Monthly Payment Amount =
                            Chapter 12 or 13 plan payment amount
                          • Date of Account Information = current
                            month’s date

           FAQ 28(b) continued on next page




  1
      If the Chapter 12 or 13 plan balance amount is not clearly communicated to the lender,
      the lender should consult with internal Legal to determine what amount to report in the
      Current Balance field. If the lender (e.g., unsecured creditor) does not receive a
      confirmed amount from the Bankruptcy court, report the outstanding balance.

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  Frequently Asked Questions and Answers
  FAQ 28(b) (continued)

                                                             Non-Filer(s) – Protected by Stay
                         Filer(s)
                                                             through plan completion
         Plan            •   CII = G or H
         Completed –         (Discharged/completed           If creditor intends to collect
         All payments        through BK Chapter 12 or        additional monies from Non-Filer
         made                13)                             after all plan payments are
         according to    •   Account Status = status at      completed, Non-Filer should be
         plan – no           time of petition                reported no earlier than one month
         further         •   Payment History =               after the CII ‘G’ or ‘H’ is reported
         obligation by                                       for the Filer.
                             increment first position with
         Filer
                             value ‘D’ (plus prior months’
                             history)                        First month:
                         •   Current Balance = Zero          • ECOA = applicable value, such
                         •   Scheduled Monthly Payment           as 1 or 2 (not T)
                             Amount = Zero                   • Account Status = status as of
                         •   Amount Past Due = Zero              the Date of Account Information
                         •   Date of Account Information     • Payment History Profile = Report
                             = current month’s date              value ‘D’ in the monthly
                                                                 reporting periods representing
                         Note: After reporting CII ‘G’           the duration of the Filer’s
                         or ‘H’, discontinue reporting           bankruptcy (i.e., petition
                         the Filer(s).                           through discharge/completion).
                                                             • Current Balance = outstanding
                                                                 balance amount
                                                             • Scheduled Monthly Payment
                                                                 Amount = original or updated
                                                                 amount of the monthly payment
                                                                 due for the Non-Filer(s) going
                                                                 forward
                                                             • Amount Past Due = total
                                                                 amount that is 30 days or more
                                                                 past the due date
                                                                Note: If the Account Status is
                                                                current (Status Code 11), this
                                                                field should be zero.

                                                             In subsequent months, all other
                                                             Metro 2® account level field
                                                             information should be reported as
                                                             of the Date of Account Information
                                                             for the Non-Filer(s).

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  Frequently Asked Questions and Answers
  FAQ 28(b) (continued)

                                                          Non-Filer(s) – Protected by Stay
                       Filer(s)
                                                          through plan completion
        Plan           •   CII = Q (Removal Value)        Non-Filer can be re-reported in the
        Completed –    •   Account Status = status as     same month CII Q is reported for
        All                of the Date of Account         the filer.
        payments           Information
        made           •   Payment History = first        •   CII = Blank
        according to       month, increment first         •   ECOA = applicable value, such
        plan –             position with value ‘D’; in        as 2 (not T)
        consumer
                           subsequent months,
        continues to
                           increment based on prior
        make
                           month’s status
        payments
        (example:
                       •   Date of Account Information
        mortgage           = current month’s date
        account)       •   All other Metro 2® account
                           level field information
                           should be reported as of the
                           Date of Account Information
        BK             •   CII = Q (Removal value)        Re-report Non-Filer(s).
        Dismissed      •   All other Metro 2® account     • CII = Blank
        or                 level field information        • ECOA = applicable value, such
        Withdrawn          should be reported as of the      as 2 (not T)
                           Date of Account Information

                       Note: The “D’s” reported in
                       the Payment History Profile
                       from the time the petition
                       was filed until the dismissal
                       (or petition withdrawn)
                       should not be removed, as
                       the consumer was protected
                       by a stay during those
                       months.

       Note: The Consumer Information Indicator is required for reporting
             when applicable for the filing consumer(s).




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  Frequently Asked Questions and Answers
  28(c) How should an account be reported when all borrowers associated to
  the account filed Bankruptcy Chapter 12 or 13?

  Answer: Report the account according to the following guidelines:

                                    All Borrowers Filed Bankruptcy Chapter 12 or 13
         Month BK Filed             •   CII = C or D (Petition for Chapter 12 or 13 Bankruptcy)
                                    •   Account Status = status as of the Date of Account
                                        Information
                                    •   Payment History = first character based on previous
                                        month’s status, plus prior history
                                    •   Current Balance = balance as of the Date of Account
                                        Information
                                    •   Scheduled Monthly Payment Amount = amount of the
                                        scheduled monthly payment due
                                    •   Amount Past Due = amount as of the Date of Account
                                        Information
                                    •   Date of Account Information = current month’s date

                                    Note: Authorized Users (ECOA Code 3) on accounts
                                    included in a bankruptcy petition should be deleted (ECOA
                                    Code Z) from the account because they are not
                                    contractually liable for payments.
         Months Between             •   CII = C or D or Blank (previous value reported is
         Petition Filed & BK            retained)
         Resolution                 •   Account Status = status as of the Date of Account
                                        Information
                                    •   Payment History = increment first position with value
         Note: This guidance            ‘D’ (plus history reported prior to BK filing)
         should also be             •   Current Balance = balance as of the Date of Account
         followed for                   Information
         confirmed plans.           •   Scheduled Monthly Payment Amount = amount of the
                                        scheduled monthly payment due
                                    •   Amount Past Due = amount as of the Date of Account
                                        Information
                                    •   Date of Account Information = current month’s date

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  Frequently Asked Questions and Answers
  FAQ 28(c) (continued)


                                All Borrowers Filed Bankruptcy Chapter 12 or 13
        BK Chapter 12 or 13     •    CII = A (Petition for Chapter 7 Bankruptcy) or E
        Converted to BK              (Discharged through Bankruptcy Chapter 7), as
        Chapter 7                    applicable
                                •    Date of First Delinquency = If the Account Status is 11,
                                     continue reporting the original Chapter 12 or 13
                                     bankruptcy petition or notification date.

                                Notes:
                                The “D’s reported in the Payment History Profile from the
                                time the petition was filed until the bankruptcy converted to
                                Chapter 7 should not be removed, as the consumer was
                                protected by a stay during those months.

                                With the reporting of the BK Chapter 7 indicator, continue
                                updating the account by following FAQ 27 (c).
        Plan Completed – All    •   CII = G or H (Discharged/completed through BK Chapter
        payments made               12 or 13)
        according to plan –     •   Account Status = status as of the Date of Account
        no further obligation       Information
                                •   Payment History = increment first position with value ‘D’
                                    (plus prior months’ history)
                                •   Current Balance = Zero
                                •   Scheduled Monthly Payment Amount = Zero
                                •   Amount Past Due = Zero
                                •   Date of Account Information = current month’s date

                                Note: After reporting CII ‘G’ or ‘H’ for all Filers, discontinue
                                reporting the account.
        Plan Completed – All    •   CII = Q (Removal value)
        payments made           •   Account Status = status as of the Date of Account
        according to plan –         Information
        consumer continues      •   Payment History = first month, increment first position
        to make payments            with value ‘D’; in subsequent months, increment based
        (example: mortgage          on prior month’s status
        account)                •   Date of Account Information = current month’s date
                                •   All other Metro 2® account level field information should
                                    be reported as of the Date of Account Information
        BK Dismissed or         •   CII = Q (removal code)
        Withdrawn               •   All other Metro 2® account level field information should
                                    be reported as of the Date of Account Information

                                Note: The “D’s” reported in the Payment History Profile from
                                the time the petition was filed until the dismissal (or petition
                                withdrawn) should not be removed, as the consumer was
                                protected by a stay during those months.




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  Frequently Asked Questions and Answers
  28(d) How should an account be reported when one borrower filed
  Bankruptcy Chapter 12 or 13 and the other borrower did not?

  Answer: When a Bankruptcy Chapter 12 or 13 is filed by one borrower and there is
  also a Non-Filer associated to the account, both may be protected by an automatic
  stay. The Non-Filer may be protected through the completion of the plan.
  Therefore, the Non-Filer should be terminated from the account until the plan is
  completed.

                                                                   Non-Filer(s) –
                                                                   Protected by Stay
                   Filer(s)                                        through plan
                                                                   completion
      Month BK     • CII = C or D (Petition for Chapter 12 or      • CII = Blank
      Filed          13 Bankruptcy)                                • ECOA Code = T
                   • Account Status = status as of the Date          (Terminated)
                     of Account Information
                   • Payment History = first character based       Note: Authorized Users
                     on previous month’s status, plus prior        (ECOA Code 3) on
                     history                                       accounts included in a
                                                                   bankruptcy petition
                   • Current Balance = balance as of the
                                                                   should be deleted
                     Date of Account Information
                                                                   (ECOA Code Z) from the
                   • Scheduled Monthly Payment Amount =            account because they
                     amount of the scheduled monthly               are not contractually
                     payment due                                   liable for payments.
                   • Amount Past Due = amount as of the
                     Date of Account Information
                   • Date of Account Information = current
                     month’s date
      Months       • CII = C or D or Blank (previous petition      Do not report Non-
      Between         value reported is retained)                  Filer(s).
      Petition     • Account Status = status as of the Date
      Filed & BK      of Account Information
      Resolution   • Payment History = increment first
                      position with value ‘D’ (plus history
                      reported prior to BK filing)
                   • Current Balance = balance as of the
      Note: This      Date of Account Information
      guidance     • Scheduled Monthly Payment Amount =
      should
                      amount of the scheduled monthly
      also be
      followed        payment due
      for          • Amount Past Due = amount as of the
      confirmed       Date of Account Information
      plans.       • Date of Account Information = current
                      month’s date


     FAQ 28(d) continued on next page




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  Frequently Asked Questions and Answers
  FAQ 28(d) (continued)

                                                                  Non-Filer(s) –
                  Filer(s)                                        Protected by Stay
                                                                  through plan completion
      BK          • CII = A (Petition for Chapter 7               • ECOA = original value
      Chapter       Bankruptcy) or E (Discharged through            that defines the
      12 or 13      Bankruptcy Chapter 7), as applicable            consumer’s relationship
      Converted   • Date of First Delinquency = If the              to the account (not T)
      to BK         Account Status is 11, continue reporting      • CII = Blank
      Chapter 7     the original Chapter 12 or 13 bankruptcy
                    petition or notification date.                Note: At this point,
                                                                  continue updating the
                  Notes:                                          account by following FAQ
                  The “D’s reported in the Payment History        27(d).
                  Profile from the time the petition was filed
                  until the bankruptcy converted to Chapter
                  7 should not be removed, as the consumer
                  was protected by a stay during those
                  months.

                  With the reporting of the BK Chapter 7
                  indicator, continue updating the account by
                  following FAQ 27(d).

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  Frequently Asked Questions and Answers
  FAQ 28(d) (continued)

                                                              Non-Filer(s) – Protected by
                   Filer(s)                                   Stay through plan
                                                              completion
   Plan            •   CII = G or H (Discharged/completed     If creditor intends to collect
   Completed –         through BK Chapter 12 or 13)           additional monies from Non-
   All payments    •   Account Status = status as of the      Filer after all plan payments are
   made                Date of Account Information            completed, Non-Filer should be
   according to    •   Payment History = increment first      reported no earlier than one
   plan – no           position with value ‘D’ (plus prior    month after the CII ‘G’ or ‘H’ is
   further             months’ history)                       reported for the Filer.
   obligation by   •   Current Balance = Zero
   Filer           •   Scheduled Monthly Payment              First month:
                       Amount = Zero                          • ECOA = applicable value,
                   •   Amount Past Due = Zero                     such as 1 or 2 (not T)
                   •   Date of Account Information =          • Account Status = status as
                       current month’s date                       of the Date of Account
                                                                  Information
                   Note: After reporting CII ‘G’ or ‘H’,      • Payment History Profile =
                   discontinue reporting the Filer(s).            Report value ‘D’ in the
                                                                  monthly reporting periods
                                                                  representing the duration of
                                                                  the Filer’s bankruptcy (i.e.,
                                                                  petition through
                                                                  discharge/completion).
                                                              • Current Balance =
                                                                  outstanding balance amount
                                                              • Scheduled Monthly Payment
                                                                  Amount = original or
                                                                  updated amount of the
                                                                  monthly payment due for the
                                                                  Non-Filer(s) going forward
                                                              • Amount Past Due = total
                                                                  amount that is 30 days or
                                                                  more past the due date
                                                                 Note: If the Account Status
                                                                 is current (Status Code 11),
                                                                 this field should be zero.

                                                              In subsequent months, all other
                                                              Metro 2® account level field
                                                              information should be reported
                                                              as of the Date of Account
                                                              Information for the Non-Filer(s).

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  Frequently Asked Questions and Answers
  FAQ 28(d) (continued)

                                                                 Non-Filer(s) – Protected
                                                                 by Stay through plan
                  Filer(s)
                                                                 completion
   Plan           •   CII = Q (Removal value)                    Non-Filer can be re-reported
   Completed –    •   Account Status = status as of the          in the same month CII Q is
   All payments       Date of Account Information                reported for the filer.
   made           •   Payment History = first month,
   according to       increment first position with value ‘D’;   •   CII = Blank
   plan –             in subsequent months, increment            •   ECOA = applicable value
   consumer           based on prior month’s status                  (not T)
   continues to   •   Date of Account Information = current
   make               month’s date
   payments       •   All other Metro 2® account level field
   (example:          information should be reported as of
   mortgage           the Date of Account Information
   account)

   BK Dismissed   •   CII = Q (removal value)                    Re-report Non-Filer(s).
   or Withdrawn   •   All other Metro 2® account level field     • CII = Blank
                      information should be reported as of       • ECOA = applicable value
                      the Date of Account Information               (not T)

                  Note: The “D’s” reported in the Payment
                  History Profile from the time the petition
                  was filed until the dismissal (or petition
                  withdrawn) should not be removed, as
                  the consumer was protected by a stay
                  during those months.


  Note: The Consumer Information Indicator is required for reporting
        when applicable for the filing consumer(s).




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  Frequently Asked Questions and Answers
  29. Question: How should a secured debt (e.g., mortgage account) be
      reported when a consumer completes the required payments through
      a Bankruptcy Chapter 12 or 13 plan, but the account is still open and
      the consumer is continuing to make payments?

         Answer: While the consumer is making payments through the plan,
         Consumer Information Indicator C (Petition for Chapter 12 Bankruptcy) or D
         (Petition for Chapter 13 Bankruptcy) should be reported. If the account is
         still open when the plan payments have been completed, report Consumer
         Information Indicator Q to remove the petition indicator so that ongoing
         payments made by the consumer can be reported.




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  Frequently Asked Questions and Answers
  30. Question: How should multiple bankruptcies (i.e., the same or
      different chapters) be reported for the different associated borrowers
      on an account?

       Answer: Report the account according to the following guidelines:

       A   Both borrowers file Bankruptcy    Follow FAQ 27(c).
           Chapter 7 in the same
           reporting period.

       B   Borrower 1 files Bankruptcy       When Borrower 1 files BK Chapter 7,
           Chapter 7 – Borrower 2 is a       follow FAQ 27(d) because at this time,
           Non-Filer. At a later time,       there is also a Non-Filer on this account.
           Borrower 2 files Bankruptcy       Therefore, for the account level fields,
           Chapter 7.                        report account information for the
                                             consumer who did not file the bankruptcy.

                                             When Borrower 2 files BK Chapter 7 at a
                                             later date, begin following FAQ 27(c) since
                                             all borrowers are now filers.

                                              • Reaffirmation of Debt – If Borrower 1
                                                reaffirms the debt, report CII = R. As
                                                per FAQ 27(c), all other Metro 2®
                                                account level field information should be
                                                reported as of the Date of Account
                                                Information.
                                              • Discharged – If the bankruptcy for
                                                Borrower 1 is discharged, report CII =
                                                E. Discontinue reporting Borrower 1 on
                                                subsequent updates. Continue
                                                reporting for Borrower 2 according to
                                                FAQ 27(c).
                                              • Dismissed = If the bankruptcy for
                                                Borrower 1 is dismissed, report CII = Q
                                                (to remove the petition indicator).
                                                Continue reporting the account
                                                according to FAQ 27(d) since Borrower
                                                1 is now a Non-Filer.

       C   Both borrowers file Bankruptcy    Follow FAQ 28(c).
           Chapter 13 in the same
           reporting period.

        FAQ 30 continued on next page




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  Frequently Asked Questions and Answers
  FAQ 30 (continued)

   D     Borrower 1 files Bankruptcy     When Borrower 1 files BK Chapter 13, follow FAQ
         Chapter 13 – Borrower 2 is a    28(d) because at this time, there is also a Non-
         Non-Filer. At a later time,     Filer on this account. As per the FAQ, the Non-
         Borrower 2 files Bankruptcy     Filer should be terminated from the account
         Chapter 13.                     using ECOA Code T.

                                         When Borrower 2 files BK Chapter 13, re-report
                                         this borrower as follows:

                                          •   Consumer Information Indicator = D
                                          •   ECOA Code = applicable value such as 2
                                              (not T)

                                              Continue reporting the account following FAQ
                                              28(c).

                                         When Borrower 1 completes the BK Chapter 13
                                         plan, report CII = H for Borrower 1. Discontinue
                                         reporting Borrower 1 on subsequent updates.

                                         When Borrower 2 completes the BK Chapter 13
                                         plan, report CII = H for Borrower 2. If all
                                         payments have been completed according to the
                                         plan and there is no further obligation,
                                         discontinue reporting the account on subsequent
                                         updates. However, if all payments have been
                                         completed according to the plans and the
                                         account is still open, both borrowers may be
                                         reported with CII = Q to remove the BK
                                         indicators so that ongoing payments made by the
                                         consumers may be reported.

                                         Important Note: If the asset (e.g., mortgage)
                                         is included in only one of the borrower’s
                                         bankruptcy plans, CII D should be reported only
                                         for the borrower whose bankruptcy plan includes
                                         the account. The other borrower should be
                                         terminated from the account since the asset is
                                         not included in this borrower’s bankruptcy plan.

                                         Scenario D continued on next page




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  Frequently Asked Questions and Answers
  FAQ 30 (continued)

   D   Continued from previous        Notes regarding bankruptcy plan dismissals:
       page
                                      • If the bankruptcy for Borrower 1 is dismissed
       Borrower 1 files Bankruptcy      prior to Borrower 2 filing bankruptcy, report
       Chapter 13 – Borrower 2 is a     Consumer Information Indicator Q (to remove
       Non-Filer. At a later time,      the petition indicator), report the account
       Borrower 2 files Bankruptcy      information as it applies going forward, and re-
       Chapter 13.                      report the Non-Filer with the applicable ECOA
                                        Code (not T). In this scenario, when Borrower 2
                                        later files Bankruptcy Chapter 13, follow FAQ
                                        28(d).

                                      • If the bankruptcy for Borrower 1 is dismissed
                                        after Borrower 2 files bankruptcy, report
                                        Consumer Information Indicator Q (to remove
                                        the petition indicator) and ECOA Code T for
                                        Borrower 1, who may now be protected by
                                        Borrower 2’s bankruptcy.

                                        Continue updating this account by following FAQ
                                        28(d).

                                      • If the bankruptcy for Borrower 2 is dismissed
                                        and the bankruptcy for Borrower 1 is still active,
                                        report Consumer Information Indicator Q and
                                        ECOA Code T for Borrower 2. Continue updating
                                        the account according to FAQ 28(d).

                                      • If the bankruptcy for Borrower 2 is dismissed
                                        and the bankruptcy for Borrower 1 was
                                        previously dismissed, report Borrower 1 with the
                                        applicable ECOA Code (not T). As this account
                                        no longer has any borrowers in an active
                                        bankruptcy, report the account normally going
                                        forward.


  FAQ 30 continued on next page




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  Frequently Asked Questions and Answers
  FAQ 30 (continued)

   E     Borrower 1 files Bankruptcy     In the month the BK’s were filed, Borrower 1
         Chapter 7 and Borrower 2        should be reported with CII = A, and Borrower 2
         files Bankruptcy Chapter 13     should be reported with CII = D. (Each borrower
         in the same reporting period.   may be protected by an automatic stay based on
                                         his or her bankruptcy filing.)

                                         • Account Status = status as of the Date of
                                           Account Information
                                         • Payment History = first character based on
                                           previous month’s Account Status, plus prior
                                           history
                                         • Current Balance = balance as of the Date of
                                           Account Information
                                         • Scheduled Monthly Payment Amount = amount
                                           of the scheduled monthly payment due
                                         • Amount Past Due = amount as of the Date of
                                           Account Information
                                         • Date of Account Information = current month’s
                                           date

                                         Months between petition filed and BK resolution:

                                         • CII = A for Borrower 1 and CII = D for
                                           Borrower 2, or Blank (previous values reported
                                           are retained)
                                         • Account Status = status as of the Date of
                                           Account Information
                                         • Payment History = increment first position with
                                           value ‘D’ (plus history reported prior to
                                           bankruptcy)
                                         • Current Balance = balance as of the Date of
                                           Account Information
                                         • Scheduled Monthly Payment Amount = amount
                                           of the scheduled monthly payment due
                                         • Amount Past Due = amount as of the Date of
                                           Account Information
                                         • Date of Account Information = current month’s
                                           date

                                         Scenario E continued on next page




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  Frequently Asked Questions and Answers
  FAQ 30 (continued)

   E   Continued from previous         In subsequent months:
       page
                                       Borrower 1:
       Borrower 1 files Bankruptcy     Debt is Discharged:
       Chapter 7 and Borrower 2        • CII = E (Discharged through BK Chapter 7)
       files Bankruptcy Chapter 13     • Discontinue reporting Borrower 1 on
       in the same reporting period.     subsequent updates.

                                         Note: In this case, begin to follow FAQ 28(c)
                                         because at this point, Borrower 2 is the only
                                         borrower remaining on the account.

                                       Borrower 1:
                                       BK is Dismissed:
                                       • CII = Q (to remove petition indicator)
                                       • ECOA Code = T (Terminated) if the BK Chapter
                                         13 for Borrower 2 is still in petition or
                                         confirmed state.
                                         Note that Borrower 1 may now be protected by
                                         the automatic stay of Borrower 2’s BK Chapter
                                         13.

                                         Continue to follow FAQ 28(d) because at this
                                         point, there is a filer and Non-Filer on the
                                         account.

                                       Borrower 2:
                                       BK Dismissed:
                                       • CII = Q (to remove the petition indicator)

                                          Continue reporting and follow FAQ 27(d) if the
                                          BK for Borrower 1 is still a Chapter 7 petition
                                          or discharge.


  FAQ 30 continued on next page




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  Frequently Asked Questions and Answers
  FAQ 30 (continued)

   F     Borrower 1 files Bankruptcy    When Borrower 1 files BK Chapter 7, follow FAQ
         Chapter 7 – Borrower 2 is a    27(d) because at this point, there is also a Non-
         Non-Filer. At a later time,    Filer on the account.
         Borrower 2 files Bankruptcy
         Chapter 13.                    If the BK Chapter 7 for Borrower 1 is discharged,
                                        when Borrower 2 files BK Chapter 13 at a later
                                        date, follow FAQ 28(c) because Borrower 1 is no
                                        longer reported after the BK Chapter 7 discharge.

                                        If the BK Chapter 7 for Borrower 1 is dismissed,
                                        report CII = Q (to remove the petition indicator)
                                        and ECOA Code T to terminate this borrower from
                                        the account. At this point, Borrower 1 may be
                                        protected by the automatic stay of Borrower 2’s
                                        BK Chapter 13. Continue to follow the guidance
                                        in FAQ 28(d).

   G     Borrower 1 files Bankruptcy    When Borrower 1 files BK Chapter 13, follow FAQ
         Chapter 13 – Borrower 2 is a   28(d) because at this point, there is also a Non-
         Non-Filer. At a later time,    Filer on this account. As per the FAQ, the Non-
         Borrower 2 files Bankruptcy    Filer (Borrower 2) should be terminated from the
         Chapter 7.                     account using ECOA Code T.

                                        When Borrower 2 files BK Chapter 7, re-report
                                        this borrower with the original ECOA Code (not T)
                                        and CII = A (Petition for Chapter 7 BK). Follow
                                        the guidance in FAQ 28(c).

                                        If Borrower 2’s BK is discharged, report CII = E
                                        (Chapter 7 BK Discharged). Discontinue reporting
                                        this consumer on subsequent updates and
                                        continue reporting the account and Borrower 1
                                        following FAQ 28(c).

                                        If Borrower 2’s BK is dismissed, report CII = Q (to
                                        remove the petition indicator) and ECOA Code T
                                        (Terminated) since this borrower may be
                                        protected by Borrower 1’s Chapter 13 BK.




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  Frequently Asked Questions and Answers
  31. Question: How should bankruptcies be reported when the consumer
      voluntarily surrenders the merchandise or redeems the merchandise?

       Answer: When a bankruptcy is filed, the consumer can voluntarily surrender
       the merchandise to the creditor. In this situation, report Account Status Code
       95 (Voluntary Surrender) and the appropriate Consumer Information
       Indicator.

       The consumer also has the option to pay fair market value, thereby
       redeeming the merchandise. In this situation, report Account Status Code 13
       (Paid/closed account), Special Comment Code AU (Account paid in full for
       less than the full balance), and the appropriate Consumer Information
       Indicator.

  32. Question: How should an account be reported when a Bankruptcy
      case has been closed or terminated without being discharged or
      dismissed?

       Answer: Report Consumer Information Indicator Q to remove the previously-
       reported Bankruptcy Petition indicator. If the case is re-opened, report the
       Consumer Information Indicator for the appropriate disposition; e.g., petition,
       discharged or dismissed.

       Note: A bankruptcy case may be closed or terminated when the consumer
       does not pay the applicable court fees or does not attend the required
       financial management class.




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  Frequently Asked Questions and Answers




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  Frequently Asked Questions and Answers
  REPORTING SCENARIOS
  Please note that within these reporting guidelines, certain fields are mentioned that
  provide specific guidance for the situations described. For all other Metro 2® fields,
  the standard guidelines described within the Field Definitions module should be
  followed.

  33. Question: When and how should Debit Cards be reported?

        Answer: Debit Cards should be reported only when backed by a line of credit
        or overdraft protection.

        Report the following Base Segment fields as specified:

       • Account Type Code = 43 (Debit Card)
       • Portfolio Type = C (Line of Credit), O (Open) or R (Revolving) depending on
         the terms
       • Credit Limit = assigned credit limit
       • Highest Credit or Original Loan Amount = highest amount of credit utilized
         by the consumer when the overdraft protection was used

  34. Questions: Charge-offs:

        (a) How should charged off accounts be reported?

        Answer: Report the following Base Segment fields:

       • Scheduled Monthly Payment Amount = zero
       • Account Status = 97 (Unpaid balance reported as a loss – charge-off)
       • Current Balance and Amount Past Due = outstanding balance amount,
         which may include fees and interest. If payments are made by the
         consumer, report the declining balance in these two fields.
       • Original Charge-off Amount = the original amount charged to loss,
         regardless of the declining balance. This field should not be changed.
       • FCRA Compliance/Date of First Delinquency = the date of the first 30-day
         delinquency that led to the account being charged off
       • Date Closed = For Installment and Mortgage accounts (Portfolio Types I
         and M), zero fill. For Revolving, Open and Line of Credit accounts (Portfolio
         Types R, O and C), if the account is closed, report the date the account was
         closed to further purchases. Otherwise, zero fill.
       • Date of Last Payment = date the most recent payment was received

       Note: If a small deficiency balance is being charged off for accounting and general
       ledger purposes only and the consumer is not being held responsible for this
       amount, do not report the account as a charge off. Deduct the charged off
       amount from the Current Balance of the ongoing account.

       FAQ 34 continued on next page
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  Frequently Asked Questions and Answers
         34(b) How should paid charge-off accounts be reported?

         Answer: Report the following Base Segment fields:

         •   Scheduled Monthly Payment Amount = zero
         •   Account Status = 64 (Account paid in full, was a charge-off)
         •   Special Comment Code = If the account is settled for less than the full
             balance, include AU.
         •   Current Balance and Amount Past Due = zero
         •   Original Charge-off Amount = the original amount charged to loss
         •   Date of Account Information = date paid
         •   FCRA Compliance/Date of First Delinquency = the date of the first 30-day
             delinquency that led to the account being charged off
         •   Date Closed = For Installment and Mortgage accounts (Portfolio Types I
             and M), report the date the account was paid in full. For Revolving, Open
             and Line of Credit accounts (Portfolio Types R, O and C), report the date
             the account was closed to further purchases.
         •   Date of Last Payment = date the most recent payment was received

  35. Question: If a credit card or account is in dispute or temporarily
      unavailable for use because the credit grantor is conducting an
      investigation (due to a request from the consumer, such as potential
      identity theft or other reason), how should the account be reported?

         Answer: Continue to report the account as usual, but include Compliance
         Condition Code XB, which specifies “Account information disputed by
         consumer under the Fair Credit Reporting Act”.

         When the investigation is complete, if the account is valid for this consumer
         (i.e., not fraudulent), continue to report the account as usual. If any months
         of the payment history are invalid, use the Payment History Profile (Base
         Segment Field 18) to correct the history for those months. In addition, report
         Compliance Condition Code XR to remove the previously-reported XB or
         report Compliance Condition Code XH, which specifies “Account previously in
         dispute – investigation completed, reported by data furnisher”.

         When the investigation is complete, if it is discovered that the account was
         opened or used fraudulently, report Account Status Code DF to delete the
         account.

         Note: If the consumer has submitted an identity theft report to you, certain
         obligations occur. Refer to the Fair Credit Reporting Act section 623(a)(6).




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  Frequently Asked Questions and Answers
  36. Question: How should an account be reported when an auto lease is
      paid in full, yet there are over mileage charges, excess wear & tear
      charges, or other outstanding charges on the account?

       Answer: When there are outstanding charges, continue to report the account
       with Special Comment Code BD (Full Termination, Balance Owing) and
       Account Status Code 11, 71, 78, 80, 82, 83, 84 or 93. Do not change the
       Original Loan Amount, but add the outstanding charges to the Current
       Balance and Amount Past Due, if appropriate.

       Even though the lease contract is terminated and all regular payments have
       been made in full, the account should not be reported as paid (Account Status
       Code 13) because there are other outstanding charges and the Current
       Balance is not yet zero. The fact that the lease is terminated is reported
       through the Special Comment BD.

       When all outstanding charges have been paid in full, report Account Status
       Code 13 or 62, as applicable.

       If the fees are not paid and the outstanding amount is charged off, report
       Account Status Code 97 (Unpaid balance reported as a loss – charge-off).

  37. Question: How should an account be reported when an auto lease is
      prepaid – where entire lease payment is paid at the time of opening?

       Answer: Report Account Type 3A (Auto Lease), Special Comment Code BS
       (Prepaid Lease), Terms Frequency P (Single Payment Loan), and Terms
       Duration 001. Even though the account has been prepaid, do not report the
       Account Status as paid since the potential exists for lease end charges to be
       due on termination. Report the account as current (Account Status Code 11)
       while the lease is open.

       If lease end charges apply, do not change the Original Loan Amount, but add
       the lease end charges to the Current Balance and, if appropriate, to the
       Amount Past Due. Report the Account Status Code that accurately describes
       how the lease end charges are being paid.

       When all lease end charges have been paid in full, after termination, report
       the appropriate paid Account Status Code.

       If the fees are not paid and the outstanding amount is charged off, report
       Account Status Code 97 (Unpaid balance reported as a loss – charge-off).




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  Frequently Asked Questions and Answers
  38. Question: How should accounts that are paid in full for less than the
      full balance (i.e., settled) be reported?

         Answer: Report the following Base Segment fields as specified:

         •   Scheduled Monthly Payment Amount = zero
         •   Account Status Code = 13 or 61-65, as applicable
         •   Payment Rating = required when the Account Status Code is 13 or 65.
             Blank fill for Account Status Codes 61-64.
         •   Special Comment = AU (Account paid in full for less than the full balance)
         •   Current Balance and Amount Past Due = zero
         •   Date of Account Information = the date the account was paid in full for less
             than the full balance
         •   Date Closed = For Installment and Mortgage accounts (Portfolio Types I
             and M), report the date the account was paid in full for less than the full
             balance. For Revolving and Line of Credit accounts (Portfolio Types R and
             C), report the date the account was closed to further charges. For Open
             accounts (Portfolio Type O), report the date the account was closed to
             further charges or paid in full, as applicable.




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  Frequently Asked Questions and Answers
  39. Question: How should a paid in full, closed account be reported?

       Answer: Report the following Base Segment fields as specified:

       •   Scheduled Monthly Payment Amount = zero
       •   Actual Payment Amount = the amount actually received for this reporting
           period
       •   Credit Limit = For Revolving, Open and Line of Credit accounts, report the
           last assigned credit limit.
       •   Account Status Code = 13 or 61-65, as applicable
       •   Payment Rating = required when the Account Status Code is 13 or 65.
           Blank fill for Account Status Codes 61-64.
       •   Special Comment Code = M or CI may be reported if applicable for
           Revolving, Open and Line of Credit accounts
       •   OR Compliance Condition Code = XA may be reported if applicable for
           Revolving, Open and Line of Credit accounts.

           Important Note: Do not report an account as closed by credit grantor
           and closed at consumer’s request. Only one closed code can apply.

       •   Current Balance and Amount Past Due = zero
       •   Date of Account Information = Report the date the account was paid in full.
           For inactive accounts, report a date within the current reporting period
           when the account was closed to further use.

           Important Note: Payoffs should not be backdated for credit reporting
           purposes. For example:

           • Account reported as Account Status 11 (current) with Date of Account
             Information = 03/31/2020
           • Account marked as paid on 04/08/2020, but the paid effective date is
             03/22/2020
           • Report account as Account Status 13 (paid) with Date of Account
             Information = 04/08/2020

       •   Date Closed = For Installment and Mortgage accounts (Portfolio Types I
           and M), report the date the account was paid in full. For Revolving and
           Line of Credit accounts (Portfolio Types R and C), report the date the
           account was closed to further charges. For Open accounts (Portfolio Type
           O), report the date the account was closed to further charges or paid in
           full, as applicable.




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  Frequently Asked Questions and Answers
  40. Question: How should a closed account be reported that has an
      outstanding balance?

         Answer: For Revolving, Open and Line of Credit accounts only, report the
         following Base Segment fields as specified:

         •   Portfolio Type = R (Revolving), O (Open) or C (Line of Credit) depending on
             the terms
         •   Credit Limit = report last assigned credit limit
         •   Account Status Code = 11, 71, 78, 80, 82-84, 93 or 97, as applicable
         •   Special Comment Code = M, if account closed by credit grantor
         •   OR Compliance Condition Code = if account closed at consumer’s request,
             report the appropriate code XA, XD, XE or XJ

             Important Note: Do not report an account as closed by credit grantor
             and closed at consumer’s request. Only one closed code can apply.

         • Current Balance = the outstanding balance amount as of the Date of
           Account Information
         • Amount Past Due = required when the Account Status Code is 71, 78, 80,
           82-84
         • Date Closed = the date the account was closed

  41. Question: How long should paid accounts (Account Status Codes 13,
      61-65) continue to be reported?

         Answer: Use the following guidelines if paid accounts are re-reported:

         • Freeze the Account Status, Payment Rating, Payment History Profile and
           Date of Account Information as of the date the account was paid.
         • Do not re-report paid accounts for more than three months.




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  Frequently Asked Questions and Answers
  42. Question: How should a renegotiated/refinanced loan be reported?

       Answer: The guidelines described below are used for renegotiated or
       refinanced loans that are not associated with one of the federal loan
       modification programs. There are three options for reporting:

       1. If the original Account Number and Date Opened are retained, modify the
          amounts and terms as per the refinanced agreement. Fields that may be
          changed include Original Loan Amount, Terms Duration, Terms Frequency,
          Scheduled Monthly Payment Amount and Current Balance.

          Note that the Terms Duration should reflect the terms for the life of the
          account. Therefore, for a loan modification, set the Terms Duration from
          the original Date Opened to the new maturity date.

          Optional: Special Comment Code CO (Loan modified) may be reported.
          Note that this code is used when reporting accounts that are modified, but
          not under a federal government plan.

          Special Comment CO may be reported as long as deemed appropriate by
          the data furnisher, or until another Special Comment becomes more
          critical. For the length of time the Special Comment should be reported,
          consult with your internal Legal or Compliance department.

       2. If the original Account Number changes and the Date Opened remains the
          same, follow the above reporting guideline, and include an L1 Segment
          with the new Account Number. Refer to the L1 Segment specifications
          within the Field Definitions for reporting guidelines.

       3. If the original Account Number and Date Opened change, report the
          original loan as specified:

          • Account Status Code = 13 (Paid)
          • Payment Rating = the appropriate code that identifies the status of the
            account within the current month’s reporting period
          • Special Comment = AS (Account closed due to refinance)
          • Current Balance and Amount Past Due = zero

          Report the newly refinanced/renewed loan with the new Account Number,
          new Date Opened and all other applicable fields. Payment history that
          occurred prior to the new Date Opened should not be reported with this
          account.

      Note: For reporting guidelines specific to the federal loan modification
      programs, such as Making Home Affordable, Hope for Homeowners
      and the Fannie Mae/Freddie Mac Mortgage Loan Modification Program,
      refer to the module called “Mortgage Loan Modifications”.

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  Frequently Asked Questions and Answers
  43. Questions: Lost or Stolen Credit Cards:

          (a) How should a lost or stolen credit card be reported when the
          consumer will retain the account, but will get a new Account
          Number?

          Answer: There are two options for reporting:

          1. Preferred Option: Report the L1 Segment to change the Account
             Number. Use of the L1 Segment allows the consumer reporting agencies
             to retain all prior account history. Continue to report the original Date
             Opened.

             If the payment history is invalid due to the credit card being lost or
             stolen, use the Payment History Profile (Field 18) to correct the history.
             If accurate payment history is not known during the time frame when the
             credit card was lost or stolen, report value D for months that are
             unknown in the Payment History Profile. For example:

             Date of Account Information = 03/15/2020
             Account History = Always current
             Unknown Months of History = January and February 2020
             Payment History Profile = DD0000000000000000000000

          2. Report Special Comment Code BL (Credit card lost or stolen), the
             appropriate Account Status Code (not DA or DF) and Current Balance of
             zero. Do not report this account on subsequent updates.

             If the payment history is invalid due to the credit card being lost or
             stolen, use the Payment History Profile (Field 18) to correct the history.
             If accurate payment history is not known during the time frame when the
             credit card was lost or stolen, report value D for months that are
             unknown in the Payment History Profile. For example:

             Date of Account Information = 03/15/2020
             Account History = Always current
             Unknown Months of History = January and February 2020
             Payment History Profile = DD0000000000000000000000

             In the following month’s reporting period, report the new credit card as a
             separate account with a new Account Number, the same Date Opened as
             the lost/stolen account, and the appropriate Account Status Code and
             Current Balance.

             Note: Payment history that occurred prior to the credit card being lost or
             stolen should not be reported under the new Account Number.

         FAQ 43 continued on next page
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  Frequently Asked Questions and Answers
      FAQ 43 (continued)

      (b) How should a lost or stolen credit card be reported when the
      consumer does not want a replacement card and will pay off the
      existing account?

      Answer: Continue reporting the account normally. Do not report Special
      Comment BL. Report Compliance Condition Code XA to denote ‘Account closed
      at consumer’s request’. When the Current Balance Amount reaches zero,
      report Account Status Code 13 and the applicable Payment Rating, along with
      Compliance Condition Code XA.

      If the payment history is invalid due to the credit card being lost or stolen, use
      the Payment History Profile (Field 18) to correct the history. If accurate
      payment history is not known during the time frame when the credit card was
      lost or stolen, report value D for months that are unknown in the Payment
      History Profile. For example:

      Date of Account Information = 03/15/2020
      Account History = Always current
      Unknown Months of History = January and February 2020
      Payment History Profile = DD0000000000000000000000




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  Frequently Asked Questions and Answers
  44. Question: How should deferred loans be reported?

         Answer: Report the following Base Segment fields as specified:

         • Terms Duration = blank
         • Terms Frequency = D (Deferred)
         • Highest Credit or Original Loan Amount = the total amount borrowed,
           excluding interest
         • Scheduled Monthly Payment Amount = zero
         • Account Status Code = 11 (Current account)
           Payment History Profile = Use Character B to indicate accounts which have
           never been in repayment. Use Character D to indicate accounts that were
           previously in repayment but are now deferred.

             Note: When an account goes into deferment, do not change the
             previously-reported account history in the Payment History Profile.

         •   Current Balance = outstanding balance amount
         •   Amount Past Due = zero

         In the K4 Segment, report the Specialized Payment Indicator 02 for Deferred
         Payment. Also, report the Deferred Payment Start Date as the date the first
         payment will be due. If the deferred payment start date is not known, do not
         report the K4 Segment.

         Important Notes: When the account goes into repayment, stop reporting
         the K4 Segment and begin reporting monthly payment information. Report
         valid values as per the repayment agreement in the following fields:

         • Terms Duration
         • Terms Frequency (other than D)
         • Scheduled Monthly Payment Amount

         Additionally, if the consumer was delinquent going into the deferment period,
         the two fields below must be considered when the consumer comes out of
         deferment and begins repayment.

         • Account Status Code = appropriate code that specifies the status of the
           account when the account comes out of deferment
         • Date of First Delinquency = if the Account Status is delinquent, the original
           date that led to the Account Status being reported prior to deferment




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  Frequently Asked Questions and Answers
  45. Question: How should accounts in forbearance be reported?

       Answer: Forbearance is a period of time during repayment in which a borrower is
       permitted to temporarily postpone making regular monthly payments. The debt
       is not forgiven, but regular payments are suspended until a later time. A
       forbearance agreement is most commonly applied to mortgages and student
       loans. However, forbearance is applicable to any type of loan. As an example,
       forbearance may be granted if a borrower is experiencing temporary financial
       difficulty. The consumer may be making reduced payments, interest-only
       payments or no payments.

       If the account is in forbearance, report:

        •   Terms Duration = terms of the loan, which can be changed if the terms of the
            loan are extended
            (If no payments are due during the forbearance period, blank fill.)
        •   Terms Frequency = frequency for payments due
            (If no payments are due during the forbearance period, report code D for
            deferred.)
        •   Scheduled Monthly Payment Amount = new payment due
            (If no payments are due during the forbearance period, zero fill.)
        •   Account Status = appropriate code that specifies the status of the account for
            each month the account is in forbearance (e.g., Current, 30 days delinquent,
            60 days delinquent)
            (If no payments are due during the forbearance period, report Account Status
            11.)
        •   Payment History Profile = appropriate code that specifies the previous
            month’s Account Status for each month the account is in forbearance, plus
            prior history.
            (Increment the Payment History Profile with value D if no payments are due
            during the forbearance period.)
        •   Special Comment Code = CP (Account in forbearance)
        •   Current Balance = outstanding balance amount, reflecting any payments
            made
        •   Amount Past Due = total amount that is 30 days or more past the due date,
            if the account is delinquent during the forbearance period
        •   K4 Specialized Payment Indicator = 02 and Deferred Payment Start Date
            when payments are deferred during the forbearance period

       Important Note: Additionally, if the consumer was delinquent going into the
       forbearance period and no payments were required during forbearance, the two
       fields below must be considered when the consumer comes out of forbearance
       and begins repayment.

        • Account Status Code = appropriate code that specifies the status of the
          account when the account comes out of forbearance
        • Date of First Delinquency = if the Account Status is delinquent, the original
          date that led to the Account Status being reported, prior to forbearance



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  Frequently Asked Questions and Answers
  46. Question: How should accounts that have been transferred be
      reported?

         Answer: There are two options for reporting accounts that are being transferred
         internally or to a servicer:

         1. Preferred Option if account history can be verified by the new
            department or servicer: Report the L1 Segment to change the Identification
            Number and/or the Consumer Account Number. Use of the L1 Segment allows
            the consumer reporting agencies to retain all prior account history.

            Note: For full L1 Segment reporting details, refer to the L1 Segment field
            description in the Field Definitions module.

         2. The second option results in two tradelines on a consumer’s file: the first as
            transferred and the second for the ongoing account.

            Report the following Base Segment fields as specified for the transferred
            account:

            •   Scheduled Monthly Payment Amount = zero
            •   Account Status Code = the appropriate code that specifies the status of
                the account at the time of transfer
            •   Payment Rating = if applicable to the Account Status Code being reported
            •   Special Comment = For internal transfers, report Special Comment AT
                (Account closed due to transfer), or for transfers to another company or
                servicer, report Special Comment O (Account transferred to another
                company/servicer).
            •   Current Balance and Amount Past Due = zero
            •   Date of Account Information = date the account was transferred
                Note: Reporting the account as transferred is considered a final
                disposition for credit reporting purposes. However, if the account is
                reported in subsequent reporting periods, freeze the Date of Account
                Information as of the date the account was transferred.
            •   FCRA Compliance/Date of First Delinquency = If the account is delinquent
                or derogatory at the time of transfer, report the date of the first 30-day
                delinquency that led to the status being reported. If the account being
                transferred is current and included in bankruptcy, report the date of the
                bankruptcy petition or notification.
            •   Date Closed = date the account was transferred. If the account was
                closed prior to being transferred, report the original date the account was
                closed.
            •   Consumer Information Indicator = report bankruptcy indicator when
                applicable to the consumer(s)

            Additionally, if the account is delinquent or derogatory, it is imperative that you
            provide the date of the first delinquency that led to the account being transferred
            to the internal department or servicer that will be reporting the ongoing account.

            FAQ 46 continued on next page
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  Frequently Asked Questions and Answers
      FAQ 46 (Option 2 continued)

          In the following month’s reporting period, report the following Base
          Segment fields as specified for the new account:

          •   Identification Number = number that identifies the new department or
              servicer reporting the account
          •   Consumer Account Number = new account number for the ongoing
              account
          •   Date Opened = date opened with the original department or servicer
          •   Account Status Code = appropriate code that specifies the status of
              the account as of the Date of Account Information
          •   Payment Rating = if applicable to the Account Status Code being
              reported
          •   Payment History Profile = report character ‘B’ for months the account
              was reported by the original department or servicer; do not report
              payment history that occurred prior to the transfer.
          •   FCRA Compliance/Date of First Delinquency = If the account is
              delinquent or derogatory at the time of transfer, report the date of
              the first 30-day delinquency with the original department or
              servicer that led to the status being reported. If the account being
              transferred is current and included in bankruptcy, report the date of
              the bankruptcy petition or notification.

              If the new department or servicer is unable to obtain the Date of
              First Delinquency with the original department or servicer, do
              not report the account.

          •   Consumer Information Indicator = report bankruptcy indicator when
              applicable to the consumer(s)

       Note: If accounts are being transferred from one data processor to another,
       contact the data representative at each consumer reporting agency to
       facilitate transfer of the accounts.




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  Frequently Asked Questions and Answers
  47. Question: How should accounts that have been sold to another
      company be reported?

         Answer: Prior to reporting accounts that have been sold to another company, it is
         imperative that the data representative at each consumer reporting agency be
         contacted to discuss the various options and to facilitate a smooth transition.
         There are two options for reporting accounts that are sold to another company.

         1. If the company that purchased the accounts will not report the prior history,
            the seller must report the accounts as sold to reflect the final status.

            Report the following Base and K2 Segment fields as specified:

            •   Scheduled Monthly Payment Amount = zero
            •   Account Status Code = the appropriate code that specifies the status of
                the account at the time of the sale
            •   Payment Rating = if applicable to the Account Status Code being reported
            •   Special Comment = AH (Purchased by another company)
            •   Current Balance and Amount Past Due = zero
            •   Date of Account Information = date the account was sold
                Note: Reporting the account as sold is considered a final disposition for
                credit reporting purposes. However, if the account is reported in
                subsequent reporting periods, freeze the Date of Account Information as
                of the date the account was sold.
            •   FCRA Compliance/Date of First Delinquency = If the account is delinquent
                or derogatory at the time of sale, report the date of the first 30-day
                delinquency that led to the status being reported. If the account being
                sold is current and included in bankruptcy, report the date of the
                bankruptcy petition or notification.
            •   Date Closed = date the account was sold to the other company. If the
                account was closed prior to being sold, report the original date the
                account was closed.
            •   Consumer Information Indicator = report bankruptcy indicator when
                applicable to the consumer(s)
            •   K2 Segment Purchased From/Sold To Indicator = 2 and Sold To Name =
                name of company to which the account was sold

            Notes: To minimize consumer disputes, do not report accounts as sold that
            were previously reported as paid in full.

            Additionally, if the account is delinquent or derogatory, it is imperative that
            you provide the date of the first delinquency that led to the account being sold
            to the debt purchaser.

         2. If the company that purchased the accounts is converting the account history
            to their system, the seller should not report the accounts as sold. In this
            situation, the seller and purchaser should work together with the data
            representatives at the consumer reporting agencies, who will assist you with
            conversion of the accounts.

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  Frequently Asked Questions and Answers
  48. Question: How should accounts that have been purchased from
      another company be reported?

       Answer: Prior to reporting portfolio acquisitions, it is imperative that the data rep
       at each consumer reporting agency be contacted to discuss the various reporting
       options and to facilitate a smooth transition. Two possible options for reporting
       are:

       1. If the lender who sold the accounts reported them as “purchased by
         another company” or the history cannot be verified for the account prior to
         purchase, report the following Base and K2 Segment fields as specified:

         •   Consumer Account Number = newly assigned account number
         •   Date Opened = date opened with the previous lender (preferred).
             Note: If the date opened with the previous lender is not known, the
             date the account was purchased may be reported.
         •   Account Status Code = appropriate code that specifies the status of the
             account as of the Date of Account Information
         •   Payment Rating = if applicable to the Account Status Code being
             reported
         •   Payment History Profile = report character B for months when account
             was owned by the previous lender
         •   Date of Account Information = follow the standard guidelines
             documented in Field 24
             Note: Reporting by the purchaser should begin in the following month’s
             reporting period – after the seller reported the accounts as sold.
         •   FCRA Compliance/Date of First Delinquency = If the account is
             delinquent or derogatory at the time of purchase, report the date of the
             first 30-day delinquency with the previous lender that led to the
             status being reported. If the account is current and included in
             bankruptcy, report the date of the bankruptcy petition or notification.

             Note: If the new lender is unable to obtain the Date of First
             Delinquency with the original lender, do not report the account.

         •   Consumer Information Indicator = report bankruptcy indicator when
             applicable to the consumer(s)
         •   K2 Segment Purchased From/Sold To Indicator = 1 and Purchased From
             Name = name of the company from which the account was purchased

         Important Notes: Payment history that occurred with the previous
         lender, which is already on the consumer’s file, must not be reported
         by the new lender.

         Do not report purchased accounts that were included in
         discharged/completed Bankruptcies.

         FAQ 48 continued on next page

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  Frequently Asked Questions and Answers
  FAQ 48 (continued)

         2. If the previous lender’s account history is being converted to the new
            lender’s system and the account history can be verified, report the
            following Base, K2 Segment and L1 Segment fields as specified:

            •   Base Segment Identification Number = Identification Number reported
                by the previous lender
            •   Base Segment Consumer Account Number = Account Number reported
                by the previous lender
            •   Date Opened = date opened with the previous lender
            •   Account Status Code = appropriate code that specifies the status of the
                account as of the Date of Account Information
            •   Payment Rating = if applicable to the Account Status Code being
                reported
            •   Payment History Profile = report payment history provided by the
                previous lender
            •   Date of Account Information = follow the standard guidelines
                documented in Field 24
                Note: Reporting by the purchaser should begin in the following month’s
                reporting period.
            •   FCRA Compliance/Date of First Delinquency = If the account is
                delinquent or derogatory at the time of purchase, report the date of the
                first 30-day delinquency with the previous lender that led to the
                status being reported. If the account is current and included in
                bankruptcy, report the date of the bankruptcy petition or notification.

                Note: If the new lender is unable to obtain the Date of First
                Delinquency with the original lender, do not report the account.

            •   Consumer Information Indicator = report bankruptcy indicator when
                applicable to the consumer(s)
            •   K2 Segment Purchased From/Sold To Indicator = 1 and Purchased From
                Name = name of the company from which the account was purchased
            •   L1 Segment Change Indicator = 3, New Consumer Account Number =
                new account number assigned by the new lender, and New
                Identification Number = internal code that specifies where information
                will be verified by the new lender

            Note: Do not report purchased accounts that were included in
            discharged/completed Bankruptcies.




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  Frequently Asked Questions and Answers
  49. Question: How are “payment reversal” transactions handled when
      reporting Date of Last Payment, Date of First Delinquency, Payment
      History Profile and Actual Payment Amount?

       Answer: A “payment reversal” transaction usually occurs when a check is
       returned for non-payment to the credit grantor. If the change is made in the
       following month’s reporting cycle, the following adjustments should be made:

       • The Date of Last Payment should be adjusted to indicate the date of the
         last payment made that was not reversed.
       • The FCRA Compliance/Date of First Delinquency (DOFD) should reflect the
         first time the consumer was 30 days past the due date that led to the
         status being reported. The DOFD would change to the month of the
         returned check if that had been the first time the consumer was 30 days
         past the due date.
       • The Payment History Profile should reflect the appropriate delinquency in
         the first position, which reflects the previous month’s payment activity
         (e.g., 1 if the returned check resulted in the account being 30-59 days past
         the due date that month).
       • The Actual Payment Amount reflects the payment received for this
         reporting period. If no payment was received for this reporting period, this
         amount should be zero.

  50. Question: Consumer loans may have multiple payment schedules,
      which may each have different payment frequencies (e.g., principal
      amount due annually and interest amount due monthly). How should
      these loans be reported?

       Answer: Report only one tradeline.

       • The Terms Frequency should reflect the most frequent payment schedule.
         For example, if the principal is due annually and the interest amount is due
         monthly, report Terms Frequency M (Monthly).
       • The Scheduled Monthly Payment Amount should reflect the minimum
         amount due each month and may change when the principal amount is
         also due.

      In months where only the interest payment is due, report Special Comment
      Code BT (Principal deferred/interest payment only). In months where both
      principal and interest payments are due, the Special Comment Code BT should
      not be reported.




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  Frequently Asked Questions and Answers
  51. Question: How should credit cards with no preset spending limits be
      reported that have terms allowing consumers to exceed the credit
      limits (i.e., Flexible Spending Credit Cards)?

         Answer: Report the following Base Segment fields as specified:

         •   Account Type Code = 0G (Flexible Spending Credit Card)
         •   Portfolio Type = R (Revolving)
         •   Credit Limit = the valid credit limit for the revolving portion of the account
         •   Highest Credit or Original Loan Amount = the highest amount of credit
             utilized by the consumer
         •   Terms Duration = REV
         •   Scheduled Monthly Payment Amount = the minimum amount due based on
             the revolving balance, plus the total flexible amount if due in full, OR the
             minimum due based on the total outstanding balance
         •   Current Balance = outstanding balance amount, including revolving and
             flexible amounts
         •   Amount Past Due = the portion of the Scheduled Monthly Payment Amount
             based on the revolving and flexible amounts that is 30 days or more past
             the due date. (Do not include the current month’s amount due in this
             field.)

         Example 1 –
         Flexible Spending Credit Cards with both Revolving and Open Terms:

         A consumer has a credit card on which a $10,000 credit limit is considered
         revolving, with a minimum due calculated as a small percentage of the
         revolving balance. Additionally, the consumer has no preset spending limit
         and the balance amount over $10,000 must be paid in full each month. The
         current balance is $12,000. The minimum due is 3% of $10,000 plus the
         balance over the revolving amount ($2,000). The Scheduled Monthly
         Payment Amount is $2,300.

         Example 2 –
         Flexible Spending Credit Cards with only Revolving Terms:

         A consumer has a credit card with a $10,000 credit limit. Additionally, the
         consumer has no preset spending limit and can exceed the credit limit with no
         penalties or added fees. The minimum amount due is calculated as a
         percentage of the total balance amount. The current balance is $12,000 and
         the percentage due is 3%. The Scheduled Monthly Payment Amount is $360.




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  Frequently Asked Questions and Answers
  52. Question: How should the different stages of foreclosure be reported?

       Answer: Use the following guidelines:

       Potential Foreclosure – No specific code is available with this designation.
       Continue reporting the correct Account Status Code that defines the current
       condition of the account. For example, Account Status Code 82 represents 120 –
       149 days past the due date or Account Status Code 84 represents 180 days or
       more past the due date.

       Foreclosure Started – Special Comment Code BO should be reported, which
       specifically says “Foreclosure proceedings started”. This special comment should
       be reported each month as long as the comment applies. The appropriate
       Account Status Code should be reported in conjunction with this special
       comment, such as Account Status Code 82 for 120 – 149 days past the due date.

       Foreclosure Cancelled – No specific code is available for this situation.
       Therefore, if Special Comment Code BO had been reported, stop reporting the
       comment (i.e., blank out the Special Comment Code field) and the comment will
       be deleted from the consumer reporting agencies’ files.

       Foreclosure Started / Now Paid – Account Status Code 65 should be reported
       when foreclosure proceedings had been started, but the consumer subsequently
       paid the account balance in full. Account Status 65 specifies “Account paid in full.
       A foreclosure was started”. The appropriate Payment Rating should be reported
       in conjunction with this Account Status.

       Foreclosure Completed – Account Status Code 94 should be reported, which
       specifies “Foreclosure completed; there may be a balance due”. The appropriate
       Payment Rating should be reported in conjunction with this Account Status.
       Discontinue reporting Special Comment Code BO (Foreclosure proceedings
       started) at this point.

       If the consumer is not responsible for the remaining balance on the account or
       there is no deficiency balance, report Account Status 94 and a Scheduled
       Monthly Payment Amount, Current Balance and Amount Past Due of zero. Report
       the Date Closed as the date the foreclosure was completed.

       If the consumer is held responsible for the remaining balance on the account,
       continue reporting Account Status 94. In each subsequent reporting period,
       increment the first position of the Payment History Profile with value H
       (Foreclosure completed). Report the remaining balance in the Current Balance
       and Amount Past Due fields, and as payments are made by the consumer, report
       a declining balance in both fields. When the Current Balance reaches zero, report
       the Date Closed as the date the account was paid in full.

       For credit reporting purposes, do not report Account Status Code 97 (Charge-off)
       after Account Status 94 has been reported.

       FAQ 52 continued on next page
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  Frequently Asked Questions and Answers
         FAQ 52 (continued)

         Redeemed Foreclosure – Account Status 65 should be reported, which
         specifies “Account paid in full. A foreclosure was started”. The appropriate
         Payment Rating should be reported in conjunction with this Account Status,
         along with a Current Balance and Amount Past Due = zero.

         Note: Each state has a rescission period that allows the consumer to redeem
         the property during or after foreclosure.




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  Frequently Asked Questions and Answers
  53. Question: How should alternatives to foreclosure (i.e., Deed in Lieu
      and Short Sale) be reported?

       Answer: Use the following guidelines:

       Deed in Lieu – Account Status Code 89 should be reported, which specifies
       “Deed received in lieu of foreclosure on a defaulted mortgage; there may be a
       balance due”. The appropriate Payment Rating should be reported in conjunction
       with this Account Status.

       If the consumer is not responsible for the remaining balance on the account or
       there is no deficiency balance, report Account Status Code 89 and a Scheduled
       Monthly Payment Amount, Current Balance and Amount Past Due of zero. Report
       the Date Closed as the date the deed was received in lieu of foreclosure.

       If the consumer is held responsible for the remaining balance on the account,
       continue reporting Account Status 89. Report the remaining balance in the
       Current Balance and Amount Past Due fields, and as payments are made by the
       consumer, report a declining balance in both fields. When the Current Balance
       reaches zero, report the Date Closed as the date the account was paid in full.
       Note that the Payment History Profile field should contain 24 months of history
       the first time Account Status Code 89 is reported. In subsequent months, when
       Account Status 89 is reported, the entire Payment History Profile should be blank
       filled.

       For credit reporting purposes, do not report Account Status Code 97 (Charge-off)
       after Account Status 89 has been reported.


       Short Sale – A short sale occurs when the proceeds from the sale of real estate
       fall short of the balance owed on the loan. In a short sale, the lender agrees to
       discount the loan balance typically due to an economic or financial hardship on
       the part of the consumer.

       Report the following Base Segment fields as specified:

        •   Scheduled Monthly Payment Amount = zero
        •   Actual Payment Amount = the amount actually received for this reporting
            period
        •   Account Status Code = 13 (Paid or closed account/zero balance) or 65
            (Account paid in full, a foreclosure was started), as applicable
        •   Payment Rating = applicable code that identifies whether the account is
            current or past due within the current month’s reporting period
        •   Special Comment = AU (Account paid in full for less than the full balance)
        •   Current Balance and Amount Past Due = zero
        •   Date of Account Information = the date the account was paid in full for less
            than the full balance
        •   Date Closed = the date the account was paid in full for less than the full
            balance

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  Frequently Asked Questions and Answers
  54. Question: How should a secured account (i.e., mortgage, home equity
      or other secured account) be reported when the collateral is released
      but there is an outstanding balance due?

         Answer: Continue to report the existing account with the following Base
         Segment fields as specified:

         •   Portfolio Type & Account Type = remain the same as previously reported
         •   Date Opened = the date the account was originally opened
         •   Original Loan Amount = the original amount of the loan
         •   Terms Duration = terms of the loan, which can be changed if the terms of
             the loan are extended
         •   Scheduled Monthly Payment Amount = new scheduled payment due
         •   Account Status Code = the applicable code that specifies how the consumer
             is paying the deficiency balance, such as current or delinquent
         •   Special Comment = CM (Collateral released by creditor/balance owing)
         •   Current Balance = outstanding balance amount, which may decline as
             payments are made
         •   Amount Past Due = total amount that is 30 days or more past the due
             date, if the account is delinquent

         Note: When the consumer pays the outstanding balance in full, report the
         applicable “paid” Account Status Code, as well as the Payment Rating, if
         required. Discontinue reporting Special Comment CM. The Current Balance
         and Amount Past Due should be zero.




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  Frequently Asked Questions and Answers
  55. Question: How should full loan assumptions be reported?

       Answer: A Full Loan Assumption occurs when a new borrower (who has never
       been associated with the account) assumes responsibility for the loan. The
       original borrower is terminated from the loan and is no longer responsible for
       payments.

       There are two options for reporting.

       Note: Do not follow this FAQ when an existing borrower(s) is being
       terminated from an account, such as in a divorce situation. Instead, refer to
       FAQ 18 for reporting guidance.

       1. If the Consumer Account Number remains the same for the consumer who
          is assuming the loan, the consumers must be reported in separate
          reporting periods.

          •   The first month, report the original consumer(s) with ECOA Code T
              (Terminated) and Special Comment Code H (Loan assumed by another
              party). Report the Current Balance as zero.

          •   The following month, report the new consumer(s). The Date Opened
              should be the date the loan was assumed by the new consumer(s).
              Other account information should be changed, if appropriate. For
              example, Terms Duration, Scheduled Monthly Payment, Current
              Balance or other fields may be different for the new consumer(s). Do
              not report the original consumer’s account history in the Payment
              History Profile (Field 18).

       2. If the consumer who is assuming the loan is given a new Consumer
          Account Number, follow these guidelines:

          •   Report the original consumer(s) with ECOA Code T (Terminated) and
              Special Comment Code H (loan assumed by another party). Report
              the Current Balance as zero.

          •   Report the new consumer(s) during the same month with the new
              Consumer Account Number, the Date Opened as the date the loan was
              assumed, and other appropriate account information. Do not report
              the original consumer’s account history in the Payment History Profile
              (Field 18).




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  Frequently Asked Questions and Answers
  56. Question: How should simple loan assumptions be reported?

         Answer: A simple loan assumption is one in which the original borrower
         remains responsible for the loan in the event that the new borrower defaults.

         Report the original loan for the original borrower with the following Base
         Segment fields as specified:

         • Scheduled Monthly Payment Amount = zero
         • Account Status Code = applicable code that specifies the status of the
           account prior to the assumption
         • Special Comment Code = AT (Account closed due to transfer)
         • Current Balance and Amount Past Due = zero
         • FCRA Compliance/Date of First Delinquency = if the account is delinquent
           at the time of the assumption, report the date of the first delinquency
         • Date Closed = date the assumption process was completed

         Report the assumed loan for the original and new borrower(s) with the
         following Base, J1 or J2 Segment fields as specified:

         • Consumer Account Number = new or modified Account Number
           Note: If the Account Number for the assumed loan remains the same, it
           must be modified for credit reporting purposes in order to be unique. For
           example, add a digit or character to the end of the original number.
         • Date Opened = date the loan was assumed
         • Highest Credit or Original Loan Amount = the amount that was assumed by
           the new borrower(s)
         • Terms Duration/Terms Frequency/Scheduled Monthly Payment Amount =
           as applicable for the assumed loan
         • Account Status Code = 11 (Current Account) for the first reporting period
           after the assumption. In subsequent reporting periods, the applicable code
           that specifies the status of the account as of the Date of Account
           Information.
         • Payment History Profile = ‘B’ filled for the first reporting period after the
           assumption.
           Note: Payment history that occurred prior to the assumption must not be
           reported on the assumed loan.
         • ECOA Code for new borrower(s) = 7 (Maker)
         • ECOA Code for original borrower = 5 (Guarantor)

  57. Question: How should reverse mortgages be reported?

         Answer: Do not report reverse mortgages because the consumer has no
         credit obligation.




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  Frequently Asked Questions and Answers
  58. Question: What are the available options for reporting an account
      affected by a natural or declared disaster?

       Answer: Use the following reporting guidelines after it is confirmed that an
       account is impacted by a natural or declared disaster, based on your internal
       policies and procedures.

       There are two options for reporting open accounts – defined as Account
       Status Code 11 (Current account) or 71, 78, 80, 82, 83 or 84 (Delinquent
       accounts) – and closed accounts with balances owing - reported with the
       same open Account Status Codes.

       1.   Report the account as deferred, along with Special Comment AW
            (Affected by natural or declared disaster).

            Per FAQ 44 (How should deferred loans be reported?), report the
            following Base Segment fields as specified:

            •   Terms Duration = blank
            •   Terms Frequency = D (Deferred)
                Required for deferred accounts
            •   Highest Credit or Original Loan Amount = the total amount borrowed
            •   Scheduled Monthly Payment Amount = zero
            •   Account Status Code = 11 (Current account)
            •   Payment History Profile = Use Character D for the months where
                payments are deferred.
            •   Current Balance = outstanding balance amount
            •   Amount Past Due = zero

            If the Deferred Payment Start Date is known, report the K4 Segment
            with Specialized Payment Indicator 02 for Deferred Payment. Also,
            report the Deferred Payment Start Date as the date the first payment
            will be due. If the deferred payment start date is not known, do not
            report the K4 Segment.

            Additionally, if the consumer was delinquent going into the deferment
            period, the two fields below must be considered when the consumer
            comes out of deferment and begins repayment.

            •   Account Status Code = appropriate code that specifies the status of
                the account when the account comes out of deferment
            •   Date of First Delinquency = if the Account Status is delinquent, the
                original date that led to the Account Status being reported prior to the
                deferment

        FAQ 58 continued on next page



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  Frequently Asked Questions and Answers
  FAQ 58 (continued)

         2.    Report the Account Status that applies to the account (credit grantor’s
               decision). Report Special Comment AW (Affected by natural or declared
               disaster).

         Derogatory Accounts – defined as Account Status Codes 88 (Government
         Claim), 89 (Deed in Lieu), 93 (Collection), 94 (Foreclosure Completed), 95
         (Voluntary Surrender), 96 (Repossession), and 97 (Charge-off).

         Continue reporting these statuses and add Special Comment AW (Affected by
         natural or declared disaster).

         Debt Buyers and Collection Agencies

         Continue reporting Account Status Code 93 (Collection) and add Special
         Comment AW (Affected by natural or declared disaster).

         If accounts are sold to another company or given back to the original creditor,
         report Account Status Code DA to delete the accounts.

  59. Question: How should deposit accounts, with overdraft protection, be
      reported that have been overdrawn?

         Answer: These deposit accounts should only be reported when they are
         charged off or in collection activity. Report the following Base Segment fields
         as specified.

         •    Portfolio Type = O (Open)
         •    Account Type Code = 8B (Deposit Account with Overdraft Protection)
         •    Date Opened = date account opened
         •    Credit Limit = assigned overdraft limit
         •    Highest Credit/Original Loan Amount = highest overdrawn amount
         •    Terms Duration = 001
         •    Scheduled Monthly Payment Amount = zero fill
         •    Account Status Code = 93 (Collection), 97 (Unpaid balance reported as a
              loss – charge-off), 62 (Paid collection) or 64 (Account paid in full, was a
              charge-off)
         •    Current Balance = outstanding balance amount
         •    Amount Past Due = total amount that is 30 days or more past the due date
         •    Date of First Delinquency = date account was first overdrawn
         •    Date Closed = date the account was closed




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  Frequently Asked Questions and Answers
  60. Question: How should prepaid credit cards/gift cards be reported?

       Answer: Do not report prepaid credit cards/gift cards because the consumer
       has no credit obligation.

  61. Question: How should an account be reported when it is included in a
      Personal Receivership plan (Wisconsin Chapter 128)?

       Answer: Report the account per existing Metro 2® guidelines. If the Terms
       Duration and Scheduled Monthly Payment Amount were modified by the plan,
       report the new values. Include Consumer Information Indicator 1A (Personal
       Receivership) for the consumer who filed the plan.

       When the plan is completed or has been dismissed, report Consumer
       Information Indicator Q to remove the Personal Receivership indicator.




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  Frequently Asked Questions and Answers
  62. Question: How should an account be reported when merchandise has
      been repossessed?

         Answer: Use the following guidelines:

         Account Status Code 96 should be reported, which specifies “Merchandise
         was repossessed; there may be a balance due”. Report the outstanding
         balance amount in the Current Balance field and the amount deemed to be
         past due by the creditor in the Amount Past Due field. Continue reporting
         Account Status 96 until one of the following situations apply:

         •   If the consumer reinstates the loan by bringing account payments
             current, report Account Status 11 (current) and continue reporting the
             account normally going forward.

         •   If the consumer redeems the merchandise by paying the account
             balance in full, report Account Status 63 (Account paid in full, was a
             repossession) and a Current Balance and Amount Past Due = zero.

         •   If the consumer is not responsible for the remaining balance on the
             account after the sale of the merchandise or there is no deficiency
             balance, report Account Status 96 with a Current Balance and Amount
             Past Due of zero. Report the Date Closed as the date the merchandise
             was repossessed.

         •   If the consumer is held responsible for the remaining balance on the
             account after the sale of the merchandise, continue reporting Account
             Status 96. Report the remaining balance in the Current Balance and
             Amount Past Due fields, and as payments are made by the consumer,
             report a declining balance in both fields. When the consumer pays the
             outstanding balance in full, report Account Status Code 63, which
             specifies “Account paid in full, was a repossession”. The Current Balance
             and Amount Past Due should be zero and the Date Closed should be the
             date the account was paid in full.

             Note: If a repayment plan is created for this remaining balance, report
             the new Scheduled Monthly Payment Amount (SMPA). Otherwise, report
             SMPA = zero.

             If the remaining balance is not paid and is subsequently charged off,
             report Account Status Code 97 (Unpaid balance reported as a loss –
             charge-off). In subsequent reporting periods, follow FAQ 34. For credit
             reporting purposes, Account Status 97 should not be reported until after
             the sale of the merchandise and the consumer has been given an
             opportunity to make payments on the remaining balance.




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  Frequently Asked Questions and Answers

  63. Question: How should an account be reported when the consumer has
      voluntarily surrendered the merchandise?

       Answer: Use the following guidelines:

       Account Status Code 95 should be reported, which specifies “Voluntary
       Surrender; there may be a balance due”, along with the applicable Payment
       Rating. Report the outstanding balance amount in the Current Balance field
       and the amount deemed to be past due by the creditor in the Amount Past
       Due field. If the consumer was current at the time of the voluntary
       surrender, the Amount Past Due should be zero and the FCRA
       Compliance/Date of First Delinquency should be the date the merchandise
       was voluntarily surrendered.

       Continue reporting Account Status 95 until one of the following situations
       apply:

        •   If the consumer reinstates the loan by bringing account payments
            current, report Account Status 11 (current) and continue reporting the
            account normally going forward. Special Comment Code AO (Voluntarily
            surrendered – then redeemed or reinstated) may also be reported.

        •   If the consumer redeems the merchandise by paying the account
            balance in full, report Account Status 61 (Account paid in full, was a
            voluntary surrender) and a Current Balance and Amount Past Due = zero.
            Special Comment Code AO (Voluntarily surrendered – then redeemed or
            reinstated) may also be reported.

        •   If the consumer is not responsible for the remaining balance on the
            account after the sale of the merchandise or there is no deficiency
            balance, report Account Status 95 with a Current Balance and Amount
            Past Due of zero. Report the Date Closed as the date the consumer
            voluntarily surrendered the merchandise.

            FAQ 63 continued on next page




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  Frequently Asked Questions and Answers
  FAQ 63 (continued)

         •   If the consumer is held responsible for the remaining balance on the
             account after the sale of the merchandise, continue reporting Account
             Status 95. Report the remaining balance in the Current Balance and
             Amount Past Due fields, and as payments are made by the consumer,
             report a declining balance in both fields.

             Notes: If the consumer was current at the time the merchandise was
             voluntarily surrendered, the Amount Past Due would be zero. In
             subsequent months, if payments become delinquent, the Amount Past
             Due would be incremented based on the number of payments past due.

             If a repayment plan is created for the remaining balance, report the new
             Scheduled Monthly Payment Amount (SMPA). Otherwise, report SMPA =
             zero.

             When the consumer pays the outstanding balance in full, report Account
             Status Code 61, which specifies “Account paid in full, was a voluntary
             surrender”. The Current Balance and Amount Past Due should be zero
             and the Date Closed should be the date the account was paid in full.

             If the remaining balance is not paid and is subsequently charged off,
             report Account Status Code 97 (Unpaid balance reported as a loss –
             charge-off). In subsequent reporting periods, follow FAQ 34. For credit
             reporting purposes, Account Status 97 should not be reported until after
             the sale of the merchandise and the consumer has been given an
             opportunity to make payments on the remaining balance.




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  Frequently Asked Questions and Answers
  64. Question: How should a replacement credit card be reported (i.e.,
      credit card replaced with a new account number)?

       Answer: There are two options for reporting replacement credit cards:

        1. Preferred Option: Report the L1 Segment to change the Consumer
           Account Number. Use of the L1 Segment allows the consumer reporting
           agencies to retain all prior account history and maintain one account.

        2. The second option results in two tradelines on a consumer’s file: the first
           as transferred and the second for the ongoing account.

           Report the following Base Segment fields as specified for the transferred
           account:

           •   Scheduled Monthly Payment Amount = zero
           •   Account Status Code = the appropriate code that specifies the status
               of the account at the time of transfer
           •   Special Comment = AT (Account closed due to transfer)
           •   Current Balance and Amount Past Due = zero
           •   FCRA Compliance/Date of First Delinquency = If the account is
               delinquent or derogatory at the time of transfer, report the date of the
               first 30-day delinquency that led to the status being reported.
           •   Date Closed = date the account was transferred

           In the following month’s reporting period, report the new account with the
           new account number. Report the following Base Segment fields as
           specified for the new account with the new account number:

           •   Date Opened = date the original account was opened
           •   Account Status Code = the status of the account for the current month
           •   Payment History Profile = Report character B for months the account
               was reported with the original account number; do not report
               payment history that occurred prior to the replacement card being
               issued.
           •   FCRA Compliance/Date of First Delinquency = If the account is
               delinquent or derogatory at the time the card is replaced, report the
               date of the first 30-day delinquency that led to the status being
               reported.




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  Frequently Asked Questions and Answers
  65. Question: How should an account be reported when the creditor files
      an IRS Form 1099-C?

         Answer: The account should be reported as charged off, or if a settlement
         agreement was made with the consumer, the account should be reported as
         settled. Account balances should be reflective of those decisions or actions at
         the time they occur; e.g., charged off, settled. There is no special comment
         that specifically states that the creditor has filed form 1099-C.

         If the account is reported as a charge off, report the following Base Segment
         fields:

         • Account Status Code = 97 (Unpaid balance reported as a loss – charge-off)
         • Current Balance and Amount Past Due:
           o If the consumer is no longer obligated to pay the balance, report both
             fields as zero.
           o If the account has received only a partial adjustment and the consumer
             remains obligated to repay the residual amount, report the residual
             amount in the Current Balance and Amount Past Due fields. If payments
             are made by the consumer, report the declining balance in these two
             fields.
         • Original Charge-off Amount = the original amount charged to loss
         • FCRA Compliance/Date of First Delinquency = the date of the first 30-day
           delinquency that led to the account being charged off

         If the account is reported as settled, refer to FAQ 38 for reporting guidance.




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  Frequently Asked Questions and Answers
  66. Question: How should timeshare mortgages and timeshare loans be
      reported?

       Answer: If the timeshare account is a mortgage, report the account according
       to the Mortgage Portfolio Type guidelines. Report the following Base Segment
       fields as specified:

       • Portfolio Type = M (Mortgage)
       • Account Type Code = 26 (Conventional Mortgage) or 08 (Real Estate,
         specific type unknown), as applicable
       • Terms Duration = number of years of the loan
       • Account Status Code = 11, 13, 65, 71, 78, 80, 82-84, 89, 94, DA or DF, as
         applicable
       • Payment Rating = applicable code when Account Status Code = 13, 65, 89
         or 94
       • Special Comment = Refer to Exhibit 6, Mortgage column, for applicable
         comments.
       • Interest Type Indicator = F (fixed) or V (variable/adjustable)

       If the timeshare account is a loan, report the account according to the
       Installment Portfolio Type guidelines. Report the following Base Segment
       fields as specified:

       • Portfolio Type = I (Installment)
       • Account Type Code = 0A (Timeshare)
       • Terms Duration = number of months of the loan
       • Account Status Code = 11, 13, 61-64, 71, 78, 80, 82-84, 93, 95-97, DA or
         DF, as applicable
       • Payment Rating = applicable code when Account Status Code = 13 or 95
       • Special Comment = Refer to Exhibit 6, Installment column, for applicable
         comments.




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  Frequently Asked Questions and Answers
  67. Question: How should a modified loan be reported?

         Answer: The guidelines described below are used for modified loans that are
         not associated with one of the federal loan modification programs.

         Trial Period:

         If there is a trial period prior to a loan being modified, report as follows
         during the trial period:

         •   Current, but eligible for loan modification:

             If the consumer was current on his/her payments prior to the trial period,
             and makes each month’s trial period payment on time, report the
             consumer as current (Account Status 11) during the trial period. If the
             consumer is at least 30 days past due during the trial period, report the
             Account Status Code that reflects the appropriate level of delinquency.

             Report the trial period payment in the Scheduled Monthly Payment Amount
             field. Special Comment Code ‘AC’ (Paying under a partial payment
             agreement) should also be reported.

         •   Delinquent

             If the consumer was delinquent (at least 30 days past the due date) prior
             to the trial period and the reduced payments do not bring the account
             current, report the Account Status Code that reflects the appropriate level
             of delinquency.

             Report the trial period payment in the Scheduled Monthly Payment Amount
             field. Special Comment Code ‘AC’ (Paying under a partial payment
             agreement) should also be reported.

         If the loan is not modified, report the account as per the original
         contractual agreement.

         FAQ 67 continued on next page




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  Frequently Asked Questions and Answers
  FAQ 67 (continued)

        If the loan is modified, there are three options for reporting:

        1. If the original Account Number and Date Opened are retained, report the
          amounts and terms as per the modified agreement. Fields that may be
          changed include Original Loan Amount, Terms Duration, Terms Frequency,
          Scheduled Monthly Payment Amount and Current Balance.

          Note that the Terms Duration should reflect the terms for the life of the
          account. Therefore, for a loan modification, set the Terms Duration from
          the original Date Opened to the new maturity date.

          Optional: Special Comment Code CO (Loan modified) may be reported.
          Note that this code is used when reporting accounts that are modified, but
          not under a federal government plan.

          Special Comment CO may be reported as long as deemed appropriate by
          the data furnisher, or until another Special Comment becomes more
          critical. For the length of time the Special Comment should be reported,
          consult with your internal Legal or Compliance department.

       2. If the original Account Number changes and the Date Opened remains the
          same, follow the above reporting guideline, and include an L1 Segment
          with the new Account Number. Refer to the L1 Segment specifications
          within the Field Definitions for reporting guidelines.

       3. If the original Account Number and Date Opened change, report the
          original loan as specified:

          • Account Status Code = 13 (Paid)
          • Payment Rating = the appropriate code that identifies the status of the
             account within the current month’s reporting period
          • Special Comment = AS (Account closed due to refinance)
          • Current Balance and Amount Past Due = zero

          Report the newly modified loan with the new Account Number, new Date
          Opened and all other applicable fields. Payment history that occurred prior
          to the new Date Opened should not be reported with this account.

      Note: For reporting guidelines specific to the federal loan modification
      programs, such as Making Home Affordable, Hope for Homeowners
      and the Fannie Mae/Freddie Mac Mortgage Loan Modification Program,
      refer to the module called “Mortgage Loan Modifications”.




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  Frequently Asked Questions and Answers
  68.    Question: How should an account be reported when it is updated
         more than one time during a given monthly reporting period; e.g., an
         account that is moved to recovery?

         Answer: Use the following guidelines to report accounts that are updated by
         the data furnisher more than one time during a given monthly reporting
         period:

         • Date of Account Information = most recent date of update
         • Account Status Code = new code that applies to the most recent update
         • Payment History Profile = Freeze the PHP as it was reported in the first
           update of the monthly reporting period. In subsequent reporting periods,
           the PHP should be updated/incremented normally.

         Example:

         Regular Monthly Reporting Period:

         •   Date of Account Information = 03/05/2020
         •   Account Status = 82 (120-159 days past due date)
         •   Payment History Profile = 321000000110000210010000

         Second Update in Same Reporting Period:

         •   Date of Account Information = 03/31/2020
         •   Account Status = 97 (Charge-off)
         •   Payment History Profile = 321000000110000210010000
             Note: In order to accurately maintain the PHP, the field contents are the
             same as reported on 03/05/2020.

         Next Monthly Reporting Period:

         •   Date of Account Information = 04/30/2020
         •   Account Status = 97 (Charge-off)
         •   Payment History Profile = L32100000011000021001000
             Note: The PHP is updated/incremented normally at this point.




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  Frequently Asked Questions and Answers
  69.   Question: How should a debt extinguished under state law be
        reported?

        Answer: Report the following Base Segment fields as specified:

        •   Scheduled Monthly Payment Amount = zero
        •   Account Status Code = status at time of debt extinguishment
            Note: The Account Status should not be 13 or 61-65.
        •   Special Comment Code = DE (Debt Extinguished Under State Law)
        •   Current Balance = zero
        •   Amount Past Due = zero

        Note: After reporting Special Comment Code DE, discontinue reporting
        the account.




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  Glossary of Terms
   Account Number            A security feature that allows a data furnisher to report a
   Scrambling                scrambled version of the account numbers. Three methods
                             of scrambling are available based on CDIA guidelines. The
                             consumer reporting agencies will unscramble the account
                             numbers for display purposes.

   Affinity Name             An additional name that can be reported by Third Party
                             Collection Agencies and Debt Buyers within the Original
                             Creditor Name field in the K1 Segment. The Affinity Name
                             further identifies or provides linkage detail for the
                             relationship of the original creditor to any connecting or
                             supporting entities (e.g., ABC BANK THE HOME STORE).

   Alphanumeric              Describes a character set that includes both letters and
                             numbers.

   ASCII                     An acronym for American Standard Code for Information
                             Interchange. A code used by certain types of computers.

   Authorized User           Person permitted by a credit card holder to charge goods
                             and services on the cardholder's account. Authorized users
                             are not legally responsible for payment of the charges
                             incurred.

   Automatic Stay            The filing of a bankruptcy, under any chapter of the
                             Bankruptcy Code, stops most actions by any creditor
                             against the debtor or the debtor’s property. In Chapter
                             13, the stay even protects co-debtors (non-filers) who are
                             liable with the debtor on consumer debts. The automatic
                             stay gives the debtor protection from his creditors until the
                             rights of all concerned can be balanced in bankruptcy
                             court.

   Bankruptcy Closed         A bankruptcy case may be closed or terminated when the
                             consumer does not pay the applicable court fees or does
                             not attend the required financial management class.

   Bankruptcy                The judgment of the court that a person who has filed a
   Discharged                Chapter 7, 11 or 12 petition be granted a bankruptcy. A
                             Chapter 13 debtor is entitled to a discharge upon
                             completion of all payments under the Chapter 13 plan.

   Bankruptcy Dismissed      A Chapter 7, 11, 12 or 13 petition is terminated without
                             the granting of a discharge by the U.S. Bankruptcy Court.




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  Glossary of Terms

   Bankruptcy Petition       An application made to the U.S. Bankruptcy Court
   (Chapter 7)               requesting release from financial obligations due to a
                             debtor's inability to pay his debts.

   Bankruptcy Petition       An application made to the U.S. Bankruptcy Court
   (Chapter 11)              requesting financial reorganization.

   Bankruptcy Petition       An application made to the U.S. Bankruptcy Court
   (Chapter 12)              requesting release from financial obligations due to the
                             inability of a family farm to pay their debts.

   Bankruptcy Petition       An application made to the U.S. Bankruptcy Court
   (Chapter 13)              requesting adjustment for personal debts and the
                             establishment of a repayment plan.

   Bankruptcy Withdrawn      The petitioner has decided not to file bankruptcy and has
                             taken back the petition.

   Blocking                  Combining two or more records into a block to increase
                             the efficiency of computer input and output operations.

   Byte                      One alphanumeric character.

   Chapter 128               See Personal Receivership.

   Consumer                  One who buys goods or services.

   Consumer Data             CDIA is an international trade association representing the
   Industry Association      consumer credit, mortgage reporting, employment and
   (CDIA)                    tenant screening, and collection service industries.
                             Headquartered in Washington, DC, CDIA provides
                             legislative assistance and a lobbying function to its
                             members, and establishes standards for the consumer
                             credit reporting industry.

   Cycle Reporting           A method by which data furnishers can divide their files
                             for reporting purposes, usually in alphabetical order by
                             surname or by billing date. Reporting takes place at the
                             end of each billing cycle, resulting in more accurate and
                             timely reporting of account statuses.

   Debt Buyer                A company or individual who purchases accounts
                             (generally non-performing debts) with the intent of
                             collecting debts owed.

   EBCDIC                    An acronym for Extended Binary Coded Decimal
                             Interchange Code. A code used by certain types of
                             computers.


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  Glossary of Terms

   ECOA (Equal Credit        A federal law that prohibits creditors from discriminating
   Opportunity Act)          against applicants on the basis of sex or marital status in
                             any aspect of a credit transaction.

   ECOA Code                 An alpha or numeric code used to describe a borrower's
                             association with an account, according to the Equal Credit
                             Opportunity Act (ECOA).

   Factoring Company         See Debt Buyer.

   FCBA (Fair Credit         A federal law stipulating procedures to help consumers
   Billing Act)              resolve credit billing disputes with the credit grantor
                             promptly and fairly. Disputes must be reported. The FCBA
                             applies to open-end credit accounts, such as credit cards
                             and revolving charge accounts.

   FCRA (Fair Credit         The FCRA states that companies which furnish data to the
   Reporting Act)            consumer reporting agencies have a responsibility to
                             provide accurate information, to update and correct
                             information and to respond to notices of dispute. It also
                             states that consumers have the right to know what is in
                             credit records; to challenge the accuracy of information;
                             and to have it re-verified, updated or removed. It also
                             limits the time derogatory information can be retained on
                             a credit record and assures that a consumer's privacy will
                             be protected at all times.

   FDCPA (Fair Debt          The FDCPA regulates the activities of debt collectors
   Collection Practices      concerning their communications with consumers,
   Act)                      prohibiting harassment or abuse, false or misleading
                             representations, and unfair practices.

   Fixed Length Record       A record that always contains the same number of
                             characters.

                             For example, you may report a 426-byte Base Segment, a
                             100-byte J1 Segment, and a 30-byte K4 Segment for
                             every record. The fixed record length would be 556. If
                             there is no associated consumer on the account, report
                             the Base Segment, report the J1 Segment Identifier, blank
                             fill the remainder of the J1 Segment, and report the K4
                             Segment information.

   Fixed Rate Loan           A loan in which the interest rate does not change during
                             the entire term of the loan.




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  Glossary of Terms
   Flexible Spending       Credit card with no preset spending limit. The credit card
   Credit Card             has a Credit Limit, but the terms of the card allow the
                           consumer to exceed that amount. Refer to Frequently
                           Asked Question 51 for reporting guidelines.

   Forbearance             A period of time during repayment in which a borrower is
                           permitted to temporarily postpone making regular monthly
                           payments. The debt is not forgiven, but payments are
                           suspended until a later time. As an example, forbearance
                           may be granted if a borrower is experiencing temporary
                           financial difficulty. A forbearance agreement is most
                           commonly applied to mortgages and student loans.
                           However, forbearance is applicable to any type of loan.
                           Refer to Frequently Asked Question 45 for reporting
                           guidelines.

   Installment             A loan repayable in installments, usually in set monthly
   (Portfolio Type)        amounts.

   Lease Assumption        The debtor’s assumption of personal liability for leases of
                           personal property that would otherwise be discharged in
                           bankruptcy. When a lease is assumed, the consumer is
                           assuming use of the personal property, such as an auto, as
                           well as payment on the account.

   Line of Credit          An agreement between an institution and a consumer where
   (Portfolio Type)        the institution agrees to lend a consumer funds up to an
                           agreed upon credit limit. The consumer may borrow as
                           much of the line as needed and pays interest on the
                           borrowed portion only. Payment amounts are revolving,
                           based on the outstanding balance amount.

   Loan Assumption         Full Loan Assumption – A new borrower assumes
                           responsibility for a loan. The original borrower is terminated
                           from the loan and is no longer responsible for payments.
                           Refer to Frequently Asked Question 55 for reporting
                           guidelines.

                           Simple Loan Assumption – A new borrower assumes
                           responsibility for a loan. The original borrower remains
                           responsible in the event that the new borrower defaults.
                           Refer to Frequently Asked Question 56 for reporting
                           guidelines.




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  Glossary of Terms
   Mortgage                   A written conveyance of title (i.e., contract or deed) to real
   (Portfolio Type)           estate property. The creditor has actual title to the
                              property, but the property remains with the use and
                              occupancy of the borrower as long as the conditions of the
                              mortgage are met.

   Open                       Accounts where the entire balance is due upon demand or
   (Portfolio Type)           that have one payment due as scheduled (i.e., Terms
                              Duration = 001). This Portfolio Type is used by credit
                              card reporters when the full balance amount is due each
                              month (i.e., no revolving terms). This Portfolio Type is
                              also used by Collection Agencies, Child Support Agencies,
                              Debt Buyers, Student Loan Guarantors, the U.S.
                              Department of Education (as guarantor) and Utility
                              Services' payment plans.

   Personal Receivership      A voluntary debt repayment plan filed in Wisconsin
                              (Chapter 128) that is an alternative to Bankruptcy. The
                              consumer may include debts they want managed by the
                              court. The plan is administered by a court-appointed
                              trustee and lasts for a period of time no more than three
                              years. Refer to Frequently Asked Question 61 for
                              reporting guidelines.

   Reaffirmation of Debt      An agreement by a debtor to continue paying a
   (Bankruptcy Chapter        dischargeable debt after the bankruptcy, usually for the
   7)                         purpose of keeping collateral or mortgaged property that
                              would otherwise be subject to repossession. This
                              agreement is done through the U.S. Bankruptcy Court.

   Reaffirmation of Debt      The consumer may rescind a reaffirmation agreement
   Rescinded (Bankruptcy      prior to the bankruptcy discharge or within 60 days after
   Chapter 7)                 the reaffirm agreement is filed with the court, whichever
                              occurs later. A consumer files a “rescind of debt”
                              (requires judge’s signature) for one or more of the debts
                              in the reaffirm. This means that the reaffirm is canceled
                              (taken back) and the debts are again included in or
                              discharged through bankruptcy.

   Redeemed                   When merchandise is repossessed or foreclosure is
                              started on property, the consumer can “redeem” the
                              merchandise or property by paying the debt in full.




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  Glossary of Terms

   Redemptions              In a Bankruptcy filing, the consumer can choose to
   (due to Bankruptcy)      redeem merchandise from a creditor by paying fair
                            market value. Refer to Frequently Asked Question 31 for
                            reporting guidelines.

   Reinstated               When merchandise is repossessed or to avoid foreclosure,
                            the consumer can “reinstate” the loan by bringing account
                            payments current; i.e., making up all late payments,
                            including applicable fees and late charges.

   Relief from Stay         A bankruptcy judge grants a secured creditor the right to
                            collect a debt that has been included in bankruptcy, to the
                            extent that the order permits.

   Revolving                An account that establishes a maximum credit limit for a
   (Portfolio Type)         consumer, such as a credit card or charge account.
                            Payment amounts are revolving based on the outstanding
                            balance amount.

   Short Sale               The sale of real estate in which the proceeds from the
                            sale fall short of the balance owed on the loan, which is
                            secured by the property sold. In a short sale, the lender
                            agrees to discount the loan balance, typically due to an
                            economic or financial hardship on the part of the
                            consumer.

   Standard                 The term “standard” appears in the Credit Reporting
                            Resource Guide® (CRRG®) and other training materials
                            associated with the Metro 2® Format. When used in the
                            CRRG® or other Metro 2® training materials, the term
                            “standard” refers to the formatting instructions that guide
                            furnishers to report information to the consumer reporting
                            agencies that accept data in the Metro 2® Format. The
                            term also refers to the information fields and codes that
                            are intended to promote consistent reporting of
                            information about consumers to the consumer reporting
                            agencies that accept data in the Metro 2® Format.

                            Entities furnishing data in the Metro 2® Format are
                            responsible for furnishing data that they believe will
                            satisfy their obligations in compliance with relevant laws.
                            Neither the Metro 2® Task Force nor CDIA is responsible
                            for determining whether a particular furnisher has
                            satisfied its obligations to accurately report information.




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  Glossary of Terms

   Third Party Collection      A company or individual who specializes in collecting
   Agency                      outstanding debts for other businesses or individuals.

   Variable/Adjustable         A loan in which the interest rate is periodically adjusted
   Rate Loan                   based on a variety of indices, usually in response to
                               changes in the Treasury Bill rate or the prime rate.

   Variable Length             Records which may be different lengths within
   Records                     predetermined minimums and maximums. Variable length
                               records allow a data furnisher to report only the size of
                               record required for a transaction, thus allowing more data
                               to be placed on the media.

                               For example, the J1 and J2 Segments would be reported
                               only when additional borrowers are associated with an
                               account. Some records may include these appendages,
                               while others may not.




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  Validation/Implementation Checklist

   CHECKLIST USES         This valuable checklist may be used for many purposes,
                          including:

                          •     Self-auditing tool to ensure accuracy and integrity of your
                                data
                          •     Validating that your Metro 2® output is still accurate when
                                changes are made to your internal systems
                          •     Upgrading your existing Metro 2® Format program
                          •     Developing new Metro 2® software

                          The 2010 FACT Act Data Furnisher rules state that “each
                          furnisher must review its policies and procedures periodically
                          and update them as necessary to ensure their continued
                          effectiveness”. The checklist can help you with this
                          validation process.


   IMPLEMENTATION         When used to implement a new Metro 2® program or to
                          change from Metro™ to Metro 2®, this checklist will guide
   OF THE METRO 2®        you step by step through the process.
   FORMAT
                              Prior to reporting in Metro 2® for the first time, you must
                              complete testing with each of the consumer reporting agencies
                              to which you report.
                          Whether reporting through a purchased software package, a
                          third-party data processor or an internally developed
                          program, the data furnisher is ultimately responsible for
                          compliance issues.

                          When reporting information through a third-party processor,
                          there are certain steps that need to be taken to ensure that
                          information is reported according to industry standard
                          guidelines. The steps are:

                          •     Confirm that the processor is supplying all account
                                information in the Metro 2® Format to all consumer
                                reporting agencies.

                          •     Use the Metro 2® Validation/Implementation Checklist to
                                review in detail what the processor will be reporting to
                                ensure that your portfolio information is reported
                                accurately.




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  Validation/Implementation Checklist


                                                                       AVAILABLE
  STEP   TASK DESCRIPTION                                  REFERENCE              COMMENTS
                                                                       YES OR NO?
         Obtain a copy of the Metro 2® Format.

         Electronically:
         https://www.cdiaonline.org/resources/furnishers
    1    -of-data-overview/metro2-information/

         Hard copy:
         https://www.cdiaonline.org/publications/


         Obtain a Program Identifier (for the
    2    Header Record) from each consumer
         reporting agency.
         Compare Metro 2® Field Definitions to
                                                           Credit
         available data on your system. The
                                                           Reporting
         following data should be reported
    3    according to the specified definitions in
                                                           Resource
                                                           Guide®:
         order to process your credit information
                                                           Metro 2®
         correctly:
         Header Record - Identification of
         Reporter:
         Block Descriptor Word (BDW)                       Page 4-1                See FAQ 8.
         Record Descriptor Word (RDW)                      Page 4-1                See FAQ 9.
         Record Identifier - HEADER                        Page 4-1    Hard code
         Cycle Identifier                                  Page 4-2                See FAQ 11.
         Innovis Program Identifier                        Page 4-2    Hard code
         Equifax Program Identifier                        Page 4-2    Hard code
         Experian Program Identifier                       Page 4-2    Hard code
         TransUnion Program Identifier                     Page 4-2    Hard code
         Activity Date                                     Page 4-2
         Date Created                                      Page 4-2
         Program Date                                      Page 4-2



  Note: References to FAQ numbers can be found in the Frequently Asked
        Questions and Answers section.




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  Validation/Implementation Checklist

                                                                 AVAILABLE
  STEP   TASK DESCRIPTION                         REFERENCE                 COMMENTS
                                                                 YES OR NO?
         Program Revision Date                     Page 4-3
         Reporter Name                             Page 4-3
         Reporter Address                          Page 4-3
         Reporter Telephone Number                 Page 4-3
                                                                 Hard coded
         Software Vendor Name                      Page 4-3
                                                                 by Vendor
                                                                 Hard coded
         Software Version Number                   Page 4-3
                                                                 by Vendor
         Base Segment - Processing
                                                                              See FAQ 1.
         Information:
         Block Descriptor Word (BDW)               Page 4-4                   See FAQ 8.
         Record Descriptor Word (RDW)              Page 4-4                   See FAQ 9.
         Processing Indicator                      Page 4-4      Hard code
         Time Stamp                                Page 4-5
         Base Segment - Account
         Information:
         Identification Number                     Page 4-5
         Cycle Identifier                          Page 4-5                   See FAQ 11.
         Consumer Account Number                   Page 4-5
         Portfolio Type                            Page 4-6
                                                                              See Exhibits 1
         Account Type                              Page 4-6
                                                                              & 2.
         Date Opened                               Page 4-6
         Credit Limit                              Page 4-7
         Highest Credit or Original Loan Amount    Page 4-7
         Terms Duration                            Page 4-8                   See Exhibit 3.
         Terms Frequency                           Page 4-8                   See Exhibit 3.
         Scheduled Monthly Payment Amount          Page 4-9                   See Exhibit 3.
         Actual Payment Amount                     Page 4-9
                                                                              See FAQs 12 &
         Account Status                            Page 4-10                  41 and Exhibit
                                                                              4.
         Payment Rating                            Page 4-10                  See FAQ 12.




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  Validation/Implementation Checklist

                                                                  AVAILABLE
  STEP   TASK DESCRIPTION                           REFERENCE                COMMENTS
                                                                  YES OR NO?
                                                                             See FAQs 22 &
         Payment History Profile (up to 24
                                                     Page 4-11               41 and Exhibit
         months)
                                                                             5.
                                                                             See FAQ 12 and
         Special Comment                             Page 4-12
                                                                             Exhibits 6 & 7.
         Compliance Condition Code                   Page 4-13                See Exhibit 8.
         Current Balance                             Page 4-14
         Amount Past Due                             Page 4-14
         Original Charge-off Amount                  Page 4-14
         Date of Account Information                 Page 4-15
         FCRA Compliance/Date of First                                        See FAQ 22 and
                                                     Page 4-16
         Delinquency                                                          Exhibit 9.
         Date Closed                                 Page 4-17
         Date of Last Payment                        Page 4-17
         Interest Type Indicator                     Page 4-17
         Base Segment - Primary Borrower
         Information:
                                                                              Include edits to
         Surname                                     Page 4-18                remove internal
                                                                              messages.
         First Name                                  Page 4-18
         Middle Name                                 Page 4-19
         Generation Code                             Page 4-19
         Social Security Number                      Page 4-19
         Date of Birth                               Page 4-20
         Telephone Number                            Page 4-20
                                                                              See FAQs 13,
                                                                              14, 16 & 18
         ECOA Code                                   Page 4-20
                                                                              through 20 and
                                                                              Exhibit 10.
                                                                              See FAQs 23
                                                                              through 32 &
         Consumer Information Indicator              Page 4-21                61 and Exhibit
                                                                              11.




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  Validation/Implementation Checklist

                                                                  AVAILABLE
  STEP   TASK DESCRIPTION                           REFERENCE                COMMENTS
                                                                  YES OR NO?
         Country Code                                Page 4-21                 See Exhibit 12.
                                                                               See Exhibit 13.
                                                                               Include edits to
         First Line of Address                       Page 4-22
                                                                               remove internal
                                                                               messages.
         Second Line of Address                      Page 4-22
         City                                        Page 4-22
         State                                       Page 4-23                 See Exhibit 14.
         Postal/Zip Code                             Page 4-23
         Address Indicator                           Page 4-23
         Residence Code                              Page 4-23
         Can you report all borrowers associated
    4    with the account?
         For an associated borrower who lives at
         the same address as the primary                                       See FAQs 3, 6,
         borrower, report the J1 Segment. Fields                               7 & 17.
         available:
         Segment Identifier - J1                     Page 4-24    Hard code
                                                                               Include edits to
         Surname                                     Page 4-24                 remove internal
                                                                               messages.
         First Name                                  Page 4-25
         Middle Name                                 Page 4-25
         Generation Code                             Page 4-25
         Social Security Number                      Page 4-26
         Date of Birth                               Page 4-26
         Telephone Number                            Page 4-27
                                                                               See FAQs 13,
         ECOA Code                                   Page 4-27                 14, 16, 18 & 19
                                                                               and Exhibit 10.
                                                                               See FAQs 23
                                                                               through 32 &
         Consumer Information Indicator              Page 4-28                 61 and Exhibit
                                                                               11.




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  Validation/Implementation Checklist

                                                                  AVAILABLE
  STEP   TASK DESCRIPTION                           REFERENCE                COMMENTS
                                                                  YES OR NO?
         For an associated borrower who lives at
                                                                               See FAQs 3, 6,
         a different address than the primary
                                                                               7 & 17.
         borrower, report the J2 Segment. Fields
         available:
         Segment Identifier - J2                     Page 4-29    Hard code
                                                                               Include edits to
         Surname                                     Page 4-29                 remove internal
                                                                               messages.
         First Name                                  Page 4-30
         Middle Name                                 Page 4-30
         Generation Code                             Page 4-30
         Social Security Number                      Page 4-31
         Date of Birth                               Page 4-32
         Telephone Number                            Page 4-33
                                                                               See FAQs 13,
                                                                               14, 16 & 18
         ECOA Code                                   Page 4-33
                                                                               through 20 and
                                                                               Exhibit 10.
                                                                               See FAQs 23
                                                                               through 32 &
         Consumer Information Indicator              Page 4-34
                                                                               61 and Exhibit
                                                                               11.
         Country Code                                Page 4-34                 See Exhibit 12.
                                                                               See Exhibit 13.
                                                                               Include edits to
         First Line of Address                       Page 4-35
                                                                               remove internal
                                                                               messages.
         Second Line of Address                      Page 4-35
         City                                        Page 4-35
         State                                       Page 4-36                 See Exhibit 14.
         Postal/Zip Code                             Page 4-36
         Address Indicator                           Page 4-36
         Residence Code                              Page 4-36




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  Validation/Implementation Checklist

                                                                   AVAILABLE
  STEP   TASK DESCRIPTION                            REFERENCE                COMMENTS
                                                                   YES OR NO?
         For Collection Agencies, Debt Buyers,                                The K1
         Check Guarantee Companies, Student                                   Segment is
    5    Loan Guaranty Agencies, and U.S.                                     required for
         Department of Education, a K1 Segment                                these
         is needed. Fields available:                                         companies.
         Segment Identifier - K1                     Page 4-37     Hard code
         Original Creditor Name                      Page 4-38
         Creditor Classification                     Page 4-39
         If you've purchased or sold an account, a
                                                                                See FAQs 47 &
    6    K2 Segment can be reported. Fields
                                                                                48.
         available:
         Segment Identifier - K2                     Page 4-40     Hard code
         Purchased From/Sold To Indicator            Page 4-40
         Purchased From or Sold To Name              Page 4-40
         If you provide mortgage information, a
    7    K3 Segment can be reported. Fields
         available:
         Segment Identifier - K3                     Page 4-41     Hard code
         Agency Identifier                           Page 4-41
         Account Number (of secondary marketing
                                                Page 4-41
         agency)
         Mortgage Identification Number              Page 4-41
         Specialized payment information, for
         balloon or deferred payments, can be
    8    reported in the K4 Segment. Fields
         available:
         Segment Identifier - K4                     Page 4-42     Hard code
         Specialized Payment Indicator               Page 4-42
         Deferred Payment Start Date                 Page 4-42                  See FAQ 44.
         Balloon Payment Due Date                    Page 4-42
         Balloon Payment Amount                      Page 4-42




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  Validation/Implementation Checklist

                                                                   AVAILABLE
  STEP   TASK DESCRIPTION                           REFERENCE                 COMMENTS
                                                                   YES OR NO?
         Account Number and/or Identification
    9    Number changes can be reported in the                                  See FAQ 5.
         L1 Segment. Fields available:
         Segment Identifier - L1                     Page 4-43     Hard code
         Change Indicator                            Page 4-43
         New Consumer Account Number                 Page 4-43
         New Identification Number                   Page 4-44
         Can employment information for the
   10    primary borrower be provided in the N1
         Segment? Fields available:
         Segment Identifier - N1                     Page 4-45     Hard code
         Employer Name                               Page 4-45
         First Line of Employer Address              Page 4-45
         Second Line of Employer Address             Page 4-45
         Employer City                               Page 4-45
         Employer State                              Page 4-45
         Employer Postal/Zip Code                    Page 4-45
         Occupation                                  Page 4-46
         Can totals be provided in the Trailer
   11    Record? Fields available:
         Record Descriptor Word (RDW)                Page 4-47                  See FAQ 9.
         Record Identifier - TRAILER                 Page 4-47     Hard code
         Total Base Records                          Page 4-47
         Total of Status Code DF (Delete due to
                                                     Page 4-47
         fraud)
         Total Associated Consumer Segments
                                                     Page 4-47
         (J1)
         Total Associated Consumer Segments
                                                     Page 4-47
         (J2)
         Block Count                                 Page 4-47
         Total of Status Code DA (Delete – other
                                                     Page 4-47
         than fraud)
                                                     Pages 4-47
         Total of each Status Code individually      through
                                                     4-49
         Total of ECOA Code Z (Delete borrower)      Page 4-49
         Total Employment Segments                   Page 4-49
         Total Original Creditor Segments            Page 4-49



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  Validation/Implementation Checklist

                                                                   AVAILABLE
  STEP   TASK DESCRIPTION                             REFERENCE               COMMENTS
                                                                   YES OR NO?
         Total Purchased From/Sold To Segments Page 4-49
         Total Mortgage Information Segments          Page 4-49
         Total Specialized Payment Information
                                                      Page 4-49
         Segments
         Total Change Segments                        Page 4-49
         Total SSNs (All Segments)                    Page 4-50
         Total SSNs (Base Segments)                   Page 4-50
         Total SSNs (J1 Segments)                     Page 4-50
         Total SSNs (J2 Segments)                     Page 4-50
         Total Dates of Birth (All Segments)          Page 4-50
         Total Dates of Birth (Base Segments)         Page 4-50
         Total Dates of Birth (J1 Segments)           Page 4-50
         Total Dates of Birth (J2 Segments)           Page 4-50
         Total Telephone Numbers (All Segments) Page 4-50
         Review the following reporting
   12    situations:
         How should returned checks be reported
         to comply with the Fair Credit Reporting                               See FAQ 15.
         Act?
         How can an account, or specific
         borrower, be deleted from the file?                                    See FAQ 16.

         What causes duplicate tradelines?                                      See FAQ 21.
         If you are a first time reporter of credit
         data, there are special reporting                                      See FAQ 22.
         requirements.
         How should an account be reported
         when the consumer files bankruptcy, but
         the account is not included in the                                     See FAQ 23.
         bankruptcy?
         How should an account included in
         bankruptcy be reported if a “Relief from                               See FAQ 24.
         Stay” is granted to the creditor?
         How should an account that has been
         included in Bankruptcy be reported when
         a consumer is making payments or has                                   See FAQ 25.
         paid the account in full, even though the
         account has not been reaffirmed?




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  Validation/Implementation Checklist

                                                                   AVAILABLE
  STEP   TASK DESCRIPTION                              REFERENCE              COMMENTS
                                                                   YES OR NO?
         How do you report accounts that are
         completely or partially reaffirmed in                                 See FAQ 26.
         bankruptcy?
         How should an account be reported
                                                                               See FAQs 27(c)
         when one or more borrowers filed
                                                                               and 27(d).
         Bankruptcy Chapter 7 or 11?
         How should an account be reported
         when one or more borrowers filed                                      See FAQs 28(c)
         Bankruptcy Chapter 12 or 13?                                          and 28(d).

         How should a secured debt (e.g.,
         mortgage account) be reported when a
         consumer completes the required
         payments through a Bankruptcy Chapter                                 See FAQ 29.
         12 or 13 plan, but the account is still
         open and the consumer is continuing to
         make payments?
         How should multiple bankruptcies (i.e.,
         the same or different chapters) be
                                                                               See FAQ 30.
         reported for the different associated
         borrowers on an account?
         How should Bankruptcies be reported
         when the consumer voluntarily                                         See FAQ 31.
         surrenders or redeems the merchandise?
         How should an account be reported
         when a Bankruptcy case has been closed
                                                                               See FAQ 32.
         or terminated without being discharged
         or dismissed?
         When and how should Debit Cards be
                                                                               See FAQ 33.
         reported?
         How should charge-offs and paid charge-                               See FAQs 34(a)
         offs be reported?                                                     & 34(b).
         If a credit card is temporarily unavailable
         for use because the credit grantor is
         conducting an investigation, how should                               See FAQ 35.
         the account be reported?
         How should an account be reported
         when an auto lease is paid in full, yet
         there are over mileage charges, excess                                See FAQ 36.
         wear and tear charges, or other
         outstanding charges on the account?




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  Validation/Implementation Checklist

                                                                  AVAILABLE
  STEP   TASK DESCRIPTION                            REFERENCE               COMMENTS
                                                                  YES OR NO?
         How should an account be reported
         when an auto lease is prepaid – where
         entire lease payment is paid at the time                              See FAQ 37.
         of opening?
         How should accounts that are paid in full
         for less than the full balance (i.e.,                                 See FAQ 38.
         settled) be reported?
         How should paid in full, closed accounts
         be reported?                                                          See FAQ 39.

         How should a closed account be reported
         that has an outstanding balance?                                      See FAQ 40.

         How long should paid accounts (Account
         Status Codes 13, 61-65) continue to be                                See FAQ 41.
         reported?
         How should a renegotiated/refinanced
                                                                               See FAQ 42.
         loan be reported?
         How should lost or stolen credit cards be
                                                                               See FAQ 43.
         reported?
         How should deferred loans be reported?                                See FAQ 44.
         How should accounts in forbearance be
                                                                               See FAQ 45.
         reported?
         How should accounts that have been
                                                                               See FAQ 46.
         transferred be reported?
         How should accounts that have been
                                                                               See FAQ 47.
         sold to another company be reported?
         How should accounts that have been
         purchased from another company be                                     See FAQ 48.
         reported?
         How are "payment reversal" transactions
                                                                               See FAQ 49.
         handled?
         How do you report loans with multiple
                                                                               See FAQ 50.
         payment schedules?
         How should credit cards with no preset
         spending limits be reported that have
                                                                               See FAQ 51.
         terms allowing consumers to exceed the
         credit limits?
         How should the different stages of
         foreclosure be reported?                                              See FAQ 52.

         How should alternatives to foreclosure
         (i.e., Deed in Lieu and Short Sale) be                                See FAQ 53.
         reported?




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  Validation/Implementation Checklist

                                                                   AVAILABLE
  STEP   TASK DESCRIPTION                              REFERENCE              COMMENTS
                                                                   YES OR NO?
         How should a secured account (i.e.,
         mortgage, home equity or other secured
         account) be reported when the collateral                              See FAQ 54.
         is released but there is an outstanding
         balance due?
         How should full loan assumptions be
         reported?                                                             See FAQ 55.

         How should simple loan assumptions be
         reported?                                                             See FAQ 56.

         How should reverse mortgages be
         reported?                                                             See FAQ 57.

         How should an account be reported
         when the consumer is affected by a                                    See FAQ 58.
         natural or declared disaster?
         How should prepaid credit cards/gift
         cards be reported?                                                    See FAQ 60.

         How should an account be reported
         when it is included in a Personal
         Receivership plan (Wisconsin Chapter                                  See FAQ 61.
         128)?
         How should an account be reported
         when merchandise has been                                             See FAQ 62.
         repossessed?
         How should an account be reported
         when the consumer has voluntarily                                     See FAQ 63.
         surrendered the merchandise?
         How should a replacement credit card be
         reported (i.e., credit card replaced with a                           See FAQ 64.
         new account number)?
         How should an account be reported
         when the creditor files an IRS Form                                   See FAQ 65.
         1099-C?
         How should timeshare mortgages and
         timeshare loans be reported?                                          See FAQ 66.

         How should a modified loan be reported?                               See FAQ 67.
         How should an account be reported
         when it is updated more than one time
         during a given monthly reporting period;                              See FAQ 68.
         e.g., an account that is moved to
         recovery?
         How should a debt extinguished under
         state law be reported?                                                See FAQ 69.




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  Validation/Implementation Checklist

   STEP   TASK DESCRIPTION                  REFERENCE             COMMENTS
          Include the following
   13     cross-field edits:
          Portfolio Type / Account Type     See Exhibit 2.
                                            See Base Segment
          Portfolio Type / Credit Limit
                                            Field 11.
          Portfolio Type / Highest Credit   See Base Segment
          or Original Loan Amount           Field 12.
                                            See Base Segment
          Portfolio Type / Account Type
                                            Field 13 & Exhibit
          / Terms Duration
                                            2.
          Terms Duration / Terms
          Frequency / Scheduled             See Exhibit 3.
          Monthly Payment Amount
                                                                  Amount of history reported
          Date Opened / Payment
                                                                  should not be older than the
          History Profile
                                                                  Date Opened.
                                                                  Account Status is reported
          Date of Account Information /
                                                                  “as of” the Date of Account
          Account Status
                                                                  Information.
                                                                  First position of PHP
          Date of Account
                                                                  represents reporting period
          Information/Payment History
                                                                  prior to Date of Account
          Profile (PHP)
                                                                  Information.
          Account Status / Payment          See Base Segment
          Rating                            Fields 17A & 17B.
                                                                  Monetary fields should be
                                                                  validated based on the
                                                                  status reported. Examples:
                                                                  • Account Status 11
          Account Status / Current                                  (Current) requires Amount
          Balance / Amount Past Due                                 Past Due = 0.
                                                                  • Account Status 13 (Paid
                                                                    account) requires Current
                                                                    Balance and Amount Past
                                                                    Due = 0.
          Date of First Delinquency /
                                            See Base Segment
          Account Status / Payment
                                            Field 25 or Exhibit
          Rating / Consumer
                                            9.
          Information Indicator
          Charge-off and Paid Charge-                             Original Charge-off Amount
          off Account Status / Original                           is required for Account
          Charge-off Amount                                       Statuses 97 and 64.
          Paid or Sold Account / Current    See FAQs 38, 39 &     Date Closed is required and
          Balance/ Date Closed              47.                   Current Balance = 0.
          Closed Special Comments or
          Compliance Condition Codes/                             Date Closed is required.
          Date Closed
          ECOA Codes when Multiple
                                            See Exhibit 10.
          Borrowers


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  Validation/Implementation Checklist

                                                                    AVAILABLE
  STEP   TASK DESCRIPTION                             REFERENCE                COMMENTS
                                                                    YES OR NO?
         Project Phases:
         Review the Metro 2® Format and any           Exhibit 15:
         conversion questions with your               Data
   14    consumer reporting agency                    Conversion
         representative.                              Checklist
         Determine whether data will be reported                               Character
   15    in the Character or Packed Format.                                    Format is
                                                                               preferred.
         Develop internal software, and perform
   16    internal conversion tests.
         To set-up for electronic transmissions,
         which is the preferred method of
   17    reporting, contact all consumer reporting
         agencies.
         Advise all consumer reporting agencies
   18    of the expected date they will receive the
         test transmission or media.
         Send test transmission, record layout,
   19    and documentation to ALL consumer
         reporting agencies.
         Make corrections to your credit reporting
   20    format and data, as required.
         Send transmission to all consumer
   21    reporting agencies.




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  Child Support Reporting

  GENERAL REPORTING GUIDELINES
  The Child Support Enforcement Program was established in 1975 under Title IV-D of the
  Social Security Act, to help state and local agencies locate absent parents and to collect
  child support from parents legally obligated to pay.

  Child support obligations are renewable from month to month. Although each monthly
  payment satisfies that month’s obligation, the next month immediately begins a new
  obligation, to be satisfied by the next payment. The entire support obligation is not
  considered satisfied until the child reaches the age of majority or emancipation, or the
  statute of limitations for that state has been reached.

  •   Report data in the standard Metro 2® Format, including the Header Record.

  •   Report full file on a monthly basis.

  •   Report the complete name, social security number, date of birth, and address of the
      obligor.

  •   Report the telephone number, when available.

  •   An acceptable reason for deleting accounts is when Child Support cases are
      withdrawn by the courts.

  •   In the Identification Number field, report the internal code that identifies the child
      support agency where the information is verified.

  •   All parties reporting credit information must comply with the Fair Credit Reporting
      Act and any applicable state laws.

  •   All parties reporting credit information must respond to consumer inquiries.

  Note: The guidelines contained in this document are specific to your industry
        and should be used in conjunction with the specifications in the Metro
        2® Format. Refer to the Metro 2® Format for detailed information on
        segments and field information.




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  CHILD SUPPORT REPORTING GUIDELINES

  1.      State agencies that are able to age the accounts should report the following
          Account Status Codes (Base Segment, Field 17A):

          Status 11
          Reported for all open, current accounts, and for cases that have been brought current.
          Use this status when the child, or youngest child (in the case of multiple children), has
          not yet reached the age of majority or emancipation, or the statute of limitations for
          judgments in that state has not been reached.

          Status 13 1
          Reported when the Office of Child Support Enforcement rates this case “satisfied.” Use
          this status when the child, or youngest child (in the case of multiple children), has
          reached the age of majority or emancipation, or the statute of limitations for
          judgments in that state has been reached.

          Status 62
          Reported when the Office of Child Support Enforcement rates this case as “satisfied”
          and the account was previously a collection. Use this status when the child, or
          youngest child (in the case of multiple children), has reached the age of majority or
          emancipation, or the statute of limitations for judgments in that state has been
          reached.

          Statuses 71, 78, 80, 82–84 2
          Reported to reflect the appropriate stage of delinquency (30 days to 180 or more days
          past the due date).

          Status 932
          Reported when the Office of Child Support Enforcement rates this case as in
          collections.

          Status DA
          Reported when a Child Support case is withdrawn by the courts. The action taken by
          the consumer reporting agencies is to delete the account from their files.

          Note: When the child support case is transferred to another state because of
          the relocation of the obligor, follow the standard guidelines in Frequently
          Asked Question and Answer 46 (option 2 with Special Comment O –
          transferred to another company/servicer). This transfer usually occurs with a
          URESA (Uniform Reciprocal Enforcement Support Act) account. The state
          agency is responsible for notifying another agency when the account is being
          transferred to their jurisdiction.

          Report the Payment History Profile, which provides up to 24 months of
          payment history, in order for the agency to control and maintain the payment
          history.


  1
      When the Account Status is 13, the Payment Rating must also be reported.
  2
      When Status 71, 78, 80, 82-84 or 93 is reported, the account should be reported with a
      Special Comment “CS” each month in order to overlay the date of first delinquency.
      Special Comment “CS” is reported only until the child or youngest child reaches the age of
      majority or emancipation, or the statute of limitations for judgments in that state has been
      reached.

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  CHILD SUPPORT REPORTING GUIDELINES

          State agencies that are unable to age the accounts should report the following
          Account Status Codes (Base Segment, Field 17A):

          Status 11
          Reported for all open, current accounts, and for cases that have been brought current.
          Use this status when the child, or youngest child (in the case of multiple children), has
          not yet reached the age of majority or emancipation, or the statute of limitations for
          judgments in that state has not been reached.

          Status 13 1
          Reported when the Office of Child Support Enforcement rates this case “satisfied” and
          the account was previously reported as current. Use this status when the child, or
          youngest child (in the case of multiple children), has reached the age of majority or
          emancipation, or the statute of limitations for judgments in that state has been
          reached.

          Status 62
          Reported when the Office of Child Support Enforcement rates this case “satisfied” and
          the account was previously a collection. Use this status when the child, or youngest
          child (in the case of multiple children), has reached the age of majority or
          emancipation, or the statute of limitations for judgments in that state has been
          reached.

          Status 93
          Reported when the Office of Child Support Enforcement rates this case as in
          collections. If a Status 93 is reported, the account should be reported with a Special
          Comment “CS” each month in order to overlay the date of first delinquency. Special
          Comment “CS” is reported only until the child or youngest child reaches the age of
          majority or emancipation, or the statute of limitations for judgments in that state has
          been reached.

          Status DA
          Reported when a Child Support case is withdrawn by the courts. The action taken by
          the consumer reporting agencies is to delete the account from their files.

          Note: When the child support case is transferred to another state because of
          the relocation of the obligor, follow Frequently Asked Question and Answer
          46 (option 2 with Special Comment O – transferred to another
          company/servicer). This transfer usually occurs with a URESA (Uniform
          Reciprocal Enforcement Support Act) account. The state agency is
          responsible for notifying another agency when the account is being
          transferred to their jurisdiction.




  1
      When the Account Status is 13, the Payment Rating must also be reported.

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  CHILD SUPPORT REPORTING GUIDELINES

  2.    Portfolio Type (Base Segment, Field 8) — O (Open)

  3.    Account Type Codes (Base Segment, Field 9)

        •   50 – Family Support
        •   93 – Child Support

  4.    Date Opened (Base Segment, Field 10) — the date the case was initiated with the
        state agency

  5.    Highest Credit or Original Loan Amount (Base Segment, Field 12) — zero

  6.    Terms Duration (Base Segment, Field 13) — 001

  7.    Scheduled Monthly Payment Amount (Base Segment, Field 15) — the monthly debt
        obligation of the obligor

  8.    Special Comment Codes (Base Segment, Field 19) — Any Special Comment Code can
        be reported on accounts that do not require Special Comment Code CS or O.

        Refer to Exhibits 6 and 7 in the Metro 2® Format for descriptions of Special Comment
        Codes.

  9.    Compliance Condition Codes (Base Segment, Field 20) — Report Compliance Condition
        Codes in conjunction with Account Status Codes and Payment Ratings when comments
        are required for legal compliance.

        Refer to Exhibit 8 in the Metro 2® Format for descriptions of Compliance Condition
        Codes.

  10.   Current Balance (Base Segment, Field 21) — the total amount due from outstanding
        support payments. This amount must equal, at a minimum, one Scheduled Monthly
        Payment Amount.

  11.   Amount Past Due (Base Segment, Field 22) — the total amount in arrears

  12.   FCRA Compliance/Date of First Delinquency (Base Segment, Field 25) — the activity
        date

        The FCRA Compliance/Date of First Delinquency must freeze when the child, or
        youngest child (in the case of multiple children), reaches the age of majority or
        emancipation, or the statute of limitations for judgments in that state has been
        reached.

  13.   ECOA Code (Base Segment, Field 37) — 1 (individual) on all records

  14.   Consumer Information Indicator (Base Segment, Field 38) – Report code T (Credit
        Grantor Cannot Locate Consumer) and code U (Consumer Now Located) when
        appropriate.

        Note: Refer to FAQ 23 for guidelines on reporting an account when a
              consumer files bankruptcy, but the child support obligation is not
              included in the bankruptcy.

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  Child Support Reporting

  GENERAL REPORTING GUIDELINES
  The Child Support Enforcement Program was established in 1975 under Title IV-D of the
  Social Security Act, to help state and local agencies locate absent parents and to collect
  child support from parents legally obligated to pay.

  Child support obligations are renewable from month to month. Although each monthly
  payment satisfies that month’s obligation, the next month immediately begins a new
  obligation, to be satisfied by the next payment. The entire support obligation is not
  considered satisfied until the child reaches the age of majority or emancipation, or the
  statute of limitations for that state has been reached.

  •   Report data in the standard Metro 2® Format, including the Header Record.

  •   Report full file on a monthly basis.

  •   Report the complete name, social security number, date of birth, and address of the
      obligor.

  •   Report the telephone number, when available.

  •   An acceptable reason for deleting accounts is when Child Support cases are
      withdrawn by the courts.

  •   In the Identification Number field, report the internal code that identifies the child
      support agency where the information is verified.

  •   All parties reporting credit information must comply with the Fair Credit Reporting
      Act and any applicable state laws.

  •   All parties reporting credit information must respond to consumer inquiries.

  Note: The guidelines contained in this document are specific to your industry
        and should be used in conjunction with the specifications in the Metro
        2® Format. Refer to the Metro 2® Format for detailed information on
        segments and field information.




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  CHILD SUPPORT REPORTING GUIDELINES

  1.      State agencies that are able to age the accounts should report the following
          Account Status Codes (Base Segment, Field 17A):

          Status 11
          Reported for all open, current accounts, and for cases that have been brought current.
          Use this status when the child, or youngest child (in the case of multiple children), has
          not yet reached the age of majority or emancipation, or the statute of limitations for
          judgments in that state has not been reached.

          Status 13 1
          Reported when the Office of Child Support Enforcement rates this case “satisfied.” Use
          this status when the child, or youngest child (in the case of multiple children), has
          reached the age of majority or emancipation, or the statute of limitations for
          judgments in that state has been reached.

          Status 62
          Reported when the Office of Child Support Enforcement rates this case as “satisfied”
          and the account was previously a collection. Use this status when the child, or
          youngest child (in the case of multiple children), has reached the age of majority or
          emancipation, or the statute of limitations for judgments in that state has been
          reached.

          Statuses 71, 78, 80, 82–84 2
          Reported to reflect the appropriate stage of delinquency (30 days to 180 or more days
          past the due date).

          Status 932
          Reported when the Office of Child Support Enforcement rates this case as in
          collections.

          Status DA
          Reported when a Child Support case is withdrawn by the courts. The action taken by
          the consumer reporting agencies is to delete the account from their files.

          Note: When the child support case is transferred to another state because of
          the relocation of the obligor, follow the standard guidelines in Frequently
          Asked Question and Answer 46 (option 2 with Special Comment O –
          transferred to another company/servicer). This transfer usually occurs with a
          URESA (Uniform Reciprocal Enforcement Support Act) account. The state
          agency is responsible for notifying another agency when the account is being
          transferred to their jurisdiction.

          Report the Payment History Profile, which provides up to 24 months of
          payment history, in order for the agency to control and maintain the payment
          history.


  1
      When the Account Status is 13, the Payment Rating must also be reported.
  2
      When Status 71, 78, 80, 82-84 or 93 is reported, the account should be reported with a
      Special Comment “CS” each month in order to overlay the date of first delinquency.
      Special Comment “CS” is reported only until the child or youngest child reaches the age of
      majority or emancipation, or the statute of limitations for judgments in that state has been
      reached.

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  CHILD SUPPORT REPORTING GUIDELINES

          State agencies that are unable to age the accounts should report the following
          Account Status Codes (Base Segment, Field 17A):

          Status 11
          Reported for all open, current accounts, and for cases that have been brought current.
          Use this status when the child, or youngest child (in the case of multiple children), has
          not yet reached the age of majority or emancipation, or the statute of limitations for
          judgments in that state has not been reached.

          Status 13 1
          Reported when the Office of Child Support Enforcement rates this case “satisfied” and
          the account was previously reported as current. Use this status when the child, or
          youngest child (in the case of multiple children), has reached the age of majority or
          emancipation, or the statute of limitations for judgments in that state has been
          reached.

          Status 62
          Reported when the Office of Child Support Enforcement rates this case “satisfied” and
          the account was previously a collection. Use this status when the child, or youngest
          child (in the case of multiple children), has reached the age of majority or
          emancipation, or the statute of limitations for judgments in that state has been
          reached.

          Status 93
          Reported when the Office of Child Support Enforcement rates this case as in
          collections. If a Status 93 is reported, the account should be reported with a Special
          Comment “CS” each month in order to overlay the date of first delinquency. Special
          Comment “CS” is reported only until the child or youngest child reaches the age of
          majority or emancipation, or the statute of limitations for judgments in that state has
          been reached.

          Status DA
          Reported when a Child Support case is withdrawn by the courts. The action taken by
          the consumer reporting agencies is to delete the account from their files.

          Note: When the child support case is transferred to another state because of
          the relocation of the obligor, follow Frequently Asked Question and Answer
          46 (option 2 with Special Comment O – transferred to another
          company/servicer). This transfer usually occurs with a URESA (Uniform
          Reciprocal Enforcement Support Act) account. The state agency is
          responsible for notifying another agency when the account is being
          transferred to their jurisdiction.




  1
      When the Account Status is 13, the Payment Rating must also be reported.

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  CHILD SUPPORT REPORTING GUIDELINES

  2.    Portfolio Type (Base Segment, Field 8) — O (Open)

  3.    Account Type Codes (Base Segment, Field 9)

        •   50 – Family Support
        •   93 – Child Support

  4.    Date Opened (Base Segment, Field 10) — the date the case was initiated with the
        state agency

  5.    Highest Credit or Original Loan Amount (Base Segment, Field 12) — zero

  6.    Terms Duration (Base Segment, Field 13) — 001

  7.    Scheduled Monthly Payment Amount (Base Segment, Field 15) — the monthly debt
        obligation of the obligor

  8.    Special Comment Codes (Base Segment, Field 19) — Any Special Comment Code can
        be reported on accounts that do not require Special Comment Code CS or O.

        Refer to Exhibits 6 and 7 in the Metro 2® Format for descriptions of Special Comment
        Codes.

  9.    Compliance Condition Codes (Base Segment, Field 20) — Report Compliance Condition
        Codes in conjunction with Account Status Codes and Payment Ratings when comments
        are required for legal compliance.

        Refer to Exhibit 8 in the Metro 2® Format for descriptions of Compliance Condition
        Codes.

  10.   Current Balance (Base Segment, Field 21) — the total amount due from outstanding
        support payments. This amount must equal, at a minimum, one Scheduled Monthly
        Payment Amount.

  11.   Amount Past Due (Base Segment, Field 22) — the total amount in arrears

  12.   FCRA Compliance/Date of First Delinquency (Base Segment, Field 25) — the activity
        date

        The FCRA Compliance/Date of First Delinquency must freeze when the child, or
        youngest child (in the case of multiple children), reaches the age of majority or
        emancipation, or the statute of limitations for judgments in that state has been
        reached.

  13.   ECOA Code (Base Segment, Field 37) — 1 (individual) on all records

  14.   Consumer Information Indicator (Base Segment, Field 38) – Report code T (Credit
        Grantor Cannot Locate Consumer) and code U (Consumer Now Located) when
        appropriate.

        Note: Refer to FAQ 23 for guidelines on reporting an account when a
              consumer files bankruptcy, but the child support obligation is not
              included in the bankruptcy.

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  Debt Buyer/Third Party Collection
  Agency Reporting

  GENERAL REPORTING GUIDELINES
  A Debt Buyer is a company or individual who purchases accounts (generally non-
  performing debts) with the intent of collecting debts owed. A Third Party Collection
  Agency is a company or individual who specializes in collecting outstanding debts for
  other businesses or individuals.

  •   Report data in the standard Metro 2® Format, including the Header Record.

  •   Report the complete name, address, social security number and date of birth for the
      legally liable consumer(s).

  •   Report all accounts on a monthly basis, including open collection accounts, collection
      accounts paid in full, and accounts requiring deletion or correction.

  •   Report paid in full collection accounts before purging the accounts from your internal
      collection system. Do not re-report paid accounts for more than 3 months.

  •   Do not report Medical Debt collection accounts (as defined by Creditor Classification
      Code 02) until they are at least 180 days past the Date of First Delinquency that led
      to the account being sold or placed for collection.

  •   Do not delete paid in full collection accounts.

  •   Accounts must be deleted for the following reasons:

      —   Accounts which have been forwarded or sold to another entity (Debt Buyers)
      —   Accounts which have been canceled and returned to creditor (Third Party
          Collection Agencies)
      —   Accounts reported in error
      —   Accounts which have been confirmed as fraudulent
      —   Accounts for consumers who are deceased
      —   Accounts that are being paid by insurance or were paid in full through insurance
          (not by the consumer)
      —   Accounts of consumers who have filed petitions for Bankruptcy (Third Party
          Collection Agencies)




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  DEBT BUYER/THIRD PARTY COLLECTION AGENCY
  REPORTING GUIDELINES

  •   All parties reporting credit information must comply with the Fair Credit Reporting
      Act (FCRA), Fair Debt Collection Practices Act (FDCPA), any applicable state laws
      and regulatory authorities.

  •   The Date of First Delinquency is used to comply with FCRA sections 605 and 623
      (obsolescence period). See page 10-4 of this document for detailed reporting
      requirements.

  •   The Creditor Classification must be reported in the K1 Segment to identify the
      original creditor’s type of business. Note that code 02 (Medical/Health Care) is used
      to identify an account as a medical collection debt in accordance with FCRA section
      623.

  •   In the Identification Number field, report the internal code that identifies the debt
      buyer or third party collection agency where information is verified.

  •   All parties reporting credit information must respond to consumer inquiries.

  Note: The guidelines in this document are specific to your industry and should
        be used in conjunction with the specifications in the Metro 2® Format.
        Refer to the Metro 2® Format for detailed information on segments and
        field information.




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  DEBT BUYER/THIRD PARTY COLLECTION AGENCY
  REPORTING GUIDELINES
  1.   Consumer Account Number (Base Segment, Field 7)

       • Report the individual’s complete and unique account number as extracted from
         your file.
       • If the account number changes, report the L1 Segment. See field definitions in
         the Metro 2® Format.
         Note: Notify your consumer reporting agencies the first time L1 Segments
               are reported.

  2.   Portfolio Type (Base Segment, Field 8) — O (Open)

  3.   Account Type Codes (Base Segment, Field 9)

       • 0C — Debt Buyer
       • 48 — Collection Agency/Attorney
       • 77 — Returned Check

  4.   Date Opened (Base Segment, Field 10) — the date the account was purchased by
       the debt buyer or placed/assigned to the third party collection agency. When
       reporting returned checks, provide the date the check was written.

  5.   Highest Credit or Original Loan Amount (Base Segment, Field 12) — original
       assigned amount as of the date purchased, placed or assigned. When reporting
       returned checks, report the original amount of the check, excluding fees and
       interest.

  6.   Terms Duration (Base Segment, Field 13) — 001

  7.   Account Status Codes (Base Segment, Field 17A) — report only the following:

       93 — Account assigned to internal or external collections
       62 — Paid in full, was a collection account
       DF — Delete entire account due to confirmed fraud
       DA — Delete entire account (for reasons other than fraud – see below)

       • Accounts reported in error
       • Consumer is deceased. (if no other associated consumer remains responsible
         for the account)
       • Accounts that are being paid by insurance or were paid in full through
         insurance (not by the consumer)
       • Debt Buyers must also delete accounts that have been forwarded or sold to
         another entity.
       • Third Party Collection Agencies must also delete accounts for the following
         reasons:
         — Accounts that have been canceled and returned to the creditor
         — Accounts of consumers who have filed petitions for Bankruptcy


       Do not delete paid in full collection accounts.



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  DEBT BUYER/THIRD PARTY COLLECTION AGENCY
  REPORTING GUIDELINES
  8.     FCRA Compliance/Date of First Delinquency (Base Segment, Field 25) — the date
         of the first delinquency with the original creditor that led to the account being
         sold or placed for collection.

         Example:
         Original Credit Grantor Reports:

             Date of       Account
             Account        Status     Definition                                   Date of First
           Information       Code                                                   Delinquency
            05/31/2019        11       Current (0-29 days past the due date)        Zero fill
            06/30/2019        71       30-59 days past the due date                 06/20/2019
            07/31/2019        78       60-89 days past the due date                 06/20/2019
            08/31/2019        80       90-119 days past the due date                06/20/2019
            09/30/2019        82       120-149 days past the due date               06/20/2019
            10/31/2019        83       150-189 days past the due date               06/20/2019

         Account is sold to debt buyer or assigned to collection agency.

         Debt Buyer/Collection Agency Reports:

             Date of       Account
             Account        Status     Definition                                   Date of First
           Information       Code                                                   Delinquency
            12/31/2019        93       Collection                                   06/20/2019
            01/31/2020        93       Collection                                   06/20/2019
                                       Consumer agrees to a repayment plan.
                                       First payment is received by debt
                                       buyer, collection agency or credit
                                       grantor’s internal collection
                                       department.
            02/28/2020        93       Collection                                   06/20/2019
                                       Consumer continues to make
                                       payments. Current Balance is reported
                                       as decreasing.
            03/31/2020        62       Paid collection account                      06/20/2019
                                       Current Balance is reported as zero.

         Notes: The FCRA Compliance/Date of First Delinquency does not change
                due to subsequent repayment agreements.

                 When reporting returned checks, report the date the check was
                 returned for insufficient funds. If not available, report the date of
                 the check.




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  DEBT BUYER/THIRD PARTY COLLECTION AGENCY
  REPORTING GUIDELINES
         FCRA Compliance/Date of First Delinquency (continued)

         Effective March 31, 2004, the FCRA 1 states that “provided that the consumer does
         not dispute the information, a person that furnishes information on a delinquent
         account that is placed for collection, charged for profit and loss, or subjected to
         any similar action, complies with this paragraph, if –

             (i) the person reports the same date of delinquency as that provided by the
             creditor to which the account was owed at the time at which the
             commencement of the delinquency occurred, if the creditor previously reported
             that date of delinquency to a consumer reporting agency;

             (ii) the creditor did not previously report the date of delinquency to a consumer
             reporting agency, and the person establishes and follows reasonable
             procedures to obtain the date of delinquency from the creditor or another
             reliable source and reports that date to a consumer reporting agency as the
             date of delinquency; or

             (iii) the creditor did not previously report the date of delinquency to a
             consumer reporting agency and the date of delinquency cannot be reasonably
             obtained as provided in clause (ii), the person establishes and follows
             reasonable procedures to ensure the date reported as the date of delinquency
             precedes the date on which the account is placed for collection, charged to
             profit or loss, or subjected to any similar action, and reports such date to the
             credit reporting agency.”

  9.     Report Special Comments (Base Segment, Field 19) in conjunction with Account
         Status Codes to further define the accounts. As an example, Special Comment AU
         (Account paid in full for less than the full balance) could be reported with Account
         Status Code 62.




  1
      Fair Credit Reporting Act Section 623(a)(5) [15 U.S.C. § 1681s-2]

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  DEBT BUYER/THIRD PARTY COLLECTION AGENCY
  REPORTING GUIDELINES


  10.    Compliance Condition Codes (Base Segment, Field 20) – report the following
         codes, which are applicable to disputes under the Fair Debt Collection Practices
         Act (FDCPA) and to direct disputes under the Fair Credit Reporting Act (FCRA).

         XB – Account information has been disputed by the consumer directly to the data
         furnisher under the FCRA; the data furnisher is conducting its investigation. Code
         XB should be reported for FDCPA disputes.

         Important Note: Code XB should no longer be reported after the investigation
         is completed; the XB should be removed by reporting the removal code or
         changed to another code.

         XC – FCRA direct dispute investigation completed – consumer disagrees with the
         results of the data furnisher’s investigation.

         XH – Account previously in dispute; the data furnisher has completed its
         investigation. (To be used for disputes under the FDCPA and for direct disputes
         under the FCRA)

         XR – Removes the most recently reported Compliance Condition Code

  11.    Current Balance (Base Segment, Field 21) and Amount Past Due (Base Segment,
         Field 22) — may include fees and interest, depending on state and federal laws. If
         payments are made, the Current Balance and Amount Past Due should decrease
         accordingly.

  12.    Date of Last Payment (Base Segment, Field 27) – the date of the most recent
         payment made to the debt buyer or third party collection agency.

  13.    Address (Base Segment, Fields 39 – 45; J2 Segment, Fields 12 – 18) – report the
         consumer’s full address as provided by the original creditor or a newer known
         address. If the consumer’s current address is unknown, report the consumer’s
         last known address and Address Indicator ‘N’ (not confirmed address).

         Note: An address found through skip tracing processes should be reported
               only when confirmed to be the address of the consumer you are
               reporting.




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  DEBT BUYER/THIRD PARTY COLLECTION AGENCY
  REPORTING GUIDELINES
  14.   ECOA Code (Base Segment, Field 37; J1 and J2 Segment, Field 10) — used to
        designate an account as joint, individual, etc. in compliance with the Equal Credit
        Opportunity Act (ECOA). Refer to Exhibit 10 in the Metro 2® Format for a list of
        available codes.

        Notes: Authorized users (ECOA Code 3) should not be reported because
               they are not contractually liable.

                For accounts with more than one associated borrower, if one
                borrower becomes deceased, report ECOA Code Z (Delete Consumer)
                for that borrower. In subsequent reporting periods, only the
                remaining consumer should be reported.

  15.   Consumer Information Indicator (Base Segment, Field 38; J1 and J2 Segment,
        Field 11) — used to specify that a consumer has filed bankruptcy or a consumer
        cannot be located. Refer to Exhibit 11 in the Metro 2® Format for a list of
        available indicators.

        Note: Debt Buyers should not report purchased accounts that were included
              in discharged/completed Bankruptcies.

  16.   Report the K1 Segment, which contains the name of the original creditor,
        including any partnering affinity name, and the creditor’s classification. The
        Affinity Name further identifies or provides linkage detail for the relationship of the
        original creditor to any connecting or supporting entities (e.g., ABC BANK THE
        HOME STORE).

        When reporting returned checks, report the name of the payee in the Original
        Creditor Name field. Note that code 02 (Medical/Health Care) is used to identify
        an account as a medical collection debt in accordance with FCRA section 623.

        Notes: Refer to the guidelines for the K1 Segment in the Metro 2® Format.

        Both the Original Creditor Name and Creditor Classification are required and must
        be reported. The purpose of reporting the original creditor name is to help
        consumers identify the source of accounts that appear on their credit reports.
        Without the original creditor names, consumers may not know what the accounts
        represent.

        Federal law stipulates that the name of the payee must be identified when
        reporting returned checks. It also stipulates that medical debts must be
        identified.




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  DEBT BUYER/THIRD PARTY COLLECTION AGENCY
  REPORTING GUIDELINES
  17.    The following Base Segment fields are not applicable:

         •   Cycle Identifier (Field 6) – blank fill
         •   Credit Limit (Field 11) – zero fill
         •   Terms Frequency (Field 14) – blank fill
         •   Scheduled Monthly Payment Amount (Field 15) – zero fill
         •   Payment Rating (Field 17B) – blank fill
         •   Payment History Profile (Field 18) – blank fill
         •   Original Charge-off Amount (Field 23) – zero fill

  18.    Debt Buyers only – An optional segment that may be reported is the K2
         Segment, which contains the name of the company from which the account was
         purchased. If the original creditor name, which is reported in the K1 Segment,
         and the name of the company from which the account was purchased, are the
         same, the K2 Segment should not be reported.




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  Mortgage Loan Modifications

  GENERAL REPORTING GUIDELINES
  Report accounts in the standard Metro 2® Format. Refer to the Field Definitions
  module for detailed reporting guidelines.


   Making Home Affordable Program (HAMP)
   • First Liens                                                  Page   11-2
   • Second Liens                                                 Page   11-5
   Home Affordable Foreclosure AlternativesSM (HAFA)              Page   11-6
   Hardest Hit Fund (Unemployment Assistance)                     Page   11-7
   Other Unemployment Programs                                    Page   11-8
   Hope for Homeowners Program                                    Page   11-9
   Mortgage Loan Modification Program –                           Page   11-10
   Freddie Mac and Fannie Mae
   Home Affordable Refinance Program (HARP)                       Page 11-11
   General Guidelines for Renegotiated/Refinanced Accounts        Page 11-11




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  MAKING HOME AFFORDABLE PROGRAM

  First Liens

  Program Description

  The consumer must first make three reduced payments during the 3-month trial
  period before the loan modification becomes effective.

  If the three payments are made, the loan will be modified for the purpose of
  creating an affordable payment plan for the consumer. Commonly, Terms Duration
  may be extended and Scheduled Monthly Payment Amounts may be changed. A
  portion of the principal loan amount may be set aside, but must be paid upon
  transfer, payoff, sale, or at maturity.

  Reporting Guidelines for Trial Period:

  The guidelines below should be followed when reporting payments during the trial
  period:

  1. Current, but facing imminent default or Current, but eligible for loan
     modification

     If the consumer was current on his/her payments prior to the trial period, and
     makes each month’s trial period payment on time, report the consumer as
     current (Account Status 11) during the trial period. If the consumer is at least
     30 days past due during the trial period, report the Account Status Code that
     reflects the appropriate level of delinquency.

     Report the trial period payment in the Scheduled Monthly Payment Amount field.
     Special Comment Code ‘AC’ (Paying under a partial payment agreement) should
     also be reported.

  2. Delinquent

     If the consumer was delinquent (at least 30 days past the due date) prior to the
     trial period and the reduced payments do not bring the account current, report
     the Account Status Code that reflects the appropriate level of delinquency.

     Report the trial period payment in the Scheduled Monthly Payment Amount field.
     Special Comment Code ‘AC’ (Paying under a partial payment agreement) should
     also be reported.




  (continued)




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  MAKING HOME AFFORDABLE PROGRAM

  First Liens (continued)

  After the trial period:

  If the loan is not modified, report the account as per the original contractual
  agreement.

  If the loan is modified, the guidelines below for modified loans should be followed.
  Report the appropriate Account Status Code for each reporting period based on the
  new terms of the loan. Prior payment history reported on the account will be
  retained.

  Reporting Guidelines for Modified Loans

  Continue to report one tradeline under the original Account Number.

  •   Date Opened = the date the account was originally opened

  •   Original Loan Amount = the original amount of the loan, including the Balloon
      Payment Amount, if applicable

  •   Terms Duration = the modified terms

      Note: Terms Duration should reflect the terms for the life of the account.
            For a loan modification, set the Terms Duration from the original Date
            Opened to the new maturity date.

  •   Scheduled Monthly Payment Amount = new scheduled monthly payment amount
      as per the modified agreement

  •   Current Balance = the principal balance (including the Balloon Payment Amount
      if applicable), plus late charges, fees, interest and escrow that are due during
      the current reporting period

      Note: If a portion of the loan is forgiven, the forgiven amount should be
            deducted from the Current Balance owed.

  •   Account Status Code = the appropriate code based on the new terms of the loan

  •   Special Comment Code = CN (Loan modified under a federal government plan)

      Note: Special Comment Code CN should be reported as long as deemed
            appropriate by the data furnisher (such as, for 5 years until the
            interest rate is lowered), or until another special comment
            becomes more critical. For the length of time the special
            comment should be reported, consult with your internal Legal or
            Compliance department.


  (continued)
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  MAKING HOME AFFORDABLE PROGRAM
  First Liens (continued)

  •   K4 Segment = used to report the Balloon Payment or principal forbearance
      information, if applicable:

      •   Specialized Payment Indicator = 01 (Balloon Payment)

      •   Balloon Payment Due Date = the date the balloon payment is due which is
          equal to maturity of the amortizing portion of the loan.

          Note: The payoff date can be used in this field.

      •   Balloon Payment Amount = the amount of the balloon payment in whole
          dollars only

  Note: If your system requires you to change the Account Number, report the
        L1 Segment with the new Account Number, following reporting
        guidelines for the L1 Segment.




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  MAKING HOME AFFORDABLE PROGRAM

  Second Lien Modification Program (2MP)

  Under 2MP, when a borrower’s first lien is modified under HAMP (Home Affordable
  Modification Program) and the servicer of the second lien is a 2MP participant, that
  servicer must offer either to modify the borrower’s second lien according to a
  defined protocol or to accept a lump sum payment from Treasury in exchange for
  full extinguishment of the second lien.

  Reporting Guidelines for Modified Second Liens and Partially Extinguished
  Second Liens

  Follow the reporting guidelines for modified first liens (including the trial period and
  the modified loan) as described on pages 11-2 through 11-4.

  For partially extinguished second liens, the forgiven portion of the loan should be
  deducted from the Current Balance owed.

  IMPORTANT NOTE: When a borrower is current on the existing second lien and
  the current contractual payment amount is equal to or greater than the monthly
  payment that will be due following the 2MP modification, a trial period may not be
  required. The servicer and borrower may execute a modification of the second lien
  immediately following modification of the HAMP-modified first lien.


  Reporting Guidelines for Extinguished Second Liens

  Second liens that are fully extinguished under 2MP are forgiven and as such, are
  considered to be paid. Report all forgiven accounts as specified below:

  •   Account Status Code = 13 (Paid)
  •   Payment Rating = the appropriate code that identifies the status of the account
      within the current month’s reporting period
  •   Special Comment Code = AU (Account paid in full for less than the full balance)
  •   Current Balance and Amount Past Due = zero
  •   Date Closed = date the account was forgiven and considered to be paid

  Note that payment history for the forgiven accounts will be retained.




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  HOME AFFORDABLE FORECLOSURE ALTERNATIVESSM (HAFA)

  HAFA provides two options for consumers: a Short Sale or a Deed-in-Lieu (DIL) of
  foreclosure.

  In a short sale, the mortgage company allows the sale of the consumer’s house for
  an amount that falls short of the amount still owed. Unlike conventional short sales,
  a HAFA short sale completely releases the consumer from the mortgage debt after
  selling the property. The consumer will no longer be responsible for the amount
  that falls short of the amount owed. The deficiency is guaranteed to be waived by
  the servicer.

  In a Deed in Lieu, the mortgage company allows the consumer to give the title
  back, transferring ownership back to the mortgage company.


  Reporting Guidelines

  Follow the reporting guidelines in Frequently Asked Question & Answer 53 for
  Alternatives to Foreclosure: Deed in Lieu and Short Sale.




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  HARDEST HIT FUND (UNEMPLOYMENT ASSISTANCE)
  Program Description

  Treasury announced the Hardest Hit Fund program early in 2010 providing targeted
  aid to 18 states and the District of Columbia. The objective of the Housing Finance
  Agency’s (HFAs) Hardest-Hit Fund is to allow HFAs to develop creative, effective
  approaches that consider local conditions. Treasury has outlined below many of the
  possible types of transactions that would meet the requirements of the Emergency
  Economic Stabilization Act of 2008.


  a. Mortgage Modifications – Programs may provide for mortgage modification of
     loans held by HFAs or other financial institutions or provide incentives for
     servicers / investors to modify loans.

  b. Mortgage Modifications with Principal Forbearance – Programs may
     provide for paying down all or a portion of an overleveraged loan and taking
     back a note from the borrower for that amount in order to facilitate additional
     modifications.

  c. Short Sales / Deeds-In-Lieu of Foreclosure – Programs may provide for
     assistance with short sales and deeds in lieu of foreclosure in order to prevent
     avoidable foreclosures.

  d. Principal Reduction Programs for Borrowers with Severe Negative
     Equity – Programs may provide incentives for financial institutions to write-
     down a portion of unpaid principal balance for homeowners with severe negative
     equity.

  e. Unemployment Programs – Programs may provide assistance to unemployed
     borrowers to help them avoid preventable foreclosures.

  f. Second Lien Reductions – Programs may provide incentives to reduce or
     modify second liens.


  Reporting Guidelines

  For reporting guidelines on the various types of transactions described above, refer
  to other sections within this module and to various Frequently Asked Questions &
  Answers.




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  OTHER UNEMPLOYMENT PROGRAMS

  Home Affordable Unemployment Program

  For consumers who are unemployed, depending on their situation, MHA's Home
  Affordable Unemployment Program (UP) may reduce the consumer’s mortgage
  payments to 31 percent of their income or suspend payments altogether for 12
  months or more. UP is not currently available for homeowners with mortgages held
  by Fannie Mae and Freddie Mac.

  Fannie Mae’s Unemployment Forbearance Program

  Servicers have the flexibility to assist consumers who have a financial hardship due
  to unemployment. This program allows the consumer to receive a reduction or
  suspension of the monthly mortgage payment for a specific period of time. If
  during the final month of the initial Unemployment Forbearance period, the
  consumer remains unemployed, the servicer must determine if the consumer is
  eligible for an extension of Unemployment Forbearance of no more than six
  additional months.

  Freddie Mac’s Unemployment Forbearance Program

  Freddie Mac’s forbearance requirements provide a “short-term unemployment
  forbearance” relief option to assist consumers who are unable to make their
  mortgage payments due to unemployment. In addition, Freddie Mac offers an
  “extended unemployment forbearance” relief option to provide an extension of the
  forbearance period if the consumers have not regained employment after the short-
  term forbearance period has ended. These additional relief options give
  unemployed borrowers an opportunity to retain homeownership by providing
  mortgage payment relief while they seek re-employment.

  Servicers have delegated authority to approve an eligible consumer for a short-
  term unemployment forbearance period of six months during which time the
  monthly mortgage payment is either suspended or reduced. If the consumer
  remains unemployed at the end of the short-term unemployment forbearance
  period, the Servicer must consider the consumer for extended unemployment
  forbearance. If the consumer meets the eligibility criteria for extended
  unemployment forbearance, the Servicer must obtain Freddie Mac’s written
  approval before entering into an extended unemployment forbearance plan with the
  consumer.

  Reporting Guidelines

  Follow the reporting guidelines documented in Frequently Asked Question & Answer
  45 for Accounts in Forbearance for the programs described above.




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  HOPE FOR HOMEOWNERS PROGRAM

  The HOPE for Homeowners Act of 2008 created a new program within FHA to back
  FHA-insured mortgages to distressed borrowers. The new mortgages offered by
  FHA-approved lenders will refinance loans at a significant discount for homeowners
  facing difficulty meeting their mortgage payments.

  Reporting Guidelines:

  1. The original mortgage loan is considered to be closed due to refinance and a
     new loan is opened.

     Report the original mortgage loan as specified below:

     •   Account Status Code = 13 (Paid)
     •   Payment Rating = the appropriate code that identifies the status of the
         account within the current month’s reporting period
     •   Special Comment Code = AS (Account closed due to refinance)
     •   Current Balance and Amount Past Due = zero
     •   Date Closed = date the account was closed due to refinance

     Note that payment history for the original mortgage loan will be retained.

     Report the newly refinanced loan with the new Account Number, new Date
     Opened, Special Comment Code CN (Loan modified under a federal government
     plan) and all other applicable fields.

     Note that payment history that occurred prior to the new Date Opened should
     not be reported with this account.

  2. All subordinate liens on the property must be extinguished. Any such liens (i.e.,
     loans or lines of credit) are forgiven and are considered to be paid.

     Report all forgiven accounts as specified below:

     •   Account Status Code = 13 (Paid)
     •   Payment Rating = the appropriate code that identifies the status of the
         account within the current month’s reporting period
     •   Special Comment Code = AU (Account paid in full for less than the full
         balance)
     •   Current Balance and Amount Past Due = zero
     •   Date Closed = date the account was forgiven and considered to be paid

     Note that payment history for the forgiven accounts will be retained.




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  MORTGAGE LOAN MODIFICATION PROGRAM –
  FREDDIE MAC AND FANNIE MAE
  Freddie Mac & Fannie Mae began offering a streamlined modification program starting
  12/15/2008 for a targeted group of borrowers with certain loan criteria. As it relates to
  credit reporting, all eligible loans under this program must be at least 3 payments
  delinquent.

  The consumer must first make three reduced payments during the 3-month trial period
  before the loan modification becomes effective. During that time, the data furnisher
  should report the true Account Status Code, which is delinquent, and Special Comment
  Code AC (Paying under a partial payment agreement).

  If the three payments are made, the loan will be modified for the purpose of creating
  an affordable payment plan for the consumer. Terms Duration may be extended and
  Scheduled Monthly Payment Amounts may be changed. A portion of the principal loan
  amount may be set aside, but must be paid upon transfer, payoff, sale, or at maturity.
  This set-aside amount would be considered the balloon payment.

  Reporting Guidelines:

  Continue to report one tradeline under the original Account Number.

  •   Date Opened = the date the account was originally opened
  •   Original Loan Amount = the original amount of the loan, including the Balloon
      Payment Amount
  •   Terms Duration = the modified terms
      Note: Terms Duration should reflect the terms for the life of the account. For a
            loan modification, set the Terms Duration from the original Date Opened
            to the new maturity date.
  •   Scheduled Monthly Payment Amount = the new scheduled monthly payment amount
      as per the modified agreement
  •   Current Balance = the principal balance (including the Balloon Payment Amount if
      applicable), plus late charges, fees, interest and escrow that are due during the
      current reporting period
  •   Account Status Code = the appropriate code based on the new terms of the loan
  •   Special Comment Code = CN (Loan modified under a federal government plan)

      Note: Special Comment Code CN should be reported as long as deemed
            appropriate by the data furnisher, or until another special comment
            becomes more critical. For the length of time the special comment
            should be reported, consult with your internal Legal or Compliance
            department.

  •   K4 Segment = used to report Balloon Payment or principal forbearance information:
      • Specialized Payment Indicator = 01 (Balloon Payment)
      • Balloon Payment Due Date = the date the balloon payment is due which is equal
         to maturity of the amortizing portion of the loan
          Note: The payoff date may be used in this field.
      •   Balloon Payment Amount = amount of the balloon payment in whole dollars only




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  HOME AFFORDABLE REFINANCE PROGRAM (HARP)

  The guidelines documented in Frequently Asked Question & Answer 42 (General
  Guidelines for Renegotiated or Refinanced Loans) may be used when reporting
  loans refinanced under HARP.


  GENERAL GUIDELINES FOR RENEGOTIATED/REFINANCED MORTGAGE
  ACCOUNTS

  Refer to Frequently Asked Question and Answer 42 for general guidelines on
  reporting renegotiated or refinanced mortgage accounts (i.e., mortgage loans that
  are not modified through one of the federal government programs).




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  Student Loan Reporting

  This module contains the reporting guidelines for both Federal and Private Student
  Loans. The contents of the two separate sections are detailed below.

  Student Loan Reporting – Federal Loans

   General Reporting Guidelines                                        Page 12-2

   Federal Loans – Lender/Servicer/Secondary Market                    Page 12-3
   Single, Multiple and Consolidated Loans, Deferment or               Page 12-9
   Forbearance, Loan Defaults and Transfers
   Loan Forgiveness and Discharge                                      Page 12-12
   Total and Permanent Disability (TPD) Discharge Procedures           Page 12-14
   for Non-defaulted Loans (Standard and VA)
   Total and Permanent Disability (TPD) Discharge Procedures           Page 12-15
   (Federal Perkins Loan Program)
   Rehabilitated Student Loans and Recalled and Repurchased            Page 12-16
   Student Loans

   Federal Loans – Reporting Guidelines for Post-Default Loans         Page 12-17
   Special Situations                                                  Page 12-20
   Total and Permanent Disability (TPD) Discharge Procedures           Page 12-21
   for Non-defaulted FFELP Loans (Standard and VA)
   Total and Permanent Disability (TPD) Discharge Procedures           Page 12-21
   for Defaulted Loans (Standard and VA)

   Federal Student Loan Glossary of Terms                              Page 12-22

  Student Loan Reporting – Private Loans

   General Reporting Guidelines                                        Page 12-25

   Private Loans – Lender/Servicer/Secondary Market                    Page 12-26
   Single, Multiple and Refinanced Loans, Deferment or                 Page 12-33
   Forbearance, Loan Sales and Transfers, Co-Signer Release,
   Loan Defaults
   Write-off of Private Student Loan Balances due to Death or          Page 12-36
   Disability: For private student loans, write-off reporting
   requirements apply following approval by the loan holder.
   Rehabilitated Private Student Loans                                 Page 12-38

   Private Student Loan Glossary of Terms                              Page 12-42




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  Student Loan Reporting – Federal Loans

  GENERAL REPORTING GUIDELINES
  Reporters of federal student loan information include lenders, servicers, secondary
  markets, collection agencies and the U.S. Department of Education (“ED”).

  The following reporting guidelines refer to all reporters of federal student loan
  information:

  •   Report data in the standard Metro 2® Format, including the Header Record.

  •   Report all open accounts on a monthly basis.

  •   Report transferred, paid, and government claim accounts in the reporting period
      in which they are finalized.

  •   Do not report accounts prior to the first disbursement.

  •   Report the complete name, address, social security number and date of birth of
      the consumer.

  •   In the Identification Number field, report the internal code that identifies the
      lender, secondary market, or guarantor where information is verified. For
      servicers, the Identification Number should refer to the current loan
      owner/holder; e.g., Servicer Name/Dept. of Ed.

  •   All parties reporting credit information must respond to consumer inquiries.

  Note: The guidelines in this document are specific to your industry and
        should be used in conjunction with specifications in the Metro 2®
        Format. Refer to the Metro 2® Format for detailed information on
        segments and field information.




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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
  All fields within the Metro 2® Format are required to be reported for each
  account. The information below describes fields that require specific
  values.

  Do not report a loan until a disbursement has been made.

   Identification Number   For loans reported by a servicer, the Identification Number
   Base Segment, Field 5   should refer to the current loan owner/holder or servicer and
                           loan owner/holder; e.g., Servicer Name/Dept. of Ed.

                           Note: Verification of accounts will be done with the servicer.

   Account Type Code       12 (Education) for installment accounts
   Base Segment, Field 9

   Highest Credit or       The Original Loan Amount should be increased for subsequent
   Original Loan Amount    disbursements of a loan, and reduced for disbursements that
   Base Segment, Field     are canceled or returned.
   12
                           Do not increase the Original Loan Amount as a result of interest
                           capitalization or fees incurred post-disbursement.

   Terms Duration          Report the maximum number of months allowed for repayment
   Base Segment, Field     of the loan.
   13
                           For loans in an Income Driven Repayment (IDR) plan, the
                           Terms Duration should reflect the maximum number of months
                           allowed for repayment of the loan, which is the number of
                           months between the start of repayment and when the loan
                           could be forgiven if not repaid by the borrower, or the fixed
                           number of months for the IDR plan. For example, a loan being
                           repaid under the Pay as You Earn Repayment Plan should
                           always have Terms Duration = 240 months.

                           While payments are being made toward the Public Service Loan
                           Forgiveness Program, report Terms Duration based on the
                           actual repayment plan (i.e., standard, extended or IDR).

                           When the loan is in a period during which payments are not
                           required (i.e., initial in-school, grace, deferment, and
                           forbearance periods), report Terms Duration as blank.

                           For loans that are no longer guaranteed and are reported as in
                           collections (Account Status 93 or 62), report a constant of 001.

   Scheduled Monthly       Report the monthly payment amount for the repayment plan in
   Payment Amount,         which the borrower is enrolled during the current reporting
   Base Segment, Field     period.
   15
                           For loans in an Income Driven Repayment (IDR) plan, report
                           the amount the consumer is required to pay for each month in
                           the IDR plan, which can be as low as $0.


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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

   Account Status Code    • 11 = Open account in good standing
   Base Segment, Field
   17A                      For ED-owned loans, Account Status 11 should be reported
                            until the loan is 90 days or more past the due date as of the
                            Date of Account Information.

                            For all other federal student loans, Account Status 11 should
                            be reported until the loan is at least 60 or 90 days past the
                            due date as of the Date of Account Information, based on
                            loan holder requirements.

                          • 11 for Income Driven Repayment (IDR) plans when the
                            Scheduled Monthly Payment Amount = $0

                          • 11 with Terms Frequency D and Payment History Profile
                            Character B — Open account/payments deferred/account was
                            never in repayment

                          • 11 with Terms Frequency D and Payment History Profile
                            Character D — Open account/payments deferred/account was
                            previously in repayment

                            Note: Terms Frequency Code D should be used with Account
                            Status Code 11 and Amount Past Due = 0 when payments
                            are not currently required (e.g., deferment, grace period,
                            forbearance), but there is a future payment obligation, even
                            if the loan has an unresolved delinquency prior to or during
                            the deferred period.

                          • 78, 80, 82–84 = the appropriate stage of delinquency (60
                            days to 180 or more days past the due date). Refer to
                            Account Status 11 above for exceptions due to delayed
                            delinquency reporting.

                          • 13 = Paid/zero balance account (requires Payment Rating)

                            Note: For paid in full accounts, report the Date Closed. Also,
                            report both the Current Balance and the Amount Past Due as
                            zero. Refer to Frequently Asked Question and Answer 39 for
                            additional guidance on reporting accounts that are paid in
                            full.

                          • DA = Delete entire account
                          • DF = Delete entire account due to confirmed fraud

                            Note: Refer to guidance throughout this module for specific
                            situations on deleting accounts.

                          (continued)




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  FEDERAL LOANS – LENDER SERVICER/SECONDARY MARKET

   Account Status Code   For federally-guaranteed student loans that are no
   Base Segment, Field   longer guaranteed, the following additional Account Status
   17A                   Codes may be reported for loans that are defaulted, in
   (continued)           collections, or charged off:

                         •   93   =   Account assigned to internal or external collections
                         •   97   =   Unpaid balance reported as a loss (charge-off)
                         •   62   =   Account paid in full, was a collection account
                         •   64   =   Account paid in full, was a charge-off

   Payment History       Refer to Metro 2® Format module for standard guidelines on
   Profile               reporting up to 24 months of payment history.
   Base Segment, Field
   18                    The Payment History Profile will reflect accounts going from
                         current to 60 or 90 days delinquent due to delayed delinquency
                         reporting (refer to Account Status 11 above).

                         Examples:

                         •   332000000000220000000000 (first reported delinquent at
                             60 days)
                         •   004333000000300030000000 (first reported delinquent at
                             90 days)

                         For months during which payments were not required (i.e.,
                         initial in-school, grace, deferment and forbearance periods):

                         •   Report value D for loans that were previously in repayment.

                         •   Report value B for loans that have never been in
                             repayment.

                             Note: If payment history was reported in error (i.e.,
                             account mistakenly reported as in repayment), report value
                             D.

                         When adjusting the initial in-school or grace period status of a
                         loan that covers one or more months previously reported in the
                         Payment History Profile, the applicable months should be
                         updated to reflect character D (no payment history available
                         this month).




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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
   Special Comment        The Special Comments that apply to Federal Student Loans are
   Base Segment, Field    listed below. No other codes may be reported.
   19
                          •   O – when reporting a transfer to another servicer or
                              guaranty agency that is not due to a loan sale, with the
                              exception of internal transfers; i.e., ED-owned loans or
                              defaults reported by a FFELP servicer
                          •   AH – when a loan is purchased by another company
                          •   AT – when reporting an internal transfer of an ED-owned
                              loan or a default by a FFELP servicer
                          •   AU – when a loan is paid in full for less than the full balance
                          •   AW – when the borrower is affected by a natural or
                              declared disaster. Follow guidance in FAQ 58.

                          Notes:

                          Special Comment Code AL (Student Loan assigned to
                          government) became obsolete for reporting as of April 2020.

                          Special Comment Code CP (Forbearance) should not be used
                          for federal student loans. Forbearance should be reported
                          similarly to deferment, as per FAQ 44.




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  FEDERAL LOANS – LENDER /SERVICER/SECONDARY MARKET
   FCRA Compliance/Date    Refer to Metro 2® Format module and Exhibit 9 (Explanation
   of First Delinquency    and Examples of FCRA Compliance/Date of First Delinquency)
   (DOFD)                  for standard guidelines on reporting DOFD according to
   Base Segment, Field     hierarchy rules.
   25
                           Regarding hierarchy rules 1 and 2: Report the date of the first
                           30-day delinquency that led to the Account Status or Payment
                           Rating being reported even though reporting of delinquency is
                           delayed until the loan is 60 or 90 days past the due date.
                           When the Account Status is 11 (Current), report Date of First
                           Delinquency = 0. However, when reporting delinquent
                           statuses, do not change/update the Date of First Delinquency
                           unless the borrower has brought the account back to less than
                           30 days past the due date. A borrower may be less than 60 or
                           90 days past the due date (i.e., Account Status 11) without
                           triggering a change to the Date of First Delinquency.

                           Example:

                           Refer to table below for example of DOFD reporting for loans
                           that may not be reported as delinquent until 90 days past the
                           due date.

    Date of                        # of Days
                  Next Payment                   Account Status
    Account                        Past Due                       Date of First Delinquency
                  Due Date                       and Definition
    Information                    Date                           (Field 25)
                  (not reported)                 (Field 17A)
    (Field 24)                     (not rptd.)
                                                       11
    03/31/2019     04/15/2019           0                                  Zero fill
                                                    (Current)
    04/30/2019     04/15/2019          15              11                    Zero fill
    05/31/2019     04/15/2019          46              11                    Zero fill
    06/30/2019     04/15/2019          76              11                    Zero fill
                                                       80                 05/15/2019
    07/31/2019     04/15/2019         107         (90-119 days           (30 days after
                                                    past due)        04/15/2019 due date)
    08/31/2019     06/15/2019          77              11                    Zero fill
                                                                          05/15/2019
                                                                    (DOFD does not reset;
    09/30/2019     06/15/2019         107              80
                                                                   borrower never less than
                                                                      30 days delinquent)
    10/31/2019     08/15/2019          77              11                    Zero fill
    11/30/2019     10/15/2019          46              11                    Zero fill
                                                                             Zero fill
                                                                    (Borrower less than 30
    12/31/2019     12/15/2019          16              11           days delinquent; DOFD
                                                                       will reset if future
                                                                          delinquency)
    01/31/2020     12/15/2019          47              11                    Zero fill
    02/28/2020     12/15/2019          75              11                    Zero fill
                                                                          01/14/2020
    03/31/2020     12/15/2019         106              80                (30 days after
                                                                     12/15/2019 due date)

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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

   Date of Last Payment     Report the date the most recent payment was received
   Base Segment, Field      whether a partial or full payment was made.
   27
                            For loans in an Income Driven Repayment (IDR) plan, when
                            the Scheduled Monthly Payment Amount = 0 and the Actual
                            Payment Amount = 0, report the payment due date within the
                            current reporting period as the Date of Last Payment.

   Consumer Information     Used to specify that a consumer’s student loan has been
   Indicator                included in bankruptcy or a consumer cannot be located. Refer
   Base Segment Field 38    to Exhibit 11 for a list of available indicators.
   J1 and J2 Segments –
   Field 11                 Note: Refer to FAQ 23 for guidelines on reporting an account
                            when a consumer files bankruptcy, but the student loan is not
                            included in the bankruptcy discharge.

   K4 Segment               Report for deferred loans:
   Deferred Payment         • Specialized Payment Indicator = 02 (Deferred payment)
   information              • Deferred Payment Start Date = date the first payment is
                               due. If not available, report the date on which the deferred
                               period will end.

                            Note: If neither date is available, do not report the K4
                            Segment.

   L1 Segment               When account history can be verified, report one time when
   Consumer Account         account numbers change due to an account acquisition or
   Number Change            internal account number change.

                            Refer to FAQ 46 for guidelines on reporting when account
                            history cannot be verified by the new servicer.




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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

    Single, Multiple and Consolidated Loans, Deferment or Forbearance,
    Loan Defaults and Transfers
    Multiple disbursements   When a loan has multiple disbursements, report the loan as
    of a single loan         one account.

                             •   Retain and do not change the original Consumer Account
                                 Number when additional disbursements are reported.

                             •   Retain and do not change the original Date Opened after
                                 the loan is reported.

                             •   Update the Original Loan Amount, Current Balance, and
                                 Scheduled Monthly Payment Amount (when in
                                 repayment) as applicable, to include totals for all
                                 disbursements. Reduce these amount fields as
                                 applicable, due to the amount of any canceled or
                                 returned disbursements.

                                 Example: If the loan is for $10,000 and the first
                                 disbursement is for $2,000, report the Original Loan
                                 Amount field as $2,000. If an additional disbursement is
                                 made for $8,000, increase the Original Loan Amount to
                                 $10,000. If the $2,000 disbursement is subsequently
                                 canceled, reduce the Original Loan Amount to $8,000.

                             •   If all disbursements are canceled or returned, report
                                 Account Status DA to delete the account.

    Multiple loans           Multiple loans must be reported as separate accounts.

    Consolidated loans       When a loan is paid in full through consolidation, report the
                             loan with Account Status Code 13 and the appropriate
                             Payment Rating.

                             The new consolidation loan, which paid the underlying loans
                             in full, must be reported as a new account.


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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
    Loans in deferment or      Report federal student loans in deferment or forbearance as
    forbearance                deferred. Refer to Frequently Asked Question and Answer
                               44 for specific reporting guidance.

    Loans transferred to       Follow the standard guidelines in Frequently Asked Question
    another servicer or        and Answer 46 for servicing transfers.
    lender
                               •   Report Special Comment Code AT for ED-owned loans.
                               •   Report Special Comment Code O or AT (as applicable)
                                   for guaranteed loans.

                               Follow the standard guidelines in Frequently Asked Question
                               and Answer 47 for transfers as a result of a loan sale.

    Loans transferred in       Follow the standard guidelines in Frequently Asked Question
    from another servicer      and Answers 46 for servicing transfers and 48 for transfers
    or lender                  in as a result of a loan purchase.

    ED-owned loans             Follow the standard guidelines in Frequently Asked Question
    transferred to ED due      and Answer 46 for servicing transfers. Report Special
    to default or ineligible   Comment Code AT to denote an internal transfer.
    borrower
    Guaranteed loans           Follow the standard guidelines in Frequently Asked Question
    transferred to             and Answer 46 for servicing transfers. Report Special
    Guaranty Agency due        Comment Code O or AT, as applicable.
    to default/claim
    payment or bankruptcy

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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

   Federally guaranteed      Follow the standard guidelines in Frequently Asked Question
   loans that are no         and Answer 46 for servicing transfers. Report Special
   longer guaranteed         Comment Code O or AT, as applicable.
   (i.e., unreinsured
   loans) that               Report Account Status Code 97 with the applicable Special
   default/charge off and    Comment Code if the loan was charged off at the time of
   transfer from the         transfer, or Account Status Code 93 if in collections at the
   servicer to another       time of transfer.
   entity at the time of
   default/charge off

   Defaulted federal loans   If the loans have been charged off, follow the standard
   that are no longer        guidelines in Frequently Asked Questions and Answers 34 or
   guaranteed (i.e.,         65, as applicable.
   unreinsured loans) and
   are not transferred at    Loans that have defaulted and are in collections should be
   the time of               reported with Account Status 93 and the Current Balance
   default/charge-off        and Amount Past Due = outstanding balance amount.
                             Account Status 62 must be reported when the loan is paid in
                             full.

                             As an option, loans that have defaulted and are in collections
                             may be reported with the applicable level of delinquency
                             rather than Account Status 93. When using this option,
                             Account Status Code 13 should be reported when the
                             account is paid in full.

                             In all situations, if the account is settled for less than the
                             outstanding balance, follow the guidance in Frequently
                             Asked Question and Answer 38, which requires reporting
                             Special Comment Code AU along with the applicable paid
                             status.




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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
    Loan Forgiveness and Discharge

    For guaranteed federal loans, the forgiveness or discharge reporting
    requirements apply following approval and payment of the claim by the
    guarantor.
    Loans forgiven due to      If the account is partially forgiven, reduce the Current
    Borrower Defense to        Balance to reflect the amount remaining after the partial
    Repayment                  forgiveness and update the Payment History Profile with
                               character D for months prior to approval of the partial
                               forgiveness. Continue reporting the account normally in
                               subsequent reporting periods.

                               If the loan is completely forgiven, report Account Status
                               Code DA to delete the account.

    Loans forgiven due to      If the loan is partially forgiven, reduce the Current Balance
    Teacher Loan               to reflect the amount remaining after the partial forgiveness.
    Forgiveness
                               If the loan is completely forgiven and had been in
                               repayment prior to being forgiven, report Account Status
                               Code 13, Payment Rating 0, Current Balance 0 and Amount
                               Past Due 0 to indicate a paid/closed account, along with the
                               appropriate Date Closed.

                               If the loan is completely forgiven, but had never been in
                               repayment, report Account Status Code DA to delete the
                               account.

    Loans forgiven due to      Report Account Status Code 13, Payment Rating 0, Current
    Public Service Loan        Balance 0 and Amount Past Due 0 to indicate a paid/closed
    Forgiveness                account, along with the appropriate Date Closed.

    Loans forgiven or paid     Report Account Status Code 13, Payment Rating 0, Current
    in full upon completion    Balance 0 and Amount Past Due 0 to indicate a paid/closed
    of an income-driven        account, along with the appropriate Date Closed.
    repayment (IDR) plan
    Loans discharged due       Report Account Status Code DA to delete the account.
    to school closure
    Loans discharged due       Report Account Status Code DF to delete the account.
    to False Certification
    or, prior to discharge,
    when the loan is
    determined to be the
    result of identity theft
    Loans discharged due       Report Account Status Code DA to delete the account.
    to Unpaid Refund

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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
   Loans discharged due         If the loan had been in repayment prior to the student’s
   to the death of a            death, report Account Status Code 13, Payment Rating 0,
   student who is not a         Current Balance 0, and Amount Past Due 0 to indicate a
   party to the loan (e.g.,     paid/closed account, along with the appropriate Date Closed.
   Parent PLUS Loan or          The Payment History Profile should be updated to reflect
   Consolidated Loan that       value D for months between the date of death and the
   includes a Parent PLUS       reporting period in which the loan is reported with Account
   Loan)                        Status Code 13.

                                If the loan had never been in repayment, report Account
                                Status Code DA to delete the account.

                                ECOA Code X should not be reported because the student
                                that is deceased is not a party to the loan. ECOA Code X
                                must be reported only when a party to the loan is deceased.
                                Refer to Frequently Asked Question and Answer 19 for
                                reporting when a party to the loan is deceased.

   Loans discharged due         If the loan had been in repayment prior to the death of a
   to the death of a party      party to the loan, report Account Status Code 13, Payment
   to the loan                  Rating 0, Current Balance 0, and Amount Past Due 0 to
                                indicate a paid/closed account, along with the appropriate
                                Date Closed. Report ECOA Code X in the applicable Base or
                                J1/J2 Segment for the deceased party as described in
                                Frequently Asked Question and Answer 19.

                                If the loan had never been in repayment, report Account
                                Status Code DA to delete the account.




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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

    Total and Permanent Disability (TPD) Discharge Procedures for
    Non-defaulted Loans (Standard and VA)
    Initial indication of     When notice is received from ED that the borrower has
    interest in TPD           indicated interest in a TPD discharge and collection activities
    discharge by borrower     are suspended for 120 days, report the account as deferred.
                              Refer to Frequently Asked Question and Answer 44 for
                              specific reporting guidelines. Do not report Special
                              Comment CP.

    Initial TPD application   When notice is received from ED that the borrower has
    filed by borrower         applied for a TPD discharge and collection activities are
                              suspended, report the account as deferred. Refer to
                              Frequently Asked Question and Answer 44 for specific
                              reporting guidelines. Since the Deferred Payment Start Date
                              will not be known, do not report the K4 Segment. Do not
                              report Special Comment CP.

    TPD discharge not         If the discharge is not approved, stop reporting the account
    approved                  as deferred and resume reporting the account normally
                              going forward.

                              The “D’s” reported in the Payment History Profile during the
                              deferral time period should not be removed.

    TPD discharge             Report the account with the following Base Segment fields:
    approved
                              •   Account Status Code = 13 (Paid)

                                  Note: If the TPD effective date is prior to the date the
                                  loan entered repayment, or is prior to the date that the
                                  lender or servicer began reporting the loan, report
                                  Account Status DA to delete the account.

                              •   Payment Rating = 0 (Current; since no payments were
                                  due within this reporting period)

                              •   Payment History Profile = Report value D (no payment
                                  history available this month) in the positions
                                  representing the months going back to the TPD effective
                                  date. Adjustments to months earlier than the previous
                                  24 months prior to the Date of Account Information must
                                  be corrected by submitting an AUD through e-OSCAR®.

                                  Note: Any delinquencies that occurred prior to the TPD
                                  effective date should remain on the file and should not
                                  be deleted.


                              (continued)




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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET
    TPD discharge             •   Current Balance and Amount Past Due = 0
    approved
    (continued)               •   Date of Account Information = Report a date within the
                                  current month’s reporting period even if the paid
                                  effective date was in a prior month. Refer to Frequently
                                  Asked Question and Answer 39.

                              •   Date Closed = Date the TPD discharge was approved by
                                  ED.

                              Notes:
                              If notified by a subsequent servicer that the TPD effective
                              date was during the period that a prior servicer was
                              responsible for reporting the account, the prior servicer
                              should also follow the reporting guidelines outlined above.

                              If a loan discharged under Standard TPD is reinstated within
                              3 years, a new account will have to be reported by the
                              current servicer because the discharged account was
                              reported as paid. The new account should be reported with
                              Account Status 11 (current).



    Total and Permanent Disability (TPD) Discharge Procedures
    (Federal Perkins Loan Program)
    Non-defaulted loans       •   Follow the standard guidelines in Frequently Asked
                                  Question and Answer 46; option 2 to report the account
                                  as transferred.

                              •   Any credit history already established by the borrower
                                  will be retained for historical credit reporting purposes.

                              •   No further reporting by the school is required. ED will be
                                  responsible for reporting the loan after assignment.

    Defaulted loan            •   Follow the standard guidelines in Frequently Asked
                                  Question and Answer 46; option 2 to report the account
    (previously reported          as transferred.
    by the school as
    Account Status 93         •   All collection history already reported will be retained for
    (collection)                  historical credit reporting purposes.

                              •   No further reporting by the school is required. ED will be
                                  responsible for reporting the loan after assignment.




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  FEDERAL LOANS – LENDER/SERVICER/SECONDARY MARKET

    Rehabilitated Student Loans and Recalled and Repurchased Student
    Loans
    Section 428F(a)(1)(A) of the Higher Education Act of 1965 was amended by the Higher
    Education Opportunity Act of 2008 to require that, upon the rehabilitation of a defaulted
    loan, the holder of the loan must request any consumer reporting agency to which the
    guaranty agency or holder had reported the default of the loan to remove the record of
    default from the borrower’s credit history.

    Recall and repurchase occurs for federal student loans after a loan is reported as
    defaulted and an event occurs that restores the loan to its prior status. In this case, the
    credit report must be updated in the same manner as a rehabilitated student loan.

    Since defaulted federal student loans are reported as transferred, there is no clear
    “notice of default” to remove from the reported account.

    If the student loan is rehabilitated, the new or previous lender should report the loan as
    a new account going forward. Payment history reported prior to the default should not
    be included with the new account.


    IMPORTANT NOTE: Contact your data representatives at the consumer
    reporting agencies to ensure that previously-reported “defaults” have been
    removed.




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  FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS
  The following guidance is specific to reporting by the guarantor or its
  servicer/agent. All fields within the Metro 2® Format are required to be reported
  for each account. The information below describes fields that require specific
  values.

  •    Do not report the account during the review period.
  •    Do not report the account if it is returned to the lender.
  •    Do not report the account if it was transferred to the guarantor due to a claim payment
       for any reason other than default for non-payment.
  •    Guaranty agencies should follow the reporting guidelines for Lender/Servicer/Secondary
       Market when reporting loans that are not guaranteed by the federal government.

      Consumer Account           Report the new number as assigned by the guaranty agency.
      Number
      Base Segment, Field 7      Note: Do not report the consumer’s Social Security Number in
                                 whole or in part within the Consumer Account Number.

      Portfolio Type             O (Open)
      Base Segment, Field 8
      Date Opened                Report the date the defaulted claim was paid to the lender.
      Base Segment, Field 10
      Highest Credit/Original    Report the claim amount that was paid to the lender.
      Loan Amount
      Base Segment, Field 12
      Terms Duration             001 (one payment as scheduled)
      Base Segment, Field 13
      Terms Frequency            Blank
      Base Segment, Field 14
      Account Status Code        Report only the following:
      Base Segment, Field
      17A                        •    93 = Account assigned to internal or external collections.
                                      (Account Status 93 should be reported immediately after
                                      the review period if the account is retained.)
                                 •    62 = Account paid in full/was a collection account.

                                 Notes:
                                 If a consumer is making payments, continue to report the
                                 account with Account Status Code 93, but report the declining
                                 balance.

                                 If accounts are turned over to a Collection Agency and the
                                 Collection Agency reports the accounts to the credit reporting
                                 agencies, the guaranty agency should report the accounts as
                                 Status DA to delete them. These accounts cannot be reported
                                 by both agencies, causing duplication. The FCRA
                                 Compliance/Date of First Delinquency should contain the date
                                 of the first delinquency with the original lender that led to the
                                 default. The K1 Segment should contain the complete name of
                                 the original lender/servicer/secondary market to whom the
                                 claim was paid, as well as Creditor Classification Code 07.




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  FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS
      FCRA Compliance/Date       Report the date of the first delinquency with the original
      of First Delinquency       lender that led to the loan being transferred to the guaranty
      (DOFD)                     agency. If multiple defaults are reported as one loan
      Base Segment, Field 25     (compressed), the Date of First Delinquency must be the date
                                 of the first delinquency that led to the earliest default.

                                 Note:
                                 Effective March 31, 2004, the FCRA 1 states that “provided that
                                 the consumer does not dispute the information, a person that
                                 furnishes information on a delinquent account that is placed
                                 for collection, charged for profit and loss, or subjected to any
                                 similar action, complies with this paragraph, if –

                                 (i) the person reports the same date of delinquency as that
                                 provided by the creditor to which the account was owed at the
                                 time at which the commencement of the delinquency occurred, i
                                 the creditor previously reported that date of delinquency to a
                                 consumer reporting agency;

                                 (ii) the creditor did not previously report the date of
                                 delinquency to a consumer reporting agency, and the person
                                 establishes and follows reasonable procedures to obtain the
                                 date of delinquency from the creditor or another reliable source
                                 and reports that date to a consumer reporting agency as the
                                 date of delinquency; or

                                 (iii) the creditor did not previously report the date of
                                 delinquency to a consumer reporting agency and the date of
                                 delinquency cannot be reasonably obtained as provided in
                                 clause (ii), the person establishes and follows reasonable
                                 procedures to ensure the date reported as the date of
                                 delinquency precedes the date on which the account is placed
                                 for collection, charged to profit or loss, or subjected to any
                                 similar action, and reports such date to the credit reporting
                                 agency.”




  1
      Fair Credit Reporting Act Section 623 (a) (5)

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  FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS
   Consumer Information    Used to specify that a consumer’s student loan has been
   Indicator               included in bankruptcy or a consumer cannot be located.
   Base Segment, Field     Refer to Exhibit 11 in the Metro 2® Format for a list of
   38; J1/J2 Segment,      available indicators.
   Field 11
                           When a defaulted loan is included in a bankruptcy filing, the
                           guaranty agency should report the account with Account
                           Status 93 and the applicable bankruptcy CII.

                           If the account is reported by the guaranty agency during the
                           bankruptcy and is repurchased by the lender at the conclusion
                           of the bankruptcy, the guaranty agency should report Account
                           Status DA to delete the account.

                           Notes: Refer to FAQ 23 for guidelines on reporting an account
                           when a consumer files bankruptcy, but the student loan is not
                           included in the bankruptcy discharge.

                           Non-defaulted loans that were claim paid by the guaranty
                           agency due to a bankruptcy should not be reported by the
                           guaranty agency.

   K1 Segment              Report the complete name of the lender to whom the claim
                           was paid in the Original Creditor Name field. Also, report
                           Creditor Classification Code 07 to indicate Educational.

                           Note: The K1 Segment is required for all accounts
                           reported, regardless of Account Status Code.




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  FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS

    Special Situations
    Rehabilitated loans        Report Account Status Code DA to delete the account when
                               it is transferred to a lender.

                               Note: The transferred account reported by the original
                               lender will remain on file until purged according to FCRA
                               guidelines.

    Accounts sent to ED        Report Account Status Code DA to delete the account.
    (Guaranty agencies
    only)
    (See row below for
    exception)
    Loans that have been       Report Account Status Code 62.
    Consolidated and
    Transferred to ED
    Accounts with a            Report Account Status Code 62 (paid account/was a
    Balance and Consumer       collection account) and ECOA Code X.
    who is responsible for
    payments is deceased       If date of death of the consumer who is responsible for
                               payments is prior to the first reporting by the guaranty
                               agency, do not report the account.

    Accounts where             Report Account Status Code DA to delete the account.
    student is deceased
    and the parent is
    responsible for
    payments
    Guaranty Agencies          Contact the Consumer Data Industry Association (CDIA) to
    dissolving or              determine the appropriate steps in the reporting process
    undergoing                 that would be unique to the agency’s specific situation.
    bankruptcy
    Loans discharged due       Report Account Status Code DA to delete the account.
    to school closure
    Loans discharged due       Report Account Status DF to delete the account.
    to identify theft or,
    prior to discharge,
    when it is determined
    that the loan is the
    result of identity theft
    Loans that have an         Report Account Status 62 and Special Comment AU. Note
    unpaid tuition refund      that the student paid the percentage of tuition owed and the
                               remainder of the tuition was forgiven.




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  FEDERAL LOANS –REPORTING GUIDELINES FOR POST-DEFAULT LOANS

    Total and Permanent Disability (TPD) Discharge Procedures for
    Non-defaulted FFELP Loans
    (Standard and VA)
    Do not report the account when a TPD claim is filed on a non-defaulted loan.




    Total and Permanent Disability (TPD) Discharge Procedures for
    Defaulted Loans
    (Standard and VA)
    Initial indication of      When notice is received from ED that the borrower has
    interest in TPD            indicated interest in a TPD discharge, continue to report the
    discharge by borrower      account as in collections (Account Status Code 93).

    Initial TPD application    When notice is received from ED that the borrower has
    filed by borrower          applied for a TPD discharge, continue to report the account
                               as in collections (Account Status Code 93).

    TPD discharge not          If the discharge is not approved, continue reporting the
    approved                   account normally going forward.

    TPD discharge              Report the account with the following Base Segment fields:
    approved
                               •   Account Status Code = 62 (Paid in full/was a collection
                                   account)
                                   Note: If the TPD effective date is prior to the date the
                                   guaranty agency or ED began reporting the loan, report
                                   Account Status DA to delete the account.

                               •   Current Balance and Amount Past Due = 0
                               •   Date of Account Information = Even though the Account
                                   Status is 62, report a date within the current month’s
                                   reporting period.
                               •   Date Closed = Date the TPD discharge was approved by
                                   ED.

                               Notes:
                               If notified by the guaranty agency or ED that the TPD
                               effective date was prior to default and during the period that
                               a prior servicer was responsible for reporting the account,
                               the prior servicer should follow the reporting guidelines
                               outlined above in the Lender/Servicer/Secondary Market
                               Reporting Guidelines.

                               If a loan discharged under Standard TPD is reinstated within
                               3 years, a new account will have to be reported because the
                               discharged account was reported as paid in full. If Account
                               Status 93 is reported on the new account, the original Date
                               of First Delinquency must be reported.




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  FEDERAL STUDENT LOAN GLOSSARY OF TERMS
  Borrower Defense to Repayment
  Loan forgiveness for borrowers who took out federal student loans to attend a school if
  that school misled the borrower, or engaged in other misconduct in violation of certain
  state laws. The borrower must demonstrate that the school, through an act or
  omission, violated state law directly related to the borrower’s federal student loan or to
  the educational services for which the loan was provided. In order for a student loan to
  be forgiven, the borrower must have approval from the U.S. Department of Education
  or a state court.

  Closed School Loan Discharge
  Relief for borrowers who could not complete their program because the school closed
  while they were enrolled or borrowers who withdrew not more than 120 days before the
  school closed. In order for a student loan to be discharged, the student must have
  approval from the U.S. Department of Education.

  False Certification
  Relief for borrowers for whom the school falsified the borrower's name on either the
  loan application or disbursement authorization, unless the student received the
  proceeds of the loan.

  Grace Period
  The period of time between the end of the initial in-school period and the date
  repayment of the student loan is expected to begin.

  Guaranty Agency
  A state or private nonprofit organization that has an agreement with the Secretary of
  the U.S. Department of Education, under which the organization will administer a
  student loan guarantee program under the Federal Family Education Loan Program
  (FFELP). The guaranty agency pays a claim to the original lender when a student
  defaults on a FFELP loan.

  Income Driven Repayment (IDR) Plans
  Federal student loans may be repaid under one of several repayment plans which sets
  the borrower’s monthly student loan payment at an amount that is intended to be
  affordable based on the borrower’s income and family size.

  Initial In-School Period
  The period of time immediately following the loan disbursement when the borrower is
  attending school and repayment is not required.

  Lender
  A bank, credit union, savings and loan association, insurance company, or other lending
  institution, which makes or holds loans under the Federal Family Education Loan
  Program (FFELP) and is subject to examination and supervision by an agency of the
  United States.




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  FEDERAL STUDENT LOAN GLOSSARY OF TERMS
  Public Service Loan Forgiveness
  Borrowers may be eligible for forgiveness of their Direct Loans if they make 120
  monthly payments on the loans after Oct. 1, 2007, under certain repayment plans,
  while the borrower is employed full-time in a qualifying public service job. The borrower
  must not be in default and may not apply for forgiveness until after all of the required
  120 qualifying monthly payments have been made.

  Rehabilitated Loans
  Federal student loans that were previously in collections with a guarantor or the U.S.
  Department of Education. The rehabilitation process requires that the student agree, in
  writing, to make nine voluntary, reasonable, and affordable monthly payments (as
  determined by the loan holder) within 20 days of the due date; and must make all nine
  payments during a period of 10 consecutive months. At that time, the loan can then be
  resold to a new lender or the original lender. When loans are rehabilitated, the original
  lender and guarantor are required to remove the record of default from the consumer’s
  credit history. However, the credit history will still reflect late payments that were
  reported by the loan holder before the loan went into default.

  Secondary Market
  An entity which purchases student loan obligations from participating lenders in a
  secondary market and pays lenders par, premium or discount on the original principal
  balance of the note. A secondary market may also service the loans that it purchases.

  Servicer
  An organization that services (i.e., processes) a student loan debt following origination,
  to ensure due diligence of the debt with respect to enforcement of the terms of the
  promissory note as defined under Federal regulations. A servicer collects payments,
  responds to customer service inquiries, and performs other administrative tasks
  associated with maintaining a federal student loan on behalf of a lender.

  Teacher Loan Forgiveness
  A portion of the Federal Family Education Loan (FFEL) program whereby the Secretary
  of the U.S. Department of Education repays portions of student loans. To qualify, the
  student must meet certain criteria, such as teaching, nursing, or volunteering through
  the Peace Corps.




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  FEDERAL STUDENT LOAN GLOSSARY OF TERMS
  Total and Permanent Disability Discharge
  Relief for borrowers who provide one or more of the following types of documentation:
  1) Documentation from the U.S. Department of Veterans Affairs (VA) showing that the
  VA has determined that the borrower is unemployable due to a service-connected
  disability; 2) Social Security Administration (SSA) notice of award for Social Security
  Disability Insurance (SSDI) or Supplemental Security Income (SSI) benefits stating that
  the borrower’s next scheduled disability review will be within five to seven years from
  the date of the borrower’s most recent SSA disability determination; or 3) Certification
  from a physician that the borrower is totally and permanently disabled. The physician
  must certify that the borrower is unable to engage in any substantial gainful activity
  because of a medically determinable physical or mental impairment that can be
  expected to result in death, has lasted for a continuous period of not less than 60
  months, or can be expected to last for a continuous period of not less than 60 months.
  In order for a student loan to be discharged, the borrower must have approval from the
  U.S. Department of Education.




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  Student Loan Reporting – Private Loans

  GENERAL REPORTING GUIDELINES
  Reporters of private student loan information include lenders, servicers and
  secondary markets.

  The following reporting guidelines refer to all reporters of private student loan
  information:

  •   Report data in the standard Metro 2® Format, including the Header Record.

  •   Report all open accounts on a monthly basis.

  •   Report sold, transferred and paid accounts in the reporting period in which they
      are finalized.

  •   Do not report accounts prior to the first disbursement.

  •   Report the complete name, address, social security number and date of birth of
      the consumer.

  •   In the Identification Number field, report the internal code that identifies the
      lender or secondary market where information is verified. For servicers, the
      Identification Number should refer to the current loan owner/holder; e.g.,
      Servicer Name/Loan Owner Name.

  •   All parties reporting credit information must respond to consumer inquiries.

  Note: The guidelines in this document are specific to your industry and
        should be used in conjunction with specifications in the Metro 2®
        Format. Refer to the Metro 2® Format for detailed information on
        segments and field information.




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
  All fields within the Metro 2® Format are required to be reported for each
  account. The information below describes fields that require specific
  values.

  Do not report a loan until a disbursement has been made.

   Identification Number    For loans reported by a servicer, the Identification Number
   Base Segment, Field 5    should refer to the current loan owner/holder or servicer and
                            loan owner/holder; e.g., Servicer Name/Loan Owner Name.

                            Note: Verification of accounts will be done with the servicer.

   Account Type Code        •   12 (Education) for installment accounts with Portfolio Type I
   Base Segment, Field 9        (Installment)
                            •   15 (Line of Credit) for education line of credit accounts with
                                Portfolio Type C (Line of Credit)

   Highest Credit or        The Highest Credit or Original Loan Amount should be
   Original Loan Amount     increased for subsequent disbursements of a loan, and reduced
   Base Segment, Field      for disbursements that are canceled or returned.
   12
                            Do not increase this amount as a result of interest
                            capitalization or fees incurred post-disbursement.

                            Note: Accounts with Account Type 12 report the original
                            amount of the loan. Accounts with Account Type 15 report the
                            Highest Credit Amount.

   Terms Duration           For installment loans, report the maximum number of months
   Base Segment, Field      allowed for repayment of the loan.
   13
                            For line of credit accounts, report a constant of LOC.

                            When the loan is in a period during which payments are not
                            required (i.e., initial in-school, grace, deferment, and
                            forbearance periods), report Terms Duration as blank.

                            For loans that are reported as in collections (Account Status 93
                            or 62) or charged off (Account Status 97 or 64), continue to
                            report Terms Duration normally. Do not report a constant of
                            001.




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

   Account Status Code   • 11 = Open account in good standing
   Base Segment, Field
   17A                     For those private student loans that are subject to delayed
                           delinquency reporting based on loan holder requirements,
                           Account Status 11 should be reported until the loan is 60
                           days past the due date as of the Date of Account Information.

                         • 11 with Terms Frequency D and Payment History Profile
                           Character B = Open account/payments deferred/account was
                           never in repayment

                         • 11 with Terms Frequency D and Payment History Profile
                           Character D = Open account/payments deferred/account was
                           previously in repayment or was previously reported as in
                           repayment

                           Note: Terms Frequency Code D should be used with Account
                           Status Code 11 and Amount Past Due = 0 when payments
                           are not currently required (e.g., deferment, grace period,
                           forbearance), but there is a future payment obligation.

                         • 71, 78, 80, 82–84 = the appropriate stage of delinquency (30
                           days to 180 or more days past the due date). Refer to
                           Account Status 11 above for exceptions due to delayed
                           delinquency reporting.

                         • 13 = Paid/zero balance account (requires Payment Rating)

                           Note: For paid in full accounts, report the Date Closed. Also,
                           report both the Current Balance and the Amount Past Due as
                           zero. Refer to Frequently Asked Question and Answer 39 for
                           additional guidance on reporting accounts that are paid in
                           full.

                         • 93 = Account assigned to internal or external collections

                         • 97 = Unpaid balance reported as a loss (charge-off)

                         • 62 = Account paid in full, was a collection account

                         • 64 = Account paid in full, was a charge-off

                         • DA = Delete entire account
                         • DF = Delete entire account due to confirmed fraud

                           Note: Refer to guidance throughout this module for specific
                           situations on deleting accounts.




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  PRIVATE STUDENT LOANS – LENDER SERVICER/SECONDARY MARKET

   Payment History        Refer to Metro 2® Format module for standard guidelines on
   Profile                reporting up to 24 months of payment history.
   Base Segment, Field
   18                     The Payment History Profile will reflect accounts going from
                          current to 30 days delinquent or from current to 60 days
                          delinquent due to delayed delinquency reporting (refer to
                          Account Status 11 above).

                          Examples:

                          •   332100000001221000000000 (first reported delinquent at
                              30 days)
                          •   332000000002200000000000 (first reported delinquent at
                              60 days)

                          For months during which payments were not required (i.e.,
                          initial in-school, grace, deferment and forbearance periods):

                          •   Report value D for loans that were previously in repayment.

                          •   Report value B for loans that have never been in
                              repayment.

                              Note: If payment history was reported in error (i.e.,
                              account mistakenly reported as in repayment), report value
                              D.

                          When adjusting the initial in-school or grace period status of a
                          loan that covers one or more months previously reported in the
                          Payment History Profile, the applicable months should be
                          updated to reflect character D (no payment history available
                          this month).




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
   Special Comment       The Special Comments that apply to private student loans are
   Base Segment, Field   listed below. No other codes may be reported.
   19
                         •   O – when reporting a transfer to another servicer that is not
                             due to a loan sale. Refer to Frequently Asked Question and
                             Answer 46 for additional reporting guidance.
                         •   AC – when the borrower is paying under a partial payment
                             agreement
                         •   AH – when a loan is purchased by another company. Refer
                             to Frequently Asked Question and Answer 47 for additional
                             reporting guidance.
                         •   AM – when account payments are assured by wage
                             garnishment (used when payments are being made through
                             wage garnishment on an account that has been charged off
                             or is in collections)
                         •   AS – when the account is closed due to an internal
                             refinancing. Refer to Frequently Asked Question and
                             Answer 42 (option 3) for additional reporting guidance.
                         •   AT – when reporting an internal transfer that results in a
                             new tradeline. Refer to Frequently Asked Question and
                             Answer 46 for additional reporting guidance.
                         •   AU – when a loan is paid in full for less than the full
                             balance. Refer to Frequently Asked Question and Answer
                             38 for additional reporting guidance.
                         •   AW – when the borrower is affected by a natural or
                             declared disaster. Refer to Frequently Asked Question and
                             Answer 58 for additional reporting guidance.
                         •   BT – when the borrower is required to make interest-only
                             payments under the terms of the promissory note (e.g., a
                             requirement to make interest-only payments during the
                             initial in-school period).
                         •   CH – when loan payments have been guaranteed or insured
                         •   CO – when the loan has been permanently modified

                         Additionally, the following Special Comments may be reported
                         for Lines of Credit accounts (Account Type 15):

                         •   M – when the account is closed at credit grantor’s request
                         •   AP – when the credit line is suspended
                         •   CJ – when the credit line is no longer available – account is
                             in the repayment phase. Refer to Exhibit 6 or 7 for
                             reporting guidance.

                         Note:

                         Special Comment Code CP (Forbearance) should not be used
                         for private student loans. Forbearance should be reported
                         similarly to deferment, as per FAQ 44.



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  PRIVATE STUDENT LOANS – LENDER /SERVICER/SECONDARY MARKET
    FCRA Compliance/Date    Refer to Metro 2® Format module and Exhibit 9 (Explanation
    of First Delinquency    and Examples of FCRA Compliance/Date of First Delinquency)
    (DOFD)                  for standard guidelines on reporting DOFD according to
    Base Segment, Field     hierarchy rules.
    25
                            Regarding hierarchy rules 1 and 2: Report the date of the first
                            30-day delinquency that led to the Account Status or Payment
                            Rating being reported even though reporting of delinquency
                            may be delayed until the loan is 60 days past the due date
                            because the loan is subject to delayed delinquency reporting.
                            When the Account Status is 11 (Current), zero fill the Date of
                            First Delinquency. However, when reporting delinquent
                            statuses, do not change/update the Date of First Delinquency
                            unless the borrower has brought the account back to less than
                            30 days past the due date. A borrower may be less than 60
                            days past the due date (i.e., Account Status 11) without
                            triggering a change to the Date of First Delinquency.

                            (Example on next page)




  (continued)




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

   FCRA Compliance/Date   Example:
   of First Delinquency
   (DOFD)                 Refer to table below for example of DOFD reporting for loans
   Base Segment, Field    that may not be reported as delinquent until 60 days past the
   25                     due date.
   (continued)

   Date of                        # of Days
                 Next Payment                   Account Status
   Account                        Past Due                       Date of First Delinquency
                 Due Date                       and Definition
   Information                    Date                           (Field 25)
                 (not reported)                 (Field 17A)
   (Field 24)                     (not rptd.)
                                                      11
    03/31/2019    04/15/2019           0                                  Zero fill
                                                  (Current)
    04/30/2019    04/15/2019          15              11                    Zero fill
    05/31/2019    04/15/2019          46              11                    Zero fill
                                                      78                 05/15/2019
    06/30/2019    04/15/2019          76         (60-89 days            (30 days after
                                                past due date)      04/15/2019 due date)
                                                      80                 05/15/2019
    07/31/2019    04/15/2019         107        (90-119 days            (30 days after
                                                past due date)      04/15/2019 due date)
                                                                         05/15/2019
    08/31/2019    06/15/2019          77              78                (30 days after
                                                                    04/15/2019 due date)
                                                                         05/15/2019
                                                                   (DOFD does not reset;
    09/30/2019    06/15/2019         107              80
                                                                  borrower never less than
                                                                     30 days delinquent)
                                                                         05/15/2019
    10/31/2019    08/15/2019          77              78                (30 days after
                                                                    04/15/2019 due date)
    11/30/2019    10/15/2019          46              11                    Zero fill
                                                                            Zero fill
                                                                   (Borrower less than 30
    12/31/2019    12/15/2019          16              11           days delinquent; DOFD
                                                                      will reset if future
                                                                         delinquency)
    01/31/2020    12/15/2019          47              11                    Zero fill
                                                                         01/14/2020
    02/28/2020    12/15/2019          75              78                (30 days after
                                                                    12/15/2019 due date)
                                                                         01/14/2020
    03/31/2020    12/15/2019         106              80                (30 days after
                                                                    12/15/2019 due date)




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
   Consumer Information     Used to specify that a consumer’s student loan has been
   Indicator                included in bankruptcy or a consumer cannot be located. Refer
   Base Segment Field 38    to Exhibit 11 for a list of available indicators.
   J1 and J2 Segments –
   Field 11                 Note: Refer to FAQ 23 for guidelines on reporting an account
                            when a consumer files bankruptcy, but the student loan is not
                            included in the bankruptcy discharge.

   K4 Segment               Report for deferred loans:
   Deferred Payment         • Specialized Payment Indicator = 02 (Deferred payment)
   information              • Deferred Payment Start Date = date the first payment is
                               due. If not available, report the date on which the deferred
                               period will end.

                            Note: If neither date is available, do not report the K4
                            Segment.

   L1 Segment               When account history can be verified, report one time when
   Consumer Account         account numbers change due to an account acquisition or
   Number Change            internal account number change.

                            Refer to FAQ 46 (option 2) for guidelines on reporting when
                            account history cannot be verified by the new servicer.




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

    Single, Multiple and Refinanced Loans, Deferment or Forbearance, Loan
    Sales and Transfers, Co-Signer Release, Loan Defaults
    Multiple disbursements     When a loan has multiple disbursements, report the loan as
    of a single loan           one account.

                               •   Retain and do not change the original Consumer Account
                                   Number when additional disbursements are reported.

                               •   Retain and do not change the original Date Opened after
                                   the loan is reported.

                               •   Update the Original Loan Amount, Current Balance, and
                                   Scheduled Monthly Payment Amount (when in
                                   repayment) as applicable, to include totals for all
                                   disbursements. Reduce these amount fields as
                                   applicable, due to the amount of any canceled or
                                   returned disbursements.

                                   Example: If the loan is for $10,000 and the first
                                   disbursement is for $2,000, report the Original Loan
                                   Amount field as $2,000. If an additional disbursement is
                                   made for $8,000, increase the Original Loan Amount to
                                   $10,000. If the $2,000 disbursement is subsequently
                                   canceled, reduce the Original Loan Amount to $8,000.

                               •   If all disbursements are canceled or returned, report
                                   Account Status DA to delete the account.

    Multiple loans             Multiple loans must be reported as separate accounts.

    Refinanced loans           Internal Refinancing: Refer to Frequently Asked Question
                               and Answer 42 for reporting guidance.

                               External Refinancing: When a loan is paid in full through
                               refinancing, the original lender should report the loan with
                               Account Status Code 13 and the appropriate Payment
                               Rating.

                               The new refinanced loan, which paid the underlying loans in
                               full, must be reported as a new account.

    Loans in deferment or      Report private student loans in deferment or forbearance as
    forbearance when no        deferred. Refer to Frequently Asked Question and Answer
    payments are due           44 for specific reporting guidance.


  (continued)




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
    Loans sold to another      Follow the standard guidelines in Frequently Asked Question
    company                    and Answer 47 for loans sold to another company.

                               Report Special Comment Code AH.

    Loans transferred to       Follow the standard guidelines in Frequently Asked Question
    another servicer or        and Answer 46 for servicing transfers.
    lender
                               If FAQ 46 option 2 is followed, report Special Comment Code
                               O (Account transferred to another company/servicer).

    Loans purchased from       Follow the standard guidelines in Frequently Asked Question
    another servicer or        and Answer 48 for transfers in as a result of a loan
    lender                     purchase.

    Loans transferred in       Follow the standard guidelines in Frequently Asked Question
    from another servicer      and Answer 46 for servicing transfers. Do not change the
    or lender                  Date Opened; report the date opened with the original
                               servicer.

    Release of Co-Signer       If the co-signer of the private student loan is released from
                               further liability on the loan, report ECOA Code T
                               (Terminated) for the co-signer and discontinue reporting the
                               co-signer going forward.


  (continued)




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

      Private student loans        Follow the standard guidelines in Frequently Asked Question
      that are transferred         and Answer 46 for servicing transfers. If option 2 is
      back to the lender by        followed, report Special Comment Code O (Account
      the servicer at the          transferred to another company/servicer).
      lender’s request at the
      time of default 1            Options available to the servicer transferring the loan to the
                                   loan holder:
                                   • Report Account Status Code 97 with the applicable
                                       Special Comment Code if the loan was charged off at the
                                       time of transfer.
                                   • Report Account Status Code 93 if in collections at the
                                       time of transfer.

                                   The loan holder receiving the loan from the servicer should
                                   report the account as a new tradeline.

                                   Options available for the loan holder receiving the loan from
                                   the servicer:
                                   • Report Account Status Code 97 if the loan is a charge
                                       off.
                                   • Report Account Status Code 93 if the account is in
                                       collections.

      Private student loans        If the loans have been charged off, follow the standard
      that are not                 guidelines in Frequently Asked Questions and Answers 34 or
      transferred to the           65, as applicable.
      lender by the servicer
      at the time of default1      Loans that are in collections should be reported with Account
                                   Status 93 and the Current Balance and Amount Past Due =
                                   outstanding balance amount. Account Status 62 should be
                                   reported when the loan is paid in full.

                                   In both situations, if the account is settled for less than the
                                   outstanding balance, follow the guidance in Frequently
                                   Asked Question and Answer 38, which requires reporting
                                   Special Comment Code AU along with the applicable paid
                                   status.




  1
      Refer to the Private Student Loan Glossary of Terms at the end of this section for the
      standard definition of “default” as it applies to private student loans.

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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
   Write-off of Private Student Loan Balances due to Death or Disability:
   For private student loans, write-off reporting requirements apply
   following approval by the loan holder. Practices among private loan
   lenders vary as to write-off options.
   Write-off of loan due to   If the loan had been in repayment prior to the student’s
   the death of a student     death, report Account Status Code 13, Payment Rating 0,
   who is not a party to      Current Balance 0, and Amount Past Due 0 to indicate a
   the loan (e.g., private    paid/closed account, along with the appropriate Date Closed.
   student loan that is       The Payment History Profile should be updated to reflect
   made to a parent)          value D for months between the date of death and the
                              reporting period in which the loan is reported with Account
                              Status Code 13.

                              If the loan was in collections or charged off at the time of
                              the student’s death, report Account Status Code 62 or 64 as
                              appropriate, plus Current Balance 0 and Amount Past Due 0
                              to indicate a paid/closed account, along with the appropriate
                              Date Closed.

                              If payments on the loan were not yet required, the tradeline
                              should be deleted. Report Account Status Code DA to
                              delete the account.

                              ECOA Code X should not be reported because the student
                              who is deceased is not a party to the loan. ECOA Code X
                              must be reported only when a party to the loan is deceased.
                              Refer to Frequently Asked Question and Answer 19 for
                              reporting when a party to the loan is deceased.

   Write-off of loan due to   If the loan had been in repayment prior to the death of a
   the death of a party to    party to the loan, report Account Status Code 13, Payment
   the loan                   Rating 0, Current Balance 0, and Amount Past Due 0 to
                              indicate a paid/closed account, along with the appropriate
                              Date Closed. Report ECOA Code X in the applicable Base or
                              J1/J2 Segment for the deceased party as described in
                              Frequently Asked Question and Answer 19.

                              If the loan was in collections or charged off at the time of
                              the party’s death, report Account Status Code 62 or 64 as
                              appropriate, plus Current Balance 0 and Amount Past Due 0
                              to indicate a paid/closed account, along with the appropriate
                              Date Closed.

                              If payments on the loan were not yet required, the tradeline
                              should be deleted. Report Account Status Code DA to
                              delete the account.

                              Note: When there are multiple parties to the loan (e.g.,
                              borrower and co-signer), the death of the co-signer may not
                              cause the loan to be written off and the borrower may
                              continue to be obligated. In that instance, report ECOA
                              Code X for the co-signer and continue to report the account
                              for the borrower.

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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

   Write-off of loan due to   If a write-off due to disability is granted by the lender,
   disability of the          report the account as follows:
   borrower
                              •   If the effective date of the disability is prior to the date
                                  the loan entered repayment, or is prior to the date that
                                  the lender or servicer began reporting the loan, report
                                  Account Status DA to delete the account.

                              •   If the loan had been in repayment prior to the effective
                                  date of the borrower’s disability, report Account Status
                                  Code 13, Payment Rating 0, Current Balance 0 and
                                  Amount Past Due 0 to indicate a paid/closed account,
                                  along with the appropriate Date Closed.

                                  The Payment History Profile should be updated to reflect
                                  value D (no payment history available this month) for
                                  months between the effective date of the disability and
                                  the reporting period in which the loan is reported with
                                  Account Status 13. Adjustments to months earlier than
                                  the previous 24 months prior to the Date of Account
                                  Information must be corrected by submitting an AUD
                                  through e-OSCAR®.

                                  Note: The effective date of the disability write-off will
                                  vary according to lender policy. Common triggers
                                  include the date of the doctor’s certification, the date the
                                  lender receives the disability request, or the date the
                                  lender approves the disability request. Any
                                  delinquencies that occurred prior to the effective date of
                                  the disability should remain on the file and should not be
                                  deleted.

                                  Date of Account Information = Report a date within the
                                  current month’s reporting period even if the paid
                                  effective date was in a prior month. Refer to Frequently
                                  Asked Question and Answer 39.

                                  Date Closed = Date the disability write-off was approved
                                  by the lender.

                              •   If the loan was in collections or charged off at the time of
                                  the effective date of the borrower’s disability, report
                                  Account Status Code 62 or 64 as appropriate, plus
                                  Current Balance 0 and Amount Past Due 0 to indicate a
                                  paid/closed account, along with the appropriate Date
                                  Closed.




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET

    Rehabilitated Private Student Loans
    Section 623(a)(1) of the Fair Credit Reporting Act [15 U.S.C. 1681s-2(a)(1)] was
    amended by the Economic Growth, Regulatory Relief, and Consumer Protection Act
    (EGRRCPA) to provide that, a consumer may request a lender to remove from a
    consumer report a reported “default” regarding a private student loan, and such
    information shall not be considered inaccurate, if the lender chooses to offer a private
    student loan rehabilitation program that meets the requirements of section 623(a)(1).
    The term “default” as used in EGRRCPA is not a defined term for purposes of private
    student loans, but the student loan industry generally regards loans that are either in
    collections (Account Status Code 93) or charged off (Account Status Code 97) as being
    in default.

    Note: Refer to the Private Student Loan Glossary of Terms at the end of this section for
    the standard definition of “default” as it applies to private student loans.

    Reporting guidance on following pages.




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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
    Rehabilitated private   Servicer reporting:
    student loan that had
    been transferred back   If the servicer’s Account Number is changed from the
    to the lender at the    original number, report an L1 Segment.
    lender’s request at
    time of default and     Follow the guidance below depending on the Account Status
    returns to the same     Code previously reported:
    servicer post-          • If the servicer had previously reported a loan as
    rehabilitation              charged-off using Account Status Code 97, the servicer
                                must remove the Account Status Code 97 and the
                                Payment History Profile code L if the loan is later
                                rehabilitated. Begin reporting Account Status Code 11
                                once the loan is rehabilitated.
                            • If the servicer had previously reported a loan as being
                                in collections using Account Status Code 93, the servicer
                                must remove the Account Status Code 93 and the
                                Payment History Profile code G if the loan is later
                                rehabilitated. Begin reporting Account Status Code 11
                                once the loan is rehabilitated.

                            Payment History Profile = In both situations described
                            above, report value D (no payment history available this
                            month) in the positions representing the months going back
                            to the effective date of the rehabilitation. Adjustments to
                            months earlier than the previous 24 months prior to the
                            Date of Account Information must be corrected by
                            submitting an AUD through e-OSCAR®.

                            Note: If the servicer had only reported the account as
                            delinquent, using the Account Status Code applicable to the
                            level of delinquency, and has not reported the loan as in
                            collections (Account Status Code 93) or as a charge-off
                            (Account Status Code 97), no changes to prior reporting
                            are needed if the loan is later rehabilitated. Begin reporting
                            Account Status Code 11 once the loan is rehabilitated.

                            Lender reporting:

                            If the lender reported either Account Status Code 93 (in
                            collections) or Account Status Code 97 (charge-off) during
                            the period that it held the loan, the tradeline should be
                            deleted when the loan is successfully rehabilitated by
                            reporting Account Status Code DA.


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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
    Rehabilitated private     Former Servicer reporting:
    student loan that had
    been transferred back     •   If the servicer had previously reported a loan as
    to the lender at the          charged-off using Account Status Code 97, the servicer
    lender’s request at the       must remove the Account Status Code 97 and the
    time of default and is        Payment History Profile code L if the loan is later
    assigned to a different       rehabilitated.
    servicer post-            •   If the servicer had previously reported a loan as being
    rehabilitation                in collections using Account Status Code 93, the servicer
                                  must remove the Account Status Code 93 and the
                                  Payment History Profile code G if the loan is later
                                  rehabilitated.

                              Payment History Profile = In both situations described
                              above, report value D (no payment history available this
                              month) in the positions representing the months going back
                              to the effective date of the rehabilitation. Adjustments to
                              months earlier than the previous 24 months prior to the
                              Date of Account Information must be corrected by
                              submitting an AUD through e-OSCAR®.

                              Note: If the servicer had only reported the account as
                              delinquent, using the Account Status Code applicable to the
                              level of delinquency, and had not reported the loan as in
                              collections (Account Status Code 93) or as a charge-off
                              (Account Status Code 97), no changes to prior reporting
                              are needed if the loan is later rehabilitated.

                              New Servicer reporting:

                              If the private student loan is rehabilitated, the new
                              lender/servicer should report the loan as a new account
                              going forward. Payment history reported prior to the
                              default should not be included with the new account.

                              Lender reporting:

                              If the lender reported either Account Status Code 93 (in
                              collections) or Account Status Code 97 (charge-off) during
                              the period that it held the loan, the tradeline should be
                              deleted when the loan is successfully rehabilitated by
                              reporting Account Status Code DA.



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  PRIVATE STUDENT LOANS – LENDER/SERVICER/SECONDARY MARKET
    Rehabilitated private     Servicer reporting:
    student loan that
    continued to be held by   If the servicer’s Account Number is changed from the
    the servicer and was      original number, report an L1 Segment.
    not transferred back to
    the lender at the         Follow the guidance below depending on the Account Status
    lender’s request at       Code previously reported:
    time of default           • If the servicer had reported a loan as charged-off using
                                  Account Status Code 97, the servicer must remove the
                                  Account Status Code 97 and the Payment History Profile
                                  code L if the loan is later rehabilitated. Begin reporting
                                  Account Status Code 11 once the loan is rehabilitated.
                              • If the servicer had reported a loan as being in
                                  collections using Account Status Code 93, the servicer
                                  must remove the Account Status Code 93 and the
                                  Payment History Profile code G if the loan is later
                                  rehabilitated. Begin reporting Account Status Code 11
                                  once the loan is rehabilitated.

                              Payment History Profile = In both situations described
                              above, report value D (no payment history available this
                              month) in the positions representing the months going back
                              to the effective date of the rehabilitation. Adjustments to
                              months earlier than the previous 24 months prior to the
                              Date of Account Information must be corrected by
                              submitting an AUD through e-OSCAR®.

                              Note: If the servicer had only reported the account as
                              delinquent, using the Account Status Code applicable to the
                              level of delinquency, and had not reported the loan as in
                              collections (Account Status Code 93) or as a charge-off
                              (Account Status Code 97), no changes to prior reporting
                              are needed if the loan is later rehabilitated. Begin reporting
                              Account Status Code 11 once the loan is rehabilitated.




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  PRIVATE STUDENT LOAN GLOSSARY OF TERMS
  Charge-off
  Private student loan lenders employ various criteria as to when they may consider a
  loan charged off. The period of time from delinquency to charge off varies from 60
  days to 221 days, with 120 days delinquent being a common period used by private
  student loan lenders.

  Default
  The term “default” is not a defined term for purposes of private student loans as it is for
  federal student loans, but it is used as the trigger for private loan rehabilitation in the
  Economic Growth, Regulatory Relief, and Consumer Protection Act (EGRRCPA), which
  amends section 623(a)(1) of the Fair Credit Reporting Act (FCRA). The student loan
  industry and the consumer reporting industry have agreed on the following standard
  definition of default as it applies to private student loans. A private student loan is
  considered to be “defaulted” when (1) it is placed in collections (Account Status Code
  93) or (2) when it is charged off (Account Status Code 97).

  Disability Write-off (Reduction/elimination of the outstanding loan balance)
  Some lenders may offer relief for borrowers who provide documentation of disability;
  the lender may write off or forgive the loan. These programs may be modelled on the
  Department of Education’s criteria for total and permanent disability (TPD) discharge,
  or the lender may employ its own criteria. The effective date of the write-off may vary
  as well; some lenders employ the date that a doctor provided a certificate of disability,
  while others use the date that the lender approved the disability write-off.

  Grace Period
  For some private student loans, the period of time between the end of the initial in-
  school period and the date repayment of the student loan is expected to begin.

  Initial In-School Period
  For some private student loans, the period of time immediately following the loan
  disbursement when the borrower is attending school and repayment is not required.

  Lender
  A bank, credit union, savings and loan association, insurance company, state agency,
  non-profit organization, or other lending institution, which makes or holds private
  student loans.

  Rehabilitated Loans
  Section 623(a)(1) of the Fair Credit Reporting Act [15 U.S.C. 1681s-2(a)(1)] was
  amended by the Economic Growth, Regulatory Relief, and Consumer Protection Act
  (EGRRCPA) to provide that, a consumer may request a lender to remove from a
  consumer report a reported “default” regarding a private student loan, and such
  information shall not be considered inaccurate, if the lender chooses to offer a private
  student loan rehabilitation program that meets the requirements of section 623(a)(1).
  The term “default” as used in EGRRCPA is not a defined term for purposes of private
  student loans, but the student loan industry generally regards loans that are either in
  collections (Account Status Code 93) or charged off (Account Status Code 97) as being
  in default.




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  PRIVATE STUDENT LOAN GLOSSARY OF TERMS
  Secondary Market
  An entity which purchases student loan obligations from participating lenders in a
  secondary market and pays lenders par, premium or discount on the original principal
  balance of the note. A secondary market may also service the loans that it purchases.

  Servicer
  An organization that services (i.e., processes) a student loan debt following origination,
  to ensure due diligence of the debt with respect to enforcement of the terms of the
  promissory note as defined under Federal regulations. A servicer collects payments,
  responds to customer service inquiries, and performs other administrative tasks
  associated with maintaining a federal or private student loan on behalf of a lender.

  Write-off
  Some lenders may write off the outstanding balance of a private student loan under
  certain circumstances such as the death or disability of the borrower. Policies vary
  from lender to lender. This document uses the term “write-off” for consistency’s sake
  but be aware that different lenders may use various terms such as write-off or
  forgiveness or discharge to describe the process. Forgiveness or discharge of private
  student loans should not be confused with forgiveness and discharge in the federal
  student loan programs. And write-off is not the same as charge-off; it is merely the
  reduction/elimination of the outstanding loan balance on the lender’s books.




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  Utility Company Reporting

      GENERAL REPORTING GUIDELINES

  Reporters of utility company data include Energy companies (e.g., coal and wood
  dealers, electric light and power, fuel oil distributors, gas companies — natural and
  bottled, etc.), Communications companies (e.g., telephone, cable, etc.) and Service
  companies (e.g., water, garbage, rubbish and other disposal companies, etc.).

  The following reporting guidelines apply to all reporters of utility company data:

  •    Report data in the standard Metro 2® Format, including the Header Record.

  •    Report all current and delinquent open accounts on a monthly basis.

  •    Report closed accounts at the end of the month in which they occur.

  •    Report the complete name, address, social security number, and date of birth of the
       legally liable consumer(s).

  •    Report the telephone number, when available.

  •    Report the ECOA Code to designate the account as joint, individual, etc. in
       compliance with the Equal Credit Opportunity Act (ECOA).

  •    Report the Payment History Profile, which provides up to 24 months of payment
       history, in order to control and maintain the payment history.

  •    In the Identification Number field, report the internal code that identifies the utility
       company where information is verified.

  •    All parties reporting credit information must respond to consumer inquiries.

  •    All parties reporting credit information must comply with the Fair Credit Reporting
       Act and any applicable state laws.

  Note: The guidelines in this document are specific to your industry and should
        be used in conjunction with the specifications in the Metro 2® Format.
        Refer to the Metro 2® Format for detailed information on segments and
        field information.




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  UTILITY COMPANY REPORTING GUIDELINES


  1.     Consumer Account Number (Base Segment, Field 7)

         •   Report the individual’s complete and unique account number as extracted from
             your file.

         •   If a consumer has multiple accounts, the account numbers must be unique. If
             necessary, append a unique identifier to the original account number for each
             account.

         •   If the account number changes, report the L1 Segment. See field definitions in
             the Metro 2® Format.

             Note: Notify your local consumer reporting agencies the first time L1
             Segments are reported.

  2.     Portfolio Type (Base Segment, Field 8)

         •   O (Open) - for all utility services’ payment plans

         •   I (Installment) - for merchandise (e.g., appliances, etc.)

  3.     Account Type Codes (Base Segment, Field 9)

         •   92 (Utility Company) - for all utility services’ payment plans

         •   06 (Installment Sales Contract) - for merchandise (e.g., appliances, etc.)

         •   4D (Telecommunications/Cellular) - for telecommunications companies, as
             appropriate

  4.     Highest Credit or Original Loan Amount (Base Segment, Field 12)

         •   For utility services’ accounts, report the highest amount of credit utilized by
             the consumer.

         •   For Installment accounts, report the amount of the contract.

  5.     Terms Duration (Base Segment, Field 13)

         •   For utility services’ accounts, report Terms Duration as 001.

         •   For Installment accounts, report the number of months of the contract.

  6.     Terms Frequency (Base Segment, Field 14)

         •   For utility services’ accounts, blank fill.

         •   For Installment accounts, report the frequency for payments due.



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  UTILITY COMPANY REPORTING GUIDELINES

  7.    Scheduled Monthly Payment Amount (Base Segment, Field 15)

        •   For utility services’ accounts, zero fill.

        •   For Installment accounts, report the regularly scheduled monthly payment
            amount.

  8.    Account Status Codes (Base Segment, Field 17A) and Payment Ratings (Base
        Segment, Field 17B)

        •   Report full file information, including open/current accounts (Status Code 11),
            all stages of delinquency (Status Codes 71, 78, 80, 82–84), derogatory
            accounts (Status Codes 93, 95–97) and closed or paid accounts (Status Codes
            13, 61–64). When the Account Status Code is 13 or 95, the Payment Rating
            must also be reported.

        •   Refer to Exhibit 4 in the Metro 2® Format for specific definitions of Account
            Status Codes.

  9.    Report Special Comments (Base Segment, Field 19) in conjunction with Account
        Status Codes to further define the accounts. Refer to Exhibits 6 and 7 for specific
        code definitions.

        When a utility service is terminated due to nonpayment, Special Comment M
        (Account Closed at Credit Grantor's Request) should be reported with the
        appropriate Status Code.

        If the account is subsequently reinstated, remove the Special Comment M by
        blank filling the field.

  10.   Report Compliance Condition Codes (Base Segment, Field 20) when required for
        legal compliance. Refer to Exhibit 8 for specific code definitions.

        Example: Compliance Condition Code XB (Account information has been disputed
        by the consumer directly to the data furnisher under the FCRA; the data furnisher
        is conducting its investigation.)

        Important Note: Code XB should no longer be reported after the
        investigation is completed; the XB should be removed by reporting the
        removal code or changed to another code.

  11.   Current Balance (Base Segment, Field 21)

        For all accounts, report the outstanding balance amount.

  12.   Amount Past Due (Base Segment, Field 22)

        For delinquent or derogatory accounts, report the dollar amount past due.




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  e-OSCAR                                ®

   ABOUT                 Access to e-OSCAR®, the Online Solution for Complete and
                         Accurate Reporting, is through a secure website. Each
   e-OSCAR®              data furnisher has a unique registration and all users have
                         their own user id and password. For more information on
                         e-OSCAR®, visit http://www.e-OSCAR.org.


   CONSUMER              The Fair Credit Reporting Act (FCRA) guarantees
                         consumers the right to dispute information that has been
   DISPUTE PROCESS       previously reported to consumer reporting agencies. See
                         sections 611 and 623.

                         The consumer may initiate his or her dispute directly with
                         a consumer reporting agency, a reseller of consumer
                         reports or directly with the data furnisher. Regardless of
                         the source at which the dispute originates, the data
                         furnisher must respond. (See Federal Trade
                         Commission interpretation letter of July 1999
                         http://www.ftc.gov/os/1999/08/faresletterfinal.htm).

                         The law also describes these duties of data furnishers
                         specific to the consumer dispute process:

                         •    Conduct an investigation with respect to the disputed
                              information.
                         •    Review all relevant information provided by the
                              consumer and the consumer reporting agency.
                         •    Report the results of the investigation to the consumer
                              reporting agency.
                         •    If the investigation finds that the information is
                              incomplete or inaccurate, report those results to all
                              other consumer reporting agencies to which the data
                              provider furnished the information.

                         NOTE: After completion of a dispute investigation, it is
                         imperative that data furnishers update their internal
                         records to avoid re-reporting incorrect information.

                         The law also mandates a deadline for the completion of
                         the investigation, review, and reporting of the
                         investigation results. Per the FCRA, the consumer’s
                         dispute investigation must be completed within 30 days
                         (45 days for FACT Act report). The time begins when
                         the consumer contacts the consumer reporting
                         agency. See sections 623 (b) (2) and 611 (a) (1).


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  e-OSCAR® Consumer Dispute Process

   AUTOMATED             In compliance with FCRA section 611 (a) (5) (D), the
                         consumer credit reporting industry maintains an
   CONSUMER              automated dispute resolution system. This system, called
   DISPUTE               e-OSCAR®, is available for use by all data furnishers.
   VERIFICATION
   (ACDV)


   ACDV WORKFLOW         •    Each consumer reporting agency and data furnisher
                              has its own access to e-OSCAR®.

                         •    When a consumer contacts a consumer reporting
                              agency with a dispute, the agency transmits the
                              disputed information and, if applicable, one or more
                              images of relevant, consumer-provided documentation
                              through e-OSCAR®. The data furnisher accesses e-
                              OSCAR® and retrieves the disputed data and any
                              associated document image(s). A possible exception
                              to this process is when a consumer reporting agency
                              updates the disputed item based on the information
                              provided by the consumer (i.e., a valid police report).
                              In this case, a dispute may not be transmitted via an
                              ACDV.

                         •    The data furnisher researches the disputed account
                              and transmits a response back to the originating
                              consumer reporting agency via e-OSCAR®. If the
                              information is verified as correctly reported, the
                              response goes only to the originating consumer
                              reporting agency. If the information is modified or
                              deleted, e-OSCAR® automatically sends a response to
                              the originating consumer reporting agency and sends
                              carbon copies to any other consumer reporting
                              agencies with which the data furnisher’s registration is
                              active in e-OSCAR®.

                              Note: Responding to disputes varies from
                              automated data reporting because when replying
                              to a dispute, a data furnisher may be required to
                              update historical account information. Dates and
                              other account fields may need to be adjusted.
                              For that reason, in some cases, data furnishers
                              may not be able to follow the guidance published
                              in the Credit Reporting Resource Guide®, which is
                              intended for regular monthly updates to
                              previously-reported accounts.



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  e-OSCAR® Consumer Dispute Process

                         •    The consumer reporting agencies receive responses,
                              update the credit files accordingly and respond back to
                              the consumers.

                         •    The originating consumer reporting agency also
                              notifies the data furnisher via e-OSCAR of any account
                              modifications or deletions as a result of the dispute
                              reinvestigation. These notifications may include, if
                              applicable, one or more images of relevant,
                              consumer-provided documentation.

                         •    To complete the process, when a change has
                              been made, data furnishers must also update
                              their internal records to avoid re-reporting
                              incorrect information.




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  e-OSCAR® Consumer Dispute Process

   FEATURES OF           •    Automatic Carbon Copies – If a data furnisher
                              modified or deleted an account in response to a
   ACDV                       consumer reporting agency-generated consumer
                              dispute, e-OSCAR® will send copies of the dispute and
                              response to each of the consumer reporting agencies
                              with which the data furnisher’s registration is active in
                              e-OSCAR®. These copies help to pre-empt future
                              disputes, thus reducing the data furnisher’s costs.
                              Consumer credit data may be modified at all the
                              agencies with which the data furnisher’s registration is
                              active in e-OSCAR®, which will help to improve
                              consumer satisfaction.

                         •    Automatic Notification – The Fair Credit Reporting
                              Act requires the originating consumer reporting agency
                              to notify the data furnisher of any modifications or
                              deletions as a result of the dispute reinvestigation. e-
                              OSCAR® provides the capability to meet this
                              requirement. See section 623 (b) (1) (D).

                         •    Enhanced “Update” Response Codes – The ACDV
                              Response Codes have been enhanced with more
                              descriptive “update” response options now available,
                              allowing the data furnisher to identify the type(s) of
                              information the data furnisher has updated. In
                              addition, e-OSCAR® reporting features now include
                              the enhanced “update” responses to provide the data
                              furnisher with additional insight and tracking.

                         •    No Illogical Conditions — Information within a
                              dispute response must be complete and logical. The e-
                              OSCAR® system has built-in edits to prevent illogical
                              responses.

                         •    Other benefits include easy tracking of consumer
                              disputes in progress or completed and easy access to a
                              broad range of user reports.




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  e-OSCAR                                ®

   THE UPDATE            From time to time, data furnishers will find it necessary to
                         update account information they have reported to the
   PROCESS               consumer reporting agencies. The need to modify existing
                         account information may come about as a result of
                         consumer contact or through internal processes.

                         The Automated Universal Data Process (AUD) is used for
                         interim maintenance requests to report updates to an
                         account or to delete an account. AUD transactions are
                         submitted through e-OSCAR®.

                         Reporting inaccuracies must be corrected promptly
                         in order to comply with the Fair Credit Reporting
                         Act. See section 623 (a) (2) (B).


   AUTOMATED             •    The intent of the e-OSCAR® AUD process is to provide
                              the consumer reporting agencies with a request to
   UNIVERSAL DATA             correct or delete a consumer’s account. e-OSCAR®
   PROCESS                    may not be used to add/create an account or to
   VIA e-OSCAR®               provide updates to a consumer’s Personally Identifiable
                              Information.

                         •    When a consumer contacts a data furnisher and
                              requests a change of information that has been
                              previously reported, the data furnisher researches the
                              account. If the data furnisher verifies that the account
                              information in question needs to be modified, the
                              company will use the e-OSCAR® system to complete
                              an AUD.




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  e-OSCAR® Update Process

                         •    The AUD process allows data furnishers to modify
                              existing account information, or to delete the entire
                              account from a consumer’s credit report. A data
                              furnisher may update a consumer’s account
                              information by submitting an Automated Universal
                              Data (AUD) record. The data furnisher uses the
                              system’s web-based interactive interface to create the
                              AUD record. The record is routed to one or more
                              consumer reporting agencies, based on the reporting
                              relationships indicated by the data furnisher within e-
                              OSCAR® and based on the subscriber codes specified
                              in the AUD record.

                         •    The consumer reporting agencies receive their AUDs
                              from e-OSCAR® and update the consumers’ files as
                              appropriate per their internal business processes.

                         •    The originating consumer reporting agency notifies the
                              data furnisher via e-OSCAR® of the outcome of each
                              submitted AUD.

                         •    To complete the process, when a change has been
                              made, data furnishers must also update their
                              internal records to avoid re-reporting incorrect
                              information.



   FEATURES OF AUD       •    Ability to send to multiple CRAs – Each data
                              furnisher indicates an affiliation with one or more of
                              the consumer reporting agencies at the time of
                              registration. This affiliation can be updated at any
                              time. If the data furnisher modifies or deletes an
                              account using the AUD process, e-OSCAR® sends the
                              update to the consumer reporting agencies that the
                              data furnisher designates when it submits the AUD.
                              The data furnisher has the choice because it may not
                              need to update an account on each of the consumer
                              reporting agencies’ databases. See section 623 (a) (2)
                              (B) for information on the data furnisher’s duty to
                              correct and update information.

                         •    No Illogical Conditions – Information within an
                              update must be complete and logical. The e-OSCAR®
                              system has built-in edits to prevent illogical conditions.

                         •    Time Service – Information on the consumer’s file is
                              corrected more quickly – no mail time.

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  e-OSCAR                                ®

   THE TRADELINE         Data furnishers may find it necessary to request a
                         Tradeline Block Rescission Request as permitted under
   BLOCK                 section 605B (c) (1) of the Fair Credit Reporting Act. The
   RESCISSION            Tradeline Block Rescission Request Process (BRR) is used
   REQUEST PROCESS       to request an account be returned to the file. BRR
                         transactions are submitted through e-OSCAR®.




   BLOCK                 The intent of the e-OSCAR® BRR process allows data
                         furnishers to request one or more consumer reporting
   RESCISSION            agencies return a consumer’s account to the file. This can
   REQUEST PROCESS       be in response to a Tradeline Block Notification that
   VIA e-OSCAR®          originated from one or more consumer reporting agency.

                         •    When a Consumer Reporting Agency blocks tradeline
                              information in a consumer’s file that the consumer
                              identifies as alleged identity theft, a Tradeline Block
                              Notification is sent to the data furnisher via e-OSCAR®.
                              If the data furnisher verifies that the account in
                              question is not related to identity theft, they will use
                              the e-OSCAR® system to request a BRR.

                         •    The consumer reporting agencies receive their BRRs
                              from e-OSCAR® and update the consumers’ files as
                              appropriate per their internal business processes.

                         •    The consumer reporting agencies notify the data
                              furnisher via e-OSCAR® in the event that they reinsert
                              the tradeline information as a result of the submitted
                              BRR.




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  e-OSCAR® Tradeline Block Rescission Process

   FEATURES OF BRR       •    Ability to send to multiple CRAs – Each data
                              furnisher indicates an affiliation with one or more of
                              the consumer reporting agencies at the time of
                              registration. This affiliation can be updated at any
                              time. If the data furnisher requests a Tradeline Block
                              Rescission Request using the BRR process, e-OSCAR®
                              sends the request to the consumer reporting agencies
                              that the data furnisher designates when it submits the
                              BRR. The data furnisher has the choice because it
                              may not need to update an account on each of the
                              consumer reporting agencies’ databases.

                         •    No Illogical Conditions – Information within a
                              rescission request must be complete and logical. The
                              e-OSCAR® system has built-in edits to prevent illogical
                              conditions.

                         •    Time Service – Accounts are reinserted to a
                              consumer’s file more quickly – no mail time.




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